                                                               Case 3:16-md-02738-MAS-RLS                                                       Document 33290-25                                        Filed 09/20/24                           Page 1 of 156


                PLEASE USE ALL CAPITAL LETTERS AND DO NOT INCLUDE PUNCTUATION
                                                                                                                                                 PageID: 258423
                                                                                                                                                                                                                                                                                  Ex. 23
      Underlined terms have the meanings given to them in the accompanying Master Ballot
    CLIENT ID          LAST NAME       SUFFIX           FIRST NAME   MIDDLE NAME LAST 4 DIGITS DATE OF BIRTH VOTE TO ACCEPT OR          BASIS FOR VOTING        DISEASE TYPE QUESTION:          DISEASE TYPE QUESTION:              DIAGNOSIS QUESTION:          CONSISTENT USE QUESTION:                 FIRST USE QUESTION:
                                                                      OR INITIAL  OF SOCIAL     (MM/DD/YYYY)      REJECT THE PLAN           AUTHORITY         What disease type is the Client's                                 Is the Client's Channeled Talc      Did the Client (or, if the    Was the Client (or if the Channeled
                                                                                   SECURITY                                                                   Channeled Talc Personal Injury (Specify disease only if selected Personal Injury Claim supported Channeled Talc Personal Injury Talc Personal Injury Claim is being
                                      (e.g., Sr.,                                  NUMBER        (For use only if (Select ACCEPT or      (Select OPTION A           Claim based upon?            disease type is "OTHER         by a diagnosis of the asserted   Claim is being asserted by the        asserted by the estate, legal
                                       Jr., II, III                                              Client does not       REJECT)      CERTIFICATION or OPTION B                                           DISEASE")                        disease type?           estate, legal counsel, relative,    counsel, relative, assignee, or
                                         etc.)                                                    have a social                           CERTIFICATION)        (Select OVARIAN CANCER,                                                                                assignee, or other          other representative of an injured
                                                                                               security number)                                                GYNECOLOGICAL CANCER or                                                (Select YES or NO)        representative of an injured or        or diseased individual, such
                                                                                                                                                                     OTHER DISEASE)                                                                                deceased individual, such      individual) first diagnosed with the
                                                                                                                                                                                                                                                                individual) consistently use J&J asserted disease at least ten years
                                                                                                                                                                                                                                                                   Talc Products on her own       following the first day of her use of
                                                                                                                                                                                                                                                               perineal area after puberty for a      J&J Talc Products on her own
                                                                                                                                                                                                                                                                 minimum of four consecutive           perineal area after puberty?
                                                                                                                                                                                                                                                                             years?
                                                                                                                                                                                                                                                                                                            (Select YES or NO)
                                                                                                                                                                                                                                                                       (Select YES or NO)



48029003            AARON                             JAMES                         7398                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
87637322            AARONSON                          BONNIE                        4345                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
46990748            AATEN                             MAR YAM YAHRID                1714                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
62544001            ABAD                              MARIA                         6809                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
76048613            ABBEY                             CYNTHIA                       4803                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
44864097            ABBOTT                            JOHN                          6867                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
73898023            ABDELJALIL                        MYRIAM                        3003                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
99165436            ABDILLA                           LINDA                         6055                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
60385556            ABDUL MALIK                       NASEERAH                      3667                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
45510609            ABEL                              VERONICA                      2884                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
43353388            ABELES                            LINDA                         7360                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
67512915            ABERNATHY                         SARA            DIANE         0188                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
67762771            ABNEY                             KATHY                         6887                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
93047360            ABNEY                             KIMBERLY                      4949                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
84780155            ABNEY                             MARY            CAROLYN       5145                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
56713870            ABOLOS                            CHRISTINA                     1127                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
76216363            ABOOD                             MADONNA                       7657                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
66310713            ABRAHAM                           ALONZITTA                     4867                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
79908448            ABRAHAM                           PATRICIA                      9822                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
33634463            ABRAM FLOWERS                     STEPHANIE                     3319                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
27814405            ABRAN                             KATRINA                       5652                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
33707564            ABRIANI                           JAYNE                         2139                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
77739344            ACEVEDO                           ENID                          9832                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
39323860            ACEVEDO                           MELISSA                       5253                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
59956744            ACHESON                           MARY                          1965                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
98842620            ACORD                             LINDA           K             3026                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
36558035            ACORS                             ADRIENNE                      1275                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
64685499            ACOSTA                            GLORIA                        8144                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
38083309            ACQUAVIVA AUBIN                   PATRICIA                      3149                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
33506935            ADAIR                             RACHEL                        1617                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
57010040            ADAM                              ELIZABETH       A             0494                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
97311616            ADAM                              LAURA                         6986                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
20834275            ADAM                              ROBERT                        5061                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
67638161            ADAMI                             KATHLEEN                      5233                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
20714655            ADAMKOWSKI                        MARY            ANN           8773                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
61696631            ADAMS                             ALICE                         6879                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
61343076            ADAMS                             ANNETTE                       2336                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
71703728            ADAMS                             BARBARA                       3496                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
50525894            ADAMS                             CAROLYN         RAE           1072                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
45157655            ADAMS                             DEANN                         6692                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
64172525            ADAMS                             DEBRA           KAY           4092                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
56347749            ADAMS                             DONNA           J             7391                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
35224693            ADAMS                             DOROTHY         M             4372                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
52066627            ADAMS                             FAY                           9753                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
73806801            ADAMS                             JANIS           LOUISE        4666                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
17521732            ADAMS                             LASHUNDRA                     6518                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
73169346            ADAMS                             LASONIA                       8431                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
33330023            ADAMS                             M JOVAN DOMINIQUE             9612                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
93072466            ADAMS                             MARIE                         0791                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
57534757            ADAMS                             MARION                        9122                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
70035351            ADAMS                             TOBY            GENE                              1975        REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
75440552            ADAMS CHARLES                     CELIA                         4124                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
36357137            ADAMSON                           SYLVIA                        7725                            REJECT                OPTION A CERTIFICATION       GYNECOLOGICAL CANCER                                           YES                             YES                            YES
50851900            ADDELSTON                         JUDY                          9037                            REJECT                OPTION A CERTIFICATION       OVARIAN CANCER                                                 YES                             YES                            YES
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27870399   ADDISON         DIANNE       G        0879          REJECT
                                                                              PageID: 258424

                                                                        OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES
                                                                                                                                                       Ex. 23
                                                                                                                                                          YES
40812518   ADDISON         JOYCE                 3120          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
78351015   ADDISON         KAREN                 3487          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
15949550   ADDLEMAN        KAREN                 7938          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
25872703   ADERHOLT        STEPHEN               4378          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
71374159   ADGATE          JANICE                3890          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
39508870   ADKIN           JUDY                  9393          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
74952544   ADKINS          DARILYN               2687          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
45422687   ADKINS          DEBORAH               5550          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
35770319   ADKINS          DERICK                4901          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
68039559   ADVANI          PUSHPA                6768          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
76466327   AERY            LINDA                 6973          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
72093126   AFONSO          CARMEN                1905          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
98675137   AGRESS          LLEWELLYN             3015          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
46913589   AGRONT          STELLA                2834          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
65119940   AGUILAR         ANGELINA              3796          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
20230161   AGUILAR         CYNTHIA               9753          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
70974291   AHEARN          MARGARET              0162          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
61502912   AHERN           STACEY                2129          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
58365990   AHMED           PHYLLIS               8129          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
39213798   AHO             KAREN                 4027          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
52868871   AIELLO          LYNDA                 6276          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
20832241   AIKEN           COLETTE      RENEE    7713          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
35630813   AIME            ALEXANDRA             2519          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
51389508   AINSWORTH       SUSAN                 9789          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
88622772   AIYAUHOMON      BEATRICE              3154          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
27738045   AKERS           DEBORAH               0259          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
33037092   AKIN            JENNIFER              1950          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
47171825   ALBANO          BARBARA               2986          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
16971464   ALBEDYLL        LINDA                 5385          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
78232110   ALBERDING       ROSEMARY              5331          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
96234311   ALBERT          BETH                  7425          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
48707491   ALBERT          KATHLEEN              2891          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
47996170   ALBERT          LULA                  8553          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
31877283   ALBERTS         WENDY                 8861          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
44387712   ALBEY           JAMES        RONALD   4481          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
76736604   ALBRITTON       CONNIE                1274          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
58258384   ALDERMAN        MELISSA      D        0997          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
79192118   ALDRICH         SHERYLE      R        5884          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
17956295   ALDRIDGE        SUSAN        IRENE    9236          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
37015261   ALERS           MARY                  4716          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
56333301   ALEXANDER       CLAYTON               3352          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
75627144   ALEXANDER       DORINE                6224          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
29996796   ALEXANDER       ECHO                  3122          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
97348268   ALEXANDER       JENNIFER              2909          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
30766300   ALEXANDER       KATHRYN               1113          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
90768972   ALEXANDER       LYNN                  8612          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
58494455   ALEXANDER       MARY         JANE     1192          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
66039685   ALEXANDER       ROBERT                5200          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
51985579   ALEXANDER       VERONICA              7753          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
96447326   ALFORD          JACQUELINE                   1957   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
20071046   ALFORD          MARY         E        0255          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
27280118   ALFORD          MISTY                 0400          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
68560255   ALFORD          NORMA        J        8924          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
83058943   ALFORD          RUBY                  7024          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
84899535   ALFORD POWELL   VALERIE               2532          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
67806802   ALFRED          SHIRLEY      ANN      4947          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
18928009   ALGER           CHARLES               9321          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
29840796   ALLEN           BARBARA               0193          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
33460728   ALLEN           BENJAMIN              7213          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
64424193   ALLEN           CARLA                 0362          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
40133491   ALLEN           CAROL                 6075          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
32891133   ALLEN           CLAIRE                6373          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
79005928   ALLEN           CYNTHIA               3714          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
19775858   ALLEN           DEBBIE                3844          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
14949849   ALLEN           GLENDA       S        2215          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
85514383   ALLEN           GREG                  3698          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
60372292   ALLEN           JAMIE                 2292          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
49616418   ALLEN           JEORDON               8198          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
54663558   ALLEN           KELLY        COLEEN   9633          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
70538469   ALLEN           KERRIE                7387          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
28991406   ALLEN           LAMIKHA               1024          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
54255723   ALLEN           LULA                  6660          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
34991776   ALLEN           PEGGY        LYNN     8369          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
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16476056   ALLEN               PHILIP                   5032          REJECT
                                                                                     PageID: 258425

                                                                               OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES
                                                                                                                                                               Ex. 23
                                                                                                                                                                  YES
44679333   ALLEN               SHARON                   8162          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
78049582   ALLEN               SHIRLEY                  9240          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
35316212   ALLEN               SYNIRA                   7207          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
49236292   ALLEN               VERONICA                 9859          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
80361251   ALLEN               VICTORIA                 2890          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
98329249   ALLEN HAM           LOUREN                   1498          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
47037758   ALLISON             ANGELA       MARIE       0544          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
20526303   ALLISON             HELEN                    8080          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
43785095   ALLISON             IDA                      3738          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
49111167   ALLISON             MARY         CATHERINE   7257          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
72470289   ALLISON             PAMELA                   6205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
99443750   ALLISON             SEAN                            1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
96606655   ALLMENDINGER        MICHELLE                 0020          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
75905063   ALLOCCA             DEBORAH      A           1741          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
25941238   ALLS                ANTOINETTE               4969          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
65716801   ALLSHOUSE           MICHAEL                  7563          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
82107368   ALLTOP              NANCY                    7390          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
76854915   ALMADEN             REGENA                   0639          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
42158451   ALMARAZ             MISTY        DAWN        4753          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
80954587   ALMARAZ             TAMMIE                   9900          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
85819888   ALMEIDA             JEROME                   7706          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
30420260   ALONZO              SYLVIA                          1964   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
52420055   ALPHONSO            VICTORIA                 7704          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
64824399   ALSABERY            MARY         ANNE        9712          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
17923295   ALSTON              MURIEL                   4560          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
67202870   ALSTROM             NORMA                    3422          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
95054478   ALSUP               WAYMON       KEITH       3645          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
84035684   ALVARADO            CHERYL                   4371          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
15118047   ALVARADO            NILDA                    0920          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
42644581   ALVAREZ             FRANCES                  5818          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
47948043   ALVAREZ             ODALIS                   1045          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
62014321   ALVIS               KATHRYN      LEANN       3826          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
25351652   ALWRAN              PEARL                    3280          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
22145324   ALZAMORA            FELIPE                          1984   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
90094124   AMARA               DEBORAH                  5324          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
73808869   AMBROSE             JOYCE                    4984          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
66187447   AMBURN              SHAY                     6987          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
69360315   AMENDOLA            MARIE                    3585          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
49583265   AMES                DEBRA                    2115          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
31929516   AMIRO               AMIR                     9601          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
35763863   AMISTADI            MARY                     4203          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
94351441   AMLONG              JOYCE                    9162          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
95294762   AMODEI              DONNA                    2039          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
64206151   AMOGRETTI           GLORIA                   6710          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
31704344   AMRICH         JR   GEORGE       M           0795          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
75047439   ANASTASI            MARY         JANE        3250          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
16258324   ANCRUM              GLORIA                   3506          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
76439431   ANCRUM              TONYA                    7262          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
36782134   ANDAL               ROSS                     6256          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
83765412   ANDERSEN            MONICA                   4778          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
98893300   ANDERSEN            RITA         ANNE        5785          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
39042821   ANDERSEN            RUSSELL      W           3109          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
84018981   ANDERSON            ALICE        FAYE        5113          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
67553015   ANDERSON            ANGELIA                  8485          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
81738769   ANDERSON            BARBARA                  0122          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
24731326   ANDERSON            BRADFORD                 3018          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
54378364   ANDERSON            CANDACE                  7467          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
58089360   ANDERSON            CHARLENE     BERRY       6246          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
31922282   ANDERSON            CHARLOTTE                1329          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
91508610   ANDERSON            CHERIE                   3941          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
41401441   ANDERSON            CHRISTINE    E           8016          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
13703809   ANDERSON            DARIUS                          1992   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
85596032   ANDERSON            DARLENE                  1736          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
79326137   ANDERSON            DEAN                     5017          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
54234293   ANDERSON            DEANNA       M           3671          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
21209091   ANDERSON            DEBRA                    6283          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
44271131   ANDERSON            DIANE                    1686          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES          YES      YES
61817812   ANDERSON            DONALD                   1066          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
57657231   ANDERSON            ESSIE        L           2784          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
67477192   ANDERSON            GERALD                   7232          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
80782421   ANDERSON            JENNIFER                 6941          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES          YES      YES
15148742   ANDERSON            JENNIFER     L           7089          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
11236769   ANDERSON            JESSICA                  5033          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES          YES      YES
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85606546   ANDERSON          KARENE                 8406          REJECT
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                                                                           OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES
                                                                                                                                                          Ex. 23
                                                                                                                                                             YES
11165111   ANDERSON          LISA                   8946          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
18391934   ANDERSON          MARY          ELLEN    6929          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
32551972   ANDERSON          MECHELLAE                     2000   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
99206659   ANDERSON          PATRICIA               4430          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
65970965   ANDERSON          RENEE                  3370          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
47935275   ANDERSON          ROSA                   9134          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
51664666   ANDERSON          RYAN                   7627          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
99174171   ANDERSON          SANDY                  5475          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
66531637   ANDERSON          SARA                   0285          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
35059055   ANDERSON          SHEILA                 7205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
45449932   ANDERSON          TAMMY                  2633          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
13038453   ANDERSON          TIA                    8729          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
47732229   ANDERSON          TYLEE                  1191          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
69425837   ANDERSON          TYLENA        M        8752          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
55274621   ANDERSON          VICKI         D        6014          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
99543468   ANDRES            DIANA         LYNN     3268          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
90943694   ANDRESSEN         JULIANNE               8333          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
29183032   ANDREW            WALTRAUD               4419          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
38630293   ANDREWS           BRENDA                 6043          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
84056233   ANDREWS           DOLORES                0296          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
37882268   ANDREWS           EVE                    3304          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
40934799   ANDREWS           FANNIE                 5190          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
91986015   ANDREWS           GARY                   0126          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
23647202   ANDREWS           LAURIE        S        5674          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
94885470   ANDREWS           PATRICIA               8007          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
11318749   ANDREWS           TAMMIE        LYNN     1733          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
47425230   ANDREWS BISNETT   PAMELA        L        9780          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
56392271   ANGEL             CHARLES       R        4377          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
28846515   ANGEL             SARAH MARIE            1082          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
67981790   ANGELES           LANCE                  5221          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
14514354   ANGELETY          LETICIA                6314          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
99642042   ANGELL            BARBARA                8580          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
55808766   ANGELL            JULIE                  8795          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
89105901   ANGELO            WENDY                  8360          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
19710545   ANGLIAN           BETTY                  5287          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
81959272   ANSCHULTZ         SUSAN                  5494          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
66012970   ANSELME           WANDA                  3196          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
37484243   ANSLEY            KIMBERLY      DENISE   2095          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
21022890   ANSTINE           BRIANNE                8030          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
93370208   ANTHONY           ANITA                  3348          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
55803652   ANTHONY           APRIL                  2747          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
81289965   ANTHONY           CONNIE                 4071          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
70810467   ANTHONY           JOANN         R        5487          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
81833753   ANTHONY           PATRICIA               9423          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
19214465   ANTHONY           STEPHANIE              4404          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
24384961   ANTONIO           MARIA                  6541          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
42317588   ANZALONE          BONITA                 7828          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
30128208   APARICIO          CONSTANCE              9031          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
82875371   APODACA           TALINA                 1344          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
11752537   APPLEWHITE        DAMETA                 1215          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
88718582   APPLEWHITE        LISA                   2841          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
88709727   APRILE            FRANCESCA              4267          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
42225407   ARBIZO            LAREESA                7151          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
98713903   ARBOUR            JOHANNA       E        5858          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
60772503   ARBRUZZESE        PATRICIA               4078          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
25163159   ARBUCKLE          SANDRA                 9386          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
58453402   ARCACHE           AIDA                   1905          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
92501362   ARCEMENT          PATRICIA      ANN      2983          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
27528999   ARCHER            DENNA         L        5631          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
98619102   ARCHIE            KAREN                  3555          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
82800117   ARCHIE            THERESA                8151          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
54114112   ARCHULETA         DENISE                 9562          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
44689573   ARCIACOLLINS      SUE           I        9436          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
93627144   ARD               BARBARA                3029          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
49603816   ARDITTI           ELIZABETH              2256          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
52260727   ARIAS             KRISTY                 6232          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
89516795   ARIETTA           GENEVIEVE              3375          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
27263049   ARKADIE           ANDREA        M        7942          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
98062063   ARMAGOST          BONNIE                 7273          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
24846066   ARMATO            LINDA                  2860          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
42448128   ARMENDARIZ        DELIA                  3147          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
29038588   ARMENI            MICHELLE               7218          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
51578273   ARMENTA           EDELMIRA               9616          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
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41786446   ARMES                LAURA                 3189          REJECT
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                                                                             OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES
                                                                                                                                                            Ex. 23
                                                                                                                                                               YES
20738778   ARMISTEAD            LYNNETTE              3612          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
54270047   ARMONTROUT           MARY        ANN       4417          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
97740864   ARMSTEAD             BARBARA     LYNN      6510          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
73321615   ARMSTEAD             CRYSTAL               4359          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
35129145   ARMSTRONG            CONNIE                4227          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
92331469   ARMSTRONG            DANIEL                       1975   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
91287314   ARMSTRONG            DONNA                 5972          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
41007426   ARMSTRONG            JOSEPHINE             1200          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
81738780   ARMSTRONG            LILLY                 9822          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
80930193   ARMSTRONG            LORETTA               8782          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
80999725   ARMSTRONG            LYNETTE               9733          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
95093958   ARMSTRONG            MICHAEL               4526          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
14486686   ARMSTRONG            SUSAN                 8763          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
21562486   ARNETT               STEVEN                9314          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
27639665   ARNOLD               CAROLE                2618          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
45412599   ARNOLD               JODY        LEE       3340          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
62920304   ARNOLD               MALESA                5177          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
72605423   ARNOLD               TORI        L         9077          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
37966023   ARNOULT              SALLIE      FRANCES   9316          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
82759142   ARON                 MADELINE              5689          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
78434268   ARONEAU              KATHARYN              8461          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
23866304   ARONISS              KIM                   0533          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
75221738   ARREDONDO            MARY        L         1272          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
90553509   ARRENDALE            MARCIA                       1941   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
84545064   ARRINGTON            ANDREA                0385          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
73556322   ARRINGTON            CLAIRE      AGNES     2182          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
41107819   ARRINGTON            DEBBIE                2765          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
22332290   ARRINGTON            JUDY                  0753          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
28556137   ARRINGTON            LESLIE                6763          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
15963539   ARROWOOD             DEBORAH               6719          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
54904445   ARROYO               PEGGY       LEE       0163          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
74321903   ARSENAULT            DONNA                 3545          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
81407824   ARSENAULT            VICKI       LYNN      3184          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
62703169   ARTEAGA              DOREEN                3045          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
87964998   ARTEAGA              SHIRLEY               1873          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
63676136   ARTERBRIDGE          TINA                  7427          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
81849898   ARTHUR               TONYA       L         2649          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
21654433   ARTIAGA              JOANN                 3273          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
87524421   ARVELO               VALERIE                      1958   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
35215999   ASCANO               ODALYS                4249          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
43580988   ASCHENBRENNER        GLINDA      L         6907          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
40955928   ASENOGUAN JONES      MINNIE                7536          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
68348201   ASHBURN              LINDA       K         4563          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
57187189   ASHFORD              GWENDOLYN                    1967   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
43769807   ASHLEY               BETTY                 8955          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
77121914   ASHLINE              TAMMY                 1771          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
83507258   ASHTON               JANICE                2656          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
80898092   ASHWORTH        IV   JAMES       RICHARD   3198          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
70938576   ASKENETTE            DEBRA                 8387          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
18267194   ASSANTE              GAIL                  3807          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
14811442   ASTLE                JAMIE                 4431          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
75432151   ASZTALOS             CHARLOTTE             6920          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
93266674   ATIR                 LINDA       L         9380          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
87874933   ATKINS               ANITA                 8704          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
44132325   ATKINS               ROSE                  5274          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
39385965   ATTAWAY              WILDA       A         7012          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
37592513   ATTENDORN            KAREN                 5947          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
11716492   AU                   CARIN                 2635          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
78846864   AUERBACH             ALLISON               8164          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
92107117   AUGUSTINE            NICOLE                8991          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
97183056   AULD                 ANITA                 9966          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
95520326   AULTMAN              DOROTHY               6889          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
28763582   AULTMAN              KATHERINE             3670          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
30560354   AUSTIN               CHRISTINA             9027          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
12292391   AUSTIN               ERIN                  8417          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
61049591   AUSTIN               NANCY       B         2505          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
42345876   AUSTIN               NICOLE      ANNE      8053          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
25360547   AUSTIN               PATRICIA              5104          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
77698197   AVANT                LANIER                3686          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
94737501   AVANT                LYNETTE                      1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
49117110   AVENT                APRIL                 1470          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
99289994   AVILA                BONITA                9835          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
81663952   AVILA                NANCY                 5592          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
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44988967   AWWAD        KITAM                     0325   REJECT
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                                                                  OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES
                                                                                                                                                 Ex. 23
                                                                                                                                                    YES
80342161   AYALA        YVONNE                    0141   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
38922535   AYERS        CLYDENA       S           5817   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
39486646   AYERS        DOROTHY                   4153   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
32168725   AYERS        MOIRA                     8299   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
15395497   AYERS        SONYA         MARIE       8673   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
84178627   AYKENS       NICHOLAS                  4316   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
56375889   AYLWARD      DEBRA                     3267   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
71886752   AYRE         DIANE                     3473   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
14674216   AZARIAN      BARBARA                   5967   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
17615861   AZBELL       ANN                       2765   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
12135870   AZEVEDO      SHARON                    7798   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
68391858   AZIMI        AZAR                      5618   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
41017067   AZIZ         EDNA                      9001   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
73342590   AZIZ         SHNO                      6090   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
72228415   AZNAR        DEBORAH                   9497   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
48403146   BAARS        KENNETH                   6661   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
57552140   BABB         MARJORIE      A           6319   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
27060584   BABCOCK      MONA                      8085   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
54584916   BABCOCK      SANDI                     5034   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
89014215   BABERS       ROSE                      8101   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
33771230   BACA         PATRICIA                  0132   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
45245406   BACK         CHERI                     3258   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
47135773   BACKLUND     JEAN                      1578   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
29538141   BACON        DERAL                     5078   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
86174322   BACON        DOROTHY                   8370   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
65610217   BACON        SANDRA                    7132   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
94856710   BAGGETT      ILONA                     7832   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
60233476   BAGGETT      LORA                      0109   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
29821077   BAHRE        JAMES         H           0606   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
88472305   BAILES       DOREEN                    6749   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
91474850   BAILEY       ALMETER                   3773   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
56528167   BAILEY       BRENDA                    4190   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
86804045   BAILEY       DEBORAH       RENEE       8157   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
75296883   BAILEY       ELIZABETH                 7158   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
87669033   BAILEY       GARLAN        LEE         6399   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
60605680   BAILEY       JANE                      4965   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
63614430   BAILEY       JANET         MARIE       6002   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
15779223   BAILEY       JOELLA                    6910   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
23879750   BAILEY       JOYCE                     5128   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
25587330   BAILEY       KELLI                     1026   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
31271124   BAILEY       KELSEY        LYNN        5990   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
44381397   BAILEY       LENA                      0059   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
55654796   BAILEY       LINDA                     1587   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
80296428   BAILEY       MARK                      0038   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
86636976   BAILEY       ROBERT                    8154   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
81200764   BAILEY       SALLY                     7340   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
56061977   BAILEY       SHERETTA                  6338   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
26774790   BAILEY       TINA                      2375   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
21431418   BAINES       ROSALIND                  6938   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
77278478   BAIR         JUDITH                    2572   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
93512077   BAIRD        JOHN          WILLIAM     1816   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
50572052   BAITEY       DOROTHY                   1014   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
57425789   BAKER        BEATRICE                  3399   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
59660374   BAKER        CECILIA                   3316   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
11628971   BAKER        CLARA         E           3385   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
92155395   BAKER        DEBORAH                   8414   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
32686327   BAKER        KATHY         H           0034   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
93666767   BAKER        LUANN                     8754   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
43395876   BAKER        MARY          KATHERINE   1830   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
22269913   BAKER        MISTY                     1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
94615732   BAKER        SHERRY                    0880   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
98863209   BAKER        SUSAN                     8040   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
15886562   BAKER        SUSANNAH                  9002   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
88306912   BAKER        THOMAS        MARK        3840   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
42070025   BAKER        WANDA                     3729   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
21847412   BAKKACH      ANDRIA                    5863   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
66204838   BAKKEN       BRAD                      7838   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
45657703   BAKMAN       DEBBIE                    1055   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
27774468   BAL          RAYNA                     6759   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
72666837   BALBOA       LISANDRA                  2763   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
61901791   BALDERRAMA   DIANA                     5580   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
54474728   BALDRICK     VIOLET                    7265   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
90823983   BALDRIDGE    PAULINE       S           1343   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
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88753708   BALDWIN          GLORIA              3730          REJECT
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                                                                       OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES
                                                                                                                                                      Ex. 23
                                                                                                                                                         YES
76448884   BALDWIN          JEANNE              7076          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
70255346   BALDWIN          SHARON              0386          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
51695063   BALDWIN          SONJA               4220          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
15988781   BALE             PAMELA              9677          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
72714670   BALES            SANDRA              0760          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
46212690   BALESTRERE       TONI        L       7842          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
55902961   BALL             JUANITA             5762          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
39602458   BALL             STEVEN              9183          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
92387776   BALLARD          SHARON      K       4426          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
45965776   BALLARD          VENICE      E       7983          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
32016110   BALLARD          WILLIAM             6834          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
13508616   BALLOU           FLORETTA            8132          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
82900359   BALOUGH          HAROLD              2191          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
26976160   BALZER           DIANE               6641          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
50736946   BANALES          BERTHA      L       0847          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
11593751   BANDOH           ABYSSINIA           2722          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
30938087   BANGERT          MYKA                       1977   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
44744077   BANKS            ASHLEY              8946          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
92432385   BANKS            ESTHER      DEAN    2106          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
14630015   BANKS            LASONIA             9277          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
93823273   BANKS            LINDA               2766          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
20851243   BANKS            MONICA      DIANE   0232          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
51534551   BANKS            PRUNELLA            0029          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
94849752   BANKS            SHARON              6152          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
91351689   BANKS            TYLER               2137          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
19731778   BANKS ANDERSON   SHIRLEY             2657          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
73289656   BANKS BROWN      TERESA              7429          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
81855260   BANKS COCHRAN    MARVALENE           8588          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
61056377   BANKS GARVIN     CARRIE              7547          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
72374539   BANKSTON         CATHERINE           0586          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
41859186   BANNAR           DOROTHY             9021          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
79430378   BARANICH         TERRI       ANN     6415          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
18550873   BARBEE           PATRICIA            1164          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
61835871   BARBER           ALMALFA             6012          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
67026442   BARBER           AUDREY              7777          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
39708102   BARBER           CAROL               4646          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
96057686   BARBER           DENISE      E       1108          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
33867169   BARBER           LENA                4138          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
94458943   BARBER           LINDA       C       1139          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
67223282   BARBER           PHYLLIS     WEBB    4332          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
84817062   BARBERA          MARYANN                    1958   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
50732787   BARBOSA          TINA                4541          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
98092429   BARCELLONA       KATHRYN             5381          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
58280781   BAREFIELD        ESSIE               9529          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
65891286   BARETTA          LINDA               0638          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
86422474   BARFIELD         SHAR                2960          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
82970847   BARGE            ROCHELLE            9422          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
64472772   BARHAM JACKSON   PATRICIA            2348          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
84696748   BARKER           DEBORA      C       5982          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
54775125   BARKER           IVA         F       5665          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
91743900   BARKER           PATRICIA            8138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
85736613   BARKER           PEGGY       SUE     1039          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
24396162   BARKER           SHIRLEY             3479          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
22586748   BARLOW           SHEILA              9346          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
40773923   BARNES           BERNICE             8363          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
46022820   BARNES           BRENDA              4998          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
99204724   BARNES           CHERYL              9747          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
97992707   BARNES           CYNTHIA             8104          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
77462760   BARNES           DANA                5279          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
63930772   BARNES           KATHY       J       1316          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
27805113   BARNES           KISHA               5119          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
45237042   BARNES           LIDDIE      IRENE   9967          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
12724827   BARNES           LORETTA     KIM     4081          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
97921739   BARNES           ROSALIND            5067          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
48203286   BARNES           SANDRA              7627          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
40328943   BARNES           SUSIE       L       6729          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
48285578   BARNETT          CAROL               4624          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
98351803   BARNETT          DAWN                0930          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
95426011   BARNETT          DONNA               3590          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
25854352   BARNETT          KIM                 2809          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
81326865   BARNETT          LAURA               3432          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
87909749   BARNETT          RUBY                2705          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
76123788   BARNETT          TAMMY               6754          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
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46633691   BARNHART         JONI                      1405          REJECT
                                                                                   PageID: 258430

                                                                             OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES
                                                                                                                                                            Ex. 23
                                                                                                                                                               YES
45052635   BARNHART         TRINA                     6226          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
64968770   BARNWELL         PATRICIA                  6954          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
59685432   BARON            LHYA                      7270          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
90207233   BARONE           ELVIRA                    2232          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
74009011   BARONE           MICHAEL                          1968   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
90347110   BARR             BETTY                     6603          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
13224376   BARR             DOLLY                     1469          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
52223076   BARR             GAIL                      2894          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
34497148   BARR             MARY                      1735          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
53353525   BARR             SHARON        ANN         9544          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
49144601   BARR             TERRI                     1374          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
27019943   BARR             VIRGINIA      HELEN              1937   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
50806053   BARRACK PALMER   HILLARY                   6181          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
48540200   BARRACO          CHRISTINA                 7533          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
60374208   BARRE            GINA          M           6796          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
60479953   BARRERA          MAXIMO        JACOBITZ           2002   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
91606058   BARRERO          HERMINIA                  7579          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
97825681   BARRETT          ANGELA                    8711          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
57811179   BARRETT          BETTY         ELIZABETH   2878          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
32774032   BARRETT          MARGARET      FAYE        9635          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
43203490   BARRETT          RONALD        H                  1929   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
79461297   BARRETT          SHIRLEY                   0956          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
16136843   BARRETT          TAWANA                    6701          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
29400383   BARRINGTON       TEBNII                    2291          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
87721394   BARRON           JAINE                     1620          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
93664375   BARRY            SCOTT                     8603          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
67310330   BARSALOUX        MARY                      9436          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
17894013   BARTELL          JOEL                      5624          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
57185213   BARTELS          JUSTINE                   8635          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
13349215   BARTLETT         BARBARA                   2980          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
40235418   BARTLETT         CAROL                     5855          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
52298366   BARTOLOMEU       GERALDINE                 1747          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
74077068   BARTON           CINDY         MAY         5573          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
78115214   BARTON           DIANE                     8988          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
35714970   BARTOSZEK        JOAN                      0956          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
86176017   BASHA            LOVY                      2746          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
59501991   BASHORE          CLYDE                     3163          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
85372018   BASS             BETTY                     0022          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
71594334   BASS             GENNETTA      ONDLENDA    4714          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
75583894   BASS             MARGARET      A           9499          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
21793651   BASS             OKSANA                    4655          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
87138534   BASS             WILLIAM                   4410          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
88132915   BASSETT          MELODY                    1107          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
62794125   BASSLER          TAMELA                    3096          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
99714724   BASSONG          BARBARA                   1544          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
42425303   BATCHELDER       ANNE          E           0734          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
68651442   BATCHELOR        CRISTY                    3448          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
14090383   BATCHELOR        EUGENIA       ANN         7833          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
99218535   BATES            JEAN                      6609          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
77866463   BATES            JUDITH        W           9727          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
80102028   BATES            LYNDA         M           1684          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
60515522   BATES            NANCY         CHU         8764          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
97240564   BATISTE          BAROLYN                   1081          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
43488210   BATISTE          PATRICE                   6127          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
22735652   BATTAGLIA        PAMELA                    1795          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
59970453   BATTEN           GAIL                      4304          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
96845812   BATTERSON        ROBIN                     4728          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
16513270   BATTERTON        CAROL         ANN         3325          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
43423604   BATTISTO         SUSAN                     2599          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
26367257   BATTLE           SONYA                     9209          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
37268927   BATTLES          CONNIE                           1949   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
18241635   BATTS            LISA          P           5221          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
26062992   BATURA           NANCY                     7405          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
76340155   BAUDER           CAROLYN       SUE         9400          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
15808218   BAUER            JANET                     2275          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
20079497   BAUER            LYNDA         F           5883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
11821070   BAUHS            RAY                       2463          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
51263561   BAUKNECHT        JEFF                      0102          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
78429141   BAUM             BETTY                     2618          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
38821525   BAUM             STEVEN                    7256          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
78086314   BAUMBERGER       MARIBEL       L           4902          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
63943484   BAUMEISTER       LYNNE                     4280          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
92692734   BAUMEISTER       SHERYL                    0096          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
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84997825   BAXLEY           JESSE       NORMAN     3199          REJECT
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                                                                          OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES
                                                                                                                                                         Ex. 23
                                                                                                                                                            YES
87352671   BAXTER           OMEL                   9553          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
74295683   BAY              DEBORAH                6399          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
67418533   BAY              ELMER                  0923          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
73956915   BAYHI            JULIE                  7547          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
21022472   BAYLES           PHYLLIS     FOX        7422          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
29561616   BAYLESS          LILLIE                 3110          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
45027052   BAYNE            PHYLLIS     SUAZO      5739          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
28344588   BAYSTER          DEBORAH     DAWN       5067          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
15602818   BAZEMORE         CHARLENE               2420          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
24166096   BEACH            KATHY                  0946          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
15431545   BEACH            KERRY                  5424          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
21307869   BEADLING         LAURA                         1973   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
77633298   BEALE            LAJUANA                7222          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
35644463   BEALER           RONALD                 6112          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
83395841   BEALS            TASHA                  6521          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
70060801   BEAMAN           BARBARA                1126          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
70158128   BEAMAN           MARGARET    ANDERSON   2341          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
51979758   BEAN             KAREN       S          8260          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
13979112   BEAN             PATRICIA    M          7954          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
94279565   BEAN             VENESSA                8416          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
22316458   BEANE            MICHELLE               0200          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
52893610   BEAR             TONIA                  8901          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
65755117   BEARD            MATTIE                 5492          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
96792447   BEASLEY          CAROL       ANN        6239          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
49785671   BEASLEY          DESSA                  7853          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
51801639   BEASLEY          KENNETH                9910          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
90738809   BEASLEY          MARILYN                6503          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
64396658   BEASON           TIFFANY                7113          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
21884382   BEATTY           DONNA                  3677          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
74474940   BEAUMONT         NANCY                  9300          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
49960986   BEAVER           DORIS       J          7025          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
21548327   BECERRA          MARGARITA   B          8577          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
19895723   BECHARD          JORDAN                 5094          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
71687454   BECK             CAROL       EVELYN     4061          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
19039247   BECK             GOLDIE      H          1330          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
46992688   BECK             KATHLEEN               1676          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
86680974   BECK             STEVE       M                 1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
79648119   BECK             SUSAN                  6106          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
47126689   BECKER           LISA                   3644          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
28570033   BECKERMAN        FREDERICK              3844          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
90252039   BEDDINGFIELD     LARRY       JOE        0450          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
29786221   BEDELL           DOROTHY     HAMMELL    9973          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
50981050   BEDGOOD          DONNA       M          6056          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
33206843   BEEBE            MARY                   3802          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
99725233   BEECH            VICKY       LYNN       3327          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
67923949   BEELER           JEANNE                 9254          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
34362552   BEELEY           TINA                   6816          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
19784919   BEER             BARBARA                4021          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
91874562   BEERS            BRENDA                 4405          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
27618588   BEETAR           DEMETRA                3041          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
41848684   BEGAYE           AUDREY                 8028          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
80529265   BEGAYE           SHIRLEEN               6034          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
72566682   BEGLEY           ELIZABETH              8796          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
35284815   BEGLY            LINDA                  6211          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
60462361   BEGUN            RHONDA                 5338          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
89244342   BEH              ERICKA                 8368          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
29524037   BEHAN            SALLY       ANN        2387          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
26799354   BEIRNE           ROBERT                 1862          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
59221074   BEISHIR          JUDITH                 5271          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
39295287   BEJARANO         IRMA        A          0905          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
67751523   BELAIR           CONNIE                 2626          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
66574368   BELCHER          RITA                   1134          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
45444044   BELCHER MILLER   BERNICE                3664          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
41244333   BELK             FRANK                  3117          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
39197855   BELKNAP          MIKE                   7355          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
96217130   BELL             ANNE                   5340          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
45191469   BELL             ANNIE       MAE        3283          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
66781458   BELL             CYNTHIA                2388          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
17784577   BELL             DEBORAH                2325          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
41907855   BELL             DIANE                  5887          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
19863160   BELL             DOROTHY     L          9274          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
43224234   BELL             FREEMAN     LEROY      5450          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES          YES      YES
48014359   BELL             GAIL                   0660          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES          YES      YES
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31060010   BELL              GARY                 9297          REJECT
                                                                               PageID: 258432

                                                                         OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES
                                                                                                                                                                         Ex. 23
                                                                                                                                                                            YES
73618084   BELL              KRISTEN              5553          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
44468502   BELL              LATASHA     M        3294          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
76122167   BELL              LEKISA               2326          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          VULVAR INTRAEPITHELIAL NEOPLYES           YES      YES
98755620   BELL              LUCILLE              8167          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
93153389   BELL              LYNETTE              7935          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
13280867   BELL              MAMIE                4449          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
89546399   BELL              PAULA       J        5765          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
86496341   BELL              SAMANTHA                    1987   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
72633077   BELL              TRACY                8073          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
75279173   BELLA             DENNIS               0655          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
91408027   BELLARD           SABRINA              0988          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
11616035   BELLE             JESSICA              7617          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
28099895   BELLINA           LESLIE               5940          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
33258728   BELLINGER         MARTHA      EMILY    8489          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
76621746   BELLOMA           WILLIAM     L        1227          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
69294313   BELLOMONTE        CAROL                6179          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
28606677   BELONEY           GAIL        M        3065          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
33792107   BELPULSI          JOYCE       ANN      1407          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
68418621   BELSER            SHIRLEY              2701          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
12039495   BELTON            LINDA                1201          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
66646949   BELTRAN           CARIDAD              9047          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
35784115   BELUSH            CYNTHIA              7535          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
29277482   BELZMAN           JULIE       A        5159          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
97168000   BENAGH            KIMBERLY             0468          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
25539960   BENDER            DIRK                 4306          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
71780078   BENDOLA           JAMIE                1257          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
73881748   BENEFIELD         JUANITA              2441          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
63856457   BENIGNO           SHERRY               1450          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
68098038   BENJAMIN          PATRICIA             1651          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
88799452   BENJAMIN          TONIA       Y        4917          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
69450222   BENNETT           DARIN                4676          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
15077966   BENNETT           KAREN                2267          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
97730285   BENNETT           KELLEY               7293          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
62565879   BENNETT           LINDA                7111          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
22387759   BENNETT           MARIE                4062          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
14880309   BENNETT           MICHELLE             4992          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
77063063   BENNETT           MIMI                 3227          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
69940869   BENNETT           STACEY               5043          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
29546730   BENNETT           SUZAN                1815          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
31577908   BENNETT           TARA        BEMIEL   4110          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
58987988   BENNETT           TONI                 3203          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
57370680   BENNETT           WANDA                2249          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
72697876   BENNETT           WANDA                8065          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
61385247   BENNETT           WILEY                       1957   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
97514768   BENNICI           ANNALISA             4103          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
52381531   BENNINGS          CRYSTAL              8432          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
36624407   BENSON            CHERYL      S        9680          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
40750050   BENSON            EASTER               9439          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
49380895   BENSON            MICHELLE             9271          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
97839547   BENSON            VELVET      M        7022          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
12085123   BENSON HUTCHFUL   ANNETTE              3550          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
99002167   BENTHIN           BRENDA               0753          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
14952752   BENTLEY           CAROLYN              3483          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
24518118   BENTLEY           MARILYN              4200          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
58842800   BENTLEY           TERESA               4708          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
40415472   BENTO             JOSEPH               6878          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
19833826   BENTO             PRISCILLA   J        4442          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
79688625   BENTON            BARBARA              3412          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
36507742   BENTON            ROBERTA              3485          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
65123596   BENTON            WANDA       NADENE   0883          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
22687152   BENZER            JULIE       ANN      5868          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
70894694   BERARD            JOSEPH      THOMAS   0013          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
17731727   BERARDI           LUCILLE              3763          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
46204549   BERBERICH         LOLA                 0321          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
91700092   BERCIER           SUSAN                5920          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
28301407   BERENS            KATIE       JOANN    2408          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
19557185   BERG              JACLYN               1164          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
34314564   BERGEN            MICHAEL              6155          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
12439902   BERGER            CATHERINE            6149          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
69404097   BERGER            HAZEL                4062          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
49084049   BERGER            SARI                 7311          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
74749047   BERGHORST         LINDA                6432          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
29619013   BERGIN            JAMES                7130          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
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27647339   BERGLUND      LINDA                1270          REJECT
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                                                                     OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                     Ex. 23
                                                                                                                                                        YES
50634142   BERMUDEZ      MAYRA                1132          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88301403   BERNABE       SHERYLL              0112          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77489394   BERNAL        JULIA                8591          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23941996   BERNARD       GLENDA       SUE     2327          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97901910   BERNARD       JOHNNY               9184          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53413603   BERNARDI      SHARON               9536          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99889178   BERNHARD      DEANA                4663          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30739676   BERNHARDT     TIMOTHY              0518          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28303004   BERNHART      BARBARA              3948          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80605612   BERRIOS       SONIA        I       0015          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63440006   BERRY         CHERYL               7121          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21213362   BERRY         CHERYL               7703          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92666865   BERRY         CHRISTINE    MARIE   9902          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64298217   BERRY         DANA                 2588          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32671008   BERRY         KENYA                0429          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94622936   BERRY         MARCELLA     M       5831          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34268760   BERRY         MARY         H       6308          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99284823   BERRY         PHILIP               1220          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82105220   BERTAGNA      ROSEANN              2005          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48523728   BERTALAN      SOPHIE       B       0867          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33037441   BERTHIAUME    MARIANNE             4577          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32297329   BERTLING      DANA                 6041          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90703453   BERTRAM       TAMMY                1795          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80373170   BERTRAND      FELICIA                     1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62190548   BERTRAND      MARY                 0017          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80121588   BERTSCH       SHIRLEY              8790          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29834515   BESHEARS      PEGGY                0365          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47845389   BEST          ROSALYN              0863          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49528427   BETHEA        STEPHANIE            2356          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96018283   BETHEL        JOAN         LEWIS   1645          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58918744   BETHUNE       MARY                 8312          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69368198   BETKE         CYNTHIA              3362          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76943715   BETSINGER     BRIDGET              2975          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81385005   BETTENCOURT   COREY                       1992   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19890602   BETTS         DERRICK              6595          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91066498   BEURMAN       BONNIE       ROSE    9897          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30884315   BEVERLY       DONNA                7821          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51507460   BEXLEY        CHARLA               7100          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30977437   BEY           ANTOINETTE           4506          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32816057   BIANCHI       MCKENZIE             2522          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12763183   BICKLEY       KAREN                       1961   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56419431   BIDDLE        MELISSA      M       1208          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49736441   BIEBER        PEGGY                8852          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90869019   BIEGEL        MELISSA      MARIE   6248          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94301031   BIEHL         DOLORES              8072          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60135704   BIENICK       LISA                 7914          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28016764   BIGGER        DEANNA               6558          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61137886   BIGGS         JANE                 9783          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23560669   BILELLO       LYNETTE              4227          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17380352   BILLER        VIRGINIA             6169          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66158119   BILLINGS      GAIL                 9096          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28214555   BILLINGSLEY   NICHOLAS                    1990   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89801089   BILLIOT       KATRINA              0169          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47303087   BILYEU        WENDY        MARIE   9014          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93488424   BINDER        DEBORAH              2115          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39598967   BINGHAM       ANGELA               0687          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55351253   BINGHAM       LISA                 1299          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99212923   BINGHIERI     MARY         ANN     9435          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74367831   BIRD          LORI                 6269          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68580787   BIRDINE       RUBY         R       2675          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94484479   BIRDSONG      TRACY                2170          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47106466   BISHI         FANNIE               3411          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87777091   BISHOP        ALISHA               1084          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40983937   BISHOP        DEBRA                1351          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93221702   BISHOP        EDNA                 6312          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54231578   BISHOP        JANEEN               7236          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16540512   BISHOP        LINDA                1163          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24296555   BISHOP        LORI         ELLEN   9003          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23119386   BISSON        LORI                 1042          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68163802   BITTLE        MARGARET             0911          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78414289   BIVENS        MORINE       H       3309          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84119481   BIXLER        JANET                8963          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51309322   BJORKMAN      DARLA                0746          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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56415252   BLACK                DEBRA                  6755          REJECT
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                                                                              OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                 YES
16358071   BLACK                LAURA                  3613          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48171840   BLACK                RAMON                  8733          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51699507   BLACKBEAR            LORRIE       L         0144          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42975029   BLACKBURN            CHARLES                5560          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46216793   BLACKWELL            IRENE                  7174          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98260894   BLACKWELL            VERA                   9335          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99533590   BLACKWOOD            CHRISTIANE   MARIE     6229          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77561761   BLADE                KAREN                  5275          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65750617   BLADEN               RUSSELL                8518          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81409496   BLAIR                BEATE        JOANNA    9057          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83574817   BLAIR                FRANCES                7598          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60610905   BLAIR                MICHELLE               4594          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87529084   BLAISDELL            DIANE                  9674          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81091144   BLAKE                ANNA                   1524          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28745595   BLAKE                AYISHAA      M         2565          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39745516   BLAKE                JOYCE        J         9416          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29469248   BLAKE                PAMELA                 1852          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51805297   BLAKELY              JULIE        MAE       7863          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76008163   BLAKLEY              ANNIE        M         1147          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78515999   BLAKLEY              RUTH         A         8160          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20545290   BLANCHETTE           RUTH         ANN       6715          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71112660   BLAND                THELMA                 4592          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33409215   BLANDFORD            MELISSA                6861          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68482186   BLANDON HANDY        PAULA                  6038          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15064373   BLANKENCHIP          DAWN         D         4938          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17457398   BLANKENSHIP          ROBERT                        1948   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50468984   BLANKENSHIP          ROCKY                  4072          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18977329   BLANKS               MARTHA       SUE       1790          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80526476   BLANTON              BETTY        J         8762          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75884727   BLANTON              TAMMI        L         2156          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75585022   BLASKO               KATHY                  6684          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76096462   BLATNER              ANITA                  7138          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72216272   BLAUSER              SAMMY                  3086          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64055486   BLEA                 LUCINDA                6820          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97867855   BLEDSOE              CAROL                  6224          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17503652   BLEDSOE              TAMARA                 5127          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54755567   BLEEHAUS             SHARON                 8450          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11156258   BLEMKER              WARREN       DOUGLAS   5889          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21615150   BLEVINS              LAURA                  0357          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90253152   BLEVINS              TINA                   9683          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15191778   BLISH                JANICE                 3904          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86497363   BLISS                GEORGIA      ANN       1580          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62834164   BLOCKSON             SHELIA       RENA      7589          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75868105   BLOOD                DEBORAH                3998          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87700209   BLOOM                ALISON                 0786          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83031835   BLOOMER              BERT                   0983          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91316217   BLOSE                BEVERLY                8064          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40134410   BLUBAUGH             SALLY        A         9920          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44266912   BLUE                 TERESA                 5417          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61423598   BLUM                 SANDRA                 1077          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46522793   BLUTCHER             LISA                   2014          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16032772   BOATWRIGHT           JACQUELINE             4575          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62921809   BOBBITT              SHIRLEY                9352          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25317341   BOCHAN               PATTY        J         9259          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44018523   BOCKMANN             CHRISTINE              6643          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42514573   BOCOOK               CHERYL                 0453          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96396538   BODDEN               STACY        RAE       4071          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24770694   BODEN                MARCEE                 5225          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46714283   BODIFORD             JEWEL        B         1712          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67341052   BODIRLAU             CRISTIAN               0725          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62835292   BODISON              MICHELE                3113          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65756635   BODURA               ROXANN                 8013          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95426235   BODWALK         JR   ROGER                  2136          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53907472   BODY                 SUPORN                 9699          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68002890   BOEDER               LAVONNE                       1960   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15315459   BOERGERS             JANICE                 1418          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38706588   BOERSMA              CONSTANCE              8110          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15394065   BOGARAD              CATHERINE    F         9434          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67929383   BOGERT               AMANDA                 9165          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33465623   BOGLINO              ROSEMARY               8523          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30307139   BOHANNON             ELEANOR      M         2036          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70736667   BOHANNON             NIKKI                  4607          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29470663   BOHL                 MELANIE                8981          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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17413569   BOHM             LISA                   6352          REJECT
                                                                                PageID: 258435

                                                                          OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                             YES
74549455   BOHONIS     SR   MICHAEL      J         4520          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73312203   BOHUNY           BARBARA      I         4173          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96319434   BOIS             PATRICIA               3784          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55459901   BOIVIN           MARCIE                 1601          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46791702   BOJORQUEZ        JESSICA                9194          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84722335   BOLAND           JULIE                  0899          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28149347   BOLDEN           MARY         LEAN      6939          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51922846   BOLDEN           MELISSA                9742          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32299076   BOLDING          BRENDA                 4406          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62408729   BOLDT            DENISE                 5735          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41190813   BOLEN            HELEN        LOUISE    5590          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21472784   BOLEN            VANESSA                2858          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62228936   BOLES            ANGELA       TRAVIS    5748          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96035389   BOLES            DORIS        L         7714          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51066482   BOLING           RITA                   5563          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45101789   BOLING           STEPHANIE              8266          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14284577   BOLINGER         RITA                   3423          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15045006   BOLLARD          RANDALL                9400          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28672228   BOLLMAN          DONNA                  6783          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61218455   BOLTON           SUZY                   1719          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56588884   BONA             MARIA                  6259          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23555373   BONACCI          MARGARET     A         9367          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38695687   BOND             KIMBERLI               4562          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45310963   BOND             LATONYA                5588          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94715791   BOND             WILLIAM                2958          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29277716   BONDS            JENNIFER               4445          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67827055   BONDS            KELLY                  3880          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32892041   BONDS            STEPHANIE                     1979   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89988966   BONETTI          BRETT                  5376          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30885624   BONILLA          SARAH        KROCKER          1980   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78325753   BONNETT          KATHI                         1959   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72977745   BOOKER           MANUEL                 8929          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25285704   BOOKER           TENESIA                2223          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19918660   BOOKHART         DONNA                  4737          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18779065   BOOKHART         TRACEY       T         5248          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23722236   BOONE            ROBERT                 5424          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33541343   BOOSE            CYNTHIA                6619          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27733197   BOOTH            JEANNE                 8788          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44483590   BOOTH            LEANN                         1974   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17842588   BOOTS            MARK                   0480          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53599086   BOOTS            SUSAN                  0571          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46368550   BORDEN           JOYCE                  2819          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61029961   BORGES           JEANETTE               8932          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42930272   BORGH            PATRICIA               5854          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49176080   BORN             JEANIE                 9865          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79618742   BORN             JENNIFER               1325          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32554370   BOROWSKI         CARRIE       KAY       4398          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30081445   BORTLE           SHARYN                 7222          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65755962   BORZELLO         ELYSE        RENEE     2663          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89282169   BOS              JEANNETTE    KAY       3371          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78890126   BOSSERMAN        TERRY                  5347          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42504732   BOSTIAN          MARILYN                0352          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70727814   BOSTON           RAYETTE                6248          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84969408   BOTERO           DIANA                  8322          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39337028   BOTHWELL         ROSEMARY               5689          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39471394   BOTHWELL         TAMMY                  9524          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94996324   BOTT             JACQUELINE             6318          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28939398   BOTTOMS          CARSON                 0090          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73726354   BOTTONE          ANGELA                 9299          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49783981   BOUCHER          JOSEPH                 9245          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25967000   BOUDREAU         PATRICIA     A         1851          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21391594   BOUDREAUX        DIANA                  7477          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15572707   BOUDREAUX        JEAN                   0711          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26270486   BOUDREAUX        VICTORIA               9667          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35383696   BOULAS           BRIAN        PAUL      4285          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62682120   BOULDEN          STEPHEN                1247          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33267173   BOULER           SARAH                  9927          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47076266   BOULEY           LISA         A         3006          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23691468   BOUNDS           JOAN                   5700          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97283137   BOURDEAU         JOSEPH                 0513          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65912705   BOURGEOIS        CHARLES      ALLEN     4510          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95685546   BOURGEOIS        DUANE                  8925          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39246302   BOURQUE          JENNIFER               7491          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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59529756   BOUTERIE             WAYNE        ANTHONY   0862          REJECT
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                                                                              OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                 YES
46703832   BOUTHILLIER          VALERIE                7437          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60271139   BOUYER               AVA                    9332          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75357461   BOWDEN               LINDA        F         9346          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55698155   BOWDEN               LIZZIE                 8570          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16621081   BOWDEN               MARY                   1588          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44008063   BOWE                 RUTH         ELAINE    0939          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33116466   BOWEN                JAMES                  9868          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84756601   BOWEN                LYNN                   0455          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75060966   BOWEN                MARGARET               4411          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43822348   BOWEN                TINA                   8947          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39805587   BOWERS               CARRIE                 0496          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92604294   BOWERS               DIANE                  1148          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25015918   BOWERS               JAMES                  7989          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63863841   BOWERS               LISA         MARIE     8160          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84476169   BOWERS               MAE          EMMA      9653          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20379369   BOWERS               RICHARD                0720          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61268343   BOWERS               VERA                   6342          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99125396   BOWERS               VIRGINIA               4655          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14985862   BOWMAN               BECKY        FLYNN     2365          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30868034   BOWMAN               ELLA                   4098          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15133961   BOWMAN               JACQUELINE             5120          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74615257   BOWMAN               LOUISE                 6922          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29490448   BOWMAN               VICTORIA               8197          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11251740   BOWSER               MARY         LOU       3524          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37266250   BOWYER               TINA                   0998          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73834031   BOYCE                BARBARA                       1953   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50958980   BOYD                 AMANDA                 7642          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30731483   BOYD                 DEBORAH                0418          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22197367   BOYD           JR    ELMER                  6358          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56149162   BOYD                 EMMA                   3291          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50926950   BOYD                 FRANCINE               1609          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84234996   BOYD                 KATHERINE              0898          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95099368   BOYD                 PENNY                  1479          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46932338   BOYD                 ROBERTA                6931          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13224613   BOYD                 SHAWNTE      M         4016          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29748902   BOYD MAY             LOUISE                 3883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33154588   BOYER                MELODYE                1679          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43779577   BOYER                PATTIE                 8863          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69812892   BOYER                VERONICA               0926          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90136898   BOYKIN               CARRIE                 0060          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92342042   BOYLE                LYNDA                  5244          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42629210   BOYLE                ROBERTA                9377          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30438750   BOYNTON              LISA         KELLY     0066          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49775466   BRABO                SHARON                 6506          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77456199   BRACAMONTES          GUADALUPE    MEZA      9865          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66915733   BRACE                ANITA                  8414          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93542683   BRACKINS             PAULA                  6200          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55212391   BRADEN GRADY         LISA                   8829          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27733781   BRADFIELD            SARAH                  2665          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26256664   BRADFORD             TERESA       ANNA      7301          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22563121   BRADHAM              WINONA                 7733          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94037535   BRADLEY              CAROL                  7101          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83249987   BRADLEY              DAVID                  0436          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18354585   BRADLEY              MONICA                 9505          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49650778   BRADLEY              SANDY                  9719          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42868593   BRADLEY              TIABA                  0143          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17138028   BRADLEY              TONI                          1963   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21762230   BRADSHAW             CHARLOTTE              5410          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81719330   BRADSHAW             LANGDON                4831          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63925881   BRADSHAW             LAURIE       LYNN      1503          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71398933   BRADSTROM            CHARLES                       1942   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56128744   BRADT                CHARLENE               3489          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60940050   BRADY                BERNADINE              4367          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11727646   BRADY                DIANE                  4448          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94541271   BRADY                LISA                   7336          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95921876   BRADY                PRISCILLA              8209          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68926900   BRAGG                DERYL                  6687          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32722232   BRAITHWAITE    III   ALLEN                  3082          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62558107   BRAMUCHI             BARBARA                5932          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92093602   BRANAM               JANICE                 2877          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37636539   BRANCH               BARBARA                4127          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48956285   BRANCH               CASSONDRA              0019          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39781155   BRANCH               DELORES                0079          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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61093550   BRAND            ELDA                  8850   REJECT
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                                                                  OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES
                                                                                                                                                            Ex. 23
                                                                                                                                                               YES
77827566   BRANDI           BETTY                 3971   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
32271718   BRANDON          RICHARD               5900   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
17709574   BRANHAM          SHARI                 6737   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
31980003   BRANION          STEPHANIE             9277   REJECT   OPTION A CERTIFICATION   OTHER DISEASE          UTERINE LEIOMYOMATA   YES           YES      YES
40112858   BRANNAN          BARBARA               4234   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
58372626   BRANNEN          PEARL                 8802   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
69463948   BRANNIN          CARLY                 2848   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
77021130   BRANNON          WAYNE                 3280   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
51063366   BRANSON          JAMIE                 3966   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
76416195   BRANSON          OSCEOLA               7530   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
51581789   BRANTLEY         IDELIA                9646   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
18284017   BRANTLEY         LASHAUN               1263   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
69921000   BRAQUET          MARY        LYNN      8091   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
77281517   BRASE            JOHANNA               2386   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
73936735   BRASHER          JACK                  0983   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
25062626   BRAUER           DEBORAH               1057   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
12674968   BRAUN            CINDY                 0054   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
68373844   BRAVERMAN        GALE                  7058   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
79369418   BRAWAND          TOD         WILLIAM   8819   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
48558271   BRAZELLE         RILLA                 7208   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
92918396   BREEDEN          MARY        S         2643   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
24485516   BREEN            ELIZABETH   A         1332   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
26061914   BREGMAN          HELEN       S         9372   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
79475136   BREITMANN        AMY                   6108   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
33947188   BRELAND          RACHEL      ROCHELL   0830   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
59654143   BREMER           ELIZABETH   RENEÉ     2063   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
99377926   BRENDLE          PATRICIA              6245   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
86836530   BRENNAN          GAIL                  5113   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
47815635   BRENNAN          MARIANNE              1062   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
70454561   BRENNAN          NANCY                 6729   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
48362739   BRENT            PATRICIA              0318   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
76962468   BRENTON          ALICIA                7949   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
32317570   BRESCIA          HELEN                 8513   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
11844511   BRESHEARS        DAN                   2672   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
29380159   BRESSI           SANDRA      LEA       2453   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
84937129   BRETSCH          PHYLLIS     J         2515   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
37480861   BREW             ANNIE                 5109   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
23907092   BREWER           ANN                   3608   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
37441080   BREWER           DEBORAH               5878   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
98717883   BREWER           DIANNA                8207   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
16094852   BREWER           ELAINE                1739   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
23338985   BREWER           RITA                  9812   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
49694715   BREWER           SUSAN                 9359   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
99236391   BREWER           WENDY                 8551   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
76881200   BRICKER          AMANDA                1703   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
96044820   BRIDGERS         LINDA       FAYE      2439   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
21209223   BRIDGES          BOBBIE      J         7555   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
38253824   BRIDGES          DANA                  2740   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
14633579   BRIDGES          EDDIE       RUTH      7331   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
65902388   BRIDGES          ERNESTINE             0621   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
54912752   BRIDGES          KIMBERLY              7047   ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
80359256   BRIDGES          TERESA                2141   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
47083456   BRIDGES TAYLOR   MARJORIE              8888   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
89644130   BRIERY           GEORGIA               3094   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
89044411   BRIGGS           CINDY       J         9199   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
36753224   BRIGGS           PATRICIA              9880   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
23921739   BRIGGS           SANDRA                4545   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
50979893   BRIGHT           KIMBERLY              1699   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
34230088   BRIGHT           LINDA                 0804   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
48624649   BRILL            ROBYN                 3002   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
52421052   BRINKMAN         KRISTYN               8808   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
42655085   BRINLEE          MISTY       M         5372   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
42466432   BRIONES          PATRICIA              4735   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
49934543   BRISBANE         ROBYN                 3348   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
36848524   BRISSETT         HORTENSE    E         9798   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
32254676   BRITTEN          SHAMEKIA              3410   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
74958211   BRITTINGHAM      JUDY                  6966   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
70841476   BRITTON          CHARLENE              0820   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
20378191   BRITTON          MARY                  0909   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
43334660   BROADWATER       THOMAS      B         4706   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
42701402   BROCHU           JOSEPHINE             3048   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
74901291   BROCK            ALEXIA                0389   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
74176512   BROCK            BENJAMIN              1578   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
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35343690   BROCK            DARREN       W           7655          REJECT
                                                                                  PageID: 258438

                                                                            OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                            Ex. 23
                                                                                                                                                               YES
14337043   BROCK            ELIZABETH                3966          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70819958   BROCK            RUTH                     0358          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20179113   BRODE            JOAN         M           7991          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18523813   BRODERICK        SUSAN                    5175          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19152153   BRODNICK         DIANE        T           2079          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21016087   BROMELL          MORGEN       C           4490          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70717700   BROOKINS         MARTINA      D           7401          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94131927   BROOKS           CAROLYN                  0037          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23859951   BROOKS           CHARLIE      A           4930          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26944637   BROOKS           DELORES      N           9834          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27147704   BROOKS           DENISE                   3604          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64803890   BROOKS      JR   DOYLE                    5936          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46045030   BROOKS           JACQUELINE   ANN         8848          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74342161   BROOKS           JENNIFER     ASHLEY             1977   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96562415   BROOKS           KIMBERLY     JONTAE      9695          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33076206   BROOKS           OLIVIA                   3788          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67489350   BROOKS           RICHARD                  4003          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93823753   BROOKS           RUTH                     5047          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51355071   BROOKS           SARAH                    4880          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62710748   BROOKS           SUSAN        D           9941          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63570019   BROOKS           TIFFANY      J                  1979   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34424124   BROPHY           KELLEY                   6534          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79524293   BROTHERS         BONNIE                   3530          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26918739   BROTHERS         CORNELIA                 6838          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60188420   BROUSSARD   JR   NORRIS                   7009          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64022422   BROUSSARD        TWILEY                   1667          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99104452   BROWER           BARBARA                  2581          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84571158   BROWLEY          CHERYL                   0327          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87275861   BROWN            ADRIANNE                 7911          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92941984   BROWN            ALICE                    0497          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12598131   BROWN            ALICE                    1587          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92814447   BROWN            ALISON                   8651          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38147985   BROWN            ANNIE                    5177          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47709237   BROWN            BEVERLEY                 3082          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61654723   BROWN            BRIDGETT                 2988          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63609256   BROWN            CAROL                    1566          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57997396   BROWN            CAROLYN      S           1274          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28306522   BROWN            CHIQUITA                 4654          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30398999   BROWN            CINDY                    3243          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13375844   BROWN            DEANNA                   3654          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60072366   BROWN            DINAH                    2766          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91544195   BROWN            DORIASTINO               5938          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85378104   BROWN            DOUGLAS                  9383          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69221959   BROWN            DUSTIN                          1979   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94528015   BROWN            ELIZABETH    ALLDAY      3759          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61870726   BROWN            ELLEN        M           0048          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84042130   BROWN            EUGENIA                  6587          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60827403   BROWN            FRANCES      A           3451          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33987369   BROWN            FRANCES                  3875          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74125795   BROWN            GAIL         DIXON       7052          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83981858   BROWN            GILMICA                  6388          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38837590   BROWN            IRENE                    6507          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38373058   BROWN            JAMES        L           7275          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82742235   BROWN            JEAN         GENEVIEVE   6019          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99853313   BROWN            JEMIL                    4663          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15053790   BROWN            JOAN         A           6804          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69776040   BROWN            JOANNA                   6629          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79481201   BROWN            JOANNE       C           9759          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83773580   BROWN            JOSEPH                   5944          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23678476   BROWN            JOVAN        DENISE      2875          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23692773   BROWN            JOY                      5850          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19488276   BROWN            KATRINA                         1980   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15762245   BROWN            KIYANIA                  0828          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75443716   BROWN            KRISLYN                  0509          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63951345   BROWN            LANIER                   9167          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53661150   BROWN            LINDA                    3742          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71839517   BROWN            LINDA        M           4604          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15858043   BROWN            LINDA                    9471          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98439588   BROWN            LORA         DARLENE     9765          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59418501   BROWN            MARGARET                 8750          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59875739   BROWN            MARY         H           4629          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28729134   BROWN            MINNIE       LEE         7661          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27065690   BROWN            MOSES                    3678          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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50957025   BROWN          NAOMI            WATSON    6699          REJECT
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                                                                            OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                            Ex. 23
                                                                                                                                                               YES
74459289   BROWN          OZZIE                      9962          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
81626771   BROWN          PATRICIA                   4957          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46760549   BROWN          PATRICIA         ANN       6887          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25236194   BROWN          PATSY                      0156          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51155451   BROWN          PAULA                      1135          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27486280   BROWN          REAGANNE                   9786          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25908123   BROWN          RENEE                      3506          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94326725   BROWN          RICHARD                    4289          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82028631   BROWN          RINDA                      4257          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91325114   BROWN          ROGER                      9409          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98524532   BROWN          ROSE                       5809          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15505443   BROWN          SHARON                     3624          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94060222   BROWN          SHARON           K         9660          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70186764   BROWN          SHAUNTEISHANAY   LASHAY    6900          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55538558   BROWN          SHIRLEY                    9201          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13454629   BROWN          SUSAN                      8523          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45325191   BROWN          TAMARA           Y         6555          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26900465   BROWN          TAMMY                      9641          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44304931   BROWN          TERESA                     1878          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86959095   BROWN          TERRENCE                   0215          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63037472   BROWN          THRAESE                           1995   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95605628   BROWN          TIFFANY                    7157          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97972350   BROWN          YOLANDA          LATRICE   4580          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77334661   BROWN          YOLANDA                    5242          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74175259   BROWN PENDER   LISA                       5381          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79699988   BROWNING       ANTHONY                    7969          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41927015   BROWNING       LISA                       7853          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89443641   BROWNING       TAMMY            J         7944          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38529379   BROWNING       TRACEY                     5442          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50863465   BROWNLEE       LOUNELL          M         1442          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37942500   BROWNSBERGER   ELIZABETH                  5454          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69963256   BROWNSCHIDLE   MICHELLE         LEE       2368          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77142796   BROYLES        EVA                        7975          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18268812   BRUCE          EVELYN                     2806          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19091569   BRUCE          JOYCE                      9415          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66710683   BRUCE          KRYSTAN                    3261          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21485632   BRUCE          WENDY                      9529          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83153682   BRUCKNER       MELODY                     6475          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62333820   BRUEMMER       SHARRON                    7289          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45273197   BRUENS         DONALD                     2935          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27509283   BRUGGER        ANNETTE                    5567          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49174960   BRUMFIELD      DOROTHY                    9878          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44619486   BRUNDAGE       MARGIE                     1208          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90162352   BRUNDIDGE      CANDICE                    2582          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80052824   BRUNK          VICTORIA                   2983          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73653012   BRUNO          JAIME                      1549          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77137065   BRUNSON        DAVID            R         7441          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53677272   BRUNSON        ROY                        5073          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99736199   BRUSCO         JEAN                       7291          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51772308   BRUSSE         SUSAN                      4866          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53847045   BRYAN          CLARA                      2398          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88636181   BRYAN          JOYCE                      1935          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55740132   BRYAN          PATRICIA                   5586          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19567941   BRYANT         ANGELA           R         3310          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32981240   BRYANT         CATRINA                    1272          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88936029   BRYANT         DAVID                      2947          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90028597   BRYANT         DELORES                    4476          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28448887   BRYANT         DIANNA                     6406          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50480832   BRYANT         SANDRA                            1956   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84449824   BRYANT         SHEMEKA                    7515          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61205177   BRYANT         SHIRLEY                    2177          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97613926   BRYANT         SHIRLEY          ANITA     5063          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94581759   BRYANT         SOLLIAH                    2508          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70044212   BUCCIERI       JOSEPH                     4548          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28046780   BUCCILLI       DEBORAH          A         2745          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22091437   BUCHANAN       ANGEL                      5838          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65737581   BUCHANAN       KELLI                      1761          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97385392   BUCHANAN       ROSIE                      3190          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17299040   BUCHMAN        MARIE                      1998          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14708520   BUCK           ALICE                      8564          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59904684   BUCK           MARCIA           A         7257          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78642565   BUCKHANAN      MICHELLE                   1023          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37892872   BUCKHANON      ETHEL                      0725          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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23868517   BUCKLEY               JANICE               4350          REJECT
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                                                                             OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES
                                                                                                                                                                             Ex. 23
                                                                                                                                                                                YES
68724928   BUCKNER               SHAWNETA             0425          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
43310507   BUCKNER               STEPHANI             0291          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
97109142   BUCZAK                SUSAN                0490          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
21764269   BUDA                  KATHY                8917          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
68626849   BUDLONG               NICKY        L       5828          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
68834243   BUFFONE               GAIL                 6422          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
86409092   BUFORD                DEBORAH              7850          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
65914657   BUFORD                JACQUELINE   S       3478          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
42291788   BUFORD                LOIS                 9102          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
31655907   BUGG                  MARLYN               6284          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
94188883   BUIBAS                LARAINE              1012          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
75842615   BULL                  KIMBERLY             8396          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
80262069   BULLARD               REGINA               5583          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
79996846   BULLERI               MANUELA              8202          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
89521766   BULLOCK               DIANE                5251          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
44431780   BULLOCK               JEANETTE             7447          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
91919974   BULLOCK               ROZELLA              8998          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
14862088   BUMPHREY              CAROLYN      F       9054          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
44426681   BUMPHUS               TAMARSHA             3916          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
86907967   BUNCH                 JULIA                9447          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
74182242   BUNGE                 BRUCE                       1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
25214286   BUNGO                 SHARON               0550          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
89295859   BUNOL                 ROBERT               0829          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
58753986   BUNTING               STACY                9523          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
29279314   BURCH                 BOBBI        MARIE   2649          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
82081599   BURCH                 CAMILLE              5346          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
25424364   BURCH                 GIDGET               4976          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
30814877   BURCH                 STACI        P       2064          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
81786885   BURCHETTE             YVONNE               9495          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
76706711   BURDYCK          JR   JOSEPH       L       0856          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
40720980   BURGE HARRIS          DARLING      A       1650          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
46594702   BURGER                MARTHA       L       9556          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
48853755   BURGESS               AMANDA               8999          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
48525178   BURGESS               EVANGELINE           7326          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
71743364   BURGESS               JOYCE                2117          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
80540565   BURGESS               KIMBERLY             6206          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
66082362   BURGOS                EDUARDO              3975          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
79408145   BURGOS                ELIZABETH            8976          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
26604800   BURGOS                EVELYN               3782          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
58875779   BURIAK                SUSAN                2955          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
29574540   BURKART               JOANNA       J       1585          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
21095098   BURKE                 AISHA        L       3674          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
62116486   BURKE                 CATHERINE            2855          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
40391086   BURKE                 JOSEPHINE            5802          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
29203505   BURKE                 LEZA         ANN     1726          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
82083247   BURKE                 TEISHA               4941          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
24563959   BURKETT               KATHRYN              6173          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
31869241   BURKEY                SANDRA               7629          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
12393606   BURKHALTER            PATRICIA             5225          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
39624282   BURKHOLTZ             VIVIAN               2246          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
59488694   BURKS                 CAROL                7816          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
30326341   BURLEIGH              MARY                 4234          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
40000456   BURLESON              JERALD                      1984   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
50798558   BURNAM                KATHLEEN     A       4396          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
89292803   BURNELL               DAWNCINIA            9280          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          VULVAR INTRAEPITHELIAL NEOPLYES           YES      YES
82530733   BURNETT               DOROTHY              5522          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
60877260   BURNETT               KATHLEEN             3162          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
65483570   BURNETTE              LARRY                1338          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
32325864   BURNEY                MARY         JANE    0086          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
68666431   BURNEY                PATRICIA             8680          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
68221977   BURNS                 KELLI                7562          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
37856077   BURNS                 MELINDA              8967          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
91674802   BURNS                 SHIRLEY              5064          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
44312315   BURNSIDE              MARY                 2923          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
70541996   BURO                  DONATO               4443          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
38375702   BURRELL               BEVERLY              2339          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
36809623   BURRELL               GLENDA               7593          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
23131292   BURRELL WILLIAMS      CASSANDRA            9956          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
49676987   BURRESS               ANNETTE      MARIE   5505          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
94475410   BURROUGHS             MEGAN                2035          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES      YES
36512250   BURROW                LORI                 9883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
50818133   BURROW                LORRA                8237          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
82563524   BURROWS               DONNA                1168          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES      YES
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29282701   BURROWS                SOPHIA                         1971   REJECT
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                                                                                 OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                                 Ex. 23
                                                                                                                                                                    YES
68251970   BURRUS                 ALEXANDER    TERRENCE   8633          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20790971   BURSINGER BESLIC       JULIANNE     C          9922          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83606753   BURT                   MARLENE                 3646          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11960119   BURTNETT               PATRICIA                1484          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34273886   BURTON                 ANTOINETTE   ANITA      0220          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24544787   BURTON                 CHERYL       ANN        3338          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71927736   BURTON                 DEBRA                   2725          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81746387   BURTON                 KILNIM                  2451          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11527917   BURTON                 MARECYA                 6228          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94687681   BURTON                 ROSA                    7100          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70065296   BURTON                 STEPHANIE               0508          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82040980   BURWELL                VERONICA                8557          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88211088   BURZENSKI              CHERYL                  4744          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92187531   BUSBY                  REBECCA                 3601          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35786236   BUSCH                  JOAN                    2565          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60591742   BUSH                   DARLENE                 3570          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76755916   BUSH                   DELIOUS                 4128          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33301220   BUSH                   DOVIE                   8527          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87344625   BUSH                   GEORGIA                 0739          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58665161   BUSH                   JACK                    6627          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80915465   BUSH                   TRACIE                  2332          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30604819   BUSTAMANTE             MARIA                   7397          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19590860   BUTLER                 BRIAN                   1139          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89703099   BUTLER                 CHARLENE                8344          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18460567   BUTLER                 CORINNE                 4213          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73774931   BUTLER                 DEBRA                   5968          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26600845   BUTLER                 DEBRA        W          9841          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25519979   BUTLER                 DONNA        J          4943          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77021793   BUTLER                 EMMA                           1953   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24065985   BUTLER           III   GEORGE                  2802          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47018662   BUTLER           II    JAMES                   9420          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22971741   BUTLER                 JIMMIE                  2791          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39275410   BUTLER           JR    KEITH                   1487          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94138244   BUTLER                 LULA                           1942   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77378084   BUTLER                 MALCOLM                 4537          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49605711   BUTLER                 NADJA                   5855          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75866309   BUTLER                 RICHARD                 5388          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14030434   BUTLER                 SHALAYA      N          9138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28968468   BUTLER                 SHIRLEY                 3682          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27821253   BUTLER                 TALISHA                 5846          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74907035   BUTLER                 TANYA                   5269          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61719541   BUTT                   NIKIA                   3823          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53746900   BUTTERFIELD            LORRAINE                3996          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54010533   BUTTERWORTH            BRIAN        S          6767          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39362051   BUTTS                  JUDITH       ANN        2097          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21227581   BUTTS                  PAMELA       KAY        3842          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56915344   BUTURLA                ROSE         MARIE      8056          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66054911   BUURSMA                JOYCE        LOUISE     8932          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19823144   BUZA                   JUDITH                  5401          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54442849   BUZZARD                JOYCE        L          5430          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26749416   BYERS                  SHELIA                  0708          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13441063   BYNES                  TERA                    7055          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47732419   BYNUM                  JAMES        D                 1962   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21192073   BYNUM                  JONI         S          8018          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15413476   BYNUM                  PATRICIA                5507          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54739664   BYNUM                  VERONICA     GREEN      8467          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26425969   BYRD                   BAILEY                  8054          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81217078   BYRD                   DIANNE                  8705          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21330499   BYRD                   JACQUELINE              3096          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27389620   BYRD                   KATINA                  8952          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53715628   BYRNE                  DARIA                   1515          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67195187   BYRNE                  JULIE                   9554          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89081920   BYRNE                  NITA                    7906          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74785844   CABALLERO              PAUL                    2862          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76671533   CABANA                 ARLENE                  7137          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84247640   CABBIL                 NEFERTITI               3594          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34520598   CADDICK                PATRICIA                7198          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84082564   CADE MOORE             TERESA                  1728          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96854489   CADORA                 CHRISTINA               8348          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20695439   CAFFERTY               BARBARA                 4021          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67872734   CAGE                   KATHLEEN                9738          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17542662   CAGGIANO               ROBERTA                 6448          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70617775   CAGGIANO               VIRGINIA                0725          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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46667310   CAGOT                SHARON       M           3056          REJECT
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                                                                                OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                                Ex. 23
                                                                                                                                                                   YES
61537252   CAHILL               CATHERINE    D           9843          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29057231   CAHILL               PATRICIA     ANNE        9999          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88186648   CAIN                 ANTHONY      B           6334          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60160295   CAIN                 COURTNEY                 9205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88755971   CAIN                 JACQUELINE   RAE         9359          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39315541   CAIN            JR   JERRY                    7827          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81321032   CAIN                 TIM                      7957          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60992599   CAIRATTI             CURTIS       D                  1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55184802   CALCAGNI             JUDITH                   5747          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24836203   CALDERON             YVETTE                   0304          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89358402   CALDWELL             CAROLYN                  3662          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99859839   CALDWELL             DEBORAH                  4119          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72096993   CALDWELL             LYNDA                    9051          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33033910   CALDWELL             PEGGY                    5937          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48181607   CALDWELL             RONITA                   6295          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47392959   CALDWELL             TIFFANY                  2850          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80689208   CALDWELL             VICKY                    1313          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25152631   CALES                DEBORAH                         1954   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55475592   CALHOON              SANDRA       M           1917          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96880912   CALHOUN              CAROL                    0789          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80129086   CALHOUN              HENRY                    1016          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88358534   CALHOUN              NANCY        ALEXANDER   3264          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81971388   CALHOUN              ROBIN        L           1507          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81695840   CALHOUN              YOLANDA                         1990   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42923894   CALKINS              CHERYL                   9810          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14625934   CALL                 MARGIE       M           4141          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70292179   CALLAHAN             JASON                    5686          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95367519   CALLAHAN             PHYLIS                   5668          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43058525   CALLARI              MARY                     8075          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37366066   CALLAWAY             JOYCE        ANN         6460          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25315211   CALLAWAY             MONICA       E           4714          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77760857   CALLEY               CATHERINE                1027          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50685367   CALLISON             MARIA                    1055          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15545521   CALO                 LISA                     8398          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56522870   CALVI                AMY                      9585          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14110309   CALVIN               LAURIE                   1620          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46643784   CAMAIONI             ROSEANNA                 6511          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28936992   CAMERON              ELIZABETH                9205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60452151   CAMILLI              JOAN                     9986          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82297646   CAMP                 CHRISTINA                2176          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99794028   CAMP GRAY            AMANDA       K           3238          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47694812   CAMPBELL             AMBER        MARIE       3215          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59754482   CAMPBELL             ANNE                     1778          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98430333   CAMPBELL             BERTHA                   4442          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96588857   CAMPBELL             BILLY        SHANE       6133          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45359135   CAMPBELL             BRENDA                   6523          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46662169   CAMPBELL             BRENNA       CASSANDRA   4830          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30356584   CAMPBELL             CINDY                    3406          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48804196   CAMPBELL             GLENDA       E           6495          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41399348   CAMPBELL             JANICE                   7613          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42742748   CAMPBELL             JOHN         L                  1978   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78877529   CAMPBELL             LISA                     7709          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74767277   CAMPBELL             MARCELL                  7039          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44412842   CAMPBELL             MARJORIE                 4900          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40181400   CAMPBELL             PAMELA       C           0604          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74247080   CAMPBELL             TINESHA                  8114          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59303185   CAMPBELL MUCK        MARILYN                         1951   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90541738   CAMPOS               EKATERINI                       1970   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59817000   CAMPOS               ROSIE                    6577          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79567081   CAMPOS               TERESA       ANNE        8661          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14090035   CAMPOS               VERONICA                 5391          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24168021   CANADA               NANCY                    2150          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46297969   CANADY               DAVID        M           3022          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56548616   CANAL                PAMELA                   7781          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86176856   CANCIENNE            HAZEL        ANNE        3932          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46178159   CANETTI              DONNA                    4385          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49036227   CANIPE               TERESA                   7788          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17737700   CANN                 JEANINE                  0389          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33894259   CANNATA              DOMINICK                        1951   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79078595   CANNON               DEBORAH                  6034          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59869707   CANNON               JAYLA                    8226          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39446763   CANNON               JEWELL                   9145          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31079215   CANNON               MELODY                   9597          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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56689545   CANNON              TERRIE       JAN       3312          REJECT
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                                                                             OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                             Ex. 23
                                                                                                                                                                YES
44475309   CANNY               ELLEN                  7895          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12888711   CANSINO             LIZA                   4913          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28112862   CANTALUPO           LOIS         MARIE     7251          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58829360   CANTRELL            SHERRY       O         3136          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18840335   CANTU               DESERIE                1851          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98136063   CANTWELL            MARGARET     F         0279          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66832889   CAPO                ALICIA       S         9109          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26475047   CAPOZUCCA           VERA                   1164          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43901810   CAPOZZI             JOHN                   4975          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47413073   CAPPELLO            TERRI                  3350          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62907977   CARABALLO           MICHELLE               0461          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41500139   CARAWAY             MELVIN                 4638          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80405163   CARBAJAL            LIDIA        LIZBETH   3461          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74256860   CARCHIDI            ANDREA                 4563          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34335290   CARCO               GINGER                 6803          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35903453   CARD                JEFFREY                7769          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69150707   CARDELLO            GAETANA      F         3870          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74746494   CARDER              SARAH                  0091          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65311849   CARDER SAMPSON      GERILYN                1984          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69306131   CARDONA             CLAUDIA                8024          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26226401   CAREAGA        JR   JORGE        L                1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44972684   CARELLA             ALICE                  9482          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96747186   CARICCHIO           NANCY                  5884          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92124061   CARLE               TERESA                 4005          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90492190   CARLINO             ROSEANN                1292          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90914101   CARLSON             CHRISTY                1986          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42194937   CARLSON             NORMA        R         0543          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77014882   CARLTON             KAREN                  0950          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49680609   CARLTON             KIMBERLY               8100          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12208928   CARMICHAEL          BERNICE                5346          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98992693   CARNES              BETTY                  8781          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60394293   CARPENTER           ALEXANDRA              1285          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11370602   CARPENTER           ANGELICA                      1974   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84951403   CARPENTER           CARRIE                 7861          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90240421   CARPENTER           CONNIE                 6658          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21846219   CARPENTER           DEBORAH                8591          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61931544   CARPENTER           SHARON                 5254          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79899923   CARPENTIERI         MARY         M         1435          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78499686   CARR                CARRIE                 5661          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51662507   CARR                DIANNE                 1297          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41655045   CARR           JR   JAMES                         1979   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95701675   CARR                JANICE       J         5080          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38155369   CARR                JEANNIE      M         0508          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46892080   CARR                LUCINDA      R         8611          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27897865   CARR                MELISSA      ANN       4925          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62761519   CARR JACOBS         MONA         LISA      2442          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57719609   CARRARO             JEANNE                 8839          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92137321   CARREAU             FRANCE       C         9796          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63167722   CARREL              WILLIE                 6699          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26727930   CARRILLO            DORIS                  1804          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73864673   CARRILLO            MARTHA                 3594          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66422185   CARRINGTON          FREDERICKA   R         6528          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59766906   CARROLL             ELON                   9319          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14680271   CARROLL             JOHN                   1394          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65323040   CARROLL             KABRINA      B         9607          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77394837   CARROLL             LANELLE                2196          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31461334   CARRUBBA            MARSHA                 7109          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74354602   CARSON              CHRISTA                5861          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44226374   CARSON              DOROTHY                1953          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66133995   CARSWELL            AMANDA       A         6790          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87895024   CARTER              ALICE                  2381          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99386991   CARTER              ANGELA                 5604          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61062008   CARTER              BARBARA                9252          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80035324   CARTER              BETH                   8575          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55226996   CARTER              CHRISTINE              2089          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88639467   CARTER              ERMA                   8289          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11807320   CARTER              ETHELINA               7078          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43768112   CARTER              GEORGE                        1936   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85475183   CARTER              KIMBERLY               6662          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25819822   CARTER              KRISTIN                9209          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68379736   CARTER              LINDA                  0115          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13672860   CARTER              LINDA                  9763          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13044930   CARTER              LORI         JO        6423          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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81711009   CARTER             LYNETTE      B          6149          REJECT
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                                                                             OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                             Ex. 23
                                                                                                                                                                YES
94075424   CARTER             MARIANNE                4548          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83130577   CARTER             PATSY                   0720          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28668832   CARTER             SHARON                  5645          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61344978   CARTER             STARELLEN               4972          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59808492   CARTER             SUE                     2774          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78039633   CARTER             THOMAS                  7429          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63110166   CARTER             THREATHA                4522          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21192529   CARTER             TONYA                   1425          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80676840   CARTER CRUZ        BERNADETTE   MICHELLE   6247          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90719601   CARTHER            ROSETTA                 5300          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76848201   CARTMELL           JOAN                    5844          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86282009   CARTWRIGHT         PATRICIA     I          8168          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33217607   CARVAJAL           ANA                     8592          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37139001   CARVES        SR   EDDIE        CHARLES    1074          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30221871   CARZELL            MARQUETTA               1499          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43650632   CASABONA           LISA                           1953   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23991226   CASANOVA           GUADALUPE               1985          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25333567   CASANOVA           JAMIE                   2504          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64672376   CASAR              SARAH                   8026          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33166700   CASCONE            GINA                    4433          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97900932   CASE               COURTNEY     LEIGH      0185          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83047772   CASE               DAVID        A          0582          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98863922   CASE               DELORES                 0258          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79399457   CASE               ROSE                    8321          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76310409   CASEY              ALEXA                   6937          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50626763   CASEY              LINDA                   5047          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49277937   CASEY              SANDY                   0439          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55249905   CASEY              TERESA                  8635          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69772356   CASH               CARRIE                  8459          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98488080   CASHAN             LELA                    5580          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56829968   CASIANO            MILDRED                 4612          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35058938   CASINO             CAROL                   4205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63259710   CASKEY             RITA                    4400          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44464301   CASON              SHAREN                  2448          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54194661   CASS               LOIS         CAROL      7040          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89249180   CASSELL            ARETHA                         1970   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95719195   CASSIDY            RAYNITA                 3444          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56773044   CASSITY            KARI                    5133          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60916581   CASTEEL       JR   GERALD       SCOTT      4135          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97973893   CASTELLANO         MARIA        J          7386          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54368433   CASTELLANOS        JESSICA                 6189          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19726382   CASTELLO           MARA                    1630          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83484078   CASTIGLIA          TAMMY                   1848          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56743745   CASTIGLIONE        KRISTIN                 7503          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43125996   CASTILLO           ESPERANZA               2757          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35583509   CASTLE             BRIDGET                 2919          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56681448   CASTLE             RHONDA                  7218          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36864884   CASTLE             SHERRY                  3655          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29421544   CASTO              FRANCISCA    G          3056          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99775743   CASTRO             GLORIA                  1287          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19693045   CASTRO             LEILA        IWALANI    0283          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81379157   CASTRO             MARJORIE                8009          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58686838   CATCHINGS          STEVEN                  8405          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55520993   CATES              PATRICIA     ANN        3581          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91139363   CATRETT            SAMUEL                  7633          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67189842   CAUDILL            KENNY                   4859          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31506000   CAVALIER           FRIEDA                  4306          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86378822   CAVANAGH           CATHERINE               9196          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25258822   CAVOR              BALINDA                 5312          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23899095   CAYLOR             SARA                    3534          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47054574   CAZARES            CONNIE                  1135          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47409198   CECCHINI           JOHN         FRANCIS    8033          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81699600   CECIL              PAUL         J          5867          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61739840   CELLA              LISA                    0888          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63483248   CELLUCCI           CHRISTIE                1380          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67733251   CENANCE            MONTINA                 3974          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13695754   CENTENO            ELIZABETH               0372          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30048942   CENTENO            GLADYS                  7905          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55337875   CENTERS            PATRICIA                8381          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49493755   CERRONE            CHERI                   5822          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82437281   CERVANTES          MARVA                   1311          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61670241   CHADDOCK           NOELLE                  2197          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44571501   CHALK DADA         AMY                     9676          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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68650318   CHAMBERLAIN           KAREN        J        5770          REJECT
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                                                                              OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                 YES
66297303   CHAMBERS        III   ARTHUR       LLOYD           1950   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20616945   CHAMBERS              BONNIE                8765          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51801085   CHAMBERS              DIANNE       N        3279          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87346038   CHAMBERS              JUDY                  7468          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13858788   CHAMBERS              LASHARN               4580          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66742313   CHAMBERS              VICKY                 1036          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28007495   CHAMBERS              VIVIAN                6375          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17657618   CHAMBERS              YOLANDA               3430          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69134801   CHAMBERS WHITE        LATICE                6392          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79135546   CHAMBLISS             DANIEL                9040          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12747057   CHAMBLISS             JESSICA               3542          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20316395   CHAMPY                GAZZELLE              2753          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84827109   CHAN JONES            JAYDENE               7751          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22776375   CHANCE                MAGDALENA             9850          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55115357   CHANDLER              ROBERT                3159          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89827406   CHANEY                JOHN                  7646          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36811131   CHANEY                PAMELA                4837          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31945712   CHAPELO               KENDELL               8528          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62935658   CHAPIN                LAURA        T        4620          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95733324   CHAPMAN               CLEO                  8449          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66963379   CHAPMAN               MARGUERITE            7138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60341654   CHAPMAN               SANDRA                4588          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45293579   CHAPMAN               TERESA                0440          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52959241   CHAPNICK              FERN                  6878          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86701849   CHAPPELL              KELLY                 9619          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85390313   CHARBONNEAU           BARBARA               2415          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19158683   CHARLES               DEBRA                 3371          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85029987   CHARLES               GRACE        ANN      4529          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95212552   CHARLES               JOANNE                8140          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92159856   CHARLES               PATRICIA              5095          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11896605   CHARLTON              KARLA                 7883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69169153   CHARLTON              ROJONDA               9903          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26939089   CHARNEY               SUE          ANN      4914          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79059496   CHARNSTROM            KATHY                 6986          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79690490   CHARVALA              CYNTHIA               0783          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17274774   CHASE                 DOUGLAS               6702          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73417796   CHASE                 REGINA                6527          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31715374   CHASON                MEGAN                 8943          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69145993   CHASON                SHEILA                4462          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46618861   CHASSE                CHRISTINE             8798          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85300727   CHATMAN               DELVIN                5255          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16383742   CHATMAN               TERESA                2313          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79133052   CHATMAN               TOCCARA               8992          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80899179   CHATTMAN              CARRIE                6472          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94406029   CHAVEZ                LAUREL       ANN      4903          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34839911   CHAVIS                MEGAN                 5283          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69264261   CHAVIS                SUSSAN       L        7600          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28130498   CHECKLEY              LORI                  3601          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60821195   CHEEK                 REBECCA               8237          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46578300   CHELF                 KAREN                 1153          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85000404   CHELLIS               VIRGINIA     LEE      0432          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83985838   CHEMIN                LORAINE               1807          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80055985   CHEN                  ALICE                 2251          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59589714   CHENARD BOEHLKE       DARCY                 6309          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24631412   CHENEVERT             ANNIE                 2782          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21201311   CHERNEY               GEMMA                 1647          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41359660   CHERRA                HARMANJIT             7994          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87080118   CHERRY                KASEY                 6919          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24827394   CHERRY                LISA                  4029          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52648141   CHESMORE              PATSY                 8852          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32318894   CHESNUTT              JACKSON               1525          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93255179   CHESTEEN              RANDY                        1960   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92357651   CHESTER               LISA                  9450          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57639463   CHESTER JACKSON       KENYA        NICOLE   2705          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31908728   CHESTNUT              GRACE                 9051          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89477045   CHEVALIER             SHARON       EIGHME   6630          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58551220   CHEZEM                SHARON                7201          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59161109   CHIANCA               LUCI                  8292          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40610212   CHIAROLANZA           TERESA                9773          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92516141   CHIDESTER             VICKI                 8373          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20248781   CHILDRESS             KAREN        ELAINE   0395          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43806577   CHILDRESS             LINDA                 4598          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90467596   CHILDS                CLARISSA              3220          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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85663188   CHILDS                 JESSIE                 1428          REJECT
                                                                                      PageID: 258446

                                                                                OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                                Ex. 23
                                                                                                                                                                   YES
99036257   CHILES PATT            CAROLYN                8027          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39705611   CHIMITS                JUDI                   1117          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39368075   CHING                  KATHY                  4069          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35182785   CHIODO                 JESSICA                6113          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26521170   CHISLER                ROGER                  9772          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26654436   CHISOLM                GEORGIA                4384          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63382245   CHITWOOD               KATHY                  1948          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76869261   CHLUS                  HEATHER                4798          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90816279   CHMELYNSKI             CAROL                  3965          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50819149   CHMIELEWSKI            SHELLEY                9480          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13627319   CHMURA                 RITA                   1227          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37190945   CHOATE                 RIC         E                 1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79922960   CHOATE                 SHAWN                  9645          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61341676   CHOBAN                 VICKIE                 4884          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72892479   CHOICE                 EBONY                         2001   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31631661   CHOLEWA                JANET                  6711          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77424497   CHOPYAK                MARGARET               5747          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83896041   CHOUSSE                EVE                    2755          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13424774   CHRISMAN               VANESSA                6991          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69107545   CHRISTENSEN            BRENT       J          7246          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97132546   CHRISTENSON            EMILY       R                 1989   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35115385   CHRISTIAN              OLGA                   6143          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77778933   CHRISTIAN              TRACY                  9395          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33668926   CHRISTIAN              WANDA       A          3899          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54068722   CHRISTMAS WASHINGTON   RHONDA                 9172          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29077170   CHRISTOPHER            KAREN                  2274          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98226586   CHRISTOPHERSON         YVONNE      K          4903          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87060880   CHROWL                 DEBORAH     MICHEL     9313          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15643221   CHRYSLER               JIM         LEE        1344          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36453453   CHTAY                  SAMIRAH                3487          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46322659   CHUMBURIDZE            TEO                    7914          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98033587   CHURCH                 JILL        SOPHIA     0029          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53078124   CHURCH                 PATRICIA               6328          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66502011   CHURCH                 RONALD      J                 1953   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20833486   CHURCH                 VICKIE      LYNN       4889          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97314501   CIAMBRUSCHINI          MEGAN                  2678          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25064949   CIAMPINI               BETTY       ANN        7114          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32954508   CIANI                  DOROTHY                1305          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61276992   CICALA                 SARAH                  2390          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41899509   CICCARELLI             MARLENE     ANDERSON   4909          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68518432   CILLI                  LINDA       JEAN       2180          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23526408   CIMEOT                 DENISE                 8029          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39320840   CIPRIANI               GAIL                   8880          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99461214   CIRALDO                DIANE                  5277          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76331286   CITRON                 ROBIN                  2207          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84305226   CIULLA                 RENEE                  8138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54997636   CLACK                  BARBARA                1008          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46797429   CLAIBORNE              BRENDA                 3684          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89413906   CLAIR                  BARBARA                9585          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58618275   CLANCY                 TASHINA                8045          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12256980   CLARK                  ALICE                  7711          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49947413   CLARK                  AMY         CRAWFORD   3606          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36405673   CLARK                  ANTHONY                6404          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90731578   CLARK                  BARBARA     A          7739          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47296091   CLARK                  BARBARA                9241          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33556799   CLARK                  BERTINA                4487          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37185636   CLARK                  BOBBIE                 5453          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47298928   CLARK                  BRINTINA               3278          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74815252   CLARK                  DARLENE                6327          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65085836   CLARK                  DAVID                  4630          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96566534   CLARK                  FELICIA                1756          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67576797   CLARK                  FELICIA                5611          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59413263   CLARK                  FRANCES                3692          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50872351   CLARK                  GINA                   4958          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93006169   CLARK                  GWENDOLYN              5307          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22851670   CLARK                  MADELINE               5170          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44101596   CLARK                  MARGARET               7111          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56055537   CLARK                  MARVIN                 6259          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60802895   CLARK                  MARY        E          5177          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56761402   CLARK                  MICHAEL     D          6476          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75932463   CLARK                  MILDRED                0167          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19961236   CLARK                  MILTON                 0928          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12241566   CLARK                  PATRICIA               9309          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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86115006   CLARK             ROGER                  4243          REJECT
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                                                                           OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                              YES
75654102   CLARK             SHERRI       JAN       3707          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40368324   CLARK             TERE                   8924          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77982787   CLARK             TERICA                 2208          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38871064   CLARK             TRISTAN                6029          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38605104   CLARK             VERONICA               8159          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43933498   CLARK             WENDY                  7075          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40328110   CLARK GALLAGHER   JESSICA                3569          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68606549   CLARKE            AMEALIA                5898          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72311817   CLARKE            ISABEL                 6065          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62717723   CLARKSON          BARBARA                7555          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90823158   CLARKSON          WILMA        JEAN      7203          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40123331   CLARY             BRANDY       LYNN             1972   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69413662   CLARY             SARDARA      DELORES   8206          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40266302   CLASS             NANCY                  1049          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62542245   CLAUDE            CASSANDRA              4610          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44278393   CLAUSEN           CYNTHIA                6574          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51732391   CLAUSEN           MARCIA                 5152          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75465560   CLAUSS            DICK                   0883          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28978875   CLAY              JANICE                 7240          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58041911   CLAYBERGER        PAUL                   6900          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19545819   CLAYBROOK         CHARLES      DAVID     5893          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68461332   CLAYDON           CYNTHIA                2384          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85822265   CLAYTER           LUCINDA                7864          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72410568   CLAYTON           BARBARA                2371          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93314787   CLAYTON           BERTHA                 6919          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14670591   CLAYTON           KATHY                  0006          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58698300   CLAYTON           LAURETTA               8749          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11928508   CLAYTON           NANCY        S         1686          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87184655   CLEGG             LYN                    8408          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38650433   CLELAND           DARYL        EDWARD    4048          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99290221   CLEM              LAURA                  4496          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61599130   CLEMANS           SANDRA       KAY       2014          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42998374   CLEMENT           JULIE        A         4374          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86841592   CLEMENTS          BETTY        A         9254          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49631101   CLEMENTS          CHERYL                 3574          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84647843   CLEMENTS          CHRISTINA    M         4315          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40991307   CLEMENTS          CORNELL                0069          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62275627   CLEMENTS          MARGARET               1657          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66889640   CLEMENTS          SUSAN                  0695          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32979504   CLEMENTS PAYNE    MARY         F         5618          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37976417   CLEMM             SUSAN                  4552          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30289043   CLEMON            JACQUELINE             6556          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65961888   CLEMONS           BARBARA                5814          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17728090   CLEMONS           DEBORAH                5665          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22845517   CLEMONS           TERESA                 7633          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46806436   CLEVELAND         SHANNON                1833          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54874233   CLEVELAND         THOMAS                 1282          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68171152   CLEVENGER         LORI                   1403          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41473148   CLIFFORD          MARIA                  7325          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16765931   CLIFT             BARBARA                0065          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98048014   CLIFTON           JUDY                   2372          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47049794   CLINE             AUDREY                 7713          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30220567   CLINE             CHERYL                 2235          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22481931   CLINE             LEONARD                7953          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57111009   CLINE             LINDA        LOUISE    8280          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52239131   CLINE             MARY                   3868          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35227079   CLINE             VICKI                  9146          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34777383   CLINKSCALES       BARBARA                4238          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23001411   CLINTON           BRITTANY                      1989   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81792165   CLINTON           CLARA                  2012          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52489804   CLINTON           KAREN                  3974          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53158271   CLOUD             JENICE                 9295          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77014879   CLOUD             REGINA                 6615          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58816442   CLOUGH            DEVIN                  8148          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32625772   CLOUTIER          ELAINE                 9336          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17362848   CLUFF             GAYLE                  0877          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32450034   CLUTS             KAREN        A         3929          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55319987   CLYBURN           BRIDGET      D         0312          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83733547   CLYMENS           JUDY         KAY       0555          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33186129   COADY             ANGELA                 3569          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56664176   COATS             MARY                   7034          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48193744   COBB              ALICE                  8330          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74939920   COBB              PAMELA       JEAN      7032          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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49432703   COBB MATLOCK       BETH                 2059          REJECT
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                                                                          OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                             YES
31508084   COBERLY            MARYANN              0360          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84538875   COBLE              BARBARA      A       3842          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17469804   COBURN             ROBIN                5857          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96438464   COBURN             TERRIE       J       7810          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99973570   COCHRAN            BETTY                3336          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95123805   COCHRAN            JAIME                1581          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54322399   COCKRELL           REGINA               8951          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93561935   COCKRELL           SUSAN                7116          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54374102   COCKRIEL           MICHELLE             9055          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66212389   COCO               JAIME                4898          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37563107   CODY               DIANE                4695          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38912940   COFFEY             AMANDA               4408          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51959291   COFFEY             DOROTHY      ELMA    1506          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13300625   COFFEY             KATHLEEN             4995          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27845570   COFFEY             LAUREN               1005          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48403636   COFFEY             VERNA        M       8182          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63610412   COFFIN             JOSETTE              3005          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97546851   COFFIN             LYNN         C       4779          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76603221   COFFINGER          RICHARD      E              1947   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13362837   COFIELD            SHABRIKA             3839          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17163793   COGGIN             TRACY        L       7315          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89765962   COGLIANDRO         CARL                 3948          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21579590   COHAGAN            ROBERT               4328          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27957042   COHAGEN            LINDA                7561          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94712034   COHEN              BARBARA      MAE     0091          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23573691   COHEN              BROOKE               5286          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48191177   COHEN              CAMERON              6085          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31643850   COHEN              EVELYN               5759          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32405237   COHEN              PAMELA               8807          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71860620   COHEN              RENEE                2526          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94548868   COKELY             BESSIE       L       8905          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66484415   COLBERT            ALBERTA              1297          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64802724   COLBERT            TISHA                4827          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44187075   COLBY              CHRISTINA            9541          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15661315   COLE               ANN                  4506          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65416838   COLE               DANIEL               8458          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45840767   COLE               GLADYS       E       4973          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63618161   COLE               HILLARY              5433          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58878563   COLE               LAURIE               4232          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38929008   COLE               LUQUISHA             9505          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72744774   COLE               MARILYN      L       6125          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36959588   COLE               MORGAN                      1968   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90118165   COLEGROVE          SANDRA       GAIL    1689          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61232945   COLEMAN            AMY                  6424          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73927599   COLEMAN            CAROLANN             0653          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76405257   COLEMAN            CHERYL               6518          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27179030   COLEMAN            ERICA                4789          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59073091   COLEMAN            FRANCES                     1965   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51134263   COLEMAN            HARRY                8939          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22697956   COLEMAN            IRENE                5756          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47989750   COLEMAN            JEAN MARIE           5333          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78377112   COLEMAN            JEREMY       S       1824          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50072037   COLEMAN            JOHN                 3365          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36318363   COLEMAN            JOHNNIE      M       6335          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36150805   COLEMAN            KIMBERLY             2320          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97696799   COLEMAN            LATOSHA              7403          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47927499   COLEMAN            LAVENIA              9078          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95676581   COLEMAN            LINDA                5374          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40965765   COLEMAN            MYRTLE       JEAN    6931          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38454002   COLEMAN            ROBERTA              5895          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87391285   COLEMAN            RUBY                 5628          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39321352   COLEMAN            SHARON               7823          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88259594   COLEMAN SANDOVAL   TONYA        MARIE   5617          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91746840   COLES              LINDA        P       2975          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58286954   COLEY              KAREN        D       1273          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45341694   COLGATE            TRACY                5153          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24218942   COLGROVE           CATHRYN              4951          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77525364   COLISTER           ETHEL                2067          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85587677   COLLAZO            ANGELA               5100          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21243392   COLLETT            ELDON                0109          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80718372   COLLETT            THOMAS       E       9777          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76403649   COLLICK BROWN      SYLVIA               1338          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35952205   COLLIER            CHRISTINE            6012          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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45509071   COLLIER       FLORA       M        6728          REJECT
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                                                                     OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                     Ex. 23
                                                                                                                                                        YES
97676931   COLLINS       ANGELA               2987          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98364977   COLLINS       ANN                  1235          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49210361   COLLINS       BILLIE               4571          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69299096   COLLINS       CYNTHIA              3349          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49690593   COLLINS       DIANE                7709          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34329147   COLLINS       JANE                 7169          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18303754   COLLINS       LINDA                3948          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47047068   COLLINS       MARILYN              7511          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78514671   COLLINS       MELODY               1429          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89762704   COLLINS       PAULA                0662          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59543369   COLLINS       PEARLIE              2003          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62274958   COLLINS       ROSE                 8313          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74703085   COLLINS       ROY                  2802          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73453653   COLLINS       THERESA              5856          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29647669   COLLINS       VALERIE              9456          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82607911   COLLISON      LINDA                1006          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80367192   COLLYMORE     DENIQUE              9082          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32795055   COLON         MARISSA              5864          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99763497   COLONGO       ANNA        MAE      6951          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69709601   COLQUHOUN     KATHY                4593          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65953720   COLQUITT      CAROLYN     E        2872          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86957495   COLSON        NORMAN               4801          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11124657   COLSTON       SUSAN                4246          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76535639   COLVIN        MARCIA               8386          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84753617   COLVIN        MICHELLE             8326          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80751927   COLVIN        ROSEMARY             6500          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96200568   COLVIN        VALERIA              2846          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61314777   COLWELL       CHERYL               1939          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73127877   COLWELL       ROYA                 3426          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20196988   COMBS         SHEKETIA                    1964   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28444447   COMELLO       JANICE               4085          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47190020   COMER         NICOLE               3400          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88808251   COMMESSO      JO ANN               5471          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31535128   COMPTON       LADONNA              2834          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85534007   COMPTON       THELMA               9988          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82334385   CONDON        LINDA                5311          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78011571   CONGROVE      DAVID       L        2923          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86970806   CONKLETON     LEE                  7670          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54273542   CONKLIN       ANGELA               4298          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91210099   CONKLIN       ROSE        M        8228          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42676120   CONLEY        ELIZABETH            9378          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87962545   CONLEY        JEANNE               7256          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14105062   CONLEY        ROBERTA              2028          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11598619   CONLEY        STACY                9157          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98523911   CONLON        SHARON               2349          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45992430   CONNEL        MAUREEN              2779          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
74384786   CONNELL       ROBIN                3377          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38797875   CONNELLY      LYNETTE     L        7884          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68583333   CONNER        KATHRYN     A        4842          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20378180   CONNERS       JOANN                4988          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53142356   CONNOR        CAROL                7052          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32861139   CONNOR        SHIRLEY     DEEANN   7660          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98346656   CONNORS       JANET                7486          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36539688   CONRAD        ANN                  8411          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26866277   CONRAD        BRENDA               0282          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97565958   CONRAD        KATHLEEN             8458          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14006320   CONRAD        PATRICIA    R        2560          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48542615   CONRAD        PATRICIA             3572          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35104388   CONRAN        CHRISTINE            0823          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76931979   CONSALVAS     PATRICK              7352          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53975420   CONSOLA       GAIL                 9596          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25922390   CONSTANTINE   NOREEN               6907          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17320824   CONTRERAS     NICOLE               6901          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55141999   CONTRERAS     SAMANTHA             6889          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62313338   CONWAY        DIANNA               9929          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64679819   CONWAY        KATHLEEN             4235          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82163873   CONWAY        PAULINE              8490          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18231975   CONWELL       BETTY                5577          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26623240   CONZETT       CONNIE               3973          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44764660   CONZOLO       JANET                3898          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73236763   COOK          ANGELL               0570          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20352627   COOK          DEBRA                3827          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95675386   COOK          DELLIN               0855          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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29935426   COOK                 JACKIE                 9790          REJECT
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                                                                              OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                 YES
23004231   COOK                 KAREN                  9520          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68769652   COOK                 LESLIE                 8048          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88320978   COOK                 LOUISE                 0773          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89019504   COOK                 PATRICIA               1889          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92895937   COOK                 PATRICIA               7510          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30213511   COOK                 PEGGY                  5872          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42187429   COOK                 PRISCILLA              4879          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97472523   COOK                 RICKY                         1961   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65066154   COOK                 RUBY                          1946   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76638282   COOK                 SHARON                 5285          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84699316   COOK                 SUSAN       LEIGH      7893          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
67620595   COOK                 YVONNE                 0977          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93161557   COOK ELLISON         CARMEN                 4160          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17359152   COOLEY               KATHY                         1974   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93732616   COOLEY               MARY                   4677          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25121067   COOMBS               MIRIAM                 2226          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96765361   COON                 GARY                   4652          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66314405   COON                 JEWEL       A          0224          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68939595   COON                 PATRICIA               7636          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53517161   COONER               ELVIRA                 9636          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34352978   COOPER               BEVERLY                0835          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28628721   COOPER               BRANDI                 4695          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41582323   COOPER               CATHERINE              7852          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97361558   COOPER               EMMIE       S          1271          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41373569   COOPER               JACKIE                 7290          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40533522   COOPER               JOYCE                  4396          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16647706   COOPER               KAREN       R          3696          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28763126   COOPER               MELINDA     ANNE       6550          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70166939   COOPER               MISTY                  7414          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75961120   COOPER               PAULA       CAROL      3167          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71785611   COOPER               RITA        DEVI       0906          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26841936   COOPER               SHARON                 9237          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31594843   COOPER               TOYMICA     R          6655          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87998299   COOPER               YVONNE      W          9682          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96575249   COOPERMAN            MARCIA                 5397          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31872559   COOTS                RAYMOND     P          1707          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63503796   COPELAND             FRANCES     DALE       4144          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61108683   COPENING SYDNOR      CHERYL                 9492          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84779107   COPPOLA              MARYANN                4006          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89642605   CORA                 MICHAEL                1943          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93788601   CORBEIL              KATHLENE    JEFFRIES   6767          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
22967809   CORBETT              CYNTHIA                2562          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69695229   CORBITT              ALLEN                         1959   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24265865   CORDANO              AMINA                  6737          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74212335   CORDELL              CINDY                  3707          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76242575   CORDER               LORIE                  6279          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81673633   CORDONNIER           ANN                    5888          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60727146   CORDOVA              JENNIFER               9806          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92353680   CORDUAN              PHYLLIS                9607          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43532355   COREY                PATRICIA               0666          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52915913   CORLEY               DANA                   6586          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28753166   CORMIER              DENISE      A          2882          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23134906   CORMIER              MICHAEL                6827          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35186670   CORNELIUS            BARBARA     B          5707          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16849868   CORNELIUS            LINDA                  3958          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27679223   CORNELL              DONNA                  7018          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55603137   CORNELL              DORIS                  7571          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24345929   CORNISH              KATHY       Y          5435          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15701223   CORONEOS             DEAN                   1557          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40158107   CORRAO               MARILYN     LOUISE     2617          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40691237   CORRIOLS             SANDRA      VALLE      7545          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34943027   CORRIVEAU            CINDY                  6498          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53310499   CORRY           JR   CHARLES     C          1189          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53108518   CORSETTI             KATHLEEN    P          7717          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76053725   CORTESE              MARYANNE               8736          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70520923   CORTEZ               LUISA                  2287          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59839947   CORTEZ               MARLEEN     H          0112          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16646485   CORTEZ               SALVADOR               8433          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77987407   CORTEZ               SHELLY                 5868          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24400236   CORTINAS             JUDY                   7004          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76007798   CORTINAS             PATRICIA    ANN        8460          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32003475   COSBY                JOSEPHINE              0597          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61865506   COSBY                PEARLEAN               3208          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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72178394   COSTA               KATHLEEN                6868          REJECT
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                                                                              OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                 YES
46748524   COTNER              VIRGINIA     A          4288          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74753758   COTNOIR             KATHLEEN     M          0639          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56026521   COTTINGHAM          BETTY        JEAN       5504          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14878002   COTTINGHAM          DEBRA                   5135          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64098011   COTTON              BERNESTINE              1508          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63505532   COTTON              JOAN                    5340          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89507018   COTTON              LORETTA                 7564          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82590730   COTTON              NATILEE                 3499          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11599402   COTTON              TONIA                   4011          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74624419   COTTRELL            CORINNE                 6500          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33279759   COUCH               FRANCES      A                 1971   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35427352   COUCH               MARILYN      M          1579          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76343545   COUILLARD           RUTH         ANN        2767          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83174824   COULTER             CONNIE                  9848          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89842778   COUNTS              LEIGH                   5241          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22603811   COUNTS              WILLIAM      DOUGLAS    0391          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79735271   COURTER             LYNN         E          6745          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13217862   COURTLAND           PAULA                   5887          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31450317   COVEY               CARL                           1946   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91677040   COVINGTON           AMANDA                  3696          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92038037   COWAN               GLORIA       S          3476          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71497756   COWAN               KIM                     2025          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56647212   COWAN               MARC                    1278          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92257407   COWAN               MICHAEL                 9692          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32732028   COWANS              ISABELLE                1657          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63665604   COWELL              KIM                     9595          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34375244   COWENS              CYNTHIA                 9606          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70707682   COWLEY              RUTH                    4750          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21001406   COX                 CATHY                   5283          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28484211   COX                 CYNTHIA      MARY       8337          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41895016   COX                 IRENE                   7383          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27055893   COX                 LINDA                   8888          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33976424   COX                 LULA                    8800          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72723917   COX                 MARY         A          8807          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67861178   COX                 MELINDA                 0794          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74283000   COX DURAND          DIANE                   2429          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96649972   COY                 MARSHA                  4714          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27012022   COYLE               DARCY                   2849          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48848361   COYNER              SUZANNE      S          3564          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65920315   COZZIE              BARBARA                 5074          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74905838   CRABB               PENELOPE     APRIL      6853          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66664607   CRADER              LINDA                   4367          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48953634   CRAIG               ANNA                    7964          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96386755   CRAIG               MARRILY                 1614          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75206567   CRAIG               MEGAN        L          0613          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16749339   CRAIG               PATRICIA                4519          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17238255   CRAIN               JOYCE                   7186          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71616825   CRAIN               TABETHA      DIANA      0362          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13898772   CRAINE              KIRA         D          6613          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68662509   CRAMER              SUSAN        B          8405          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28522914   CRAMER              TONI         LEE        6141          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20526395   CRAVEN              NANCY        S          7556          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89522577   CRAVEN              TAMMY        LEE        9525          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53452196   CRAVENOR            DESTINY                 3728          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76641310   CRAWFORD       SR   BRUCE        D          3633          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99180335   CRAWFORD            CATHARINE    MELISSA    0198          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18699178   CRAWFORD            EFFIE        THORNTON   2782          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76270976   CRAWFORD            ELIZABETH               4157          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80560879   CRAWFORD            GLENDA                  1310          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63857298   CRAWFORD            LISA                    6058          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98040019   CRAWFORD            ROSALEE                 2345          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26888400   CRAWFORD            SUZANNE      M          7929          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79322406   CRAWFORD            WANDA                   2704          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23964807   CRAWFORD            WENDY                   7174          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90892247   CRAWFORD SOLOMON    TAKETIA                 3123          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14018341   CRAWLEY        JR   ALBERT       L          3868          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43280674   CRAWLEY             GEORGE       T          1094          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33350461   CRAWLEY             MAMIE        LOIS       3552          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65056897   CRAYTON             VERNISA                 5590          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67152427   CREAMER             LAVERA                  1075          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93616929   CREASE              JOYCE        A          4510          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82705571   CREDIT              LINDA                   5734          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72145121   CREDLE              MARTIN       F          0675          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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82086191   CREECH               SANDY                   6497          REJECT
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                                                                               OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                               Ex. 23
                                                                                                                                                                  YES
88991783   CRENSHAW             ALBERT                  4402          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43032351   CRENSHAW             CHERYL      DENISE      0708          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98021563   CRENSHAW             DEBORAH                 5310          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99888155   CRESON               DORA                    9613          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73579783   CREWS                SAVANNA                 9932          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55645231   CREWS                SUSAN       E           8114          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15442882   CREZO                VELINDA                 5777          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
67744653   CRIBBS               KATRINA                 3473          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86427971   CRIDER               LOGAN       NATHANIAL          1993   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37382227   CRIPE                CAROL                   6031          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57270036   CRISMON NOGUERA      AMY                     9605          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90444207   CRIST                PAULA                   4002          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99394685   CROBARGER            KALA        RE          8593          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36634930   CROCKER              JOHN                    1823          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72148500   CROCKETT        II   ROBERT                  9992          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24380363   CROLEY               ELIZABETH               3248          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92474131   CROLLARD             PAUL        F           5657          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61049706   CRONE                SANDRA      L           1578          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44587511   CROPP                ROSEMARIE   R           9189          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43155088   CROSBY               BERTHA                  9300          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34359796   CROSBY               LEONARD                 2832          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72323197   CROSBY               TAMARA      LIANNE      6562          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59659483   CROSE                CHARLOTTE               9865          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56391309   CROSS                MARY                    7481          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26084266   CROSS                OLLIE                   8528          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99210440   CROSSLEY             EDWIN                   3931          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85674086   CROSSMAN        SR   DOUG                    1821          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71872576   CROTEAU              JULIE                   7103          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56259882   CROTSER              DONNA                   1231          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92206419   CROUCH               EVELYN                  7882          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20818994   CROUSE               KATHLEEN                3633          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85396742   CROW                 DOMINGO                 2995          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20458514   CROWDER              DEBORAH     R           4577          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25785137   CROWDER              MARY                    7588          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18635404   CROWE                BARBARA     CAREY       5261          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99593301   CROWE                LAKITHA                 6448          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48194661   CROWE                TERESA                  6543          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59025740   CROWELL              JENNIFER                8205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67600157   CROWL                JANET                   0529          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75637376   CROWL                SANDRA                  3817          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38988854   CROWLEY              AMY                     4698          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50888920   CROWNINGSHIELD       JENNA                   1141          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70467134   CROWSON              ERNESTINE   J           5158          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36438964   CROXTON              WALTER                  3958          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86964263   CRUCHELOW            MARLYS      S           2958          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59624136   CRUDUP               AMIE                    3973          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26700770   CRUM                 ANGELA                  3366          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53870708   CRUM                 JOEY                    7148          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71337618   CRUM                 LESTER                  6200          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65004394   CRUMB                BETSY       D           5669          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63479892   CRUMLISH             JAMES                   3787          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87455532   CRUMP                ANTHONY                 2641          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94572435   CRUTCHFIELD          KIM                     7502          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29925790   CRUZ                 ALAN                    4501          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12431314   CRUZ                 ENID                    9108          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50618560   CRUZ                 JENNIFER                6659          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93086769   CRUZ                 ROSA        LINDA       2661          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14978551   CRUZ                 ROXANNE                        1994   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74916309   CRYSTAL              KATRINA                 8073          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15777872   CUCCHIELLA           LOUISE                  3971          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31640741   CUCURELLA            LAURA       V           7167          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69349485   CUEVAS          JR   RENO                    8045          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14350184   CUFFEE               KENDRA      NECOLE      3563          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23604533   CULBERT              GENEVA                  2233          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69115900   CULBREATH            DORIS                   4145          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39682250   CULLEN               DONNA       L           7456          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43869645   CULLEN               PATRICK                 3995          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52927136   CULLEN               ROSELYN                 8488          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32380631   CULLINS              GAIL                    6258          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54492801   CULOTTA              JENNIFER                6781          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92744625   CULP                 JERRLYN                 3487          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56299853   CULPEPPER            KAREN                   3205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43581877   CULVER          JR   ROY         C                  1962   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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14940508   CUMBO          ELSIE                  9385          REJECT
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                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                        Ex. 23
                                                                                                                                                           YES
31805622   CUMMINGS       SANDRA      J          8211          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94735616   CUMMINS        DEBRA                  4477          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55887640   CUMMINS        LINDA                  6096          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61069000   CUMMINS        SHIRLEEN               9811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53479128   CUMMINS        YVONNE                 2581          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45363281   CUNDIFF        BRYAN       AUSTIN            1997   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16919738   CUNNINGHAM     BONNIE                 6098          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73194941   CUNNINGHAM     BRIDGET                2719          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75970076   CUNNINGHAM     CAROL                  2014          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46496131   CUNNINGHAM     CATHLEEN    JO         7163          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21012274   CUNNINGHAM     MATTIE                 0708          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80737550   CUNNINGHAM     SHERRI                 3159          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64560641   CUNNINGHAM     WALTER                 1609          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90904367   CUPP           ALICE                  7693          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13583782   CUPP           LINDA                  8550          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16252513   CURBELO        MARIELISE   MEDINA     0812          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40146570   CURETON        RENEE                  2769          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57298682   CURRAN         MAURICE                5287          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19287646   CURRAY         EMMA                   9477          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93262032   CURRIE         BETTY       J          2472          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20861569   CURRIE         DORETHA                       1967   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29952738   CURRY          ANNIE       D          2917          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65875474   CURRY          CARLETTA               2154          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86559268   CURRY          DEBORAH     ANNE       7397          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83544242   CURRY          MIKE                   0984          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25130465   CURTIN         KARIN                  9739          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37991698   CURTIN         KATHLEEN    A          0511          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40827115   CURTIS         DOLORES     P          7114          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86529871   CURTIS         DOROTHY                0963          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28174763   CURTIS         KATHY       MARIE      9385          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43396109   CURTIS         STEPHON                0441          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25508523   CURZIO         MARIE                  3646          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64963051   CUSHING        THERESA     K          2152          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85422839   CUTELLI        DARLENE                0786          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87982142   CUTLIP         CASSANDRA              8268          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12780467   CYRUS          RENEE       M          7124          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29302266   CZERNIAK       FRANCISCA              1316          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72168598   CZUBEK         DIANE                  0090          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89952464   DABNEY         CLAUDETTE              5286          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50465540   DACOVICH       ELLIS                  4344          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52667823   DACUS          PATRICIA               4501          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78779058   DADIO          LINA                   8844          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25365861   DADLES         VICKI                  4087          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13266976   DAHL           BETTY                  5788          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64389386   DAHL           KARI                   5039          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69293362   DAIGLE         DEBRA                  5122          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89863055   DAIGLE         MAURICE                0787          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71806551   DAILEY         MARIE                  1853          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85968456   DALBACKA       JULIETTE               0648          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64306044   DALBY          PEGGY                  8308          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76150147   DALEY          BEVERLY                7818          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95871205   DALEY          THERESA                1447          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31436340   DALLAIRE       DOROTHY                0126          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93971414   DALLUGE        MICHELLE               1094          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95362043   DALTON         MARY        M          3907          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50468736   DAMATO         YVONNE      T          4628          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16390729   DAMHOF         JEANNE                 5348          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62715023   DAMIAN         NORMA                  6863          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96345603   DAMIANO        NICOLE                 4489          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86543635   DAMICO         MICHAEL                9795          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35888248   DAMOUNI        JAN                    2938          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62381181   DANA           PEGGY       S          8614          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57112191   DANDO          MICHAEL                       1961   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15053630   DANEK          SHIRLEY                0385          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21097112   DANIEL         BARBARA     KAY        7804          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44322086   DANIEL         CARLA                  4854          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87970525   DANIEL         CORA                   2239          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63172350   DANIEL         JENNIFER               2954          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96148357   DANIEL         JOHN                   2134          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58302323   DANIEL         KENNETH                2667          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42498010   DANIEL         LINDA       ANDERSON   7455          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20379180   DANIEL         REGINA                 1621          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30418454   DANIEL JONES   NORMA                  5040          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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61264637   DANIELS      DEBRA                    4759          REJECT
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                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                        Ex. 23
                                                                                                                                                           YES
82613793   DANIELS      DEBRA        ANN         9926          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32316114   DANIELS      JACQUELINE               3699          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65347302   DANIELS      KATHRYN                  2675          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80639498   DANIELS      LINDA        K           1452          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90215082   DANIELS      MIMI                     6053          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85397189   DANIELS      NORA                     0619          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56878503   DANIELS      PEBBLES                  1071          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68648752   DANN         RACHEL       R           4473          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35866481   DANNA        CHRISTY      M           1504          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61631037   DANNA        ROSA                     1669          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16199745   DANSEREAU    SUSAN        E           4589          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27737224   DANTZLER     SABRINA                  4042          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57571587   DAOUST       NIKKI                    3277          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65946751   DARANDA      LAWRENCE                 0281          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27639737   DARBY        REBECCA      A           3547          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48505335   DARK HORSE   GRACE                    6402          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65513632   DARLING      GREGORY                  2187          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12002752   DARLING      KIMBERLY                 3324          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21930098   DARNELL      DIANE                    9073          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22925367   DASIS        IDA                      5196          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58121909   DATTILO      MARGIT       G           8855          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96487086   DAUGHERTY    DEBORAH      K           9883          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23707110   DAUGHERTY    JILLIAN                  7994          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62082436   DAUGHERTY    VICKI                    5768          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68929069   DAUGHTRY     VELMA                    5071          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29127122   DAUZY        NANCY                    5795          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64955421   DAVERSA      CATHERINE                6457          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19364875   DAVID        CAROLYN                  7232          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88671735   DAVIDSON     JACQUELINE               8120          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91597866   DAVIDSON     TERESA                   9324          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67058034   DAVIE        LAURIE                   4705          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29683207   DAVILA       JENNIFER     A           4871          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38524749   DAVIS        AARON                           1971   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28981290   DAVIS        ALONDA                   9318          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98562185   DAVIS        ANGELA                   5046          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17950589   DAVIS        ANGELA                   9229          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85036221   DAVIS        BERNICE                  6358          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40608247   DAVIS        BETTY                    2178          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77578433   DAVIS        BETTY        J           3403          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63729088   DAVIS        BRITTNEY                 2392          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17762900   DAVIS        CARMEN                   4360          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61742783   DAVIS        CHERYL                   6818          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45911089   DAVIS        CHRISTINA    ELIZABETH   0496          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70874114   DAVIS        CINDY                    7888          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65065365   DAVIS        CLARISSA                 3932          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34444709   DAVIS        DEBBIE                   8416          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44575324   DAVIS        DEBRA        ANN         2099          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32497671   DAVIS        DEBRA                    4729          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20029340   DAVIS        DORIS                           1953   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56005175   DAVIS        EDNA         C           0324          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68419906   DAVIS        ELNORA                   7445          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80477390   DAVIS        ETHELINE                 2000          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17576337   DAVIS        FRANCINA                 7811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69638105   DAVIS        GEORGIA                  0070          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66452967   DAVIS        GERALDINE    LOUISE      6736          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96250939   DAVIS        GERTRUDE                 2284          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54570441   DAVIS        JAMES        M           8851          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56888118   DAVIS        JANET                    1232          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67908649   DAVIS        JOETTA                   1835          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34910431   DAVIS        JUDITH                   3272          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51985242   DAVIS        JULIA                    4599          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77141570   DAVIS        KATHY        P           2260          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17730457   DAVIS        LEAH                     5914          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29249253   DAVIS        LEATHA                   8732          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34806285   DAVIS        LINDA                    2258          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64433092   DAVIS        LUANN                    7306          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78130766   DAVIS        MARABETH                 5258          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46590277   DAVIS        MARY                     4288          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79977371   DAVIS        MELONY                   9641          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63370147   DAVIS        NANCY                    0081          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98780583   DAVIS        NANCY                    2596          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96187750   DAVIS        NANCY                    5640          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75831433   DAVIS        NANNIE                   0116          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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39597433   DAVIS                 PATRICIA              9899          REJECT
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                                                                              OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES
                                                                                                                                                                         Ex. 23
                                                                                                                                                                            YES
52453447   DAVIS                 PATTI                 1614          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
97903983   DAVIS                 PEGGY                 1038          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
19077258   DAVIS                 RHONDA      KAY       2627          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
88539381   DAVIS                 ROBERT      E         6099          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
99695190   DAVIS                 ROBERT      M         7708          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
26597861   DAVIS                 SANDY                 2877          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
56719715   DAVIS                 SHERINE               9277          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
33280331   DAVIS                 SHIRLEY     L         1586          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
99284264   DAVIS                 TAMMY       S         8962          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
76598118   DAVIS                 TERRY                 0777          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
42697853   DAVIS                 THEO        JAMAAL    5399          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
61239199   DAVIS                 THERESA               4600          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
48071967   DAVIS                 THERESA     ANNETTE   7411          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
14280941   DAVIS                 THOMAS                9644          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
27032044   DAVIS                 TISHEA                5600          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          SIGMOID COLON CANCER   YES           YES      YES
39050457   DAVIS                 URSULA      YVONNE    9667          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
63134992   DAVIS                 WONDA                 7705          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
84054789   DAVIS HATCH           DIANA                 3153          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
15676561   DAVIS JENKINS         LORNA                 7256          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
11366746   DAVIS ROBERTSON       EFFIE                 8916          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
20995492   DAVISON               ALISA       B         8087          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
50451357   DAVLIN                MIKELLE               9388          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
14861804   DAWKINS               HENRIETTA             9860          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
52927583   DAWSON                BESSIE                7848          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
79304871   DAWSON                CAROLINE              8050          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
93549819   DAWSON                CHARLENA              7462          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
47697529   DAWSON                CULLIE                2004          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
19246116   DAWSON                ELIZABETH             7650          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
17273996   DAWSON                THERESA               7284          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
11388156   DAY                   JEFF                  6639          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
34253777   DAY                   MELISSA               8631          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
56539533   DAY                   YVONNE                5607          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
94071955   DAYAL                 VENITA                4443          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
63911507   DAYLEY                TABAITHA    J                1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
36527504   DAYTON                ELLA                  1684          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
76617784   DE CORO DE LOZA       ADELA                 0395          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
43740368   DE HOYOS              GEORGINA              7863          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
23478940   DEACON                NICOLE                0558          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
36866272   DEAKLES               BRADLEY               2947          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
27798607   DEAL                  DIANE                 1580          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
16685390   DEAN                  EVA                   6731          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
90151073   DEAN                  JERRY       R         6563          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
87443241   DEAN                  JUDITH      GODWIN    5370          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
58567306   DEAN                  JULIE       ANNE      1905          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
58407260   DEAN                  KRISTIN               4214          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
36463167   DEAN                  LAURIE      J         3833          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
42430047   DEAN                  LOIS                  3613          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
79134612   DEAN                  MELISSA               3820          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
19756420   DEAN                  PATRICIA              7971          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
85883071   DEAN                  STEVEN      W         2945          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
97550498   DEANS                 CYNTHIA               6033          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
18493841   DEANS                 TARKEISHA             8600          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
51705714   DEARTH                DONNA                 2513          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
49305206   DEAS GRAHAM           MARGARET              2504          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
37556035   DEATON                ALICE       MAY       6045          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
48163992   DEATON                PENELOPE              8819          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
58158051   DEATS                 VICTORIA              3993          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
63372203   DEBACA                ANGELA                4817          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
87649401   DEBARBIERIS           RAY         E         0676          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
89619764   DEBLOCK               MICHAEL               5834          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
55085928   DECAMP                JAYNE                 4105          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
30746512   DECKER                MARTHA                8088          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
98065188   DECOTEAUX             PATRICIA              6736          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
73500642   DECOTTLE              THERESA               6054          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
30622728   DECUIRE               DEBORAH               3202          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
21115825   DEDEAUX               BETTY       JOYCE     1886          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
89234988   DEDEAUX               SHARON                9206          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
14653202   DEDOSANTOS VALDIVIA   CAROLINA    G         7641          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
57370697   DEEGAN                KATHERINE   L         0285          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
31706073   DEEGAN                KIARA       S         3121          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
68905222   DEELY                 JANE                  8420          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
68124494   DEERING               ROBIN                 0456          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                          YES           YES      YES
79018620   DEFAZIO               ANITA                 1893          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                YES           YES      YES
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99528532   DEFRANCE             GARRY                 5733          REJECT
                                                                                   PageID: 258456

                                                                             OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                             Ex. 23
                                                                                                                                                                YES
13441937   DEFRANCO             DIANA        D        7884          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38782867   DEFRUSCIO            LINDA                 5495          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39557562   DEGANO               SUSAN        JANE     9326          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33073606   DEGEEST              TERRI                 7085          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70460696   DEGEN                KAROL                 0952          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49765337   DEGIDIO MUELLER      CHRISTINA             2601          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86888389   DEGRAFF              LINDA                 7409          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36114129   DEHART               JEREMY                4104          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12621607   DEJESUS              EVELYN                4721          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32716841   DEKRUIFF             BELINDA               0241          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57192079   DELA CRUZ       JR   APOLINARIO            1429          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16900044   DELABARRE            GEORGIA               5715          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51105612   DELANEY              BARBARA      DIAN     0065          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98234289   DELANEY              JUDITH                2645          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16707280   DELANEY              JULIA                 3807          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80432790   DELANOY              DENISE       S        0582          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66471898   DELEON               NAYADE                6322          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87550022   DELGADO              FRANCES               4581          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78719961   DELGADO              KATHLEEN              1695          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20303931   DELLACERRA           ALICIA       SONDRA   9068          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33581107   DELLAFOSSE           GLORIA                1890          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67628433   DELLAPOSTA           SARA                  3656          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78247747   DELOACH              CONNIE                8023          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90783167   DELORENZO            JANET                 6023          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75737946   DELORENZO            MARLAINE              6057          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47008214   DELORME              DENISE                0798          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76245125   DELPIER              DONNA                 5600          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96852469   DELROSARIO           ESTER                 6344          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20286703   DELSESTO             ELAINE                4211          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58333157   DELSO                LINDSEY               2571          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52914918   DELUCIA              BARBARA               5450          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49802646   DELVALLE             TERESA                0867          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30852075   DELVECCHIO           DIANE                 9578          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63922065   DEMARCO              GRACE                 7829          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83567869   DEMARK               ANNE                         1945   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31229592   DEMBY                NADINE                3744          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30849347   DEMELLO              MICHELLE              8477          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63960479   DEMENGE              SUE                   6635          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25686497   DEMERS               EVELYN                0919          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78102503   DEMERS               LINDA        KAY      1165          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33560651   DEMETRAKOPULOS       PAULINE               2800          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72333558   DEMETRO              JANICE                5751          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14728315   DEMITA               ARLENE                2152          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18684620   DEMKO                CLAUDETTE             0109          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15776901   DEMO                 SANDRA                5850          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61856080   DEMORGANDIE          NANCY                 8974          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94467874   DEMPSEY              KORI                  3961          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70332367   DEMPSEY              RITA                  4475          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13091218   DEMSHICK             TRACY                 2758          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72724315   DEMUTH               SANDY        A        0962          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56246460   DENBY GARVIN         CARLET                5251          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52421595   DENELL               SUSAN                 1839          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49896688   DENGLER              CONNIE                6826          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46062904   DENHAM               CYNTHIA               3079          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24080463   DENKINS              DAWN         L        8002          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59587535   DENLEY               GLORIA                9983          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78618829   DENNARD              JACQUELYN             5935          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25586283   DENNIS               BETTY                 3725          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52610465   DENNIS               GENE                  7391          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58634910   DENNIS               TERESA                4990          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73458741   DENNISON             BETTY        R        4003          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56656729   DENNISON HURSH       MARY         ELLEN    5115          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24552732   DENSON               KHADIDRA              8917          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16469770   DENSON               LULA                  5722          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31000829   DENT                 LATEASA                      1980   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84699250   DENT                 SHARON                9432          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44981504   DENTON               MAX                   9421          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77645183   DENUCCI              APRIL                 1315          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69400625   DEOLIVEIRA           LIDIA                 8022          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84990989   DEPETRIS             DONNA                 3269          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18143551   DERAKHSHANI          DOROTHY               0126          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92263913   DERANGE              PATRICIA              3681          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70148243   DERCKS               JOANN                 3433          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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14952296   DERKOVITZ        NORMAN       J                    1936   REJECT
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                                                                              OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES
                                                                                                                                                                               Ex. 23
                                                                                                                                                                                  YES
89528358   DERODA           PATRICIA                  5115           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
47084599   DEROSA           STEPHEN      R                    1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
35610787   DERSHEM          CHRISTINE                 8737           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
96354117   DERTZ            SUSAN                     6634           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
64730089   DESALVA          TEENA        L            5020           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
77056942   DESALVO          MICHAEL                   0961           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
52807024   DESANTIS         MARGARET                  2003           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
32919869   DESANTIS         VIRGINIA     ELIZABETH    3937           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
19917259   DESCHAMPS        STEVE                     6513           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
21431582   DESCHENES        IRENE                     5586           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
27854500   DESHAZIOR        SHARON                    0033           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
78009786   DESIMONE         JANICE                    3652           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
93304326   DESNICK          BETH                      9021           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
13968172   DESNOYERS        KATIE                     3539           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
98957344   DETLEF           LAURA                     2533           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
62383633   DETRES           ISADORA                   7076           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
89684303   DETROLIO         MARY         ANN          1487           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
88503623   DETTLING         FAYE                      7376           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
70202853   DEUEL            SANDRA       MAY          8549           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
95374839   DEVILLE          CAROLYN      M            1287           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
13883311   DEVITA MEESER    TINA                      0189           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
49411904   DEVITO           ANGELA       M            7786           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
94218649   DEVLIN           MERRY                     0007           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
45094753   DEVORE           KUIKIEW                   2573           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
13059422   DEVOU            DOREEN                    9908           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
13353662   DEVRIES          CINTHIA      ANN          8606           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
89476968   DEW              BESSIE                    7974           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
76350781   DEW              DIANE                     8278           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
86970038   DEWEES           BRENDA                    2083           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
17375899   DEWITTE          SHARON       A                    1957   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
66358949   DEXTER           DENISE                     5813          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
93684936   DEXTER           THERESA                    1708          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
75493261   DEZERN           TAMARA       C             2720          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
77284877   DI BIASE         MARIA                      6290          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
48306137   DI GIOVANNI      MICHELLE     L             6148          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
55328208   DI GIROLAMO      BONNIE                     9993          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
82856327   DIAK             DARLENE                    9283          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
70958759   DIAL             JATONIA                    9608          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
67300884   DIAS             KAREN                      3195          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
28942498   DIAZ             CATHY                      9767          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
81723735   DIAZ             KATHLEEN                   4555          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
56966961   DIAZ             MARIA                      6155          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
11168765   DIAZ ARTIGUES    MARICARMEN                 7301          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
74279273   DIAZ MULET       CARMEN       DE LA CARIDAD 3079          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
54290937   DIBARTOLO        DAWN                       6950          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
58807946   DIBERNARDO       THOMAS                     6215          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
88699662   DICARLO          TAMMY                      0918          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
92342449   DICICCO          DIANE                      3486          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
51473759   DICK             DAVID                             1957   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
64004324   DICKENS          PHAROAH                   3346           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
15128542   DICKENSON        SHARON       ANN          0320           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
42740427   DICKERSON        CONNISE                   1736           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
53279317   DICKERSON        PATRICIA     K            0387           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
50006249   DICKERSON        PATRICIA                  3046           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
69715829   DICKERSON        TAMMY                     4952           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
74829048   DICKEY           FRANKIE                   1050           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
72787603   DICKEY           JOLEEN                    1196           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
37893421   DICKINSON        REBECCA                   7290           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
51670985   DICKINSON        THOMAS                    9893           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
41176775   DICKSON          BARBARA                   7514           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
71181119   DICKSON PIERCE   DEBORAH                   3783           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
18786215   DIEBOLD          JACKIE                    9560           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
80606902   DIEDLING         SHAUNNA      R            6165           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
27085020   DIEHL            STEPHANIE    E            1647           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
72860760   DIEMER           MARYANNE                  7154           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
81866098   DIETKUS          JOANN                     1311           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
42173056   DIETRICH         JACQUELINE                6505           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
66370774   DIFILIPPO        KRISTEN                           1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
30067084   DIFRANCO         CHRISTINE                 1719           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
11988586   DIGENOVA         NANCY                     0332           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
70998724   DIGGS            CAROL                     3326           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                                YES           YES      YES
35514632   DIGGS            CHEQUAN                   9753           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                      YES           YES      YES
90818344   DIGIACOMO        CHRISTINA                 0769           REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CERVICAL INTRAEPITHELIAL NEOPYES           YES      YES
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80809297   DILL              SARISSA                3447          REJECT
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                                                                           OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                              YES
14014617   DILLARD           BEN                    3653          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67084277   DILLARD           EVERLEAN               1698          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68328683   DILLING           TRACEY                 5657          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31671914   DILLINGHAM        TERESA                 6011          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90366392   DILLON            JEANNE      L          5869          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75311002   DILLON            LISA                   9592          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57511846   DILORENZO         LINDA                  3997          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25539288   DILWORTH          TONJA                  0020          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29188921   DILYARD           JOY                    6087          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23354838   DIMARINO          ROSE        M          1068          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70731529   DIMARTINO         DIANA                  1034          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30727581   DIMARZO           MARION                 9505          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29815870   DIMATULAC         JONATHAN               4192          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46983140   DIMEGLIO          DIVA                   8983          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98681562   DIMONTE           TINA                   9377          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61953628   DIMYAN            DIANA                  8055          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84684204   DINGER            TAMMY                         1968   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41095343   DINGESS           JAMES       T          9316          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89407182   DINGLE            DONNA                  3361          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85888893   DINGLE            VERONICA               4441          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63543052   DINKINS           KENYA                  8202          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74429206   DINNEEN           KELLEY                 2654          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26757727   DINNELLA          LINDA                  1564          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13244792   DINTER            ANNA                   8899          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76831954   DIONNE            LAURIE                 4691          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12316411   DIOVANNI          EVELYN                 4872          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80437312   DIPIETRO          TRACY       A          8813          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42419873   DIPPOLITO         DORIS       A          0629          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44996094   DIPRIMA           CATHERINE              3784          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82697965   DIPSEY            JOSEPH                        1994   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18137969   DIRKS             SHARONDA               5451          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40807216   DISALVIA          LINDA                  3255          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47242850   DISHER            SIDNEY                 3189          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92067654   DISHMAN           DAVID       L          5369          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60444884   DISRUD JORIS      CARRIE      J          1083          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43159204   DISTEFANO         EMILY                  3787          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72585092   DITTEMORE         DESIREE                1893          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85860792   DIUTE             KATHLEEN    T          4750          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81467860   DIVITA            SUSAN                  6061          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97152813   DIX               MYCKENZI               1115          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21144394   DIXON             ALLAHME                7707          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24324735   DIXON             CATINA      MICHELLE   2421          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77528613   DIXON             DEBRA       ANN        6349          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47649901   DIXON             JEANETTE               5594          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74961401   DIXON             KAREN                  3326          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69173937   DIXON             LUCILLE     S          8267          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30016054   DIXON             MARSHA                 4648          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54458314   DIXON             MARVA                  0548          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61682715   DIXON             MELODY                 6868          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61925581   DIXON             NETTIE                 0977          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76949788   DIXON             SARAH                  1300          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40206179   DIXON             SUSAN                  4828          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41801719   DIXON             WILLIE                 9335          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47045643   DIXON             WYONA                  4959          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48941620   DIXON HUNT        DORETHA                1969          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93734459   DIZON             DANA                   7725          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84228909   DOBACK            PATRICIA               7019          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34583460   DOBBINS           MARCIA                 0630          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47030792   DOBBINS           WIMONT      SUE        2263          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71247262   DOCKHAM           NELLIE      MAY        6881          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96085619   DODDY             LENORA      A                 1953   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17958215   DODDY             SHIRLEY                2358          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55360445   DODERO            CAROL                  1007          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91447414   DODSON            EMILY                  9349          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41518663   DODSON            GLENNA      S          5035          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91675010   DODSON            JEFFREY                       1960   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29988323   DODSON            LORETTA                3330          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11373051   DODSON MCDANIEL   CORA        L          5846          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59776456   DOERR             WENDI                  0877          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45966898   DOHERTY           HELEN                  7402          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89112723   DOIEL             LINDSEY                2218          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52146694   DOLAN             ANGELA                 2567          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81919754   DOLINGER          JAMES                         1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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67102718   DOLIVEIRA           CHERYL      A       8457          REJECT
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                                                                          OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                             YES
70052590   DOLLAR              ROBBIE      C       8173          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58058413   DOLNY               ANDREA      C       4889          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35033807   DOMINGUEZ           MONICA              0928          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95587696   DOMINGUEZ           SUSAN               9149          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44746910   DONAHUE             KAREN       J       8881          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33410532   DONALD         SR   GREGORY             8615          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36989399   DONALDSON           LOIS        JOANN   6828          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30105359   DONALDSON           LUDVINA             6399          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26206849   DONE                SHARON              5033          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63919988   DONEGAN             TINA                0285          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95990280   DONES               ROSE                0117          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77752008   DONHAM              STACEY              6504          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79240777   DONLEY              GLENDA              1434          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51902782   DONLEY              KRISTINA            7289          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58602021   DONLEY              SANDRA              8655          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55488329   DONNAN              JULIANA             3809          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87405615   DONNELL             GLENDA              5370          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27362442   DONNELLY            NANCY               6768          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40243318   DONNER              DIANE               3472          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61992370   DONOHUE             JAMES               5127          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52270905   DONOSO              DARIAN              9043          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25171146   DONOVAN             KATHERINE           9174          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74629416   DOOLEY              DORIS               1701          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29329021   DOOLITTLE           LISA        KELLY   0887          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46622000   DOOMS               YVETTE              4401          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69804408   DOORIS              BETTY               7719          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30174496   DOORNBOS            VICTORIA    L       3533          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99683349   DOPLER              DIANA               1556          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62740989   DORCH               BRENDA                     1948   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49485374   DORCZ               LINDA               5049          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99214362   DORMAN              CYNTHIA             0851          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27478809   DORN                THERESA             3125          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23106793   DORSETT             BRITNIE             1933          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78298507   DORSEY              BETTY               6562          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50860477   DORSEY              DEENA               6344          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99212282   DORSEY              NIKKI               7996          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73569618   DORTON              MARLENE             8178          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64275902   DOSS                MARILYN             4407          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72097028   DOSTAL              DANIEL              2293          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72451402   DOTSON              AILEEN              1221          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72584770   DOTSON              CHIMERE             6179          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23646688   DOTSON              PATSY               6408          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55373750   DOUCET              MARY                       1954   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42303579   DOUGHERTY           EILEEN              5375          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29901416   DOUGLAS             BETTY               5470          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30236076   DOUGLAS             CHERYL      ANN     0815          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83364168   DOUGLAS             GLORIA              7125          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76167370   DOUGLAS             KIMBERLY    HART    2299          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90450282   DOUGLAS             LATRICE             5842          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36183925   DOUGLAS             LORI                9373          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35156675   DOUGLAS             MARY                5345          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66879439   DOUGLAS HUMPHREY    LAUREL              3465          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76899635   DOUGLASS            DIANA       R       3160          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70258094   DOUGLASS            MARC                9582          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16035470   DOUTRE              LORILIE             3367          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75097533   DOVER               PAMELA              4382          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59750604   DOVERS              VIRGINIA    L       0623          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69252246   DOVI                JANE                1054          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78299244   DOWD                CHARLES             5347          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72578278   DOWDEE              JULIE               1126          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37424560   DOWDELL             LYNDA       ANN     1508          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17315891   DOWLING             KELLY                      1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66027332   DOWN                JENNIFER            4408          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85227612   DOWNES              PATRICIA            6768          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28701410   DOWNEY              FRANCINE            5299          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72933645   DOWNS               DAREK               1255          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58794586   DOYLE               ANNE                8510          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68637452   DOYLE               JESSICA             5797          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40930573   DOYLE               SHELLEY     BRADY   4371          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12462140   DOYLE               TERRI       A       1761          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23729969   DOZIER              ELIZABETH           5237          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14406765   DOZIER              FLORETTA    A       3090          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48643391   DOZIER              IGNACIO             5423          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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98824574   DRAGO                BARBARA                6540          REJECT
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                                                                              OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                 YES
77912434   DRAGON               VICTORIA               1824          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71928067   DRAKE                DIANA        R         3579          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23061888   DRAPER               KATHY        D         2084          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62817663   DRAPER               LAVADA       DIANE     4784          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34275643   DRAWENEK             DAVID        M         2908          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31712771   DRAZICH              LOIS                   1284          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23361310   DREER                DON          DAVID     4754          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97552329   DREIER               REBECCA                1030          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84165418   DRENNAN              MURRENA      J         7880          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63717363   DRESSEL              KATHERINE              4355          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50188144   DREYER               ASHLEY                 4429          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20613090   DREYER               PATTI                  1275          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54056076   DRIVER               ALLEN                  8920          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66588793   DROWN                JO           ANN       9796          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60046661   DROZE                REBECCA                4330          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97030221   DRUMKE               SANDRA                 3675          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18244353   DRZAZYNSKI           DIANE                  4015          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72653099   DUANE MCAULIFFE      ROXANNE                1141          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15653979   DUBE                 WENDY                  3211          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69928028   DUBOSE               DORA                   3933          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52608898   DUBOSE               DOUGLAS                       1957   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34571667   DUCH                 TIMOTHY      M         2353          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71454979   DUCHAINE             DEBRA                  5189          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79615478   DUCHESNE             CLAUDETTE    M         5437          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27429924   DUCK                 JOYCE                  3683          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99889945   DUCLO                KARIE                  7872          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47517812   DUDA                 KAREN                  9961          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80686776   DUDERSTADT           GAYE                   2400          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81387150   DUDIS                PATRICIA     A         6163          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61023365   DUDLEY               CHAD                          1974   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28053913   DUDLEY               IRIS         Y         7190          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76780057   DUDLEY               PAMELA                 6078          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50148189   DUDLEY               SYLVIA                 2411          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37790644   DUEK                 VANESA                 5814          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59293067   DUFF                 RON                    6836          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17288734   DUFFEE               CHANNON                0929          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12656572   DUFFEY               DAWN                   4155          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85293566   DUFFIN          JR   CLIFTON                5032          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31927057   DUFFY                KATHLEEN               8724          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92888939   DUFFY                KIERSTEN               7101          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82451866   DUFRENE              PAULA                  1634          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19811883   DUFRESNE             BARBARA      A         7460          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83062380   DUGAN                KRISTEN                3734          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80860886   DUGAR                KOTESTSA               6783          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23011312   DUGAS                CAROL                  6109          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38812057   DUGAS                SHIRLENE               1337          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16346780   DUKE                 ADIA                   2977          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90089375   DUKES                GERALDINE              6538          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38863381   DUKES                JOYE         D                1967   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49142114   DUKES                NORMA                  2894          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36848915   DULSKI               DEBORAH      ANN       5379          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58951942   DUMAIS               ALEXANDRA              3830          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71394418   DUMAS                LEA                    8226          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36234099   DUNCAN               ANN                    9191          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59920370   DUNCAN               BETTIE       B         8848          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40731458   DUNCAN               DIANNA                 9489          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87477034   DUNCAN               DUPRECIA               3191          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43252528   DUNCAN               ESSIE                  9354          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75456002   DUNCAN               JEAN                   4991          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76551558   DUNCAN               KATHY                  9422          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31984357   DUNCAN               LAMAR                         1935   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29378509   DUNCAN               LATIFFINEY                    1972   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71697907   DUNCAN               SHARON       DEE       8000          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36255275   DUNCAN               VIRGIE       MAE       9043          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80477717   DUNEGAN              KRISTA                 7965          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62206172   DUNFORD              MICHELLE               2086          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91897985   DUNHAM               LUCIA                  5589          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79677545   DUNHAM               ROSA                   5147          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23805645   DUNKER               MARGARET               1226          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30102260   DUNLAP               JAMES        KENDALL   1228          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17379289   DUNLAP               NICIE        MARCINE   2419          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54121597   DUNLAP               NUANA                  0756          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37628047   DUNLEAVY             BEVERLY      A         2170          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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41458834   DUNN           BRENDA        S       7160          REJECT
                                                                             PageID: 258461

                                                                       OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                       Ex. 23
                                                                                                                                                          YES
32765151   DUNN           MARLENE               7214          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17582739   DUNN           MARSHA                2988          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81703521   DUNN           SANDRA                3003          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12955886   DUNN           SONJI                 7165          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83475250   DUNN           WILLIAM       S       0403          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15042076   DUNNING        DANIEL        L       1019          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31376949   DUNNUM         MONICA        L       8700          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89912597   DUNSKER        ALICE                 7276          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19852419   DUNSTAN        GEORGIA               2368          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58608523   DUNTON         ELEANOR               1795          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29748670   DUPARD NORTH   TONITA                7125          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52479668   DUPONT         BRENDA                7974          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33007994   DUPREE         LINDA                 8217          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94904511   DUPREY         PATRICIA              5504          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88642898   DURAND         SHAUNA                3059          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76383508   DURANT         LATINA                5349          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18774461   DURDEN         KELLY         E       0172          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13066450   DURHAM         ANGELA                5540          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80763338   DURHAM         APRIL                 0398          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76346099   DURHAM         PATRICIA              7864          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92184934   DURHAM         RUTH                  3098          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74096734   DURING         MARGALINE             6103          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97987926   DUROSSETTE     TIBBY                 5666          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41537294   DURRWACHTER    ED                    2604          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90610561   DUTILE         JENNIFER                     1981   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31006162   DUTKO          MARIA                 7343          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80242313   DUVAL          PATRICIA              3479          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34720968   DUVALL         JEANNIE               2681          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34128984   DUZIK          RAYMOND               0308          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30301255   DWORAK         CHERLYN               3894          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60163379   DWYER          JENNIFER              9932          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53340337   DYDIW          SAMANTHA                     1990   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19896908   DYE            AMY           J       7243          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96184173   DYE            SANDRA                2279          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94469431   DYER           BARBARA       J       2856          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63151285   DYER           DANIEL                7912          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23882973   DYER           PAMELA                0787          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56912402   DYESS          DONNA                 0027          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82210203   DYKE           DONNA         VAN     5771          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18108066   DYKES          CAROLYN               2347          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65550020   DYKES          DAVID                 3639          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71369766   DYMENT         TANIA                 2588          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77811942   DYSON          DONNA                 5470          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43141767   EAKER          BERTIE                1862          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19392594   EAMES          DEMETRIA              8722          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12157011   EARL           SUZETTE               4882          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40789304   EASH           KATHY         MARIE   1955          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67595057   EASON          JILL                  4512          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89604502   EASON          STEPHANY              8430          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90873197   EASON CURLES   SUSAN                 5651          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26134307   EASTER         DEBRA                 6265          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71345647   EASTER         GLENDA                0284          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54842344   EASTERLING     CHRISTOPHER           9292          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93176701   EASTERLING     LATOYA                5699          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38699955   EASTIN         JANELLE               8830          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45770084   EATHERTON      DEBRA                 1877          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67204925   EATON          BEVERLY       JEAN    9343          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38542400   EATON          HELEN                 7080          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53934566   EBERHARDT      CAROL                 9251          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26566506   EBERT          JOSEPH                4254          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72670930   EBRIGHT        JASON                 7540          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50374246   EBY            ROBERTA               7155          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65545139   ECHOLS         DEBORAH               4883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53506028   ECHOLS         THELMA                0406          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91414370   ECHOLS         TINA                  0253          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41501385   ECK            KELLY                 2253          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78146126   ECKERT         PATRICIA      J       1159          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31916830   EDDLEMON       BONNIE                5815          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97000174   EDDY           YVONNE                2018          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26999334   EDE            MARSHALL      G       8465          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24643540   EDELEN         BETTY                 9834          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80386685   EDEN           JANET                 8278          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46422393   EDGE           DEBRA                 7259          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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12094285   EDGERTON     DEBORAH                 6998          REJECT
                                                                             PageID: 258462

                                                                       OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                       Ex. 23
                                                                                                                                                          YES
70166319   EDGIN        KATHERINE    T          3589          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81451860   EDGIN        ROBERTA                 9618          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65123717   EDMOND       CASSANDRA    W          6926          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14960192   EDMONDSON    MARVEL                  3107          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90204519   EDWARDS      ANTAVIS                 8720          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37814776   EDWARDS      ANTOINE                 4478          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74846042   EDWARDS      BETHANY                 3086          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47261424   EDWARDS      CAROL                   6765          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19247929   EDWARDS      CAROL        S          9048          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35234927   EDWARDS      CHARLOTTE               8348          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53839137   EDWARDS      CHRISTINE               6697          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32319731   EDWARDS      GERRY                   8094          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19636403   EDWARDS      KELLIE                  0674          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33590237   EDWARDS      LILLIE       I          8143          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89679371   EDWARDS      LISA                    5043          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15665466   EDWARDS      MELVIN                  8455          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70243781   EDWARDS      MICHELE                 4245          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45740434   EDWARDS      MICHELLE                1050          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60024868   EDWARDS      NANCY                   5148          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68348880   EDWARDS      PATRICIA                4141          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64454674   EDWARDS      PATRICIA                4887          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54097704   EDWARDS      TAJA         JASHELLE   4361          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28363991   EDWARDS      TANAJHA                 6423          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23504186   EDWARDS      TERENIA                 2202          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91475014   EFENDIC      MULIJA                  9124          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35596848   EGAN         JENNIFER                6820          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67177698   EGBERT       JUDY                    8507          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59759973   EGGERTH      ANITA                   9948          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17367780   EGGLESTON    LINNEA       M          2986          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57146971   EGINTON      KIMBERLY     SUE        2243          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90935775   EHLING       KIMBERLY     A                 1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60726353   EHRENSING    MARY                    2195          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82341258   EHRLICH      JULIET                  3885          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26583767   EIBEN        ANGELA                  9582          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17565284   EICHLER      CAROLYN                 0306          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59193270   EINBINDER    JOEL         M          7203          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68457554   EISELE       ANNA         MARIE      6205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86692820   EISEN        CYNTHIA                 8987          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21514069   EIZAK        ELLFIE                  5191          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61574963   ELDER        JUDITH       H          2974          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80289268   ELDER        ROSEMARIE               4468          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62668051   ELDER        TINA                    8561          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33754698   ELDRIDGE     GORDON       D          8391          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41037940   ELDRIDGE     RACHEL                  4826          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93988456   ELDRIDGE     REGINIA                 7186          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11112921   ELDRIDGE     SHIRLEYANN              3753          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30436201   ELGIN        MARIA                   7049          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47095546   ELIA         JAKLIN                  8457          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79773662   ELIAS        ESTHER                  1109          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30008062   ELION        JACQUELINE              1091          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70077778   ELIZARDO     VICKIE                  2697          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24504058   ELKENBERRY   SANDRA       JOY        2489          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11533730   ELKINS       TOYE                    3123          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24238939   ELLANSON     JESSICA                 5864          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62335664   ELLARD       LINDA        A          5257          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32927732   ELLENBOLT    MARY         JEAN       2651          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74323485   ELLER        JOHN                           1959   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51651744   ELLER        RITA         CAROL      3118          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94634636   ELLINGTON    JULIE        MAE        3844          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96988249   ELLINGTON    MANDI        R          8202          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98118588   ELLIOT       LORI         BETH       5029          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41937008   ELLIOT       RENITA                  7811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80285080   ELLIOTT      HAYLEY                  3431          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75290688   ELLIOTT      IDA                     6976          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87844150   ELLIOTT      JOANNE                         1958   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42842876   ELLIOTT      VALERIE                 6926          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48089168   ELLIOTT      VICKIE       L          1597          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66086619   ELLIS        AMY                     8486          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18805790   ELLIS        ANITA                   3602          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77825642   ELLIS        CANDY                   3914          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11601691   ELLIS        DONNA                   5537          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14408269   ELLIS        DONNA                   8329          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21562720   ELLIS        KATHY                   0618          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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23257660   ELLIS       LINDA                   6851          REJECT
                                                                            PageID: 258463

                                                                      OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                      Ex. 23
                                                                                                                                                         YES
18717140   ELLIS       LINDA       MARILEE     7125          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69454557   ELLIS       LISA                    1908          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39470359   ELLIS       MARY        LOU         0988          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64556772   ELLIS       NANCY       L           8607          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31639888   ELLIS       PAMELA                  4535          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58923206   ELLIS       TIFFANY                 9062          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46415696   ELLISON     KARMEN                  8911          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63111942   ELSIFOR     KIMBERLY    LYNNE       1309          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71978029   ELSPERMAN   CAROLE                  6370          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34467549   ELSTON      SANDRA      J           2836          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43041803   ELSTON      SHIRLEY     M           6581          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17778171   ELSTON      YOVONNE                 4733          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72488934   ELZIE       LAURA       N           5271          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17562506   EMBREY      JANICE                  3781          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44575245   EMBRY       ANN         ELIZABETH   4103          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22754755   EMERSON     DANIEL                  2161          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71893757   EMERSON     LAVICA                  1621          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41291396   EMERSON     MARTHA                  9006          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78223956   EMERY       CAROL                   1265          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38614019   EMERY       DANYELLE                4299          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25838623   EMERY       PAULA                   0311          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78845568   EMERY       TINA                    0720          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60053803   ENDERS      ROSE        MARIE       4076          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16195639   ENDLICH     LEATRICE                9170          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18030042   ENDRES      DEBORAH                 5277          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65596470   ENDRESS     BARBARA                 9082          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30719011   ENDRIZZI    BENARDA                 8787          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54109875   ENDSLEY     MATTHEW                        1982   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89398829   ENDSLEY     SANDRA      JO          5434          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36263132   ENGEL       MATTHEW                 4009          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15737714   ENGEL       PATRICIA                4073          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17159176   ENGELS      SHAHZADEE               0622          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36045066   ENGLETT     MICHELLE                0932          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99555058   ENGLISH     CYNTHIA     R           7720          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64429225   ENGLISH     HANNAH                  6896          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27663441   ENGLISH     MICHELLE                       1968   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76338261   ENGLISH     WILLIE      MAE         0883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23547609   ENGLUND     GAYE        L           1489          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30544020   ENINGOWUK   LUCY                    2190          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65017835   ENLOW       BRITTNEE    SOYLAND     7824          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88618531   ENNIS       APRIL                   6145          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97306424   ENNIS       JOY         MILLS       8562          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59149240   ENOS        JANET                   7291          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96681103   ENRIQUEZ    SHARON      SERRATA     9267          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51166812   ENRIQUEZ    VIDALIA                 1016          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49733382   ENSINGER    KELLY                          1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79701358   EPLIN       SHAUNA      RENEE       6903          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29595632   EPPENGER    MARTHA      FAYE        1208          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99936645   EPPERLY     WANDA                   5662          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38067588   EPPRECHT    KIMBERLY                8977          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75655488   EPPS        ALLYCIN                 7730          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80042002   EPPS        CYNTHIA     VAN         8889          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56760062   EPPS        JACKIE                  4681          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97335182   EPPS        LOVIA                   5492          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32260862   ERATO       CINDY                   0994          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61094424   ERBER       JONNA                   1435          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34099869   ERBLAND     JULIE       L           5857          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59458101   ERDMAN      JENNY       LYNN        7516          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12312545   ERICKSON    DOROTHY                 1355          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69889073   ERICKSON    GEORGE      MICHAEL            1964   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99109596   ERIKSEN     ELIZABETH   P           2032          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28249894   ERIVES      ELSA                    5136          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50290387   ERNST       LORETTA                 0108          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24189592   ERNSTEIN    SUSAN                   7750          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35579005   ERNZEN      HEATHER                        1979   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73673209   ERPELDING   LYNNE       PHILLIPS    4907          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99920034   ERVIN       CARLA                   4332          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30123321   ERVIN       JANICE                  2164          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75763737   ERVIN       LORETTA     A           0866          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53403616   ERVINS      DEMETRICE               0130          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34592905   ERWIN       MARY                    5336          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22067335   ESCOBEDO    NORMA       GENE        3992          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21558518   ESCOVAR     ALFREDO                        1948   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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59755463   ESKER             PHILLIP                 5306          REJECT
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                                                                            OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                            Ex. 23
                                                                                                                                                               YES
17643196   ESPARZA           NANCY                   1864          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54596713   ESPENSCHEID       ALICE                   8347          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29419610   ESPINAL           STACY                   2487          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53117629   ESPINO            JANICE                  9125          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20902919   ESPINOSA          PAMELA                  8369          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18782726   ESPINOSA SANTOS   PATRICIA                9218          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99069812   ESPINOZA          RAYNA                   5039          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33417915   ESPOSITO          BRUNHILDA               4627          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19829723   ESPOSITO          LISA                    3446          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39860618   ESPOSITO          SHERRI                  3138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77386604   ESSEX             TERESA                  2718          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66736335   ESSIG             LYNETTA                 9052          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61236876   ESTABROOK         CHRISTINE               3946          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11432724   ESTELLE           PAMELA                  0995          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35485073   ESTEP             TRACY                   7340          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29357951   ESTEP             VIKKI         DARLENE   7995          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75777744   ESTES             PAMELA                  8835          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68275265   ESTRADA           DENISE        D         4744          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68404770   ESTRADA           MARY                    2308          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30113519   ESTRADA           RAMONA                  1065          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80381164   ETHERIDGE         DIANE                   7871          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85592212   ETHRIDGE          THOMAS                         1946   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49110963   EUBANK            KIMBERLY      A         4119          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91771497   EUTSEY            KADRIENNE               6684          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63663532   EVAN              ANTHONY       K                1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79118228   EVANCHEC          KATHLEEN                2784          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26191901   EVANOSKI          LINDA                   1958          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43037955   EVANS             BEVERLY                 2210          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40216088   EVANS             CARL                    4168          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60620483   EVANS             CYNTHIA                 2530          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15181543   EVANS             DAVID                   5806          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94153868   EVANS             JOY                     3380          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65472633   EVANS             LEONORA                 1126          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36065572   EVANS             MATTHEW                        1978   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40232127   EVANS             MI HAY                  7774          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31060355   EVANS             PENNY         JO        4267          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86611293   EVANS             ROSA                    4918          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75384743   EVANS             SARA                           1977   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31976451   EVANS             TANYA                          1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93148825   EVANS             THERESA       A         3565          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13967480   EVANS             VENECIA                 5063          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61674367   EVANS             VERONDA       LOVETTA   8215          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41433821   EVANS             WANDA                          1955   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58650647   EVELEIGH          GLORIA                  7441          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27014749   EVENSON           CARA                    5417          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57353221   EVERETT           ANNIE         MARIE     0457          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52227260   EVERETT           SHERRI        L         0828          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93342303   EVERETTE          ANTONIQUE               1760          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46525135   EVERETTE          ELIZABETH               0589          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44548801   EVERETTE          MARION                  6335          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35374362   EVERMAN           TAMMY                   8065          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46774332   EVERSON           DORI                    5809          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94114201   EVERSON           MARGARET                6455          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90667696   EVERSON           RAY                     0494          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42548489   EWING             ALYCE                   3589          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97445971   EXLINE            DIANA                   4658          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70852609   EZZELL            AUDREY                  3955          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84107295   FABIAN            CLAIRE                  4677          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93063747   FABUNAN           REBECCA                 7309          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90497597   FAGAN             CYNTHIA                 9402          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75300560   FAGAN             KATHLEEN                3921          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21681078   FAHEY             CAROL                   6481          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94933231   FAHNSTROM         STEPHANIE               2777          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81178942   FAIL              JOSEPH        D         8557          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68843210   FAIN              JANET                   0885          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79746051   FAIR              ELAINE                  0285          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26819871   FAIRBANKS         DIANA                   9681          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42297900   FAIRBANKS         MARY          FRANCES   6578          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30889195   FAIRBROTHER       LINDA                   2302          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23503285   FAIRCHILD         HEATHER                        1978   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92410992   FAIRLEY           AUGUSTINE               3520          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41317818   FAIRLEY           GLORIA                  8168          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53863037   FAIRLEY           NEESHAWNDRA             3324          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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57589543   FAISON         SHEENA               8739          REJECT
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                                                                      OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                      Ex. 23
                                                                                                                                                         YES
77842098   FAISON         TISEAN               8186          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54654733   FALCON         ROBERT                      1967   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88781023   FALDOWSKI      DEBRA                5697          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76135857   FALLER         KALYN                4470          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49619183   FALLS          CYNTHIA              3743          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30491622   FALLS          LIBBY                9300          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15198463   FAMULARO       PATRICIA             2182          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45011779   FANDREY        KAREN       ELAINE   9489          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43667971   FANSLER        MARY                 0096          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57876353   FANT           NANCY                0694          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58006364   FANTINO        DEBORAH              9572          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82651271   FARACI         THEODORE    A               1947   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15108083   FARAH          SUSAN                0383          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26668437   FARAZI         FAROUQ               1542          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32224392   FARBO          VALERIE     ROSE     4773          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95054405   FARINA         CAROL                8587          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41518141   FARISHIAN      ESTRELLA             1732          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13738569   FARLEY         JENNIFER             9935          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39889674   FARMER         CRYSTAL              2597          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
21381901   FARMER         KATHLEEN             2553          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90561404   FARMER         REGINA               0333          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78339761   FARMER         SARAH                5316          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59493570   FARNSWORTH     JESSIE      M        6060          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48331117   FARQUHARSON    BRENDA      KAY      1147          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90849350   FARRAND        DREAMA               8684          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37196238   FARRELL        HELEN                3083          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39971891   FARRELL        TAMMY                0385          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21703712   FARRELL        WENDI                6659          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84870848   FARRIS         CATHERINE   L        2412          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18438202   FARRIS         CATHERINE            9351          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82718600   FARRIS         JOANNA               3913          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55277950   FARRO          SCOTT                0716          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15280672   FARRUGGIA      KELLY                1796          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44330803   FARVER         MARLENE              6043          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81795580   FATUNDIMU      GERALDINE            6498          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69894942   FAUCHER        GRACIELA             5671          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20559272   FAULKNER       ARTHUR      W               1967   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23464283   FAUST          JESSICA              6855          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13495781   FAUVER         CHRYSTAL             7439          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80595113   FAVALORO       GAIL                 6870          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73942051   FAVORITE       CINDY                1217          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11390726   FAVORS         PATRICIA             8371          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72862165   FAY            HEATHER              4472          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85714080   FAYARD         KIMBERLY             4535          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60704462   FAYE           DIANE                6226          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50362044   FEARON         RUSSHEA              3676          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52016762   FEARON         SUSAN                1278          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38398787   FEARS          MARTHA      M        1071          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58347694   FEASTER        LAURA                7737          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38872412   FEATHERS       SHARON               6580          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70268584   FEATHERSTONE   MARY        B        7035          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40192411   FEDORIW        BOHDAN                      1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23109871   FEES           DARLENE              9223          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72730354   FEICHT         RICHARD              7379          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87863815   FEIDLER        SYLVIA               2373          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96230568   FEINBERG       DENISE               0859          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98845094   FELDER         BARBARA              3718          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90498467   FELDER         GERMEISHA                   1998   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12001908   FELDER         MARVA                1624          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36650869   FELHAUER       BARBARA              5575          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75095057   FELICIANO      LAURA                5953          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96570847   FELIX          ROBYN                0588          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28691361   FELL           SHARON               9121          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43810601   FELSING        STACY                4778          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19970469   FELTNER        JOAN                 5685          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32923933   FELTON         ARCOLA               1665          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31500435   FELTON         EUNICE               2725          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96011842   FEMMINO        MARIE       GRACE    7917          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67963608   FENERAN        DEBORAH              0711          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21350396   FENUTO         SUSAN                5155          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65634490   FERARI         THOMAS                      1958   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99548440   FERENCE        DENISE      M        5173          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50057296   FERGUSON       CYNTHIA              5846          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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71025769   FERGUSON              DONNA                   6545          REJECT
                                                                                      PageID: 258466

                                                                                OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                                Ex. 23
                                                                                                                                                                   YES
86828548   FERGUSON              KAREN                   3920          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40790529   FERGUSON              LINDA                   7817          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43548146   FERGUSON              RHONDA                  4276          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78581897   FERGUSON              SANDRA                         1966   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95457117   FERGUSON              SHARON                  9681          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64912417   FERNANDEZ             BERNADETTE              6014          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93845281   FERNANDEZ             DANIELA      ANN        1450          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80651886   FERNANDEZ             HELEN        PATRICIA   5687          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87894000   FERNANDEZ             LISA                    2772          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62956430   FERRANTE              FRANCIS                 1125          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94688447   FERRARA               JOAN         ANN        0538          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56319349   FERRARA               TARSHEEN                6920          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39579506   FERRARACCIO           CHRISTINE               9608          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35737669   FERREIRA              MARCO                   7147          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79591915   FERRELL               ANDREW                  2153          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88494741   FERRELL               DOROTHY                 8032          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53293586   FERRELL               JODI                    5953          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47845191   FERRELL               LAURA        LANETTE    8439          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82565284   FERRELL               RANDOLPH     DEAN       3533          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37215521   FERRELL               VERONICA                5515          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56617650   FERRER                GINA         MARIE             1971   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64082537   FERRINGTON            NANCY        KERRIGAN   9050          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13223192   FERRIS                MARILYN                 0819          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45048774   FERRIS                MELISSA      A          4315          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93233138   FESPERMAN             WILLIAM                 4013          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56927029   FESTER                NANCY        L          5768          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76490926   FETTE                 SHIRLEY                 8811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29340639   FICCARDI              SUZANNE      J          4124          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62867279   FICE                  LINDA        M          4617          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16827905   FICKLIN               ALTHEIA                 7848          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46729227   FIEDLER               GLORIA       JEAN       5966          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91493985   FIEDLER               PAMELA                  8531          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97785778   FIELD                 JENNIFER                0144          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16978676   FIELDING              DONNA                   0385          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36764140   FIELDS                CHRISTINE               3857          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50955144   FIELDS                EVELYN                  3358          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85861284   FIELDS                LEVORA                  3785          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55268716   FIELDS                PEGGY                   2834          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65653232   FIENAGHA              EUNICE                         1978   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59736422   FIESTER               BETTY        J          3450          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11705637   FIGLEY                MARJORIE     NEL        6862          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71639415   FIGUEROA              ANGELICA                0789          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87370227   FIGURSKI              SUZANNE                 9621          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45597420   FIKE                  EARL                    7001          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75669117   FILIPPI               JANET        L          6215          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69334459   FILLEUL               SUZANN                  9388          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75359857   FILLEY                BETH                    7828          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31811602   FILMORE          SR   RUFUS                   8553          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58664118   FILO DARMSTADT        CHRISTINE               2924          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92555788   FILS                  RUBY                    6833          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49582477   FINANDIS              TIFFANY                 8927          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81797564   FINCH                 BRENDA                  0467          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48115382   FINCH                 TRACI                   0349          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47403268   FINCH                 WANNETTA                7261          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76067427   FINCH            JR   WILLIAM                 0450          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26326138   FINCK                 LISA                    7127          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60743598   FINDLEY               DELCETA                 8965          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46310346   FINDLEY               JACQUELINE              0274          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85148751   FINDLEY               SHAWN                   7078          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62447399   FINESTONE             LORRAINE                3070          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94390878   FINKLEA               WILLIE                  3373          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18678739   FINLEY                ANGELA                  7412          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68281438   FINLEY                DANA                    2284          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48409783   FINLEY                REBECCA                 8054          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36746696   FINLEY SIMMONS        TRACI                   3205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54603615   FINN                  ANNIE        D          7689          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41038868   FINN                  JOHN                           1959   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74301016   FINNERTY              DEBORAH                 5419          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28229524   FINNEY                MICHELLE                1262          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88769579   FIORANELLI            DEBRA                   5967          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79744309   FIORDILISO            LINDA                   2920          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26766885   FIRKEY                MARIE        Y          5013          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96089850   FIRTH                 DELORES                 9142          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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20887233   FISANICK            MARY         ANNE      1088          REJECT
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                                                                             OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                             Ex. 23
                                                                                                                                                                YES
94645626   FISCHBACH           RICHARD                       1931   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93924523   FISCHER             MARIAN                 1165          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40346937   FISHER              BRENDA                 3831          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16473395   FISHER              CARLA        VANEZA    6827          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61196335   FISHER              CAROLYN      STEWART   1735          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29051420   FISHER              CATHY        D         9379          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52152674   FISHER              CHARLOTTE    SUE       1955          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76049692   FISHER              DENISE                 3623          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86943395   FISHER              LINDA                  9867          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93975557   FISHER              MABLE                  7578          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59656454   FISHER              THERESA                5619          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81708244   FISHERO             DIANE                  4754          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73348838   FISK                JOYCE                  4210          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89630101   FITCH               CHERYL                 6313          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83501251   FITCH               JANICE                 4219          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68946374   FITCH               SANDRA       M         8142          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75691806   FITZGERALD          MARIE                  4882          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93403279   FITZGERALD          PAMELA                 2485          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40253546   FITZGERALD          PATRICE                0415          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24706127   FITZGERALD          SANDRA                 0208          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70222791   FITZHUGH            MATTHEW      EDWARD           1981   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20120720   FITZPATRICK         ALISA                  3485          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87079790   FITZPATRICK         BETTY                  3618          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16958165   FITZPATRICK         KATHRYN      C         8502          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87821155   FITZPATRICK         TIMOTHY      A                1972   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51988674   FIVECOAT            JIMMY                         1968   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54058818   FLAKE               STEPHEN                       1952   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23533456   FLAKE               TERESA                 6498          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21762487   FLANAGAN            TIMOTHY                6379          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18248449   FLANIGAN            BARBARA                9294          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77022316   FLEEGLE             LYLA                   9350          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88962915   FLEENOR             DORIS                  6066          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46218507   FLESCH              VERONICA               2849          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37864099   FLESHMAN            VICKI                  2096          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86400373   FLETCHER            AUDREY                 7931          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27743084   FLETCHER            CAROLYN      N         1366          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62810317   FLETCHER            LINDA                  4082          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85568928   FLETCHER            TARRON                        1982   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46376897   FLEURY              ROSE                   5413          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76829904   FLEWELLEN           JENELLE                1400          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68260250   FLINCHUM            GAYLE                  6242          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91792362   FLIPPIN             GLENDA       V         3376          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36103469   FLORENCE            TATIANNA               4209          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82005286   FLORES              ESTHER                 7122          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14616162   FLORES         SR   JERRY                  0605          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83670184   FLORES              KAREN                  2388          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16950056   FLORES              MARK                   0388          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25900112   FLORES              RACHEL                 2983          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27606544   FLORES              ROSALIE      C         4372          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63789276   FLOURNOY            TERESA                 1361          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67318175   FLOWERS             DARRELL      L         0915          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16100041   FLOWERS             DOMINIQUE              1234          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87435500   FLOWERS             GENNETTE               6830          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81785297   FLOWERS             JANICE                 2773          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61980876   FLOWERS             KATRINA                7795          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92256448   FLOWERS             MARY                   6543          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11630025   FLOYD               CRYSTAL                9613          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98206247   FLUHARTY            BRENDA                 7346          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31911904   FLUKER              JOYCE                  4937          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48741131   FLYNN               BEVERLY      J         9267          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12683407   FLYNN               CHAD                          1974   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95995077   FLYNN               REGINA                 6381          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88320566   FOARD               LILIA                  8941          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19960689   FOGARTY             DOLORES                5868          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95250932   FOGEL               ROBERT                        1950   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25753707   FOGG                CATHERINE              5280          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44706091   FOGG                GAILTRICIA             4439          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12101580   FOGLE               CINDY                  4928          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35044352   FOLDEN              CONNIE                 6694          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50401992   FOLEY               KIM                    9733          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49726478   FOLEY LANDRY        MARTHA                 2559          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47227952   FOLOS               JAMES                  8350          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91725934   FOLSOM              BETTY                  3684          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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62732131   FOLSON              FRANCINE                 0823          REJECT
                                                                                     PageID: 258468

                                                                               OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                               Ex. 23
                                                                                                                                                                  YES
61974819   FONSECA             JOSE                            1956   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57763663   FONSECA             VENUS        CAPRI       3928          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97929024   FONTSERE            HELEN                    4459          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15168797   FORBES              OPIE         LALUN       6889          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68717920   FORBES              THELMA                   7659          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96165103   FORBES GORBY        DIXIE                    0206          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56809081   FORCELL             TRIVONNE                 9679          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82283196   FORCIER             NANCY                    3294          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19570673   FORD                ASHELY                   7735          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82652115   FORD                DEBORAH                  3941          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97825641   FORD                JUDY         G           0230          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29640993   FORD                PAMELA                   7240          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77966532   FORD                RONDA                    9357          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45397618   FORDHAM             TERESA                   2602          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25527911   FORDYCE             JOHNNIE                  7787          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61321238   FORDYCE             KATHLEEN                 7977          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16629211   FOREMAN             ANDREA       PAIGE       5291          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95378537   FORES               GARY         O           3282          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28167715   FORGET              GEORGE                   8368          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59025191   FORMAN              JEAN                     4454          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43101749   FORMAN KRESS        SHARON                   4726          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92128300   FORMONT             FAYE                     0348          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23890554   FORREST             MILDRED      LANELL      7073          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30517896   FORRESTER           TOM                             1959   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93598244   FORSBERG            ELEANOR      CHARLOTTE   6621          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52101650   FORSHAW             THOMAS       H           1772          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32744954   FORSHEE             DELORES      GAIL        1179          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89769401   FORSYTH             EMILY                    9737          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60422899   FORTE               CAMILLA                         1970   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19422286   FORTINO             DONNA        MARIA       9200          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67668741   FOSSA               CONSTANCE                9878          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30038330   FOSTER              ANNIE                    0193          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82874079   FOSTER              BEN                             1956   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55721412   FOSTER              BRENDA                   1000          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45209847   FOSTER              CATHY                    3890          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50724780   FOSTER              DIANE                    6269          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70413716   FOSTER              DONNA                    4518          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77437586   FOSTER              DOROTHY      MAY         0017          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75564955   FOSTER              GWENDOLYN    M           2270          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57589649   FOSTER              JEANITTA     K           8691          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35721294   FOSTER              LINDY        L           1091          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44480184   FOSTER              LOTTIE                   4995          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46993535   FOSTER              MAHENI                   2952          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11499293   FOSTER              VIRGINIA                 9253          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40617636   FOSTER              WENDY                    4379          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30501257   FOSTER              ZIPPORAH                 5528          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67834376   FOSTER CARRERO      NIKEMA                   6156          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94055157   FOUNTAIN            SUSAN                    0989          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24113777   FOURNIER            M            LYNN        5778          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44754348   FOURNIER            REBECCA                  6001          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28528523   FOUST               KAREN                    3286          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25089751   FOWLER              JANET                    2724          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71395642   FOWLER              LENA         R           3702          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92451123   FOWLER              SHARON                   6825          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32934325   FOWLER TAVARES      ELIZABETH                2990          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90499875   FOX                 AMY                      4670          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47194400   FOX                 ANGELA                   8997          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25725327   FOX                 CAROLYN                  3807          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76606422   FOX                 DEAN                     0202          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11796576   FOX                 DEBORAH      L           7020          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57105010   FOX                 JACQUELINE               6196          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73654795   FOX                 JEANETTE                 0712          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73193400   FOX                 JOANN                    9556          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66109761   FOX                 JOHN                            1947   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43208682   FOX                 JUDITH       PEARL       2865          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26630165   FOX                 LORRANIE     LAFAYE      4839          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32052557   FOX            SR   PAUL         EDWARD      4354          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79240609   FOX                 SUZANNE                  9526          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33067199   FOX NEWTON          NANCY        J           8421          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32158063   FOXALL BUTHMAN      RAMONA                   6164          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92540222   FOXWORTH            ANGELA                   9675          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81918968   FOXWORTH            THERESA                  9642          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18502599   FOXX                JOYCE                    2283          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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83816419   FOY                IOLA                    6045          REJECT
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                                                                             OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES
                                                                                                                                                                      Ex. 23
                                                                                                                                                                         YES
65102395   FOY                JANINE                  2870          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
66346581   FOY                KATELYN                 4465          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
52103195   FRABOTTA           HELEN                   5386          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
63569448   FRAILEY            IDA                     1975          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
95790219   FRANCHI            KAREN        T          7322          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
71562167   FRANCIS            LINDA                   6964          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
26014954   FRANCIS            MIKE                    1781          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
64081120   FRANCO             FELICIA      D          2192          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
12794444   FRANCOEUR          MARYELLEN               4400          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
76579946   FRANK              GARY         L          3174          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
80582085   FRANK              JEAN         MARIE      2402          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
82087087   FRANK              MARY                    5002          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
24024502   FRANKLIN           CHARLOTTE    P          3539          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
49920215   FRANKLIN           GWENDOLYN    SCARLETT   8565          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
22801612   FRANKLIN           LUCINDA      T          8719          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
91230567   FRANKLIN           OLA                     3819          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
88166362   FRANKLIN JACKSON   SHARINESE               5507          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
81095235   FRANTZ             JULIE        A          6807          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
65071947   FRANZ              JOHN                    4128          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
35450087   FRANZEL            LOIS         ANN        7062          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
96154113   FRANZMANN          AMBER        L          5974          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
88052423   FRASHER            LORA                    5472          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
27959995   FRATANTARO         LUCIA                   1718          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
23491044   FRAZIER            LOU          EDNA       3672          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
42951359   FRAZIER            LUANN                   9619          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
14622586   FRAZIER            SHARON                         1957   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
56027899   FRAZIER            TONYA                   9136          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST                 YES           YES      YES
72714319   FREAS              PAMELA                  7888          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
55477741   FRECHETTE          NANCY                   7807          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
74902738   FREDERICK          ALICIA                  0976          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
48026292   FREDERICK          MARQUITA                9228          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
58318553   FREDERICK          NANCY                   7079          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
37175056   FREDERICK          PATRICIA                1737          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
44482291   FREDERICKS         KATHLEEN                9533          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
41605369   FREDERICKS         STEPHANIE               2256          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
64887908   FREDERICKS         VALERIE                 5954          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
33201510   FREE               JOY          A          6632          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
88082160   FREEMAN            BRENDA                  1509          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
17208003   FREEMAN            LOIS                    4465          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
46913338   FREEMAN            MARY         L          1520          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
40126086   FREEMAN            RACHEL       LEE        3355          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
68063825   FREEMAN            RANDY                   3750          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
29403830   FREEMAN            SAMANTHA                4014          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CERVICAL DYSPLASIA   YES           YES      YES
85942305   FREEMAN            SANDRA                  9655          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
66298380   FREEMAN            VICTORIA                5996          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
50368502   FREITAS            GINA                    4904          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
92074068   FRENCH             COTROAL                        1952   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
67391979   FRENCH             DENISE                  4045          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
47903072   FRENCH             MARCIA                  1417          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
97550709   FRENCH             PATRICIA                2461          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
19985871   FRENCH             TIMOTHY      E          6614          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
55003829   FREY               MARK                           1954   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
90700960   FREYLER            SCOTT                   8617          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
38824604   FRIED              HELENE                  7292          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
42967459   FRIEDHOLM          CAROL                   1112          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
50328895   FRIEDLAND          CAROL                   2492          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
26741188   FRIEDLAND          MURIEL                  5022          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
16273573   FRIEND             MARLENE                 2439          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
51041561   FRIEND             VICKIE                  1523          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
29008088   FRIER              BARBARA                 2937          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
52697003   FRITH              KELLI                   6822          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
78535684   FRITZ              ELIZABETH    ANN        8167          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
76357019   FRITZ              SUSAN        MARIE      8888          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
81651631   FROEHLIG           ANITA                   6889          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
29684082   FROMAN             LINDA                   8387          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
85817296   FRONK              JESSE        J          8208          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
54269160   FROST              BRIAN                   5638          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
38396586   FROST              CAROL                   8746          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
51746046   FROST              ELLEN                   5696          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
46837329   FROST              JACQUELINE              8712          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
42119843   FROST              JANICE       M          8474          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                        YES           YES      YES
37642985   FROST              SELENA       KAY        8171          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
35567600   FROST              SHERRI                  1704          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                              YES           YES      YES
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96334881   FROST              TRISTAN                  8215          REJECT
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                                                                              OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                 YES
66290134   FROTHINGHAM        TONI         ANN         9737          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79376146   FRUCHEY            PEGGY                    8709          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78780280   FRYE               KATHY        L           9075          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31365046   FRYE               REBECCA                  0501          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27427656   FRYE               SARAH        KAY         0246          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25893510   FRYER              ERIKA                    3071          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93735263   FUEHRING           HEATHER                  8935          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21554229   FUENTES            NICOLE                   3978          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37423781   FUENTES            SUSAN        ELIZABETH   8001          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70434852   FUEST              LISA         L           3146          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51544508   FUGATE             AMBER                    4397          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88679206   FUGATE             CATHY                    5887          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25699200   FUGATE             MARY                     8993          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23773731   FUJIWARA           GABRIELLA    N           2644          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57717387   FULKS              SHARON                   6362          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18852326   FULLER             ANDREA                   2010          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59145157   FULLER             CHERYL                   6469          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40857151   FULLER             JAMES                    0177          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92091767   FULLER             LYNN         MARIE       6707          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99082360   FULLER             NANCY        M           4929          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69760497   FULLER             OTHELLA      MARIE       8720          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44322611   FULLER             RICKY                           1971   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19962602   FULLER             WILLIAM      J           6893          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35121618   FULLWOOD           VICTORIA                 9137          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97380214   FULMER        II   ROLAND       RAY         5875          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26667519   FUNDERBURK         JEANA                    0280          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43023253   FUNKHOUSER         CHRISTINA                5296          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37816214   FUNKHOUSER         HALLIE                   7325          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46508045   FUQUA              DENISE                   5993          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63550969   FUQUA              SHAYNA                   1585          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24548977   FUQUAY             SHIRLEY      CHAPPELL    2297          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45446027   FURHMAN            DENISE                   5915          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86190954   FUSCO              REGINA       M           9068          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31313010   FUSELIER           KIMBERLY                 3790          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55633570   FUTRELL            CYNTHIA                  6799          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66212252   FYHRIE             DEBORAH                  7451          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92277111   GAAL               TAMARA                   8166          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96041948   GABER              LORI                     6631          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14183452   GABLER             DENNIS                   4134          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32059465   GABRIEL            DEBRA        E           4017          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14229948   GADDY              KRISTIN                  6317          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91250708   GADDY              VIVIAN                   9658          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12109880   GADSON             SALAHUDDIN                      1987   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34071625   GAFFNEY            DONNA                           1971   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93419753   GAFFNEY            JESSICA      R           8962          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36218335   GAGE               HAZEL                    9405          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13841812   GAGLIANO           FRANCES      B           0603          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83417899   GAGNON             GEORGEANNE               2844          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51980254   GAINES             GWENDOLYN                9841          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76316917   GAINEY             MARY         ELLEN       1105          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23835738   GAINEY             ZONEAS                   5850          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47367359   GAITA              JENNIFER                 6098          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60120402   GAITHER            LISA                     0958          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88673777   GALATI             ANNA                     2220          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32976812   GALBRETH           JUDY         ANNE        2602          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91389979   GALEY              GEORGETTE                3656          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29771560   GALIAZZI           MARIE                    0660          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69955346   GALLAGHER          ANTONIA                  0005          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93020909   GALLAGHER          RACHEL                   7956          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61502673   GALLAGHER          VIRGINIA     M           3409          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45490587   GALLATY            DEBRA        G           9057          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30185874   GALLEGOS           ANNA                     8804          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68471804   GALLEGOS           TACEY        LEE         1451          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84982158   GALLESE            NICOLE                   5600          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52210777   GALLI              CLARK                    4903          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89020762   GALLINARO          MARY         JO          2621          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68576270   GALLOWAY           DONNA                    0129          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76431630   GALLOWAY           MATTIE                   4829          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99791748   GALLOWAY           YVONNE                   1378          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19958146   GALLOWAY           YVONNE       BARNES      1920          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68992918   GALLUP             SANDRA       A           7656          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21838537   GALVES             VICTORIA                 4533          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30175699   GAMAGE             JANICE                   4360          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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77675581   GAMAGE         MELANIE       ANN              1973   REJECT
                                                                               PageID: 258471

                                                                         OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                         Ex. 23
                                                                                                                                                            YES
88812881   GAMBEL         LYNNE                   1098          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11660357   GAMBILL        BONNIE                  7329          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14678469   GAMBINO        CHRISTINA               5835          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73140640   GAMBLE         MARY          FRANCES   9754          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86550615   GAMBOA         ANTONIA       R         5164          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77641575   GAMBOA         NORMA                   0964          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41495562   GAMER          PATRICIA      K         7945          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75247605   GAMMEL         CAROLYN       TERESA    4410          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50527095   GAMMEL         KATHLEEN JO   MARY      0946          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86286327   GANDOLA        MICHELLE      MARIE     8064          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12375195   GANN           SHERRY        SUZAN     3737          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60864051   GANNAWAY       LOIS                    2918          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13741116   GANT           BARBARA                 8962          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30946057   GANTT          ADRIAN        S         4581          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99487465   GANTZ          PATRICIA                4586          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85158192   GANZ           JANICE                  9546          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58732196   GAPPMAYER      KAREN                   6814          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60484898   GARAAS         KAREN                   7106          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73956447   GARBRECHT      MELISSA                 2668          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69223120   GARCES         ELOISA                  6682          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66034071   GARCIA         ANNA          ALICIA    5360          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87450527   GARCIA         BARBARA                 4070          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45688247   GARCIA         CASSIE                  4422          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74348685   GARCIA         CHRYSIAN                1164          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93312622   GARCIA         JOSEPHINE               1709          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43510395   GARCIA         KATHY                   5382          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37492883   GARCIA         KIM                     6441          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98977928   GARCIA         LAURIE                  9576          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16910361   GARCIA         LILLIAN       M         6081          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46978358   GARCIA         MARIA                   9473          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13896339   GARCIA         MONICA                  3934          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58336252   GARCIA         NATALIE                 2882          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72804487   GARCIA         NORA                    8454          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88580507   GARCIA         PEGGY                   8660          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77140420   GARCIA         ROSANNE                 8740          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38478944   GARCIA         ROXANNE                 8528          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53788226   GARCIA FERRY   LINDA                   4597          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97746922   GARDNER        CHERYL                  9346          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52051158   GARDNER        CYNTHIA                 9274          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54301316   GARDNER        DENISE                  9318          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64122584   GARDNER        GAYLE                   3907          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20136524   GARDNER        GINELLE                 8477          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60058591   GARDNER        TRACY                   7627          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74323762   GARDNER        VALERIE                 0806          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56498341   GARIBAY        VIVIAN                  3468          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59746423   GARNER         ELAINE                  6509          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82638375   GARNER         LANCE                   1645          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40215622   GARNER         PAULA                   8312          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50082033   GARRETSON      ROBERT        LEE              1944   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21501128   GARRETT        FANNIE                  8054          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14495145   GARRETT        LACAROLE                6144          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35590084   GARRETT        LINDA                   6193          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62857414   GARRETT        LINDA         C         8815          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32524449   GARRETT        LUCY                    4825          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17034850   GARRETT        OLIVIA                  2082          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28181906   GARRETT        RUBY                    6512          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79430168   GARRISON       DARCY         A         3669          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38105491   GARRISON       KATHLEEN      LAUREL    9722          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63431105   GARVER         HEATHER                 0481          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28245775   GARVIN         PENOKIE                 8804          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35238564   GARY           MYESHA                  1727          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15487223   GARY           PATRICIA      L         0994          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58251727   GARZA          VERONICA                8456          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54149234   GASAWAY        DONNA         FAYE      8944          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18801622   GASBARRO       JOANN                   0876          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18264353   GASCH          SHARON                  5970          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77639710   GASCON         WAYNE         R         8080          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62672649   GASKINS        BOBBIE                  0104          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59620583   GASKINS        KIERSTON                0751          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84484675   GASSMANN       CORY                    7289          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16157734   GAST           JOHN                    9323          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41243979   GATES          ANNA          E         0039          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49459528   GATES          SHIRLEY                 9136          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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76545646   GATES          SYLVIA                 8395          REJECT
                                                                              PageID: 258472

                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                        Ex. 23
                                                                                                                                                           YES
64501921   GATICA         CLAUDIA     L                 1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89821097   GATTI          JEAN        MARIE      1116          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18206968   GAUDET         PAULA       M          8406          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98919070   GAULT          BARBARA                5296          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94099770   GAUTHIER       SHARON      A          9753          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33909837   GAVALETZ       RICHARD                       1957   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37621323   GAY            LAURIE                 0805          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63625640   GAY            NELDA                  5322          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99863018   GAYHEART       MELINDA                0664          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43747818   GAYLOR         BARBARA     JEAN       1715          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50991524   GAYNOR         TERYN                         1967   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54521986   GAZELL         EDWARD      W          8013          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85809399   GEBARA         GAIL                   1782          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88731921   GEHERS         MARY                   8343          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42400076   GEHRINGER      DARLENE                6038          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42936591   GEIER          DARLENE     A          5864          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98485437   GEIER          KATHLEEN               2430          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75184569   GEIGER         DARLENE     MAE        0549          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11304252   GEISSLER       JUDIE                  1594          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78622788   GELERMAN       ROZA                   0648          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92367726   GELLEPIS       JAMES       STANFORD          1947   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45928885   GELLER         NORMA       C          3634          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76040504   GELLING        NOREEN                 9157          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53125689   GENRICH        ELLEN                  2697          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24470733   GENSTER        TIM                    8341          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48626873   GENTILE        BONNIE      LYNNE      4824          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29109401   GENTRY         MELODEE                8555          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47531301   GENUSO         ANITA                  1915          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67586356   GEOFFROY       KARLA                  6870          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12004858   GEORGE         BRITTNEY                      1995   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25452722   GEORGE         JANICE      M          5143          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71817186   GEORGE         KAYA                          1975   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96268140   GEORGE         MARK        W                 1953   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14934231   GEORGE         PATRICIA    A          0927          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36228117   GEPHART        DOROTHY                3229          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93418531   GEPHART        REBECCA     E          6248          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48125316   GERALD         DIANE                  8100          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54605303   GERARD         BRIAN                         1960   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24699292   GERARD         YVONNE      SAINT      4713          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43058859   GERBINO        MICHELE                4311          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85065537   GERETY         TALOR                  4239          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38866538   GERMAIN        JOANN                  2622          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13449771   GERMINARO      MARY        ELLEN      6266          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21691702   GERMOND        CAROL                  0941          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95872767   GEROW          VERONICA               1721          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70318458   GERREN         TIFFANY                7434          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58434120   GESUALDO       ELIZABETH              8001          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61527728   GEUS           ERYN                          1997   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29370439   GEYER          JOHN        GRANT      2311          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91123692   GHIRMAY        CARMEN                 5805          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57382652   GHITA          RACHAEL                       1976   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22408995   GHOST          DENISE      CROW       1384          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57589735   GIAMPAPA       DAVID       M          9064          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31212775   GIAMPIETRO     JO          ANNE       4171          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93642544   GIANCURSIO     JULIANA                8695          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55438713   GIANNA         JASON                  6031          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33664464   GIANNECCHINI   DEBORAH                0832          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14967168   GIANNOTTI      ANNA        MAE        3179          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15753443   GIBBS          LARRY                  6526          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46248783   GIBBS          SHEREE      M          6732          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23439712   GIBEAULT       JEAN                   0902          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24331753   GIBSON         ALLENE      REED       4684          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82988410   GIBSON         BERNETTE               6297          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83799654   GIBSON         BRENDA                 0916          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62656467   GIBSON         DEBORAH                7270          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96422406   GIBSON         ERNESTINE              1079          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38261655   GIBSON         JANET       BELINDA    7093          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89349342   GIBSON         MARYLAND               1034          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39467219   GIBSON         MELODY                 1354          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40785110   GIBSON         PATRICIA               8033          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63910140   GIDCUMB        DARIS                  9725          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31753509   GIESE          VICTORIA    LYNN       6080          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66754521   GIFFEN         PATRICIA               8623          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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42670336   GILBERT           AMBERS                8594          REJECT
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                                                                          OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                             YES
59925035   GILBERT           ERIC                  7042          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62270203   GILBERT           GEORGE                7483          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92769957   GILBERT           LUCINDA               2483          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79509230   GILBERT           MARY                  4663          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14702774   GILBERT           THERESA               2418          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20743831   GILBERT           THERESA               5549          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34865147   GILBERTSON        PENNY                 1696          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54988347   GILCHRIST         BETHANESE             4283          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55582778   GILCHRIST         JOHN        SCOTT     5917          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49517730   GILES             HENRIETTA             1028          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90522233   GILES             RUTH                  4526          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67672895   GILES             THOMAS      DREW             1984   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97955117   GILES             VALERIE               6897          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25675711   GILES             YVETTE                5217          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21557283   GILL              DEBBIE                3038          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39741429   GILL              MELISSA               1784          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38312730   GILLESPIE         BEATRICE              9450          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39311532   GILLESPIE         DIANE                 1594          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41870888   GILLESPIE    SR   ROBERT                6546          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66753958   GILLESPIE         SAUL                  8356          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11452362   GILLIAR           NANCY       L         7412          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46157240   GILLILAND         ALTA                  7453          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23960508   GILLILAND         SANDRA                2252          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96714354   GILLISPIE         JULIA                 6068          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42160907   GILMER            CAROL       A         8534          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91104744   GILMORE           BETTIE                1160          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37440293   GILMORE           LISA                  5869          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45073091   GINNETTO          ANGELIKA    D         6603          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95435127   GINSBURG          TINA                  3456          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41800880   GIOE              SHEILA                6585          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64731270   GIOLITO           GLENN                 7159          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71143641   GIORDANO          LYNETTE               0497          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53002873   GIORDANO          MARYANN               2432          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20320324   GIORDANO          PAULETTE              5579          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35697263   GIRADO            LETICIA               4379          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45035622   GIUNTA            LORRAINE              0515          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68805406   GIVEN             KATHERINE   HANKES    1313          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37916767   GIVENS            BEVERLY               8415          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45735320   GIVENS            ELIZABETH             4682          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78101340   GIVENS       SR   WILLIE      R         1352          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42786026   GLADSTONE         RENEE                 2572          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63555007   GLANTON           LUVELL                6300          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72391444   GLASER            MARILYNN              5563          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81952469   GLASSO            MACHELLE              5739          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70549649   GLAZE             VICKI                 8217          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63717150   GLAZER            DEBRA                        1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71404338   GLEASON           DAVID                 5086          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32311346   GLEASON           ELLEN                 0721          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68795981   GLEBA             DEBRA       JEAN      8455          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42487053   GLENN             JANIE       M         2179          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24211836   GLENN             JOSEPHINE             4335          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61192752   GLENN             JOYCE                 7794          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25291433   GLENN             LORRIE                3278          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46206422   GLESSNER          KAY                   4587          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88806692   GLOSEK            DEBORAH               5495          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92261357   GLOVER            ANGELA                9162          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26222273   GLOVER            KAYLA                 0847          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68580192   GLOVER            NARVIE                0636          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41093123   GLOVER            THERESSA              6719          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33200656   GLOVER            VIOLET                1321          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34462723   GLOWACKI          CHARLENE              7965          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37312744   GLUCK             VICTOR                       1947   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77438220   GLYNN             ANNA                  5752          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98472469   GMITTER           URSULA                8631          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17192037   GNIEWEK           STEPHEN                      1948   ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62142580   GOBBEL            DENNIS                       1961   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97276708   GOBBLE            JOAN                  1280          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60123285   GOBERT            MONIQUE     L         1145          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57399040   GOBLE             BESSIE                3264          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97261824   GOCHENOUR         AMY         LYNN      8129          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88374981   GODBOUT           FLORINE               3993          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75960879   GODFREY           ALLYSSA               4094          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14283291   GODIN             MARGARET    PAULITE   2128          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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95513560   GODSCHALL         MICHELINE             5443          REJECT
                                                                                PageID: 258474

                                                                          OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                             YES
18202955   GODSY             VICKY                 0431          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44148028   GODWIN            HARVEY                5702          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14193285   GODWIN            MARY                  2010          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50702793   GOEB              ERIC                         1985   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91219807   GOETZ             MELISSA                      1978   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23403542   GOETZ             RUTH        ANN       9441          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44297599   GOFF              SHARON                8818          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26804887   GOFF              TRACEY      MARIE     6823          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78800430   GOFORTH           DAVID                 3398          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44485306   GOINGS            MARILOU               5527          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56985711   GOINS             LARA                  3968          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35836354   GOLART            KIMBERLY                     1980   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36344347   GOLDABER          SHARON      K         1389          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17292201   GOLDBERG HAUSER   NANETTE               4508          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46591818   GOLDBLAT          JOAN                  4260          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66207356   GOLDBLATT         HEATHER               6481          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15456576   GOLDEN            DEBORAH               8061          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72787944   GOLDEN            JILL                  5598          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49694954   GOLDEN            KALISA                8494          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18175873   GOLDING           VENETIA               9104          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59395090   GOLDMAN           DOROTHY     S         7500          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75333909   GOLDSBY           MICHELLE    EVETTE    9475          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17287322   GOLDSBY           ROBERT                2790          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36161078   GOLDSMITH         MARY                  1657          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37546216   GOLEMAN           TAMRA                 0655          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48057574   GOLLEDGE          JUDY                  4513          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98486719   GOLOBO            MADISON               6731          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84645836   GOLSON            LINDA                 4387          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24335029   GOLUB             TRACY                 1087          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47578155   GOMAN             SUSAN                 1116          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75103383   GOMES             MARY                  7199          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91876900   GOMES             MICK                  2849          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77218085   GOMEZ             AMANDA                4239          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42856463   GOMEZ             APRIL                 5038          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58188928   GOMEZ             ELIZABETH             0586          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67746731   GOMEZ             EMILY                 9293          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61871477   GOMEZ             JOAN                  0306          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97019972   GOMEZ             MARGARET              0684          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23672804   GOMEZ             NANCY       CARAPIA   8328          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49564612   GOMEZ             ROSA                  1554          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12319612   GOMEZ             VALERIE               2985          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81437123   GOMEZ             YVONNE                       1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47400854   GONDELLA          GREY                  2302          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77708171   GONDER            RAMONA                7945          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85380655   GONZALES          BARBARA               3476          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90226491   GONZALES          CHARLOTTE             3931          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95098394   GONZALES          CONNIE      Y         9080          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31996531   GONZALES          DONNA                 1019          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29997577   GONZALES          ERIKA                 6725          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13798802   GONZALES          GINA                         1977   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64459455   GONZALEZ          ANDREA                8975          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18682403   GONZALEZ          CLAUDIA               8346          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68487618   GONZALEZ          DEBBIE                8743          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82361539   GONZALEZ          HERMINIA              8446          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51976513   GONZALEZ          JOSEFA                9454          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26255957   GONZALEZ          LEONOR      A         1340          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14439896   GONZALEZ          MARIA       C         9504          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61065815   GONZALEZ          MONICA                7417          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44786068   GONZALEZ          SONIA                 6065          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93912887   GONZALEZ          UTE                   0457          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52260669   GOODALE           KRYSTAL               7311          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92169230   GOODMAN           JADA                  4498          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91712856   GOODMAN           LILLIE                7332          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58209648   GOODMAN           MOLLY       A         5542          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39087079   GOODMAN           OONA                  3885          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31868286   GOODRICH          ALICE       C         3859          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24226743   GOODSON           THOMAS      D         5616          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68901133   GOODSPEED         DARRYLYN              1290          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89026124   GOODWIN           ELIZABETH             1113          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35595370   GOODWIN           JOY                          1966   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47254844   GOODWIN           LYNN                  5609          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89322584   GOODY             MISTI                 7910          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46267608   GOOLSBY           SHELLIE               5695          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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40565070   GORDEN           JODY                    9642          REJECT
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                                                                           OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                              YES
88210100   GORDEN           PAMELA                  5271          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37726635   GORDON           BETTY                   6558          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32858055   GORDON           CHARLIE      MAE        4372          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46034359   GORDON           CHRISTY                 5781          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31746743   GORDON           CYNTHIA                 2173          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44294123   GORDON           FLORIDA      D          4749          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41122308   GORDON           MICHAEL                        1974   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48314701   GORDON           PAMELA                         1962   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32945211   GORDON           SANDRA                  8489          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69953956   GORDON           SHIRLEY                 2931          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19314720   GORE             CAROLYN                 6105          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45514917   GORE             ETHEAL                  4250          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15295555   GORE             GINA         H          4221          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67596394   GORE             LAWANDA      ILENE      0342          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90862838   GORE CLEVELAND   MILDRED                 1530          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92687219   GOREE            LESHIA                  6181          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72813335   GORTAREZ         RACHEL                  8509          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55210429   GORTMAN          BARBARA                 1187          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88139606   GOSS             BRIA                    8083          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14446076   GOSS             ROBERT                         1956   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65449339   GOSTISHA         GAYE         LYNN       0162          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16219942   GOTLEN           BRENDA                  4982          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75956586   GOTZLER          KAREN                   7267          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29207652   GOUDEAU          YVONNE                  5009          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84498547   GOUGH            DONNA                   5314          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70713222   GOULART          LORI         ANN        6280          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99714296   GOULD            TAMMY                   3826          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40755100   GOULD            THELMA                  8945          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80536526   GOURLEY          ELLEN                   9378          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28481714   GOWDY            TIM                     6524          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34484945   GRABOWSKI        BEVERLY                 4515          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66169705   GRACE            TAMMY                   9959          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20574994   GRACE            TRACY                   4870          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62713482   GRACE            WILLIE       MAE        2103          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66730131   GRADNEY          SUSIE                   8526          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41255233   GRAENING         KENNETH      L          3753          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38959727   GRAEWIN          JILL                    8134          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28590573   GRAHAM           CAROLYN                 2453          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28472810   GRAHAM           EUNICE       Y          3350          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23736687   GRAHAM           GAYLE                   8916          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13075401   GRAHAM           KATHLEEN                4832          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35126121   GRAHAM           RUBY                    0205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21884392   GRAHAM           SHARON                  1919          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60900728   GRAHAM           SHELDON                 9069          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63148565   GRAHAM           TARMARA                 2089          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69870444   GRAMLICH         LANA                    9735          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58596611   GRAN             LEWIS                   6880          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79591504   GRANDE           REBECCA                 2264          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75899413   GRANDE           RICHARD      R          4725          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88844246   GRANDERSON       TANGY                   8747          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11229962   GRANGER          JOHN         STEPHEN           1978   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29271832   GRANNIS          ELIZABETH               4063          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67827948   GRANT            ANGELA                  3394          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54031947   GRANT            ANNIE                   6384          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62517716   GRANT            DEBORAH      S          0734          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38674632   GRANT            ETHEL                   2876          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33953123   GRANT            JACQUELINE              8173          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36965260   GRANT            JOAN         MARTHA     0420          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55951484   GRANT            KIMBERLY     MICHELLE   5953          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15431293   GRANT            PAULA                   1337          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80955031   GRANT            SHEILA                  3485          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96931116   GRANT            SHELLEY      RENEE      5711          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97423729   GRANT            VALERIE      D          0196          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24002194   GRANT RICHBERG   TONYA                   8273          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71924051   GRANTHAM         MARY         JANE       3143          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57778498   GRAVER           KATHLEEN                9387          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87393769   GRAVES           DIANA                   4720          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11558827   GRAVES           DOLLIE                  3803          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93077271   GRAVES           MARTHA       KAY        6529          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52307509   GRAVES           MARY                    0835          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41063419   GRAVES           TERESA                  4670          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15692467   GRAVES           WILLIAM                 2559          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38469810   GRAY             AMY                     4513          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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86515347   GRAY                 ANNA         M        5161           REJECT
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                                                                              OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                 YES
31899211   GRAY                 AUNDREA               4331           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71752150   GRAY                 CAROLYN               0960           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48095563   GRAY                 DOROTHY               2492           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89443151   GRAY                 ELONDA       G        5013           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67540389   GRAY                 KATHY        LYNN     9358           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49218971   GRAY                 MARRILL               2484           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57580592   GRAY                 MILDRED      KAY      2234           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85599094   GRAY                 SANDRA                3952           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79388277   GRAY                 SHELBY                0281           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57181020   GRAY                 VERNA        J        5359           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46379457   GRAY                 YVETTE                2143           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86919206   GRAZULIS             PATRICIA              9881           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71446487   GREATHOUSE           SANDRA                2566           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17815731   GREELEY         SR   RICHARD      B        0227           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63418935   GREEN                ANNA         R        6274           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87326520   GREEN                APRIL                 8087           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27922872   GREEN                BARBARA      ANN      3928           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73767408   GREEN                BRENDA       MAE      9276           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14707533   GREEN                CHRIS        L        6737           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20586735   GREEN                CHRISTINE             9613           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16175224   GREEN                COLLIS       E        0182           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82733809   GREEN                CONNIE                5151           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38135567   GREEN                CONNIE       M        5349           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74733543   GREEN                DELORES               1592           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76065413   GREEN                DONNA                        1959    REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42097469   GREEN                EARNESTINE            6231           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57794695   GREEN                EDNA         LOUISE   5567           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90434210   GREEN                GERALD       DEAN     5847           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75739338   GREEN                GERALDINE             9723           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13317295   GREEN                GUSTINE               1442           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74341969   GREEN                JOANNE       M        2413           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58427715   GREEN                JOANNE                9274           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24816756   GREEN                JOEL                         1968    REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19370285   GREEN                KAREN                 0998           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64297539   GREEN                LEEANN                4507           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46144844   GREEN                MARY         A        2233           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94483320   GREEN                NICOLE       M        7516           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44321499   GREEN                RIA          DIANE    1012           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50622293   GREEN                TASHA                        /1980   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69147419   GREEN                TERESA                9078           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28981409   GREEN                THELMA                7034           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85356062   GREEN                TINA         C        1235           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75133581   GREEN                VANESSA      M        6485           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33360147   GREEN                VICKIE       V        2410           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33462981   GREEN                WANDA                 0391           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94134289   GREEN                WILLEEN               0578           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68235314   GREEN NEWMAN         CARMEN                5283           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34467130   GREEN WIGHTMAN       EDNA                  9028           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45552786   GREENBAUM            MYRA                  3164           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67553533   GREENBERG            JANICE                3230           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85819250   GREENBERG            LAURA                 4115           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19350270   GREENBERG            RITA                  4884           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80124500   GREENBERG            STEPHANIE             0025           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75690059   GREENE               ANGELA                8636           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23131066   GREENE               CYNTHIA               4547           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54687686   GREENE               DEBRA        ANN      3314           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59582726   GREENE               ERIN                  3568           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49567507   GREENE               JIMMY        WAYNE           1958    REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82042452   GREENE               MISHA        P        9046           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83434470   GREENE               PATRICIA              1342           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93211782   GREENE               SHARON                8861           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73098045   GREENE               SUSAN                 3787           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47333065   GREENE               TERESA       RENEE    7328           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43304430   GREENE               VERONICA              7482           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60087978   GREENE               VICKI                 7959           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73027119   GREENE ROBERTSON     NANCY                 6957           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45079830   GREENFIELD           REGINALD              5055           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27311579   GREENLAND            BRITTANY                     1998    REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68240150   GREENWALD HILL       DONNA                 4203           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31094716   GREENWELL            KATHERINE    A        8490           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83229148   GREENWOOD            LOIS                  8783           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88128842   GREER                BARBARA      J        9282           REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66834834   GREGA                DEBORAH               5351           REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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85459833   GREGORY            KELLY                   5683          REJECT
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                                                                             OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                             Ex. 23
                                                                                                                                                                YES
43020655   GREINER            MARLIN      A           7005          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87555773   GRESHAM            JOHN        DAVID              1980   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16515995   GREVE              JACK                           1952   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23252539   GREWAL             NIRPAL                  6548          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78476229   GRIEBEL            LYNNE                   9967          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32445576   GRIEGO             GINA                    2127          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16044857   GRIEVES            MATTHEW                        1983   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40269279   GRIFFETH           MANDY       JANE        6675          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43526900   GRIFFIN            ANDREA                         1984   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59081532   GRIFFIN            ANNA                    3505          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49259793   GRIFFIN            CAROL                   4780          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17755922   GRIFFIN            EVELYN                  8072          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22802551   GRIFFIN            JASON                   4727          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69397413   GRIFFIN            LISA                    4108          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75862941   GRIFFIN            LORENA      E           8523          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87414221   GRIFFIN            MARY        ELIZABETH   8292          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42878403   GRIFFIN            PATRICIA                6961          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62632242   GRIFFIN            SHIRLEY     E           9130          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83321873   GRIFFIN            STEPHANIE               0789          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19133665   GRIFFIN            TAMARA                  6693          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51267378   GRIFFIN            THERESA                 7665          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64695313   GRIFFITH           BONNIE                  4642          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41248212   GRIFFITH           DANNETTE                3630          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65340058   GRIFFITH           DOROTHY                 0374          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96773685   GRIFFITH           SANDRA                  9087          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18904916   GRIGGS             DOROTHY                 8694          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83792146   GRIGGS             KRISTIN                 9127          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72194867   GRIGGS             LAUREN                  4078          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21820753   GRIGSBY            DIANE                   0652          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71450703   GRILLO             BARBARA                 6015          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90420075   GRIMALDI           VIRGINIA                7578          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95157733   GRIMES             MARGARET    A           6276          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80414168   GRIMES             SHANNON                        1982   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66601661   GRIMM              ANNA        J           4265          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12527926   GRIMM              CHRISTINE               0182          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82768714   GRIMM              KAREN                   8550          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85443974   GRIMMETT           GRACE                   0687          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36758233   GRIMMETT           KELLY                   3040          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
45460887   GRIMSLEY           ANGELIA                 5482          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96064775   GRINER LEE         KEIRSTEN                2277          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20137713   GRISOLANO          JENNIFER                       1976   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22889951   GRIZZLE            LINDA       CAROL       1157          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20896343   GROBUSKY           STEPHANIE               0826          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
17053309   GRODIS             DONNA                   5696          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85159963   GRODZIAK           JOAN                    6831          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93059615   GROGAN             LYNETTA     DARBY       0215          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58009131   GROLEAU            CATHERINE   ANN         1873          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35583009   GROMADZKI          LEE                     6135          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97550244   GRONE              LOIS                    7610          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51171531   GRONER             CHERYL                  3360          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74627758   GROS               PAUL        ANTHONY     5622          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95950880   GROSHKO            CLARISSA                8851          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42801601   GROSS              AMY                     1256          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22580899   GROSS              SHIRLEY                 2390          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82445037   GROSSETT           CASTEL      I           6262          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56618540   GROVE              DIANA                   2755          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19181567   GROVE              MAUREEN                 9678          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54982494   GROVE              MICHAEL                 6475          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90245614   GROVER             KENNETH     R           1009          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58041506   GROVES             CAROLYN     JONNE       7868          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23735918   GRUBBS             CINDY       D           9320          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55700906   GRUNDY             ERIKA                   0784          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54925027   GRUNSPAN SHIPLEY   EILEEN                  5419          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22865575   GRUNWELL           NANCY                   4931          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96284704   GUARINO            ROSARIO                 1002          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74582149   GUARINO RIVERA     VICTORIA                0561          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69904477   GUBITZ             LADONNA                 6175          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65996752   GUERNSEY           BEVERLY     JO          5915          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61410549   GUERRERO           GLORIA      JANE        9272          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76763077   GUFFY              BARBARA                 9411          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62555139   GUIAO              CATECHA                 6505          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22552206   GUICE              HELEN                   2145          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37342577   GUIDICE            PHILIP      DEL                1948   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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86599669   GUIDRY              CINDY                   7965          REJECT
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                                                                              OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                 YES
16516037   GUILFO              RENEE                   8295          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82717455   GUIN                ERIN                           1985   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71571183   GUINN               KARI                    4870          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12906484   GULCZYNSKI          PATRICK                 0545          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80328223   GULKHANDIA          SUDHA                   0700          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57007454   GULLARD             BETTY                   7862          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52134350   GULLETT             CHRISTINA               9448          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86854863   GUMBY               CATHERINE               9744          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69685001   GUNDBERG            JOANN                   1914          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91334159   GUNNING             MARGUERITE              3003          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42075549   GUNTER              SHIRLEY                 7549          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87799938   GUNTER              WANDA        L          1699          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52455914   GUPTON BEARD        RUBY         GINNY      9114          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43945749   GUROL               DONNA        L          2564          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56409954   GUSEMAN             KIMBERLY                1288          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49328621   GUSS                LISA                    9116          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75512207   GUTHEIL             DENISE                  8252          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77885224   GUTHRIE             ANNETTE      L          0145          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11853452   GUTHRIE             ARDULLA                 4546          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29049599   GUTHRIE             JOSEPH                  5047          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98730556   GUTIEREZ            KAYLA                   1719          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96182305   GUTIERREZ           ADRIANA                 3255          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60574825   GUTIERREZ           JESSICA                 9104          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86993982   GUTIERREZ           JONNY                   4475          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96615809   GUTIERREZ           KATHLEEN                5412          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80731330   GUTIERREZ           MARIO                          1967   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80976853   GUTMAN              ANN                     1000          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11430181   GUYON               PATRICIA     BEATRICE   8075          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41050296   GUYTON              ROBIN                   6149          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30863717   GUZMAN              CHANSAMAY               3746          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41930787   GUZMAN              LISA                    5026          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92466927   GUZY                ROMAN                   3334          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90406132   GUZY                SUSAN                   6067          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33585246   GWYNNE              ALICIA                  7673          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72503554   HAAS                COLLEEN                 1507          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40278393   HAASE               INA                     8020          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21675070   HABECK              MARILYN                 4202          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60400608   HABIG               JACQUELINE   A          8439          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41126008   HADAWAY             CHARLES                 0818          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97400164   HADDAD              SHIRLEY                 6955          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47075817   HADEN               TONJA                   4288          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45565843   HADLEY              FANNIE                  7847          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91990367   HAENGGI             JANET                   0305          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67306262   HAFEN               LENA         B          5679          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52842012   HAFFNER HUBBARD     DEBORAH                 9498          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50861742   HAFNER              HEATHER                        1986   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51232615   HAGAN               KATHRYN                 7652          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19551129   HAGANS              DANNY        R                 1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35860235   HAGENDORF           ALICE                   4666          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12433161   HAGGARD             ELIZABETH               0759          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12115875   HAGINS              JANICE       M          1992          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17510465   HAGLER              CARRIE                  8472          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43884608   HAGOOD              CORA                    9551          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81313951   HAIGHT              CAROLYN                 0488          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29552403   HAILE               JOYCE        M          7835          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41308966   HAILS               DUNCAN                  6631          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59129809   HAINES              JUDY                    8609          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46703214   HAIR                JACQUELINE              3640          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40038834   HAIRSTON            IRIS                    7268          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51680688   HAISLIP             JANIE                   2015          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20989458   HAKE                ROSALIE      M          3450          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82537665   HAKIM               HILDA                   0216          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81300901   HALBERSTADT         BRENDA                  4058          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63106838   HALBERSTAM HIRSCH   HELEN                   9818          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50761522   HALE                INEZ                    9644          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86201350   HALE                MARIE                   0141          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20803344   HALE                TAMMIE       DENISE     7338          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87505255   HALL                ADDIE                   4904          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19157367   HALL                ANITA        S          6379          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21156809   HALL                BARBARA      A          4829          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11412476   HALL                BETTY                          1947   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82891305   HALL                BRENDA       F          5638          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79051729   HALL                CRYSTAL                 8892          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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56451176   HALL               DANA                    7409          REJECT
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                                                                             OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                             Ex. 23
                                                                                                                                                                YES
80822515   HALL               GLENDA                  9823          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68039881   HALL               HATTIE                  6012          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57081148   HALL               JACKLYN                 8431          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58017036   HALL               JOSEPH                  7937          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40701791   HALL               KARON                   5071          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20420379   HALL               LORRAINE     E          8572          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63805706   HALL               MARY                    8640          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27998198   HALL               MELINDA                 8329          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95127051   HALL               MICHAEL      BLAKE             1983   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95646895   HALL               MONA                    5792          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74593135   HALL               REBEKAH                 0924          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64979590   HALL               SARAH                   9486          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83137242   HALL               SHANNON                 3410          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61998541   HALL               SHAWN                   1380          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22778210   HALL               SHEILA       C          9959          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81732235   HALL               STEPHANI                9783          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88842104   HALL               SUSAN                   9138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23791128   HALL               VANESSA                 3777          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83038002   HALL               VELMA                   9294          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42285140   HALL DIERKS        SHEILA                         1972   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99094565   HALLIDAY CORNELL   FRANCES                 0637          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90230332   HALLIGAN           MAUREEN                 4850          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81741136   HALLING            MARIE                   5965          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32811247   HALLMAN            THERESA                 1387          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47770875   HALLSTROM          KATHY                   0523          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34974417   HALPERN            SANDRA                  8088          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66901322   HALSEY             ANTONETTE               8537          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94236847   HALUN              DOROTHY                 7754          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68772880   HALY               PATRICIA                6499          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51647951   HAMBRIGHT          LINDA                   2589          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91889807   HAMBY              MARK                    4642          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29114051   HAMEL              DIANE                   9000          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16780232   HAMILL             CATHERINE               3818          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68388469   HAMILTON           ALICESTINE              6350          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45111145   HAMILTON           ANN                     3347          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60744284   HAMILTON           BOBBY        R          6520          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45711573   HAMILTON           DEBORAH                 9738          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38184593   HAMILTON           DEBRA        S          7174          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85418942   HAMILTON           DOMINIQUE    CASHMERE   8979          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76579145   HAMILTON           ERIC                    5543          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16636873   HAMILTON           GARY                    6562          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31966688   HAMILTON           KIMBERLY                4099          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17096465   HAMILTON           MARTHA                  5953          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67912731   HAMILTON           NINA                    0123          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40000904   HAMILTON           PETER        C          4605          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25754262   HAMILTON           STEVEN                         1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95091872   HAMILTON           TANGELA                 0257          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88966120   HAMLET             CAROL                   7747          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75229160   HAMM               CHARLES                 1321          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55366152   HAMMER             DEBBIE       LYNN       5989          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36813424   HAMMER             DIANA                   2628          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70145509   HAMMER             JESSICA                 0567          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39032174   HAMMER ALLEN       MICHELLE                2235          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68962059   HAMMERBECK         ROSEMARIE               9841          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94969575   HAMMETT            CRAIG                          1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51608209   HAMMETT            PAMELA                  7042          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59247303   HAMMITT            ROBERT                  0022          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16494448   HAMMOND            CHARLOTTE                      1942   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21927680   HAMMOND            JANET        OWENS             1951   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80071217   HAMMOND            LINDA                   7310          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13419591   HAMMOND            VERONICA                0869          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26482043   HAMMOND            VILETTE                 6199          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44543742   HAMMONDS           KENI                    5186          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75870234   HAMPTON            ANNIE                   5504          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97152588   HAMPTON            DORIS        E          6954          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79006760   HAMPTON            SUSIE                   3691          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47821152   HAMRICK            DEBORAH                 7469          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90235180   HANCOCK            CONNIE                  7995          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13998180   HANCOCK            JANICE                  1362          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92440857   HANCOCK            KAREN                   1829          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
94784735   HANDLEY            PAMELA       R          5753          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69816869   HANDY              DENISE                  9779          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47788338   HANEY              BELMA                   1342          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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11469648   HANEY            LINDA                5453          REJECT
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                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                        Ex. 23
                                                                                                                                                           YES
82999089   HANEY            SANDRA               9282          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54336622   HANKINS          ROGERS               4212          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68094278   HANKS            JESSICA              9850          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13935633   HANLEY           SANDRA               1213          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69329972   HANLEY           SHANNON              2571          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85445258   HANLEY           SHARON      EUDORA   7883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52148526   HANLY            ERIC        R        2439          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49778991   HANN             SUE                  8122          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11978748   HANNAH           CATHERINE            5612          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84323473   HANNAH           DAWN        J        3764          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29572373   HANNAH           SHERRIE              6693          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39622617   HANS             DEBRA                2429          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37650508   HANSEN           CAROL                7457          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91235521   HANSEN           CHARLOTTE            7151          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26428318   HANSEN           DENISE               1958          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27015912   HANSEN           KIMBERLIE   ANNE            1978   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44412551   HANSON           DAVID                6168          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11219276   HANSON           KAY                  1653          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50875156   HANSON           LORELEI              2462          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27854334   HARBAUGH         BEVERLY              2122          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63871649   HARBISON         BETTY       C        0705          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12290611   HARDAWAY         LASHONNE             6605          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70259050   HARDEN           HELOISE              9390          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59233695   HARDEN           KAREN       I        9457          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68008845   HARDEN           ROSALYN     ELAINE   2228          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82935366   HARDING          ALICE       F        7894          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65978688   HARDING          SANDRA               6518          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75339130   HARDWRICT        JUANITA              9581          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37112423   HARDY            ANN         MARIE    8325          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84736672   HARDY            BOICE       M        0411          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21703759   HARDY            KATHLEEN             8721          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53368190   HARDY            LATONIA              8132          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11646509   HARDY            NORMA       M        9035          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14788710   HARDY            SHELLY               6790          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55501586   HARDY            TYRECE      LAMAR    8422          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95617778   HARE             BRENDA      D        1726          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34397198   HARGRAVE         DANISHIA             3367          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17545789   HARGROVE         GAIL                 1506          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78718434   HARGROVE         JENNIFER             7973          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33123263   HARKINS          JOANN                2648          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34209634   HARKINS          LAUREN               2849          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42543812   HARKLEY          JOSEPHINE            8031          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31957414   HARLAN           VICKI                3324          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74547207   HARLSTON         STERLING             8416          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55565049   HARMAN           TERRI                8869          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74593827   HARMON           DARLENE              1364          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92036680   HARMON           FRANKIE              6261          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59326636   HARMON           JULIA       T        4449          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16649338   HARMS            JEAN                 0387          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98262072   HARNESS          KIMBERLY             2671          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62734643   HAROLD           SHAWNA               8727          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22206959   HAROLD GRAHAM    CHERYL               1027          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23074785   HAROLDSON        AMANDA               6257          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33909056   HAROS VILLAMON   CATALINA             8820          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93274054   HARPER           GEORGE               8990          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55938818   HARPER           IRENE                6772          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52367794   HARPER           LOUALICE             6126          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52765477   HARPER           RODNEY      E        8437          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82221981   HARPER           SHARON               9396          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92211689   HARPER           TIMARA               9102          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45336043   HARPP            BETH                 9979          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71221208   HARRELL          CHERYL               1869          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89651149   HARRELL          JANE                 4012          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17883011   HARRELL          JOANN                7437          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72531252   HARRELL          JOANNE               0730          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71684778   HARRELL          MARIANNE             3960          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59512701   HARRELL          SUSAN                8973          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99431061   HARRELSON        PATTI                4770          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17245088   HARRINGTON       ARBELL      M        8602          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98423857   HARRINGTON       SARAH                0690          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97633711   HARRIS           ANDREW               5214          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78747094   HARRIS           BRENDA               6980          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14049432   HARRIS           CHRISTY              8901          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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71867107   HARRIS               CYNTHIA                 0290          REJECT
                                                                                     PageID: 258481

                                                                               OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                               Ex. 23
                                                                                                                                                                  YES
93651196   HARRIS               DAVID                   2836          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64425968   HARRIS               DEBORAH     LYNN        5263          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61507099   HARRIS               DIANA                   4414          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83097918   HARRIS               DIANNE                  7509          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55726553   HARRIS               DONITA                  9514          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43444104   HARRIS               ELIZABETH   L           7652          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89950463   HARRIS               GWENDOLYN               7626          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64304108   HARRIS               GWENDOLYN               8393          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88253037   HARRIS               JESSA                   5973          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53109484   HARRIS               JOHNELL                        1957   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74638866   HARRIS               KATHY                   8627          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44367119   HARRIS               KENDRA                  0150          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70418963   HARRIS               KIMBERLY                2682          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85386272   HARRIS               KIMBERLY                9450          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60963603   HARRIS               LASHIKA     ANNGUENETTE 0538          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93713147   HARRIS               LILLIE      P           7961          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60902257   HARRIS               MARTHA                  9859          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62004865   HARRIS               MARY                    6238          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97148534   HARRIS               NANCY                   5342          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79930990   HARRIS               PAMELA                  4712          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69604556   HARRIS               PATRICIA                6207          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94622205   HARRIS               PAULETTE                4182          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90978060   HARRIS               PAULINE                 8144          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35953178   HARRIS               RAMONA                  2250          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39974136   HARRIS               ROBERT      C           9158          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49433113   HARRIS               ROSE                    4116          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60950562   HARRIS               TERESA                  6929          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81414235   HARRIS               VERKETHA                9722          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69615138   HARRIS               ZANIESHA                2173          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98271579   HARRIS DAVIS         KATIE                   3782          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23415097   HARRIS MCQUIDDY      PATRICIA    C                  1956   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35704687   HARRISON             ALAN                    6753          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67099136   HARRISON             CHRISTY                 8819          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73512305   HARRISON             DOUGLAS     A           9743          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87683815   HARRISON             ERIN                    2921          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60374552   HARRISON             HUBERT      H           4107          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61386112   HARRISON             HUGH                    2605          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50959755   HARRISON             LILLIE      B           8626          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58466549   HARRISON             LUENETTE    E           2709          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53524111   HARRISON             MARJORIE                5469          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28159275   HARRISON             MARLENE                 0606          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82301660   HARRON               J           BRAD        6123          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33831095   HARROUM              MARY                    9411          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98001615   HARROW               SHARON                  6699          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81573798   HART                 LAWANDA     B           8268          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21312277   HART                 MARY        LOIS        4934          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49473379   HART                 SALLY                   1689          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60808460   HART                 SANDRA                  3147          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25838296   HART                 STEPHANIE   SEWARD      5898          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42913653   HARTER               STACY                   0982          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99493635   HARTLEY              LINDA                   1016          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37880129   HARTMAN              CATHERINE               0677          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48758860   HARTMAN              DEBRA                   9591          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99622393   HARTMAN              DOROTHY                 3175          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17242097   HARTMAN              TEANN                   3363          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12720751   HARTUNG              BOBBI       JO          0325          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94942930   HARTWELL             DARNELL                 5792          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32739470   HARTWICK             KAREN                   5705          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39765729   HARVEY               DORINDA                 9789          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89923084   HARVEY               GAIL                    7455          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37071713   HARVEY               JENNIE                  6321          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50001361   HARVEY               KATHY                   9667          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24605091   HARVEY          JR   LONNIE                         1987   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23538803   HARVEY               NORENE                  8315          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34491511   HARVILEY             TISHONA     F           5411          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49327226   HARVILL              TAMMY                   9849          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98315804   HARWELL              SHANNON                 1128          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87262679   HASKIN               RUBY                    3940          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11185249   HASKINS              LENEICE                 3379          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43553650   HASKINS              SARAH                   8943          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72927012   HASSELL              GALE                    9633          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46682478   HASSLER              MARY        JANE        0192          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57969988   HASTINGS             DAVID       A           4108          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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69085682   HATCH                 DANIEL       MICHAEL          1989   REJECT
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                                                                               OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                               Ex. 23
                                                                                                                                                                  YES
32981432   HATCH                 TANYA                  4606          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50501668   HATCHER               EMMA         M         2152          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18726228   HATCHER               JUANITA      D         5259          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40719710   HATCHER               THADIUS                0229          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42776766   HATCHETT              TONYA        LAQUAN    0636          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39739063   HATFIELD              JAMES        KENT      2754          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24820777   HATHAWAY              PATSY                  0534          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51921868   HATLEY                TAMMIE                 5116          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19551863   HAUCK                 ESTHER                 9354          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23879593   HAUCK                 ROSA                   4765          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70537785   HAUGER                BRENDA                 4877          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66143757   HAUGHT                JUDITH       KAY       1021          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76731675   HAUK                  MARCELLA               1391          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59749148   HAUSER                DIANE                  6607          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72256339   HAUSER                PAUL                          1962   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33665302   HAVEL                 JACQUELINE             5988          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93106628   HAVENS                DEBORAH                8186          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68731716   HAVENS                MARGARET               7591          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19762501   HAWCO                 HELEN                  3205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61545322   HAWE                  PEARL        ANN       5131          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17519012   HAWKINS               ALMETRA                2572          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28064190   HAWKINS               GALYN                  7452          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36118388   HAWKINS               LINDA                  7140          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98905419   HAWKINS               LISA                   0879          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85788858   HAWKINS               MONIQUE                8800          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43117082   HAWKINS               TIJUANA                7398          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30435010   HAWKINS BELDEN        LAURIE                 3321          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15993926   HAWKINSON             TERESA       KAY              1964   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52145242   HAWKRIDGE             LINDA        CAROL     1256          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19886159   HAWLEY                PAMELA                 4276          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64235989   HAWTHORN              RITA         JO        3551          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47080303   HAWTHORNE             DAISY        M         1227          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43197347   HAWTHORNE             JUDY                   5357          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96773154   HAY                   MONICA       L         0148          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82734464   HAYDEN                EARLINE                2208          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66137351   HAYDEN                JESSIE                 5428          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65440424   HAYDEN                KAREN        K         3504          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69622108   HAYDEN                SHAWNA                 3097          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96997853   HAYEK MILLER          CAROL                  0826          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55496239   HAYES                 BARBARA                0708          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22652521   HAYES                 DIAHN                  8840          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47969572   HAYES            JR   EARNEST                4727          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21872290   HAYES                 JAMIE        M         8595          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30464033   HAYES                 JANEL                  7710          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84939065   HAYES                 KIMBERLY               3086          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40562360   HAYES                 LENA         M         6740          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58295478   HAYES                 MEGGAN                 9221          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16426342   HAYES                 MELISSA                9138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93767769   HAYES                 MOLLY                  3523          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62338322   HAYES                 PATRICIA     L         7055          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82731231   HAYES                 SHIRLEY                2724          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63257720   HAYES                 VERONICA     C         5885          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20772726   HAYES                 VICTORIA               5681          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56601602   HAYNES                AMY                    5357          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92179822   HAYNES                ANGELA       HARRIS    3183          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68437701   HAYNES                JANICE                 5184          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68694744   HAYNES                MARGARET               8617          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62010201   HAYNES                RENEE                  4551          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42496109   HAYNES                RHONDA                 4247          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90987942   HAYNES                TANYA                  8581          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49049889   HAYNES ROSSER         NINDA                  1119          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50734599   HAYS                  JAMES        RICKY     4189          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94259476   HAYS                  JANICE       KAY       3285          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88388216   HAYS                  ROBIN                  4445          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88546068   HAYS                  SHELLY                 4181          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95467173   HAYTHE                EBONY                  4256          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13961299   HAYWARD               CAROLYN      JEAN      4231          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67895844   HAYWOOD               KAREN                  1620          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26563672   HAYWOOD               MARIE                  8629          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56381010   HAZEL                 WANDA                  6114          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52140762   HAZEN                 PATRICIA               2918          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14688598   HAZLEWOOD             KATHLEEN     MARIE     6963          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41886680   HEAD                  GLORIA                 3966          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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80577837   HEALY              DEDRA                7289          REJECT
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                                                                          OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                             YES
18372283   HEAPE              CHERRY               3707          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12990322   HEARD              PAUL        ALEN     1178          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31188424   HEARD              PERCILLA             1550          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74536153   HEARN              DOVINDER             0609          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11630799   HEARN              NATOSHA              1867          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59041712   HEARNS             EZRA                 0145          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75939426   HEARNS             MEGHAN               6528          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22827953   HEARVEY            LATANYA              9131          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15031802   HEASLET            MARCIE               0781          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96508872   HEATH              MARK                 1761          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30858280   HEATH              RUTH                 9986          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37687793   HEATHCOCK          HEATHER              4758          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23002179   HEATON             CAROL                7197          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32565768   HEATON             DIXIE                6239          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21252626   HEBDON             RONALD                      1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23619802   HEBERT             DONNA                0500          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99915552   HEBERT             PATRICIA    C        6544          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68684348   HECKER             GERALDINE   H        1207          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69805943   HECKER             KORY                 7039          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20626420   HECKLER            MARY                        1977   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59044615   HECKMAN            NATALIYA             9486          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59037832   HECKMAN            TAMMY                0472          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39648626   HECKMANN           KIM                  6062          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94975331   HECKROTH           IRENE                3358          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41676189   HEDGEPETH          CAROLYN     JONES    6532          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44872088   HEDGES             BARBARA              3182          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44953536   HEFFNER            CHERYL               9916          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33310625   HEFLIN             HARRY                6053          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90771566   HEIKES             TERESA               3746          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84291911   HEILBRUN           TERESA               2727          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32794681   HEILIG             BEVERLY              4631          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48430407   HEILMAN            JANICE               3479          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33652962   HEIM               SAMARA               2996          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22020816   HEIMLICH           JO          LYNNE    7995          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55983696   HEINISCH           SHIRLEY     J        3044          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25028488   HEINKEL            BARB                 2306          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35690928   HEINOLD            JUDITH               0350          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57269961   HEINS              RACHEL      W        9763          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20230629   HEINZ              KECIA                1691          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45463480   HEISS              MICHAEL     K        4208          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51786439   HELLARD            STANLEY              1195          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87864924   HELLER             DANYETTA             1578          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23697147   HELLERSTEDT        JOANNE               9421          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69528404   HELLIWELL          LINDA                8220          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21097821   HELMAN             KAREN                5066          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13547620   HELMBRIGHT         NANCY                6420          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53571589   HELMS              BARBARA              5533          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12511437   HELMS              JOAN                 8897          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40272579   HELMS              PAKITA               7824          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45180004   HELTON             KIMBERLY             0736          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54271060   HELTON             MARY        BETH     0170          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51293087   HELTON             SHEILA               1202          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43787743   HEMACHANDRA        LOREEN               6520          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32269170   HEMINGWAY          ROBERTA              1509          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36173869   HEMMIG             LORI        ANN      6309          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51849934   HEMMIN             MICHELLE             4145          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46793403   HEMMINGER          KATHLEEN             1487          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42213122   HEMMINGSEN SOUZA   LORI                 6877          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43899367   HEMMIS             SUSAN                8984          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53223003   HEMRICH            COURTNEY             0862          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52655182   HENCKEN            AMANDA               9226          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81709501   HENDERLONG         BETTY                3183          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90318705   HENDERSON          CONSUE               7392          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46002783   HENDERSON          ELLA                 5475          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40523051   HENDERSON          EVELYN               2153          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16972886   HENDERSON          HELEN                6849          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69063063   HENDERSON          JESSE                1017          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27266926   HENDERSON          KATINA               0455          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34674335   HENDERSON          MARTHA               3331          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92706301   HENDERSON          MICHELLE             7732          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57134047   HENDERSON          MIRNA                3563          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43122059   HENDERSON          SHARI       NI              1962   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27361691   HENDERSON          YVETTE      LADAWN   6813          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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12845102   HENDERSON HARRIS      LULA                    1996          REJECT
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                                                                                OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                                Ex. 23
                                                                                                                                                                   YES
90076565   HENDLEY               MARGARET                8412          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72185117   HENDRICKS             BERLINDA                2285          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17706752   HENDRICKSON           AGNES                   5760          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92858215   HENDRICKSON           JASMINE                 4541          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44760470   HENDRICKSON           MARY          J         8706          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80323151   HENDRICKSON           ROSEMARY                9562          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74484299   HENDRIX               CHRISTOPHER             0167          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17640217   HENDRIX               STEPHANIE     A         0252          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97087835   HENFER                LYNDA                   6290          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68527610   HENLEY                AMANDA                  0260          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15111266   HENLEY                WHITNEY                 6995          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70856800   HENN RANEY            LEE ANN                 4501          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47573774   HENNECY               LINDA                   9676          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56194222   HENNIGAN              JAMES         WESLEY    3198          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15295632   HENNON                PENELOPE      LYNNE     8394          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41954537   HENRIKSEN             RAY                     6885          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50772211   HENRIQUEZ             ELIZA                   2220          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77692056   HENRIQUEZ             LILLIAN                 7001          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13917378   HENRY                 AARON                   7216          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56145961   HENRY                 BOBBYE        CLAIRE    9651          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77235984   HENRY                 JAMES         L         0601          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61847633   HENRY                 MALISSIA                2064          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45799598   HENRY                 MARY                    4179          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65849995   HENRY                 MICHELE       L         5270          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85220920   HENRY                 PHAEDRA                 1786          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92161843   HENRY                 REGINA                  9853          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97450432   HENSCH                NANCY                   2138          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15785808   HENSLEY               BENITA                  4009          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12427792   HENSLEY               CONNIE                  6200          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46827137   HENSLEY               GEORGIANA     LOUISE    6036          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69896486   HENSLEY               MELISSA       G         6834          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44981008   HENSLEY BILLS         HELEN                   4988          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83264026   HENSON                IAN                     7358          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56894364   HENSON                MICHELLE                0581          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60532695   HENZIE                MARY                    8148          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94827582   HERBACH               CYNTHIA                 7481          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20462653   HERBERT               KAREN                          1957   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47039169   HERGERT               LINDA         J         2813          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93632161   HERING                MARK                    6395          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91518409   HERKERT SOYARS        HEATHER       D         4979          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57764948   HERMAN                BARBARA                 9725          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51140807   HERMAN                RONNIE                  4030          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52315302   HERNANDEZ             BLANCA                  7219          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32140710   HERNANDEZ             DEBORAH       LYNN      9953          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42132596   HERNANDEZ             ESMERALDA               5142          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68935119   HERNANDEZ             EVA                     0918          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35833708   HERNANDEZ             HOLLY                   7626          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40080287   HERNANDEZ             JIMMIE        CAROLYN   9050          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89828291   HERNANDEZ        JR   JOHN                    7733          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58725456   HERNANDEZ             JUDY                    7748          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83852586   HERNANDEZ             MICHAEL                 4304          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97553396   HERNANDEZ             RICHARD                        1979   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73336749   HERNANDEZ             ROSALIE                 2952          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74391365   HERNANDEZ             SHERIL                  4243          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33123910   HERNANDEZ             SILVER                  7440          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92834277   HERNANDEZ             YOLANDA                 8166          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97171866   HERNCANE              BARBARA                 7934          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84124867   HERNDON               KOURTNEY                4521          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90493278   HERR                  BETH                    7824          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16611068   HERR                  STEVEN        W                1942   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34390347   HERRERA               CHARLENE                4232          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18667269   HERRERA               GINA                    1129          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76287716   HERRERA               MICHELLE                3349          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92365686   HERRIGES              ERIC                    8675          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26246605   HERRING               LISA                    3001          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12176353   HERRING               SHARON                  1927          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34848926   HERRON                LATANYA       M         7333          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74365475   HERSCHOWSKY           TEENA                   6823          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55277975   HERSHEY               AUDREY        LYNN      1523          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13134557   HERTL                 SYLVIA                  6966          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12712021   HERVEY                MABLE         M         1058          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52350019   HERVIEUX              DON                     7546          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89950832   HERZOG                KATHLEEN                9329          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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36870518   HESLIN         OLIVIA              8376          REJECT
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                                                                     OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                     Ex. 23
                                                                                                                                                        YES
98088040   HESS           MARCIA      T       7694          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65632326   HESS           ROBERT              3624          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12505983   HESTER         BOBBIE      JEAN    3796          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33205505   HESTER         JEFFERY             9725          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33348491   HESTER         LEWIS               4968          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61952680   HETHERINGTON   DIANA               4329          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66413551   HETSEL         JANUARY             1099          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75713191   HEWITT         KAREN               1257          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73228904   HIBBS          KAREN               6501          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33843945   HICKENBOTH     MARJORIE            3840          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78601244   HICKERSON      ANGELA      L       3996          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62695753   HICKMAN        DONNIE      FAYE    2677          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20313041   HICKMON        PAULETTE            9839          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39264297   HICKS          AMY                 0352          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12896046   HICKS          ANGELA              7985          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36763844   HICKS          BULAH               3580          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55610968   HICKS          DAVINA              0293          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41697882   HICKS          GLORIA      E       4862          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59349579   HICKS          HELEN       JOAN    6672          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67427034   HICKS          KATHLEEN            1874          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63003038   HICKS          ROBIN               0777          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38433225   HICKS          SHARON              4137          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76951620   HICKS          SHERI               8736          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19669812   HICKS          TYRONE              1891          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61406085   HIDDE          PAMELA              7830          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27550657   HIERS          CHASITY     ANNA    5848          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41796727   HIGASHI        JENNIFER    MARIE   5500          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69913146   HIGGINS        ANDREA              4505          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68974625   HIGGINS        CHRISTINE           5811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93326556   HIGGINS        CYNTHIA     SUSAN   6583          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47100670   HIGGINS        JANINE              0247          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40801780   HIGGS          WANDA               5936          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81895040   HIGH           ELIZABETH           0683          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21028641   HIGHLEY        LINDA               8832          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62121975   HILAIRE        LINDA               5956          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43170949   HILDEBRAND     HELEN               0772          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65510944   HILL           BARBARA             4663          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37725521   HILL           BRENDA              9358          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15057986   HILL           CHARLOTTE           9336          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93644535   HILL           DANIELLE            2311          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44000301   HILL           DORIS               9272          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59973852   HILL           EUNICE      H       2216          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73330063   HILL           FAWNELL             6755          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36758432   HILL           GEORGIA             7429          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54394862   HILL           JAMES       OTIS    0369          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20519939   HILL           JUDITH              1250          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32788924   HILL           JUNE                2454          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84791716   HILL           KIMBERLY            3288          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64682912   HILL           LAURA                      1956   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40820591   HILL           LINDA               6088          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54980220   HILL           LORECE              4053          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11210596   HILL           MARY        M              1970   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96863099   HILL           NETTIE      C       2367          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72114556   HILL           NINA        A       4582          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78179503   HILL           SAMMY               4907          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40815092   HILL           SEAN                6178          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17952385   HILL           SHIRLEY             2354          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31368893   HILL           VELMA               1110          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84769538   HILL           VERONICA            3288          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25873594   HILL           WENDA               7350          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60249483   HILL           WILHEMIA            4990          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64585978   HILL HALL      SHIRLEY     A       8483          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82653509   HILLIARD       PEARL               5319          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74834163   HILLIGOSS      EMILY       S       2989          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18977481   HILSCHER       DONNIE                     1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71363431   HILTON         THERESA             2174          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32261665   HIMDEN         JULIE               3038          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24884421   HIMDEN         JULIE               3038          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18246641   HIMEL          BRENDA              2233          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19040424   HINDS          KRISTEN             8444          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39981050   HINERMAN       GLADYS              0353          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25603336   HINES          CONNIE              6730          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14726490   HINES          CORBIN              1409          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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13256788   HINES          LYNETTE                7556          REJECT
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                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                        Ex. 23
                                                                                                                                                           YES
33709688   HINESLEY       BETTY       J          2083          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92023044   HINGA          GRACE                  7358          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29304654   HINKLE         AMBER                  8722          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47583826   HINKLE         DAVID                         1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66079981   HINKLE         ROBERT                 3142          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41080338   HINMAN         MERRY                  3376          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77515727   HINMAN         TANDRA                 1054          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32315184   HINRICHS       DONNA       M          4872          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38222384   HINSLEY        KATHRYN                3030          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39536903   HINSON         LYNDA                  3513          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11512145   HINTON         ERIKA                  8546          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88400294   HINTON         KAREN       C          1270          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63114015   HINTON         MICHELLE               4033          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19680707   HINTON         NAOMI                  0231          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78003259   HIRST          JANIE                  7950          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22908141   HITCHCOCK      JOANNE      D          2491          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97430464   HITCHMAN       DANYEL                 4962          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54552260   HITTINGER      CHRIS                  4338          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39094156   HITZ           PATRICIA    SUE        2830          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73774571   HJELM          NANCY                  9417          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30362791   HOBBS          ALICE       M          6438          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85657524   HOBBS          CLARA                  0908          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21929398   HOBBS          TERESA                 1036          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41936903   HOBLER         MICHEALLE              1951          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80017452   HOBSCHAIDT     LYNN                   9569          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56046922   HOCHBERG       SYLVIA                 4883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98029370   HOCKER         LINDA                  7827          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90340049   HOCKING        CHINA                  2635          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37110065   HODGE          DIANA                  8874          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17042530   HODGES         ANGELA      R                 1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78402302   HODGES         HESTER      A          5483          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52048255   HODGES         HOWARD                        1935   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56245328   HODGES         JENNIFER    C          5426          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39533373   HODGES         KATHY                  7550          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91838907   HODO           DEBRA       JEAN       4350          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52054310   HODUM          JUDETH                 2269          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75779657   HOE            NANCY                  3062          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47158084   HOEHL          IRENE                  3513          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93525095   HOFER          ROY                    0388          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62713991   HOFF           LILLIAN     DIANE      5816          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82254922   HOFFART        CONSTANCE              9138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65106417   HOFFMAN        BARBARA                9078          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26506471   HOFFMAN        EILEEN                 8945          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97219827   HOFFMAN        LANELL      KATHLEEN   5151          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59963943   HOFFMAN        PATRICIA               6259          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98270741   HOFFMAN        ROXANE                 5920          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14507667   HOFFMANN       JANIE       H          3061          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13418008   HOFMANN        BRITTNEY    ROSE       5133          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57653932   HOFRICHTER     CHELSEA                       1990   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42059611   HOGAN          LUTHER                 2800          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44505293   HOGAN GREENE   SHANNON     MARIE      9158          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38201162   HOGGE          BETTY                  2512          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18643669   HOGIE          DAVID                  0674          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25861506   HOKE           DEBORAH                2500          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90993005   HOLBERT        SHELBY                 4178          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32599365   HOLBROOK       CECELIA     M                 1944   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13965633   HOLBROOK       DAWN                   6601          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14585293   HOLCOMBE       SHERRY                 4747          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50993043   HOLCOMBE       STEPHEN                0173          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47781184   HOLDCRAFT      KATHREN                2389          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51953095   HOLDEN         CYNTHIA                4191          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27995222   HOLDEN         DORIS       MARIE      6301          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92421305   HOLDER         ALBURN                 5720          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81665358   HOLIDAY        SHARON                 0241          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46477627   HOLLAND        DANIELLE               2557          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23464169   HOLLAND        DAVID                  9235          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72647898   HOLLAND        ELAINE                 9715          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28544842   HOLLAND        LYNDA                  4686          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69558512   HOLLAND        ORLANDO                       1956   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26459924   HOLLAND        SANDRA                 1534          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61505589   HOLLAND        TINA                   6457          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74044505   HOLLEY         BRANDON                       1988   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55766497   HOLLEY         CLARA                  7189          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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54529141   HOLLEY               MARK                   3385          REJECT
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                                                                              OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                 YES
42450903   HOLLEY               VICKIE                 8078          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17285907   HOLLIDAY             BRENDA      TRAVERS    2669          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95938080   HOLLINGSHEAD         LOIS                   9783          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64194100   HOLLINS              SAMMY                  7250          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58683471   HOLLINS SANTAMARIA   YOLANDA                5967          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24439883   HOLLIS               LINDA       J          5107          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92004191   HOLLIS               RITA                   0679          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94734288   HOLLOWAY             IDA                    5038          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88365865   HOLLOWAY             JONSIE      J          2186          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41751447   HOLLOWAY             LAUREN                 3600          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18962694   HOLLOWAY             PATTRICK               6756          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29293902   HOLLOWAY             TAMMY                  0873          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84179034   HOLLOWAY             TONYA       L          7926          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14123213   HOLLUB               AMY                    1745          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23564096   HOLMAN               CAROLYN                0331          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47841209   HOLMAN               CATHERINE              7984          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95091635   HOLMAN               DORETHEN               3664          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21055469   HOLMAN               MICHAEL                1258          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74866128   HOLMAN               PATRICIA               0340          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67247660   HOLMAN               PAULA                  9529          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68718580   HOLMES               ANNMARIE               4502          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64583734   HOLMES               ARLENE      M          1773          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72999406   HOLMES               CONNIE                 5386          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98388112   HOLMES               DAVID       SCOTT      2239          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28826597   HOLMES               DORETHA     H          6179          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56489037   HOLMES               FAYE                   0313          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88930932   HOLMES               JANICE                 4757          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66504304   HOLMES               LACHRISTA              2330          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33356476   HOLMES               LYNNE                  0688          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43045043   HOLMES               NATALIE     MCCALL     5065          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92901957   HOLMES               SHANNON     BEAULIEU          1966   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69432475   HOLMES               TINA        MARIE      6190          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19937744   HOLMES               VIOLA                  6895          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30469849   HOLMES               ZANA        MARIE      0157          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36914097   HOLMES               ZELINA                 1788          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28368304   HOLT                 BILLY       HERALD            1951   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51632867   HOLT                 KAREN                  0729          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29303174   HOLT                 LATISHA                2833          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41044027   HOLT                 TOMMIE                 5504          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32821464   HOLTMAN              TODD                          1966   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76533390   HOMAN                JENNIFER               9592          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56636251   HOMO                 KATHEREN    IRENE      3428          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91025914   HONEYCUTT            AYANNA      LYNNE      0834          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74297129   HONYUMPTEWA          MICHELLE    L          1251          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23834194   HOOD                 ALFRED                 5425          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66795501   HOOD                 CASS                   9744          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46247508   HOOK                 ROSE                   9213          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16795365   HOOKER               KRISTIN                4386          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33983600   HOOKS                DEBRA                  0515          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66820914   HOOPER               BETTIE                 5128          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49660523   HOOPER               BRENDA                 4969          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54932641   HOOPER               LINDA                  1256          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29268464   HOOVER               DEMETRIUS              2140          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29788978   HOOVER               KELVA                  4177          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57113235   HOPE                 MARILYN                1999          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97479450   HOPKINS              BRENDA      N          2708          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37787037   HOPKINS              JOY                    5837          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30464149   HOPKINS              JULIE                  5377          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12705867   HOPKINS              SANDRA                 0472          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23950951   HORGAN               MARGARET               5542          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67508446   HORKEY               PAMELA                 2943          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51258375   HORN                 AMANDA                 8236          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29407113   HORN                 HEATHER                9486          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12984938   HORN                 KRISTII                7595          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56868879   HORNBECK             PAULA       ANN        7592          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28048517   HORNBUCKLE           HELEN                  3131          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48292840   HORNE                ANITA       TINA       4838          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23971729   HORNE                ELLA                   9027          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33244894   HORNE                JONATHAN                      1984   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59214157   HORNEY               DEBORAH                4769          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57395584   HORNIG               CHARLENE               3009          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54609198   HORNSBY              ANNA                   5052          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36918892   HOROWITZ             CHANEL                 7513          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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82644182   HORSHAW       ELLICE                  0262          REJECT
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                                                                        OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                        Ex. 23
                                                                                                                                                           YES
34427845   HORSLEY       LESEAN                         1982   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73624779   HORSTMAN      ALYSON        J                1978   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45625373   HORTON        CRYSTAL                 8382          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40738812   HORTON        JANICE        MARIE     4194          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23829582   HORTON        JEAN          L         1938          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84136716   HORTON        LEISHA        ALETHEA   4783          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97439129   HORTON        ROBYN                   2489          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45446932   HORTON PAGE   PATRICIA                0564          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84665925   HORVITZ       JUDY                    1727          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21015262   HOSACK        JOANNE        MARIE     0840          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30309191   HOSTON        DARLENE                 9101          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17412749   HOTALING      HELEN                   9980          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87883917   HOUCHIN       LINDA                   5454          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41366025   HOUCK         LILLIE                  6208          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91116573   HOUGH         CAROLYN                 9573          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91751070   HOUGH         LUCINDA                 3489          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98620070   HOUGHBY       COLTON                         1996   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99756396   HOUK          ALAN                    2759          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57297755   HOUSAND       ANN                            1949   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91603253   HOUSE         KIM                     3143          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63843007   HOUSEHOLDER   JOYCE                   1851          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16714400   HOUSEL        JENNIFER                8283          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31135937   HOUSER        DIANE                   6336          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39968703   HOUSER        SHELLEY                 0979          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77830204   HOUSTON       ALEXIS                  1253          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38872121   HOUSTON       EL            RENO      1062          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25248343   HOUSTON       EULAH                   4646          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46604182   HOUSTON       LATOYA                  0928          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33238239   HOVERTER      HOLLY         M         4309          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84770139   HOVEY         BETTY                   1522          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36012040   HOWARD        ARDELL                  8996          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65870340   HOWARD        BEVERLY                 6212          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61810925   HOWARD        BRENDA                  9622          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58612771   HOWARD        CYNTHIA                 6002          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51295135   HOWARD        DEBRA                   2042          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33909047   HOWARD        EDNA          M         8765          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83148485   HOWARD        EDWARD        CADER     8581          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89119414   HOWARD        LAKISHIA                8414          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18945862   HOWARD        LATRESE                 3435          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34182902   HOWARD        LAVERN        M         6264          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28938449   HOWARD        LORI                    5711          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85170215   HOWARD        MARTHA                  6967          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59143045   HOWARD        MARTHA                  9888          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19324129   HOWARD        SHERRIE                 0136          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45822668   HOWARD        STACEY                         1961   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26877576   HOWARD        TUNISIA       A         1478          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37166647   HOWCOTT       LORIS                   9650          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22410133   HOWE          MARTHA        A         5608          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33603640   HOWE          SHARLA        DENISE    0694          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74056247   HOWELLS       DONNA                   4329          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86818044   HOWZE         ANGELA                  9626          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53880954   HOY           SARA                           1986   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70103389   HSIEH         DAISY                   3916          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13202003   HUBBARD       ANGIE         S         1108          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62243470   HUBBARD       JUANITA                 8380          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54154146   HUBBARD       LISA                    5738          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78450941   HUBBARD       LORA          ELAINE    6406          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56096239   HUBBARD       MARY                    4780          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59061864   HUBBARD       MICHELLE                1081          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87661329   HUBBARD       RABECKA                 9436          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95167493   HUBBARD       SANDRA                  9722          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28928447   HUCKABY       ECHO                    9461          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40308637   HUDACHEK      ANGELA                  4900          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87083309   HUDDLESTON    RONALD                  1271          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43984814   HUDSON        ARLENE        MARIE     6856          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51953276   HUDSON        AUGUSTA                 2022          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14300797   HUDSON        CHER                    7683          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57540268   HUDSON        DANA                    8014          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95433649   HUDSON        DAVID                          1948   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64153638   HUDSON        DONNA         MARIE     0863          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24036920   HUDSON        DYANNE        D         1868          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67687991   HUDSON        FRANCINE                1000          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11556172   HUDSON        JILLIAN       C         7729          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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87713243   HUDSON         MARY         WHITE     7563          REJECT
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                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                        Ex. 23
                                                                                                                                                           YES
51185030   HUDSON         RUSCELL                4097          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69277959   HUDSON         SAMMIE       DIAN      2941          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56114855   HUDSON         TERESA       W         6599          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84709745   HUDSON         TIA                    1699          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88165884   HUDSON         VICKIE                 8690          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38290529   HUEMANN LYLE   ANN                    7862          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28287242   HUERTA         NATALIE                2305          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42321076   HUFF           CATHERINE    A         9199          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38107542   HUFF           KIMBERLY               7336          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65352861   HUFF           LISA                   3719          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12401242   HUFF           MIRANDA                0576          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41969948   HUFF           PAMELA       SUE       6797          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12713853   HUFF           SHEILA                 0827          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94177841   HUFF BRADY     MARTHA       A         2103          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95603638   HUFFLING       JOSEPH                 7294          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41993980   HUFFMASTER     MAPLE        DIANE     9491          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51741691   HUGHES         DARLENE                7271          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49706388   HUGHES         DAVID                  0990          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58103004   HUGHES         GAY                    1647          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86269757   HUGHES         JOEANNE                3281          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40203731   HUGHES         KATHY        ANN       0163          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41789791   HUGHES         LORETTA                9664          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87896799   HUGHES         LYNN                   5754          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92064119   HUGHES         SUE          E         2218          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25294982   HUGHES         TAMBRA                 3235          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14070100   HUGHES         TANYA        RENEE     7774          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59925010   HUGHES         TERRY        H         2258          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13536370   HUGHES         TOMMY                  9643          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94434304   HUGHES ORR     REBA                   3816          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31611501   HUGUS          CHARLENE               5853          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79686015   HULL           CAROLYN                0697          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29218442   HULL           DONNA        MAE       5225          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63929287   HULL           ELIZABETH    D         6359          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18681207   HULL           LINDA                  9931          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60656329   HULL           MARY         FRANCES   5330          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15230349   HULL TELLER    LAURA                  4684          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67533086   HULSEY         SHANNON                0540          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87851082   HUMAGAIN       ALISHA                 2447          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93924450   HUME           LORI                   7930          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83185401   HUMPHERY       PARIE                  9220          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34915713   HUMPHREY       CLAUDIA                9055          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68730298   HUMPHREY       PATRICIA               5449          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14765905   HUMPHREY       ROBIN                         1970   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93779307   HUNDLEY        CAROLE       S         2008          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33828246   HUNNELL        PATRICIA               6796          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61804325   HUNT           ANN          MARIE     0945          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94208250   HUNT           BRENDA                 0600          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11287636   HUNT           DARLING                1453          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27361329   HUNT           DEBORAH      J         2455          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12774100   HUNT           ESTELLA                7313          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37293989   HUNT           LILLIAN                9767          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39216734   HUNT           ROY                    5517          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81010339   HUNT           TAMMY                  4427          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33964541   HUNT           WENDY                  3965          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61237999   HUNTER         ANDRICA                2994          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24349941   HUNTER         ANEDRA                 2508          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23081087   HUNTER         ANNIE                  5294          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45442056   HUNTER         DENISE                 1089          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53137775   HUNTER         DENNIS                        1948   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63803820   HUNTER         JACQUELINE             1262          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77026854   HUNTER         JANET                  5673          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51133574   HUNTER         KENYETTA               8702          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73298974   HUNTER         VICTORIA               6896          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58089028   HURLBUT        STEPHANIE    ERIN      8961          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41814596   HURLEY         BETSY        R         1421          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35485759   HURLOCKER      CAROL        J         7785          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52208297   HURSIN         KAREN                  9505          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63955938   HURST          DEBORAH                7274          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77895500   HURST          MARLA                  0856          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11148565   HURST          PEGGY        ANN       4049          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94420621   HURST          VIRGINIA     NELSON    5492          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90068129   HURT           PATRICIA               0561          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32856881   HURTAULT       ANNETTE      C         6349          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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50401374   HUSEBO            JANICE       RIDDLE    8936          REJECT
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                                                                           OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                              YES
41698532   HUSEK             CHARLOTTE    MEGAN     0572          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14558067   HUSMAN            HEIDI                  7376          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53969258   HUSSEINI          ANDREW                 3804          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72413299   HUSSUNG           HOPE                   6480          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95811049   HUST              PATRICIA     D         6868          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83744898   HUSTLER           NANCY        FRANCES   0900          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51349056   HUTCHENS          JACQUELINE   J         6054          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71461468   HUTCHINGS         HEIDI                  3684          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37181527   HUTCHINGS         JOHN                   0172          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47598412   HUTCHINGS         KATHLEEN               8682          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78083175   HUTCHINS          BUENA                  0194          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27242839   HUTCHINS          JACQUELINE                    1965   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16893186   HUTCHINS          KANESHA                1147          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61341067   HUTCHINS          ORA                    3370          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42106731   HUTCHINS          ROBERT                        1964   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71620180   HUTCHINSON        DOROTHY                9495          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84880500   HUTCHINSON        ELSIE        S         4564          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98577051   HUTCHINSON        LYLE                   8697          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86864456   HUTCHINSON        SHARON                 6620          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85600786   HUTCHISON         DIANE                  8671          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84705522   HUTCHISON         TANIA                  5669          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31875307   HUTHNANCE    JR   ROBERT                 4862          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28783692   HUTTON            ADRIENNE               7348          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36028613   HUYCK             PATRICIA               8800          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46537542   HYATT             CARLA                  1612          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39691946   HYBARGER          ASYA                   4096          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59424410   HYDE              VIRGINIA               7637          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95814607   HYE               LASHUNDER              0836          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61007610   HYMER             BEVERLY                4802          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69654882   HYSMITH           RHONDA                 8501          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21029105   HYVARINEN         EVA                    8327          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28171222   IACONO            CAROL        A         8418          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45348357   IANNARONE         DIANE                  8604          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18873572   ILES              DORETHA                0718          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24791526   ILLIS             DOREEN                 8677          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19816227   IMBERY            BERNADINE              2077          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91334463   IMBODEN           ROBERT       MARC      2684          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84514181   IMLER             ANGELA                 4449          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44678746   IMPELL            NANCY                  3053          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92797511   INABINETT         MELISSA                8170          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26077426   INFANTE           VICTORIA     JANE      3110          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33309361   INGALLS           PEARL                  5976          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18651211   INGE              LINDA                  8329          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40672485   INGERSOLL         BECKY                  4227          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39367649   INGERSOLL         DANIELLE               8899          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98294191   INGHAM            ANGELA                 8171          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52257257   INGRAM            BEVERLY                4365          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41865285   INGRAM            ELIZABETH              2812          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71473794   INGRAM            KENZIA                 5484          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30925330   INMAN             ALYSE                  3532          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49681896   INOCENCIO         ESTELLE                6090          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43569411   IRBY              JUDY                   2157          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30194764   IRISH             CHRISTINE    A         7692          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57691251   IRONSIDE          PATRICIA     E         4986          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65572105   IRVIN             BETTY        J         6714          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76606309   IRVIN             ROSE         M         9878          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42896128   IRVINE            MARY                   1176          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63108385   IRVING            CARLETTA               5639          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42080609   IRVING            HOLLY                  1920          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18615040   IRWIN             BETTY                  3528          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51076657   IRWIN             JAYNE                  1047          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53702344   ISAACSON          LISA                   3464          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79765219   ISAGUIRRE         CYNTHIA                1999          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61338072   ISALES            BEATRICE               5337          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36903789   ISCHAY            DAVID        P         3488          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33864838   ISENBERG          ROBERT                 7263          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55016899   ISGRIG            DANIEL                        1949   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45107936   ISHAM             NANCY                  3177          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12051287   ISOM              SHEILA                 9959          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17399629   ISTRE             BRETT                  7488          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72801983   ISTRE             JANA                   4507          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90204859   IULI              CAROLYN                5272          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40792166   IULIANO           KATHLEEN               3983          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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61668590   IVEY                  JOANN                 3916          REJECT
                                                                                    PageID: 258491

                                                                              OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                 YES
67746783   IVEY                  MARGARET              2160          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70004805   IVEY                  MARY         B        4352          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16662636   IVY                   JACKIE       F        6216          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45908664   IZZO                  KATHLEEN              8182          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34997645   JACK                  AUDREY                6886          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32406019   JACK                  VELONEY               5066          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67898040   JACKMAN               TRISH        A        4692          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75856558   JACKOWIAK             ROBERT                0693          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18011569   JACKSON               ANGELA                0520          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63419045   JACKSON               BARBARA               9422          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74707079   JACKSON               BETH         ANN      1567          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83696019   JACKSON               BETSY                 1682          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78813266   JACKSON               BETTY                 1730          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43857930   JACKSON               BRYANT                6632          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69592838   JACKSON               CAROLYN      S        6759          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49313143   JACKSON               CECELIA               1113          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90989375   JACKSON               CHARLOTTE             5160          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44523095   JACKSON               CHRISTINA    HALINE   9951          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61288972   JACKSON               CRYSTAL               1175          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88401235   JACKSON               DEBRA                 2082          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37527639   JACKSON               DEIDRE                4132          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55397865   JACKSON               DOROTHY               0636          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80060864   JACKSON               EARTHA                6175          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99808612   JACKSON               ELIZABETH             9227          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68869591   JACKSON          SR   GARY                         1949   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20269111   JACKSON               GENETTER              6665          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22826539   JACKSON               GEORGIA      L        3367          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15548193   JACKSON          SR   HENRY                 9589          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84730655   JACKSON               IMOGENE               7914          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22843666   JACKSON               JAMES                 8936          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83306603   JACKSON               JANICE                5940          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12461607   JACKSON               JENNIFER              7111          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42816209   JACKSON               JIMMIE                3696          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16454634   JACKSON               JOHNETTA              2364          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46174778   JACKSON               KIM          DENISE   3199          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60713822   JACKSON               LATRICE               8355          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82107878   JACKSON               LAURA        K        4917          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34808536   JACKSON               LERIN                 9786          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12795133   JACKSON               LIDA                  5242          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23094093   JACKSON               LINDA        F        4483          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75361412   JACKSON               LINDA        S        7248          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40561396   JACKSON               LOTTIE                7825          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15099963   JACKSON               MARGARET              6585          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41183341   JACKSON               MARION                8756          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53983215   JACKSON               NANA         M               1953   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18450749   JACKSON               PATRICIA              6041          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97802261   JACKSON               PATRICIA              7357          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76303816   JACKSON               ROSALIE               8195          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47129365   JACKSON               ROSIE                 9446          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50984501   JACKSON               SANDRA                4515          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63032866   JACKSON               SHIRLEY               1516          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48873692   JACKSON               SONYA                 8208          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80950274   JACKSON               STELLA                2991          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36097695   JACKSON               TAMARA                5833          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29280214   JACKSON               TIMITRIS              4973          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71811469   JACKSON               TOMMIE       S        4864          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92475621   JACKSON               TOSHEANA     L        1495          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81679005   JACKSON               UVON                  1550          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55394757   JACKSON               WOLFE                 3460          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94693437   JACKSON CHARLES       MINNIE                5839          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97798265   JACKSON FURLOW        UNDREA                4352          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71324335   JACKSON GREEN         ELMA                  0912          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97016647   JACKSON SIMPKINS      KIMBERLEY             0702          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69462099   JACKSON YELDER        PAMELA                6023          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84640213   JACOB                 CATHERINE    ANN      7219          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57671646   JACOBS                BONNIE                7701          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48913189   JACOBS                JUDY                  0384          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59186521   JACOBS                LOIS                  6788          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60857324   JACOBS                SHIRLEY      M        2010          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66645344   JACOBSEN              RICHARD                      1961   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32695921   JACOBSON SCARFO       JACQUELINE            3601          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51352896   JACOBY                ERIC         K        3909          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94935181   JACQUES               BECKY                 0640          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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16848741   JACQUES                GOLDA                1260          REJECT
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                                                                              OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                 YES
45964238   JAGNEAUX               CHRIS                1682          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79110141   JAIKARAN               SAVITREE             0846          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86039906   JAKE                   JANET        V       0084          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92605499   JAMERSON               JULIE                8893          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61898840   JAMERSON               RAMONA               2897          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74885107   JAMES                  ANNIE                9351          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42459307   JAMES            III   BENJAMIN     F              1941   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35625162   JAMES                  CASSANDRA            6586          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61250995   JAMES                  CHARLENE             5969          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94839803   JAMES                  CLIFFIE              0411          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64263980   JAMES                  CYNTHIA              3225          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94279552   JAMES                  DEBORAH              9349          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42604149   JAMES                  DELORES              6528          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37320969   JAMES                  JERRIDEAN            1033          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87521630   JAMES                  KARA         L       8880          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62141764   JAMES                  LEN          INEZ    7477          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57115307   JAMES                  LESCHELLE            6364          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52847829   JAMES                  MARLENE              6400          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52567376   JAMES                  RHONDA               2735          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40166192   JAMES                  ROBERT                      1952   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69760585   JAMES                  SANDRA       J       4312          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32083590   JAMES                  SARAH                5927          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26665486   JAMES                  SYLVIA               4785          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15291821   JAMES NESS             LAURA        M       0067          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71771897   JAMESON                ALBERTA              9839          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32937374   JAMESON                CYNTHIA      M       5549          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66427514   JAMIL                  TRACY                2783          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14722074   JAMISON                ELOUISE      IRICK   7921          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45834205   JAMISON                KATHY                0521          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26566912   JAMISON                SHEERA               6877          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54545054   JANAS                  GLEN                 8753          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83100920   JANES                  LINDA                2081          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82405792   JANESIN                MICHAEL              9329          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20828639   JANET                  JONETTE              7827          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89050221   JANNELLI               LAUREN               2555          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17901926   JANNEY                 STEPHEN      W       7484          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99730102   JANOE                  CORA         LYNN    3437          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80886216   JAQUEZ                 LILIANA              5820          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11165468   JARRELL                DONNIE               6205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77340742   JARRETT                SHERENE              6087          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86776629   JARVIS                 CATINA               8362          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31338615   JARVIS                 DIANA        LYNN    6900          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79086614   JASO                   ANGELA                      1981   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85877255   JASPERS                JULIE                3127          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92384162   JASSO                  BERTHA               4929          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97788938   JAVIDNIA               ETHEL                6824          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16528245   JAY                    DEBORAH              2014          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64618915   JAYNES                 ANN                  0341          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19925633   JEAN                   MORDESSA     F       9887          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86313067   JEFFERS                DELORES              7565          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95855436   JEFFERS                MICHAEL                     1981   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32349604   JEFFERSON              JACQUELINE                  1968   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43468342   JEFFERSON              KALISHA              4753          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59295325   JEFFERSON              REGINA               4809          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78554548   JEFFERSON              TRACY        J       2600          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77861948   JEFFERSON              VALDA                4880          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79326775   JEFFERSON OATS         JACQUELINE           0779          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59574080   JEFFERY                MARY         ELLEN   5099          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55305030   JEFFORDS               BETTY                6554          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12285261   JEFFORDS               JULIE                8465          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84137554   JEFFREY                DEBRA                8677          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19364477   JEFFRIES               ANNETTE              7278          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68311121   JENKINS                AYREON       R       0217          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20681837   JENKINS                BESSIE               0315          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58243959   JENKINS                KATHIE               7698          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95827222   JENKINS                LINDA        MAE     9476          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43419451   JENKINS                LISA         A       3906          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58048341   JENKINS                LOLITA               7112          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51776757   JENKINS                MARY         HELEN   4541          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29892696   JENKINS                MICHELLE             6521          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65197220   JENKINS                MIRIAM               1267          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89040419   JENKINS                REASHAWNDA           8001          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55774186   JENNINGS               ALICIA       D       2263          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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74115963   JENNINGS   JEANNE                  1010          REJECT
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                                                                     OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                     Ex. 23
                                                                                                                                                        YES
27012288   JENNINGS   LENA                    7264          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57702840   JENNINGS   LINDA                   0373          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84760192   JENNINGS   ROBIN                   0602          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27044162   JENNISON   BRENDA                  6571          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37239134   JENSEN     DAGMAR                  7066          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27801957   JENSEN     EUGENIA                 2514          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20572309   JENSEN     HOLLY        J          9199          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64385629   JENSEN     MAIREAD                 2026          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23452814   JENSEN     PAULA        ANN        7601          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70427959   JENSEN     RONALD                  4932          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83164862   JEREW      MARY         LYNN       2998          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19479118   JERNIGAN   MARY         ANN        8386          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42152591   JEROME     DELORES                 4802          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20540395   JEWELL     DIANE        K          4333          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19477575   JEWELL     ELIZABETH               0029          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70296724   JEWELL     GEORGEA                 4431          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81891895   JILES      GLORIA                  2649          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45186020   JIMENEZ    LOURDES                 6274          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35428740   JINES      SARAH                   8844          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70067043   JINNINGS   ROMEKEIA                8651          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12046023   JINRIGHT   REBECCA                 6669          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92624817   JODON      STEPHEN                 7973          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39119003   JOHN       AMY          J                 1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43459891   JOHNNER    BRENDOLYNN              6529          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17623008   JOHNS      BRENDA                  9206          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35970292   JOHNS      CYNTHIA      LYNN       7947          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29222449   JOHNS      TAMIKA                  8312          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74850487   JOHNSON    ADAM         C                 1974   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46991359   JOHNSON    ALGENE       PATRICIA   0813          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95387611   JOHNSON    ALICE                   2627          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22278250   JOHNSON    ALICE                   7165          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99058669   JOHNSON    ALICE                   9142          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16337934   JOHNSON    ALICE        M          9206          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53037392   JOHNSON    ANGELA                  9290          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
94082123   JOHNSON    ANISSA                  4914          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60953437   JOHNSON    ANNA         R          8498          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72963743   JOHNSON    ANNIE                   3431          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61171299   JOHNSON    BARBARA                 3193          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13761236   JOHNSON    BERNESHA                2210          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60580139   JOHNSON    BETTY                   3152          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23179041   JOHNSON    BEVERLY                 3077          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74601780   JOHNSON    BONNIE                  5763          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71771170   JOHNSON    CACHET                  6735          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98528173   JOHNSON    CASEY                   1872          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79946637   JOHNSON    CHARLENE                9576          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28063865   JOHNSON    CHERYL       ANN        7557          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20877165   JOHNSON    CHRISTINE               8373          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88293189   JOHNSON    CINDY                   5649          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38658805   JOHNSON    CINDY                   8738          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85510226   JOHNSON    CLARA        S          0728          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50287848   JOHNSON    CRYSTAL                 9085          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66005825   JOHNSON    CYNTHIA      J          3135          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95531541   JOHNSON    CYNTHIA                 9843          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80179058   JOHNSON    DAVID        PETER      2927          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68659999   JOHNSON    DEBORAH                 2887          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24804154   JOHNSON    DEBORIS                 5354          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75514671   JOHNSON    DELORES                 9561          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26592273   JOHNSON    DESTINY                 6509          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51954031   JOHNSON    DIANA        F          5006          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78198330   JOHNSON    DONNA        MARIE      7181          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36892841   JOHNSON    DONNIE       L          8376          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36438273   JOHNSON    DOROTHY                 8351          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85026823   JOHNSON    EDNA         A          9399          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11147937   JOHNSON    ELOISE                  4024          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15694778   JOHNSON    EUDORA                  2527          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75351184   JOHNSON    GENEVA                  7118          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55935008   JOHNSON    GENEVA                         1947   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91555508   JOHNSON    GERTRUDE                1113          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43808759   JOHNSON    GLENNA                  2853          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78116844   JOHNSON    GWENDOLYN               7440          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83202281   JOHNSON    IRENE        D          6784          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44095321   JOHNSON    JACOB                   3810          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16093664   JOHNSON    JACQUELINE              0255          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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30420373   JOHNSON              JANICE                      2525          REJECT
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                                                                                   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                                   Ex. 23
                                                                                                                                                                      YES
65008007   JOHNSON              JEANNINE                    5234          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80135193   JOHNSON              JEFFERY                     2151          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65925248   JOHNSON              JENNIFER         LEIGH      5868          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99621554   JOHNSON              JESSICA                     0828          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79699306   JOHNSON              JIM                                1946   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58825456   JOHNSON              JO               A          1007          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47240207   JOHNSON              JOYCE                       8596          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61245634   JOHNSON              JUANTENA                    2618          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62932546   JOHNSON              JULIOUS                     3508          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25861838   JOHNSON              KARA                        5831          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23599482   JOHNSON              KATHRYN          A          0243          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57635721   JOHNSON              KELLIAN                     9291          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12658704   JOHNSON              LATOYA                      9848          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11836619   JOHNSON              LAWRENCE         E          8210          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71003007   JOHNSON              LELAND                      7437          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38287255   JOHNSON              LINDA            A          1485          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57603569   JOHNSON              LINDA            KAREN      2556          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64975507   JOHNSON              LINDA                       8658          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55048789   JOHNSON              LINDA                       8958          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24689057   JOHNSON              LISA                        4955          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66390795   JOHNSON              LISA                        5288          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
65168991   JOHNSON              LISE                               1952   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13627802   JOHNSON              LORIE                       5502          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83907190   JOHNSON              LU               ELAINE     3632          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45828910   JOHNSON              LUCILLE          H          3828          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58129714   JOHNSON              MALINDA          A          3174          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95099382   JOHNSON              MARIE            R          0282          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89924180   JOHNSON              MARQUITA                    7321          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77089376   JOHNSON              MARTHA                      9376          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88438386   JOHNSON              MARY             A          8603          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49609140   JOHNSON              MARY                        8954          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97633563   JOHNSON              MARY                        8984          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33123330   JOHNSON              MATILDA                     7989          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
68412881   JOHNSON              MAUREEN          M          3072          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23330317   JOHNSON              MAXINE                      5918          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93478815   JOHNSON              MELBA                       3498          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59267953   JOHNSON              MINNIE           L          8863          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32855562   JOHNSON              NYNITA           VICTORIA   7567          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19261481   JOHNSON              PAMELA                      3718          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68589657   JOHNSON              PAMELA           S          6425          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66058493   JOHNSON              PATRICIA                    3870          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67105479   JOHNSON              PATRICIA         W          5916          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66583952   JOHNSON              PATRICIA                    9321          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77694482   JOHNSON         JR   PAUL             CURTIS     6073          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99650189   JOHNSON              QULANDA                     0281          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56898700   JOHNSON              RANDALL          E          8892          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20188177   JOHNSON              RENEE                       6454          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
72554211   JOHNSON              RITA                        2877          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35387419   JOHNSON              ROBBIE           JOYCE      9730          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50392705   JOHNSON              ROSE             M          8728          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86869675   JOHNSON              RUSSELL                     6071          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58573746   JOHNSON              SEPRINA                     9814          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16442451   JOHNSON              SHAWN            D          5744          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95896039   JOHNSON              SHERRIE                     4467          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53431820   JOHNSON              SHERRY                      1192          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36394374   JOHNSON              STAN                        5233          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95195310   JOHNSON              STEPHANIE        ANN        3491          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44447763   JOHNSON              SUSAN                       3443          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58775443   JOHNSON              TABETHA                     0436          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50390984   JOHNSON              TABITHA                     1730          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84128051   JOHNSON              TANIA                       6240          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30297130   JOHNSON              THOMAS MICHAEL              7901          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86309002   JOHNSON              VALERIE          MAE        3629          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13336809   JOHNSON              VENUS                       1864          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36660546   JOHNSON              VERNA                       1631          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48063329   JOHNSON              VICKIE                      4044          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22947109   JOHNSON              WAKANDA          LARAE      8827          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85023738   JOHNSON              WENDA                       8012          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43368484   JOHNSON ALLEN        THIA                               1978   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26480216   JOHNSON JACKSON      DONNA            MARIE      8136          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50092477   JOHNSON LECLAIR      REBECCA                     6767          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35074399   JOHNSON SALAAM       ZAKIYYAH                    9244          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44241188   JOHNSON WHITE        APRIL                       2720          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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94275530   JOHNSTON         ANTOINETTE              5806          REJECT
                                                                                 PageID: 258495

                                                                           OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                              YES
11358765   JOHNSTON         BRIAN                   0694          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14473593   JOHNSTON         DELRENA                 4178          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69687011   JOHNSTON         MARGARET                3718          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61871091   JOHNSTON    JR   ROBERT       C                 1968   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54905239   JOHNSTON         SHERI                   7530          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88214830   JOHNSTON         STACY                   5494          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14513598   JOKL             JANE                    3046          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47267576   JOLICOEUR        SUSAN                   2519          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88728731   JOLLEY           JO                      0420          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48671131   JOLLEY           MICHELLE                3411          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97016751   JONES            ALCHAI                  7003          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35195125   JONES            ALEXIS                  0428          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26158628   JONES            ANGELA                  8656          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69329030   JONES            BARBARA      J          4760          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25611854   JONES            BELINDA                 5760          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38435345   JONES            BENJAMIN                       1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54237001   JONES            BLUETTE      H          9648          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89861403   JONES            BRENDA                  5559          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58177087   JONES            BRENDA                  7366          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62700116   JONES            CAROLYNNE               9205          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37193725   JONES            CHARLES                 1487          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62708954   JONES            CHERYL                  0217          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15796590   JONES            CHRISTINE               4335          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58386737   JONES            COKITA                  4985          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36613189   JONES            CONNIE                  4085          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35748623   JONES            DECARLA                 6248          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55590999   JONES            DEWANA                  6322          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43147299   JONES            DIANNE                  4238          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32775559   JONES            DONALD       JEFF       1409          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37339240   JONES            ELIZABETH               6736          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66919981   JONES            EMILY        BRADDOCK   1422          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84366247   JONES            EMORY                   3750          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45558411   JONES            FRANCINE                0847          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58408208   JONES            FRONIE       R          2898          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36677661   JONES            HATTIE                  4111          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24111679   JONES            IRIS                    9820          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36907640   JONES            JANICE       W          5143          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82129742   JONES            JEFFREY                 3344          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62103593   JONES            JENNIE                  1544          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81140380   JONES            JESSICA      SHAKENYA   7313          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52020225   JONES            JOYCE        ANN        8395          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25850571   JONES            KAITLIN                 8603          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89130846   JONES            LABRENDA     M          7472          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
70107658   JONES            LACHANDA                4108          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86082338   JONES            LARRY                   1181          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36873570   JONES            LATASHA                 1377          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13160561   JONES            LAURA                   8014          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86175021   JONES            LECRETA                 1726          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99865208   JONES            LENORA                  1507          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11401953   JONES            LEROY        A          8992          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26527500   JONES            LINDA                   0913          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96716043   JONES            LULA                    9599          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79561452   JONES            MAGGIE                  2304          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78825759   JONES            MARGARET                6576          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53740676   JONES            MARY         JANE       2154          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52148542   JONES            MARY                    8640          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17986661   JONES            MILDRED      L          3591          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62508133   JONES            NANCY                   4891          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34128499   JONES            NINA                    5630          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45897465   JONES            PAMELA                  8780          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98189806   JONES            PAMELETTA               3688          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68005537   JONES            PAULETTE     N          5026          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53982842   JONES            RAMONA                  6489          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70984107   JONES            RHONDA                  3428          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48676101   JONES            ROBIN                   6303          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76676698   JONES            ROSELLE                 6865          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30983275   JONES            SHARI        ANN        1714          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93841934   JONES            SYLVIA                  8592          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68233456   JONES            TAMIKA                  9735          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64947872   JONES            THERESA      A          4215          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52241556   JONES            TONYA                   2166          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40305513   JONES            TYNISHA                        1997   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63107605   JONES            VANESSA      ESTHER     8753          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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32625368   JONES           VELTA                    3523          REJECT
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                                                                           OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                              YES
14749874   JONES           VICTORIA      M          1995          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65101360   JONES           WANDA                    6755          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98252020   JONES           WENDY                    2139          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54040878   JONES           WILHELMENIA              2045          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59557365   JONES           WILLIA        A          4205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65454442   JONES REED      JOLENE                   2403          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34934752   JONES WEEKS     SYLNETTA                 6052          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70323254   JORDAN          CATHERINE                2259          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23493164   JORDAN          DAWN                     2551          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27296191   JORDAN          JESSICA                         1984   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85453641   JORDAN          KATHY                    1149          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64366613   JORDAN          KEYNON                   8316          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30021948   JORDAN          LOIS                     8692          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56865317   JORDAN          LOUIS                    4564          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82260574   JORDAN          MILDRED                  8465          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36710627   JORDAN          SAMANTHA                 7191          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15749040   JORDAN          SANDRA        H          0051          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45125425   JORDAN          SHIRLEY                  6610          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65383984   JORDAN          TIM                      7092          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67473486   JORDAN          VENESSA                  2998          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53814529   JORDAN          VICTORIA      L          5669          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91666016   JOSEPH          ANITA         E          5515          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18755130   JOSEPH          PATRICIA                 7877          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64364078   JOSEPH GILLUM   JAEQUINISH    F          3052          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11614681   JOSEPHSON       DAVID                    2553          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63271426   JOTBLAD         LOREN                    8036          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18982364   JOWERS          KATHLEEN      YVONNE     2998          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80097582   JOYNER CANNON   TABITHA                         1983   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85163601   JUAREZ          AYSE                     6213          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62948867   JUDKINS         CARTER                   9328          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62996018   JUELFS          BUDDY                           1960   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21994716   JULIOUS         NANCY                    7953          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87152080   JUMPER          JACQUELYN                       1956   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89292041   JUMPER          MICHAEL                  1385          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23377146   JUNIOR          SHERLYN                  6055          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46315390   JURAWAN         CHANDROUTY               4918          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60250839   JURGENS         NANCY         LYNN       0459          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50725594   JUSTICE         ANGELA                   6090          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80116859   JUSTICE         SARA                     7392          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86225133   KABACK          FRAN                     9141          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38906668   KABAT           RONALD                   4480          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98988402   KACZOR          JUDITH                   7676          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87404040   KACZOROWSKI     SANDRA                   9316          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88337298   KADY            CAROLYN                  7714          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76216247   KAHL            LINDA                    9282          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89127144   KAHLER          TINA                     3952          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21615128   KAHN            DIANE                    8912          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49200146   KAHN            LIBBY                    5377          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99671429   KAIMAN          ATHENA        MILLAS     3478          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54394133   KAISER          BARBARA                  0709          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36064709   KAISER          CYNTHIA                  2242          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40637832   KAISER          DEBBRA                   4632          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67768013   KAKOLIRIS       GEORGE                   7361          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18313921   KALAMDANI       NUTAN                    3993          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63115244   KALINOWSKI      KELLY                    8870          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59213352   KALLIGHERI      DEBORAH                  7816          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21159885   KALMBACH        JONQUELYNE    FAYETTE    7245          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54207829   KAMIE           BETTY                    7708          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30896005   KAMINSKI        KATHLEEN                 5106          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26602127   KAMINSKY        IVA                      8068          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48161379   KAMLITZ         RHONDA                   6801          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45332348   KAMM            JOYCE         ARLENE     0337          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19499986   KAMPSCHNIEDER   CINDY         LEE        9381          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28931021   KANER           LINDA                    8489          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18802857   KANOA           MALIA                    7371          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76857931   KANTIS          SHERRI        L          6589          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69954626   KANUPP          MARGARUETTE              7044          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26744437   KAOUGH          SHARON        VERONICA   0857          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75668361   KAPLAN          WILLIAM                  7470          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58636249   KARBACH         NANCY                    3699          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43117152   KARDOS GILKEY   RENEE                    8193          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28770978   KARECKI         JOANN                    6400          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84414108   KARHOFF         JOHN                            1949   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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79558110   KARLINSKY          ELSIE                  7042          REJECT
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                                                                            OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                            Ex. 23
                                                                                                                                                               YES
76031505   KARNS              KAREN         E        3606          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87331267   KARO               MARK          ANDREW   5219          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77966903   KARPIW             VICTORIA               5135          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23101418   KASER              RAYE                   6910          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63593314   KASEY              NORMA                  6347          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95196995   KASINSKAS          ROSEMARY               2462          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11785897   KASKEL             MARIAN                 8373          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29124674   KASMIKHA           KAREN                         1980   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51252881   KASPAR             LORI          A        4642          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72227940   KASPER             DEBORAH                4499          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31562130   KASPRYTZKI         BILLIE        J        5366          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92386709   KASPRZAK      JR   WILLIAM       J        5348          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59676555   KASSIMALI          MAUREEN       M        3321          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54667770   KASTANOS           WITALY                 9802          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75317233   KASTNER            PATRICIA               7736          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55781358   KATA               LORNA                  7834          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18594561   KATES              ANNA                   7003          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97830327   KATZENSTEIN        RUTH                   8802          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21712039   KAUFFUNG           CLAIRE                 0624          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16146634   KAUTEN             MARIE                  4149          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87528602   KAY           JR   LEON                   7920          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86126695   KAYLOR             RUTH          A        1572          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21135646   KEAN               JUANITA                       1962   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88097301   KEANE              DEBRA         A        8778          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88773067   KEANE              ELOISE                 7122          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57216402   KEARNEY            PARLEAN                3207          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66402306   KEARNEY            SHIRLEY                0890          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94975464   KEATING            RENEE                  1120          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71521911   KEEGAN             MARY          R        1150          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71901373   KEENER             VERLEAN                8395          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62143088   KEENEY             CAROL                  4750          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27757215   KEENOY             RENA                   7896          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57977462   KEEPERS            TERRI                  1363          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69273216   KEES               CARICE                 9285          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60532883   KEESEE             MICHAEL                2884          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23501580   KEIHN              SHERYLL                1009          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57904413   KEINON             MICHELLE               4683          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55639283   KEISER             SANDRA                 2442          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38803203   KEITH              IRENE                  3421          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98255013   KEITH              RANDY                  8715          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84004257   KELIJAH            ALLAHKHAI              8434          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36167633   KELKER             JACQUELINE    G        3204          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65428940   KELLER             BETTY         ANN      8546          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93255516   KELLER             CAROLYN                1542          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22240040   KELLER             KATHLEEN               0496          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14560781   KELLER             RENE                   2371          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22055446   KELLER             THEODORE               6573          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83657054   KELLEY             ANGEL                  8813          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41188737   KELLEY             BERNADETTE             6625          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27877016   KELLEY             CHRISTOPHER   P        9562          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66815942   KELLEY             IRIS                   5766          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40787167   KELLEY             JENNIFER               5469          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32206397   KELLEY             RIAKEEM                       1990   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32507310   KELLEY             ZELDA                  5109          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15636075   KELLIHER           CHRISTINE              6988          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77040354   KELLOGG            NATALIE       BROOKE   9383          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61563686   KELLUM             THERESA                5313          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23306145   KELLY              CHANCELYN                     1978   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19053167   KELLY              COURTNEY                      1984   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47366591   KELLY              DANIEL                 6485          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84248407   KELLY              JEANETTE               6211          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84620535   KELLY              JEFFREY       B        5222          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61713030   KELLY              KAREN                  2839          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47700641   KELLY              MARGARET      CAROL    3885          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27310374   KELLY              MARIANNE               2515          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22921127   KELLY              MARY                   9244          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46721718   KELLY              MAY                    7026          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16799138   KELLY              NAOMI                  8175          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68034050   KELLY              NICOLINA               8146          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83882465   KELLY              PAMELLA                2977          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
38352589   KELLY              ROBYN                  1424          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88985739   KELLY              SANDRA                 5824          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71543728   KELLY              SHANNON                5144          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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70827741   KELLY            SHIRLEY              3541          REJECT
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                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                        Ex. 23
                                                                                                                                                           YES
26572122   KELSEY           JERI         LYNN    3336          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92757181   KELTY            JEFFREY              7056          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87294070   KEMMERER         JACQUELINE   R       2764          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19978018   KEMPER           LISA         A       7552          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27050408   KENDALL          GLORIA       F       4613          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18188435   KENDALL          KAREN                2334          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14935958   KENDALL          SOFIA                1404          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47553740   KENDRICK         JILLIAN      PAIGE   6653          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28355370   KENDRICK         RHONDA               6864          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20816953   KENDRICK         WILLIE               5029          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91311788   KENDRICKS        LINDA                6058          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20822815   KENEFICK         JEAN                 1819          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69119056   KENNARD          CAROLYN              1117          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11521745   KENNEBREW        DARLENE              7918          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72862105   KENNEDY          ANDREA               1391          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44376188   KENNEDY          CHRISTINE            5953          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14214354   KENNEDY          DONALD                      1956   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65293172   KENNEDY          JOANNE               8584          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21455099   KENNEDY          MARGARET             5848          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90533218   KENNEDY          SANDRA       A       6769          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73171796   KENNON           DORSHA               0288          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86064704   KENSEY           RENNA                1086          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44068108   KENT             LESLIE               0436          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83850029   KENT             MONICA               9865          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63084793   KERBO            CINDY        LOU     2731          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48551647   KERN             ELIZABETH            6041          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47436582   KERNS            CHARLES              2760          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46004168   KERNS            MEGAN                7878          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47771865   KERR             MILDRED              7851          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85427294   KERR             RHONDA               6023          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48497315   KERSEY           MARLENE              2284          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53576224   KESHIAN          CHRISTINE            5502          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36897823   KESKE WILLIAMS   RUTH ANN             9903          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66679769   KESSLER          BRITTEN              0204          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64233187   KESTED           STEVEN               9770          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39233811   KETCHUM          MARCIA               9645          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51283686   KETTLE           SUZANNE              5656          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91998530   KEY              DENISE               0162          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46823312   KEY              JANET        C       9388          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91286800   KEY              RHONDA               2531          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69795903   KEY              SHERRY               4406          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71073865   KHALIQ           ABDUL        WASEY   4493          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53348254   KHAZZAKA         ALISE                7930          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25956183   KHOLSTININ       VERA                 8158          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64721588   KHOMA            OKSANA               3444          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15867786   KHONG            MARGARET             4553          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18095670   KICKLIGHTER      CARMELA      E       6559          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83087199   KIDD             LASHAWN              9586          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91546664   KIERNAN          ANNE         MARIE   5749          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13659684   KIERNAN          MARY                 0469          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13580495   KIGER            TAMMY                2909          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13790451   KIJAK            LISA                 5355          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37808933   KILDAY           DOLORES      M       7026          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68770054   KILEY            CYNTHIA              9276          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20923600   KILEY            JOAN                 5373          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24156151   KILEY            MARY         E       3360          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72875217   KILGORE          DONNIE               8350          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58619347   KILGORE          GLENDA       R              1948   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76774147   KILLACKEY        BETH                 0458          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92926571   KILLENBEC        ANGEL                8801          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89002003   KILLINGSWORTH    REGINA               0996          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30128751   KIM              SOON TAE             9961          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27324335   KIMBALL          LENNELL      R       9787          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71237082   KIMBERLEY        SHIRLEY              1512          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24787403   KIMBLE           DEBRA                5187          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59705610   KIMBLE           DONNA                0653          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87295614   KIMBROUGH        TAMEKA               2304          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78053475   KIMBROUGH        ULYSSES              7463          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17548954   KIMM             CYNDALYN             4605          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35392017   KIMMEL           DIANE                       1959   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43870495   KINARD           MARY                 2967          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61548869   KINBERGER        JOHN                 5950          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74980373   KINCAID          CHAMPAYNE            3230          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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57990346   KINCHELOE     AURORA              9281          REJECT
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                                                                    OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                    Ex. 23
                                                                                                                                                       YES
30683660   KINCY         CHERYL                     1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81844919   KINCY         NELDA               0241          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53070551   KINDRED       JUSTINE             7185          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26679543   KING          CASSANDRA           6977          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29372455   KING          CINDY               9854          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12308458   KING          ERNESTINE           2006          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41104085   KING          GERALD              6219          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43173244   KING          JANICE              5433          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78692461   KING          LAURIE              1396          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45489730   KING          MARY        JANE    0114          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98873398   KING          MARY                7136          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56193496   KING          MATTHEW             6993          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47442446   KING          PATRICIA            2334          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67550950   KING          RUTH                0220          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93399476   KING          SANDRA              7564          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68757894   KING          SHALONA             2938          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62737661   KING          SHAVONNE            4274          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24955996   KING          SYLVESTER           1945          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46666402   KINGERY       GREG                6770          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25118079   KINGS         CASEY               1611          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35002928   KINGSBURY     KIMETHA             5118          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17651704   KINLER        MARK                7896          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88148905   KINNARD       KIMBRA              8548          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61310079   KINNAW        FERNI               3391          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17272957   KINNETT       KELLIE              7216          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83009934   KINSEY        NANCY               4195          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90355762   KINSEY        WENDY               1769          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12502374   KINTNER       THOMAS                     1951   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17002389   KINZIE        ALYCE               9387          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34851757   KIRBY         DANA        CAROL   6616          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18000817   KIRBY         SHEILA              8564          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64401426   KIRCHHOFF     FRED                8989          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38760540   KIREMITCI     JEMAL               5894          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60086667   KIRK          EVA                 0229          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40037402   KIRK          JANICE              9908          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13147806   KIRK          VICKI               4663          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56898407   KIRKLAND      ARIEL       MARIE   5299          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57909556   KIRKLAND      CYNTHIA             3478          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99021127   KIRKLAND      JACOB               8135          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43713757   KIRKLAND      JACQUELYN           5240          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99597920   KIRKLAND      KATHY               0295          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97200111   KIRKLAND      LAURAETTE           6224          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49862950   KIRKPATRICK   DIANE       L       9117          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97049727   KIRSCHT       MICHELLE    E       1777          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13607247   KISER         ANGELA      E       2450          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33077444   KISER         CYNTHIA             0427          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39530427   KISER         SHIRLEY             8291          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36167714   KISSING       ANTHONY             8477          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70436288   KITCHEN       LYNNETTE    L       3831          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41339923   KITCHEN       TERESA              0805          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13703113   KITCHENS      TERRY               2807          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65067984   KITT          MICHELLE            4631          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42026206   KITTREDGE     ANGELA              6399          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20049599   KITTS         LINDA               2109          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58981826   KLAR          SANDRA              3386          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78355545   KLAW          TERESA              6166          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73143517   KLEIN         KELLY               6709          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35413119   KLEIN         SAMANTHA            8346          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12357111   KLEIN         SHEILA              7765          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66552203   KLEIN         TINA                4713          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44739705   KLEKAS        JEFFREY     L       7039          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20661557   KLINE         JANET               6576          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33171659   KLINGER       DAWN        M       4396          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71317206   KLOPP         JEFFREY             6032          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20139559   KLOTZBACH     SANDRA              3077          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53867037   KLUG          NOEL                5223          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71622384   KNAPP         BEVERLY             8750          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20245967   KNAPP         PATRICIA    SUE     9557          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57727510   KNAUTH        CHRISTIAN           2128          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40237334   KNEBEL        MARIA               7353          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15860823   KNEELAND      ELIZABETH   A       9370          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38282797   KNESPEL       CINDY               9681          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16988545   KNIGHT        DOROTHY     MAE     3384          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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75584462   KNIGHT              MARGARET    E          6626          REJECT
                                                                                   PageID: 258500

                                                                             OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                             Ex. 23
                                                                                                                                                                YES
36115279   KNIGHT              MIRIAM                 9107          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96360796   KNIGHT              SHIRELLE               1129          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62451875   KNIGHT              SYLVIA                 3860          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50771814   KNIGHT KNABB        RUTH        A          0272          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32121111   KNIPPLE             VICKY                  0187          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63517357   KNIPSCHILD          KEITH                         1970   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56827456   KNISELY             LINDA                  9025          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83048035   KNISLEY             SUSAN       A          6278          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19289120   KNISSEL             CHRISTINA              0850          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43080227   KNOLL               LINDA                  2479          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76593974   KNOTT               HELEN                  1624          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48593864   KNOTTS              LINDA                  6604          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20486589   KNOX                JAMES                         1973   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35166412   KNOX                VIRGINIA    LEE        4074          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90442851   KNULL               MARY        VIRGINIA   6282          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96726045   KNUTSON             KRISTINA    MARIE      6850          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87456038   KOCH                DEDRA                  7666          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70898776   KOCSIS              DEBORAH                2024          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15149270   KOEHLER             SAMANTHA               0604          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49918430   KOENIG              JOSEPH      R          3377          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65433807   KOFFLIN             PATRICIA               6488          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47742642   KOHL                SUZANNE                3507          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
72125583   KOHLER              HEATHER                4169          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16392060   KOHLI               MONIKA                 6406          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81685770   KOHLIEM             LOUIS       L          9755          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28486679   KOJETIN             CHRISTINA   DIANNE     6553          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31583725   KONING              TERRY                  9694          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82414514   KONOPA              PONPET                 9923          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25731520   KOPPENHAVER         TRACY                  3529          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72946881   KORBER              JERRI       L          5942          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58675140   KORKOSKIE           SAMANTHA               3021          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34859068   KORMANIK            CAROL                  0358          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60065530   KORN                MARIANNE               1697          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14291119   KORNEGAY            PATSY       W          6993          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50578348   KOROLEWICZ          JUDY                   3934          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49615210   KOSHGARIAN     JR   MICHAEL                7301          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65376526   KOSKI               CHERYL                 9329          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87890249   KOSKI               CONSTANCE              4008          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28705129   KOSTERMAN           GAYLE                  4962          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32546140   KOSTUK         JR   MICHAEL                5177          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65740094   KOTERASS            MONA                   3476          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16718797   KOTERBA             DONNA                  8858          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17532934   KOTLEWSKY           SHAUN                  7155          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75960281   KOTTEMANN           PEGGY       C          8178          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24030533   KOUGH               DONNA       R          5760          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41326573   KOVACEVICH          BARBARA                1786          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40386761   KOVACH              TY                     3408          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23336879   KOWAL               MARIA                  0210          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79530809   KOWALEWSKI          STANLEY                4004          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94072562   KOWYNIA             BERNADINE              7930          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32324896   KOZAK               ANTHONY                5889          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99022552   KPARGARHAI          ELAINE                        1976   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29975125   KRAKAUER            LINDSAY                6284          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16317585   KRALL               LINDA                         1968   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49696645   KRALL               MARILYN                9983          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39737561   KRAMER              ELLEN                  6070          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65023660   KRANICH             EVA                    0824          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16877363   KRANTMAN            CHAD        THOMAS     8123          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99844255   KRASON              AUDREY                 9278          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86308023   KRASS               CHARLES                5234          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53769306   KRATOVIL            DEBORAH                5604          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75677816   KRATZER             ANGELA                 1056          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25075314   KRAUCHUK            PAULA                  2165          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45655605   KRAUSE              ANGELA                 4525          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51027027   KREH                LINDA                  9497          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76201620   KRESS               BOBI                   5553          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49596293   KRETZER             NADINE                 0091          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77960715   KRIEGER             BEATRICE               8140          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15689505   KRISZTINICZ         THOMAS                 6673          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36445965   KROKO               SARAH                  0096          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98868735   KROMPECHER          PABLO                  7066          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80567855   KROPP               VINCENT     E          7661          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16057534   KRUEGER             ELIZABETH   ANN        0386          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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92691590   KRUEGER      ROBERT               1260          REJECT
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                                                                    OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                    Ex. 23
                                                                                                                                                       YES
57604353   KRUEGER      TIFFANY              6803          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97590632   KRUG         CAROLE               2945          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12467973   KRUSEMARK    CHRISTINA            3712          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85868460   KRYSTYNIAK   LORINDA              4950          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79943827   KUARAHNA     TAKIYA               7445          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90006658   KUBANEK      TODD                 2282          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26645316   KUBICKI      BELINDA              7316          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59785821   KUBISKI      TERRY                0035          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53802596   KUBLIC       ROSE        ANN      5319          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78184183   KUCHLER      SARA                 6392          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90230473   KUHL         RACHEL      P               1943   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22187412   KUHN         GERRI                0112          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62396669   KUHNHEIM     JUDY                 5834          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50966415   KUNC         PAMELA               2052          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28394486   KUNN         SHERRIE              4511          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67010711   KUNTZ        KELLIE               6772          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93392213   KUPFERER     KAREN       DENISE   7924          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38382141   KURDES       FRANCES              5331          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31605058   KURDI        HALA                 6558          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35171852   KURIAN       BABY                 1557          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85908016   KURPIEL      JENNIFER    MAE      2786          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79834477   KURTZ        BETTY                2396          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56006861   KURTZWORTH   LANALYNNE   A        0680          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88133710   KURZER       MARIE                5133          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36996318   KUSCHE       CATHY                1389          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23862662   KUSHNER      BELLE       KORINA   5159          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96022148   KUSTKA       LISA                 1302          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57309056   KUYPERS      JACQUELYN   RAE      9181          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77137465   KUZARA       MARTHA      NELL     3935          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58673777   KVERNE       WENDY                2386          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34782853   KWIATT       PAUL                 4906          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26308741   KYLLONEN     CASSANDRA            4109          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19177679   KYNCL        JAMES                0328          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20630087   KYSAR        MATTIE               9298          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66491095   KYSER        PATRICIA             9499          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99545067   LABIN        JANET       K        9336          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63313788   LABOK        RONALD      B        8783          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24578481   LABORDE      ROSEMARY             1963          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14222347   LABOSSIERE   KAREN                2174          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88194233   LABOUNTY     DONNA                9307          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88515277   LABRECQUE    WINIFRED             8847          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61172384   LABRIOLA     KARAN       ELAYNE   0587          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34626118   LACASCIA     BEVERLY              5683          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83605364   LACEY        KIM                  5791          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56445893   LACKEY       ROBIN                7388          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39413165   LACKMAN      MOLLY                2727          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40774634   LACOSTE      SUSAN                1811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30504724   LACOUR       PEGGY                7610          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56176991   LACQUEMENT   MATTHEW              3978          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44782527   LACROIX      CATHERINE            9781          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28190680   LADDUSAW     WANDA                5332          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25124018   LADICK       JAMES                6358          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39566994   LAFFERTY     PATTY       A        0363          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85072328   LAFLEUR      MELISSA              9624          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70642244   LAFOND       CYNTHIA              9006          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89626185   LAFONTANO    BARBARA              9638          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54770536   LAFORTUNE    STELLA               5243          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88857028   LAGANA       WINONA               8120          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20755403   LAGUARDIA    CORNELIUS   J        9302          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39691209   LAGUNA       GLORIA               8520          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21594502   LAICHE       SHARON      M        7574          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24716927   LAIRD        DATRAN               3937          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64855850   LAISURE      SUSAN                4810          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57584991   LAKE         APRIL                8761          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71824334   LAKE         SYNTHIA              6831          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81705687   LALLY        COLLEEN              9776          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19190960   LAMB         MARGARET             8316          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22726634   LAMBERT      CYNTHIA              8895          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65411237   LAMBERT      KAROLEE              5147          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71617203   LAMBERT      SHELIA               5880          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71370197   LAMBERT      YOULANDA             4238          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73110853   LAMBIE       SHERYL      J        6076          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18913667   LAMENTO      JOANN                1930          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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41903097   LAMONTAGNE         BARBARA      R        6156          REJECT
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                                                                           OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                              YES
44776318   LAMPERT            ELLEN                 2845          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73296728   LANAHAN            LINDA                 9887          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43915956   LANCLOS            BERNICE               9556          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62334332   LANDEROS           MELBA                 1245          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16049051   LANDERS            BARBARA               7208          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79110774   LANDERS            LINDA                        1946   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78762403   LANDERVILLE        JUANITA               0827          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59298319   LANDI              LUCY         A        5950          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75814680   LANDIS             JANINE                5309          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12573020   LANDIS             LYDIA                 9962          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60317039   LANDRUM            ALISHIA               6632          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42521312   LANDRUM            CAROL        MAY      2406          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68517460   LANDRUM            GARY                  5380          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39325411   LANDRY             DENNIS                8113          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81133325   LANDRY             MARCIA                6050          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18454085   LANDRY        SR   TERRY                 5770          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41098026   LANDUYT            KAREN                 9607          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20075338   LANE               ANGELA                4336          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21032082   LANE               ANNA                  2479          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13580539   LANE          SR   AUDREAS      DEMONG   1923          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80867313   LANE               DONNA                 0007          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56699209   LANE               HERSCHAL              1735          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46079239   LANE               TRACY                 8092          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70717454   LANE               WILLIAM               5798          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33842429   LANEY              NELDA        DENISE   6444          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11684863   LANG               GENE                  2601          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82668691   LANG               MAURICE               7631          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20537651   LANGAN        JR   THOMAS       J        5827          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68983838   LANGEN             JOSEPH                       1963   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77006917   LANGENDORF         LORI                  4557          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40362519   LANGHAM            RODNESHIA             5378          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68976848   LANGIS             ELENH                 7390          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17701714   LANGLEY            THOMAS       REECE    0903          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64189214   LANGSTON           MAEJOLENE             4522          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32653180   LANGSTON           MARION                1515          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82043182   LANGSTON           WILETTA               0240          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50600595   LANHAM             VANESSA               1487          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87189541   LANIER             MARY                  1727          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24344108   LANKFORD           PATRICIA              5067          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88297677   LANOY              KAREN                 1470          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66239463   LANSBERRY          LINDA                 5084          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91484994   LANTZ              ERIC         B               1961   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89861037   LAPLANTE           ANN                   5200          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68775903   LAPLANTE           GWYN                  0062          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54746267   LAPORTA            JANICE                7403          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11682492   LARA               CHRISTINE    ANN      9174          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65884149   LARA               SANDRA                4460          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93752681   LARES              FELICITAS             4694          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40795170   LARKIN             MICHELLE              5509          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68116411   LARKINS            TRACY                 5998          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99876160   LARRAMENDY         RAMONA                1220          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79513074   LARRECOU           DIANE        GAIL     8081          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17079945   LARRY              KILLISA               6777          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17444369   LARRY              MARY                  8002          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13152163   LARSON             CAROLYN      ANN      7400          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45112082   LARSON             CONSTANCE             6167          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15855521   LARSON             JEANIE                2302          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69544854   LARUSSA            VICKIE                2128          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74276728   LASHLEY            CONNIE                5078          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88336738   LASKA              RUTH         ANN      1827          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17994290   LASLEY             LYNETTE               9411          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41805940   LASSIEN            ANTOINETTE            7468          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70219685   LASSITER           BARBRA                1520          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66788696   LASSITER           SANDRA                9370          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61828614   LASSITER           SHIRLEY               1618          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88833661   LATA               GEORGE                1393          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92091136   LATARSKI           DEBORAH      ANN      6597          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73204646   LATHON             DAYLE                 2155          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52805735   LATIMER            PEARLEAN              0647          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31519148   LATIUK             CYNTHIA      M               1964   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14701410   LATTA              BETH         ANN      5211          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80818618   LATTERY            DIANE                 3896          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55326084   LATTIMORE          GLORIA                4280          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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63422102   LAUBER              ELEANOR               8756          REJECT
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                                                                            OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                            Ex. 23
                                                                                                                                                               YES
71961871   LAUFENBERG          KATHLEEN              6009          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52918055   LAUGHLIN            JOY                   7732          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41225659   LAUGHLIN            KATHLEEN              6916          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24518066   LAUGHLIN            MICHELLE              1985          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80618717   LAURENDINE          ALICE                 8120          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21922375   LAURO               KATHLEEN              8434          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52897503   LAUZIERE            KEITH                 9032          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91359852   LAVEDER             LORRAINE              6265          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16688460   LAVENDER            AUDREY                8428          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66744795   LAVOIE              KAREN                 7318          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76934235   LAW                 DENISE                3462          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12284618   LAWHORN             RONDA                 6164          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43946800   LAWLER              BELINDA               5513          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40914288   LAWLESS             SAMANTHA              2775          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88853798   LAWRENCE            ALICIA                6903          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
66130460   LAWRENCE            BETTY         DUKES   7741          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71613745   LAWRENCE            BRITTANY              4951          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42126197   LAWRENCE            CATHERINE             1471          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25937535   LAWRENCE            DANIEL                1704          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54667096   LAWRENCE            ELLEN                 4292          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91016558   LAWRENCE            LORRAINE              1496          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48004979   LAWRENCE            MARY          LEE     5201          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49469930   LAWRENCE            MEAGAN        D       4871          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75485157   LAWRENCE            NANCY                 6975          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89929982   LAWRENCE            PATRICIA              4936          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17984107   LAWRENCE            REBECCA               7800          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66491798   LAWRENCE            SAMELIA                      1966   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21811248   LAWRENCE            SARAH                 2392          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31294724   LAWSON              BRENDA                3526          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31207915   LAWSON              CHRISTOPHER   T              1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79093589   LAWSON              DEBORAH               3610          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19646124   LAWSON              PAMELA                2133          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44556606   LAWSON              RENEE                 1887          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99279878   LAWSON              SHIRLEY               8387          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88220869   LAYELL FUNDERBURK   ANNIE                 9466          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63468098   LAYER               SNOW                  3708          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69655903   LAYFIELD            KIMBERLY              2497          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29986789   LAYLAND             VANESSA               1939          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23861386   LAYTON              ARLONCIA      C       8506          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46785339   LAYTON              GLORIA        J       1148          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50649568   LAZARE              BENEDICT              0155          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44384398   LAZARUS             ROBIN                 6368          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50868131   LEA                 JULIE                 2212          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61582420   LEACH               ALICIA                6173          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69156778   LEACH               ELESKA                7609          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98051237   LEACH               EMILY                        1983   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51893845   LEACH               GLORIA        E       6023          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34532409   LEACH               TERESA                1653          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96897175   LEACH JAYROE        ANGELA                9865          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91403359   LEADLEY             MARY                  2368          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42409188   LEAKE               SHARON        KAY     1121          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71116477   LEAPLEY             ANNA                  3605          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53049014   LEARCH              CYNTHIA       A       5168          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87159201   LEARY               JANINE                8351          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
40627176   LEATH               DELBERT               2637          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55603543   LEATHERS            ANITA                 0065          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96424584   LEATHERS THOMAS     DEBORAH               2759          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87237619   LEATHERWOOD         ELAINE                3104          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23734486   LEAVER              LINDA         A       3431          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58297774   LEBEAU KEEN         ROSE                  4514          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38138776   LEBER               JUNE          I       2383          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32043057   LEBLANC             STEPHANIE             1884          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77908373   LEBRON              CARMEN        L       7435          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35724686   LECHNER             ELEANOR               7666          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22193170   LECLERG             LINDA                 8380          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80904536   LEDBETTER           JEANNETTE             6433          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89398571   LEDFORD             FRANCES               6590          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70804555   LEDON               LILLIAN               0726          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53758988   LEE                 ANGELA                3025          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40457043   LEE                 ANGELA        M       4392          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55391202   LEE                 BETSY         R       4138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98937976   LEE                 ELSIE                 4877          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97462080   LEE                 JOANNA                8108          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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14672945   LEE               JULIA       ANNETTE     2876          REJECT
                                                                                  PageID: 258504

                                                                            OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                            Ex. 23
                                                                                                                                                               YES
32616947   LEE               KATIE                   1437          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99242807   LEE               LEVI                    0337          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64214021   LEE               MARY        K           4690          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83450284   LEE               MARY        KATHERINE   8547          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87182560   LEE               PATRICIA                5791          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56212864   LEE               ROBERT                  3140          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44541899   LEE               SHERYL      L           4614          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56011083   LEE               TOSHA                          1974   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22049483   LEFLER            BARBARA     JEAN        1356          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67065388   LEFLORA           TERCENIA                5409          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85631390   LEGAY             LINDA       G           9215          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91921959   LEGENDRE          SUSAN       MARIE       8829          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68236115   LEGGINS           HERLENA     P           1094          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51081109   LEGOFF            ROBERT                  3651          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22614469   LEGRAND           JOHN        B           0132          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59405525   LEHMAN            HELEN                   4548          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45232459   LEHMAN            LINDA                   4798          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51449670   LEHMAN REFINSKI   MARY                    2007          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48290837   LEHN              KAREN                   0767          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52504134   LEHR              PAMELA                  2502          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18203306   LEHRER            NICOLE                  6172          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40361238   LEIBY             FRANCES     A           0312          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31091172   LEIGH             JANIS                   4322          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77903531   LEJEUNE           LANORA                  5479          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99532672   LEMIRE            RONALD                  8310          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77288577   LEMONS            REGINA                  5469          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88578563   LENKO             CINDY                   8883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99720969   LENNOX            LINDA                   4224          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83241221   LENS              AURELIA                 1105          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87101285   LEONARD           BARBARA     M           1407          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27268242   LEONARD           BILLY                   5323          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61250295   LEONARD           JACKIE      PEARLIE     9268          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89049387   LEONE             BRANDO      VANTE       7687          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51438868   LEONE             LOUANN      CAROL       1365          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76008065   LEOPARD           SUSIE                   3930          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48200142   LEOPARDO          JOYCE                   4850          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13507413   LEPORE THOMPSON   ALEXANDRA               7331          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68860567   LESHER            PATRICIA                5498          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61478873   LESKO             JENNIFER                7553          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82697966   LESLIE            DIANN                   1565          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83323869   LESNIAK           JANE                    9640          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88156908   LESSARD           JAMES                   7276          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46463723   LESSNER           MARLA       A           9541          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52165777   LESTER            ANITA                   0915          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
85064158   LESTER            CHARLENE                8525          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27666809   LESTER            JOYCELYN                2822          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47413767   LESTER            LORRAINE                8685          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65520091   LESTER            OLIVIA                  4012          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67178204   LESTER            PATRYCE                 3321          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82800285   LESTER            TERESA      F           1333          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15915955   LETHCOE           AUDRA       HOLTON      9071          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
43118904   LETSON            WANDA                   4338          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53818768   LETTIRE           MICHELE                 7244          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78889266   LEVINE            SALLY       R           0788          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99539140   LEVULIS           LORREE                  1801          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74626308   LEVY              MARCIA      W           4310          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25384019   LEVY              NOREEN                  6997          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29628366   LEVY              SHEILA                  3733          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29594923   LEWELLEN          CECELIA                 8887          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83920266   LEWELLYN          REBECCA                 6281          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60809695   LEWIS             ALICIA                  8011          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64713101   LEWIS             AMBER                   2466          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48736508   LEWIS             ANNIE       L           4175          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80148234   LEWIS             AUDREY                  4159          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66086346   LEWIS             BARBARA     DANIELS     2335          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53131475   LEWIS             BETTY       JO          8451          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70131668   LEWIS             CANDACE                 9538          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80034644   LEWIS             DON         ALAN        9437          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77200271   LEWIS             EUGENE                  9747          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73558324   LEWIS             HATTIE                  1822          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85605709   LEWIS             JONI                    8472          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58453992   LEWIS             JULIE                   2782          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24834023   LEWIS             KADINA                  8217          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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15568733   LEWIS             KATHERINE            7452          REJECT
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                                                                         OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                         Ex. 23
                                                                                                                                                            YES
48889393   LEWIS             KIMBERLY             5027          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16806320   LEWIS             KIMBERLY             7408          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96134114   LEWIS             MARCY                7700          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99270794   LEWIS             MARY        ALICE    3778          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92862952   LEWIS             PATRICE              4247          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40722919   LEWIS             SHARON               9582          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89803569   LEWIS             SHEENA               2155          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16264118   LEWIS             SIMONE      O        0608          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17631556   LEWIS             THELMA               5206          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45227488   LEWIS             TRINA                8746          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44179023   LEWIS             VERNETTA             2352          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95194313   LEWIS             VIRGINIA             9606          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92803241   LEWIS             YVETTE      K        3237          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38235582   LEWIS ALLBRIGHT   TRACY                2978          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29557070   LEWIS HARDEN      GWENDOLYN            1696          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25943565   LEYDEN            KRISTINE             2149          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61498534   LHOTA             ALAN                 2172          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64709382   LIBMAN            MARJORIE             3677          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12187688   LICHTENFELS       REBECCA              0417          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25979846   LICIAGA           APRIL                6771          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80944320   LIECHTY           MICHAEL                     1962   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22088633   LIGGINS           CAROLYN              7269          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71104766   LIGHT             ELAINE               5642          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35075199   LIGHT             JANET       DIANE    1535          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20239357   LIGHT             LINDA                1453          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32741086   LIGHT             SUMMER               9425          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75217917   LIGHTFOOT         DIANA       LORA     7302          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98532561   LIGHTSEY          CARLA                3378          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52787446   LIGHTWINE         COLLEEN     TERESA   0230          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42475543   LIGUORI           ROSEANNE             9152          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92001175   LIHANI            KAREN                8676          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51399971   LIKA              NAIME                7381          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91121632   LILL              EVANNE               4722          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83043271   LILLEOIEN         ANN                  0812          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
41661039   LILLEY            JANE                 5695          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19981632   LILLIE            LAMEQUA              7657          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55062049   LILLY             JUDITH               9531          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13062329   LILLY             MICHELLE             2383          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18270154   LILLY             PATTI                4793          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77593152   LILLY             SAVANNAH    C        6568          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75371275   LINCOLN           LAURA                5311          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49228425   LIND              ELIZABETH            8811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29007918   LINDAHL           CORAL                4707          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16250588   LINDAHL           VICKI                7109          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22860585   LINDBERG          KATHRYN              6074          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31538786   LINDER            DEETRA               3528          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35823777   LINDGREN          BRENDA               7982          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50602571   LINDLEY           KATIE       JO       2728          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52800001   LINDNER           DOLORES              8294          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42461641   LINDQUIST         SUZANNE     M        6605          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14581590   LINDSEY           DONNA                9812          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66114512   LINDSEY           ELIZABETH            0398          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28789468   LINDSEY           MARTHA      LEE      4553          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74984568   LINDY             TAMMIE               4657          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98993804   LINGEN            MARY                 8671          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93079775   LINGO             BEVERLY              5702          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20476631   LINN              KATHLEEN             8660          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14019973   LINN              WANDA                8614          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90634195   LINSTROM          JEANIE      D        8782          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28264464   LINVILLE          TERESA               6664          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68469396   LIPP              LIAN        SIANG    8256          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98257534   LIPPINCOTT        JUDY                 0367          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58644770   LIPPS             LINDA                0129          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27435813   LIPSCOMB          LICIA                0782          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33606528   LISENBY           NITA                 6031          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81199835   LISKEY            SHERRI               4102          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45921749   LISS              CASSANDRA            4998          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91566036   LITSON            SARAH                0306          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22597640   LITTLE            CHERYL               8941          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50228413   LITTLE            CYNTHIA     IRENE    1432          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14142268   LITTLE            HOLLY                0073          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23297818   LITTLE            MARTHA      N        6594          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98529332   LITTLE            NONA                 4745          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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77016615   LITTLE         PAMELA                9621          REJECT
                                                                             PageID: 258506

                                                                       OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                       Ex. 23
                                                                                                                                                          YES
49642226   LITTLE         VALISIA               8383          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49224904   LITTLE         YOULANDA              9856          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96018141   LITTLEFIELD    LISA                  5791          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76204433   LITTLEJOHN     LENORA                2483          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21639233   LIU            MARK                  5848          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52305633   LIVESAY        CINDY                 1884          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79342902   LIVESEY        MARGARET    MARIE     7052          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57882519   LIVINGSTON     ARCOLA                0003          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74773630   LIVINGSTON     AUDREY                7186          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55774048   LIVINGSTON     JANE                  8113          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11433138   LIVINGSTON     JANIS                 2877          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36347468   LIZAMA         JEANNE                3976          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23251362   LLOYD          SHARON                2210          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43932819   LLOYD          SHELIA                9187          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39338188   LLOYD          WALTER                8818          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88270475   LLOYD HUGHES   VADRINE               5661          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64181833   LOCHRIE        HOWARD                6578          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56375304   LOCICERO       ANNE        MARIE     5829          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14755283   LOCKARD        JOHNNA                4392          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43530140   LOCKE          GEORGE                1138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60073851   LOCKETT        LINDA                 3400          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24644953   LOCKETT        REKENIA               8331          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55911918   LOCKHART       NANCY                 4604          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85588549   LOCKLEAR       GEROLDINE             6350          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24945805   LOCKRIDGE      CYNTHIA     DALE      9328          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48111718   LOCKWOOD       CAROL                 7127          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66455849   LODGE          LOTTIE                4482          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78626379   LODOVICO       JUDITH      M         7878          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73526923   LOE            TERRY                 8695          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93999880   LOEBER         SUSAN                 4297          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20427977   LOEPPKY        NANCY                 3291          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99544561   LOFTON         DENISE      S         5211          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78364676   LOFTON         KAREN                 0774          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93714944   LOGAN          DERETHA               8287          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77296852   LOGAN          MONA                  2828          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13596888   LOGAN          SHUNTEKA              8347          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45428350   LOGERFO        JEANETTE              7743          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29026029   LOGGIA         RAMONA                1741          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53868867   LOGHRY         KASIE                 3030          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70130025   LOHR           DONNA       J         4745          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68693746   LOJEK          DAWN                  9265          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95701399   LOKER          NANCY                 9165          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26571812   LOLLIS         GLORIA                4741          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61561876   LOMASCOLO      ANGELA                2084          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50097728   LOMBARDI       CAROLYN                      1959   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89542407   LOMBARDO       KATRINA               9461          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48175258   LOMELO         DEBORAH               9805          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38910225   LONG           AUDREY                       1964   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23100480   LONG           GLENDA                0364          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51393006   LONG           JOHN                  6047          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88892221   LONG           JOHN        RUSSELL   7579          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65890036   LONG           KATHRYN               7139          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55163163   LONG           KAYLE                 1653          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80712701   LONG           LISA        ANN       1729          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76672838   LONG           LISA                  1773          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33677021   LONG           MICHELLE              2484          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21814656   LONG           PAULA       M         7450          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75661912   LONG           REBECCA     JEAN      4618          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91646593   LONG           TRINDA      D         8258          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26218581   LONG           VALERIE               4589          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87277227   LONGBEY        CYNTHIA               0866          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33503121   LONGERBEAM     ROBIN                 3115          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15532055   LONGMAN        JANET                 3264          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27524006   LONGMIRE       DAVID       L         9827          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62638531   LONGMIRE       RUTHIE      E         4262          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22597004   LONGTIN        JEFF                  2604          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87279249   LOOMIS         CATHERINE   M         1333          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97344466   LOPER          KAREN       MARIE     9824          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24306397   LOPER          LISA                  1468          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85849731   LOPEZ          ADELITA               9831          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38547581   LOPEZ          ARCANGELA             9479          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63620649   LOPEZ          BARBARA               4506          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62103473   LOPEZ          CAROL                 9604          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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74055848   LOPEZ            CHRISTINE              7659          REJECT
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                                                                          OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                             YES
60129648   LOPEZ            EDNA                   4695          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20398723   LOPEZ            EMILIA                 3695          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13947188   LOPEZ            ERICA                  6227          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61967156   LOPEZ            GAYLE                  1091          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30707962   LOPEZ            JENNIFER               1825          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64695931   LOPEZ            LINDA                  3405          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28539866   LOPEZ            MARIA        G         5777          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83422137   LOPEZ            MARIA                  6029          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33651160   LOPEZ            MARITZA                5448          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38892559   LOPEZ            MARY                   8595          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73400117   LOPEZ            ROSIE        OTERO     6364          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15600741   LOPEZ            VERONICA               0692          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49972331   LOPOSKY          LINDA                  8970          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18481887   LORBER           JEFFREY                8906          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62344277   LORD             CURTIS       A                1994   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24991772   LORENCE          JODI                   0144          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64922121   LORENTO          AMELIA       ANN       3669          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77390827   LORINCZ          SUSAN                  3906          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33076725   LORTHRIDGE       ANTHONY                1719          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34311221   LOSEY            HEATHER                7864          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43307302   LOSH             REBECCA                0888          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16736518   LOTT             ROBIN                  2736          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21750709   LOUCKS           JENNIFER               5480          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15705421   LOUDEN           CARLOTA      S         1206          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40340883   LOUDEN           CARMELETTA             4059          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22248632   LOUGHLIN         ROBERT                 3790          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12699730   LOVE             CANDACE                8412          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28749314   LOVE             DONNA                  7764          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16700472   LOVE             KIMBERLY     SHERICE   6902          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36041236   LOVE             LOLA                   3994          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59040953   LOVE             MAMIE                  1931          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26906134   LOVE             RACHEL                 6207          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88057755   LOVE             SHANETRIA              8447          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57566338   LOVE             SHIRLEY                0813          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21319643   LOVE             SHIRLEY                6361          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97974969   LOVEJOY          GAYLE                  1955          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56774053   LOVELADY         CYNDY                  6985          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52071071   LOVELESS         TINA         M         2220          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24402857   LOVELL           MARY         S         8203          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93887793   LOW              KATHERINE              2205          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49157072   LOWE             DARLENE      GRUNDY    1421          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75811878   LOWE             DEBRA        J         4169          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89733852   LOWE             GRACE                  5177          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15707874   LOWE             MARY                   0140          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78214978   LOWELL           DIMITY                 0867          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28214272   LOWENBERG        GARY         W         7209          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87705719   LOWERY           AMY                    6458          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99634434   LOWERY           MARY         ANN       4331          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25073710   LOYD             LOLITA                 6814          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11727747   LOZANO           JANICE                 9885          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80695297   LOZANO           ROSA                   8612          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71020929   LUALLIN          BETTY                  9219          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56070128   LUALLIN          SUSAN        V         7580          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51811806   LUBCKE           JANICE       LOUISE    0147          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68655125   LUCAS            KARIE                  7007          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18284090   LUCAS            LUCILLE                0055          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29506342   LUCAS            NORMA        J         9700          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40464971   LUCAS            ROBERT                 7156          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92837190   LUCAS            TRUDY        DIANE     4173          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66440068   LUCAS            WANDA                  8416          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95765600   LUCAS ANDRETTE   JANET                  6002          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88037141   LUCERO           ANANI                  8871          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92700380   LUCERO           VANESSA                5015          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90207785   LUCES            AIDA                   3605          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77146236   LUCEY            PRISCILLA    M         9356          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60312355   LUCIO            MIGDALIA               2243          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79031439   LUCIUS           MONAE                  0396          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13334137   LUDWICK          KAREN        ANN       8320          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26658898   LUDWIG           HEIDI                         1981   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91749318   LUDWIG           LINDA                  3569          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63435330   LUDWIG           MELYNDA                7731          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84414244   LUEALLEN PERRY   BERNICE                9689          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48708874   LUEBBERS         CAROL                  3093          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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79589057   LUEBKE                CONNIE       L          5428          REJECT
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                                                                                OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                                Ex. 23
                                                                                                                                                                   YES
16555344   LUELLEN               SHANDREA                3078          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81494883   LUKEN                 CATHERINE               8402          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48533843   LUKER                 CONNIE       A          5470          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70600456   LUKEY                 KAYLA                   7639          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23556353   LUNA                  ANGELA       R          2258          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54720563   LUNA                  GUADALUPE               2123          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92513132   LUNA                  MAGGIE                  3585          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13128323   LUNA                  MINERVA                 2287          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32375339   LUNA                  REX                     0280          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88907092   LUND                  DOLORES                 8682          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27665882   LUNN                  ALEXSIS                        1986   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52485313   LUNSFORD              KAREN        C          1015          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84635806   LUOPA                 MIRANDA      M          5806          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83113776   LURTY                 DEBORAH                 5444          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93322227   LUSBY                 PAULA                   6406          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51341240   LUTES                 KAREN                   9925          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24420517   LUTHER                LINDA                   4526          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37123110   LUTHY                 DEEANNA                 5003          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44552998   LUTHY                 RAUNDA                  3248          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35976080   LUTT                  KATHY                   7680          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14198862   LUTZ             JR   RICHARD                 6764          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50103904   LYDECKER HAYFORD      BEATRICE     CORNELIA   4002          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14540842   LYDEN                 SHARYN                  5697          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56977962   LYERLA                RONALD       LEE        3774          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14122229   LYMAN                 JOAN         KOHLER     0086          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59631596   LYNCH                 BARBARA      A                 1956   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88900468   LYNCH                 ELEANOR                 9778          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85107667   LYNCH                 JUDITH                  9442          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56288617   LYNCH                 KAREN                   7039          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49897726   LYNCH                 KATHERINE               6464          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70472337   LYNCH                 SHARRON                 7253          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19494404   LYNCH                 VANESSA                 9265          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69931270   LYND                  DIANE                   9014          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61936388   LYNN                  KAREN        MARIE      6827          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63752464   LYONS                 JANET                   6808          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65346291   LYONS                 PAULINE                 4990          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22290476   LYSZCZAK              MARLENE      M          8732          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86429718   LYTLE                 DARLENE                 1763          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43850839   MACALPINE             PATRICIA                8141          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49306201   MACARY                JOHN                    4823          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22496046   MACDONALD             PAMELA                  3024          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78163525   MACERI                KATHERINE               8190          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63647873   MACHADO               ROSANE                  4249          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44259197   MACHNIK               JUDITH                  0347          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39442517   MACIAS                ROSALINDA               7019          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84210643   MACILHANEY            ELIZABETH               9165          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40306538   MACK                  LINDA                   7520          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18774061   MACK                  ROBERT                  6076          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43986549   MACK MCCORMICK        DOROTHY                 8697          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23515961   MACKAY                CHERIANN     M          2852          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15478781   MACKENZIE             MARGARET                6450          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38828677   MACKERETH             ROBERTA                 0155          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95936922   MACKESY               JEANINE                 6495          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27231836   MACKEY                CORA                    5633          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96768047   MACKEY                GERRI                   9835          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13200175   MACKEY                PAMELA                  4727          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44231208   MACKEY                PEGGY                   9677          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95737209   MACKEY                SHELLI                         1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26034113   MACKEY                SHIRLEY                 4791          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45779162   MACKIEWICZ            JUMIATI                 7538          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26337607   MACKINAW              SANDRA       D          8362          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86317275   MACO                  JOYCE        S          5529          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47515846   MACON                 ACQUANETTE              7122          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78086959   MACON            SR   CHARLES      E          0075          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70993075   MADAIO                CAROL        ANN        4535          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70317457   MADDEN                CHARLOTTE               0252          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55388597   MADDOX                JENNY                   0393          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39154764   MADDRON               MARGARET                4000          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11944890   MADISON               APRIL        MARIE      1626          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99803769   MADISON               DONNA        DAVIS      4033          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16837948   MADISON               SHANIQUA                       1985   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54392129   MADISON               SHIRLEY                 6720          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15798946   MADORA                DONNA                   6434          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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75349333   MADRID               JOSE ENRICO              9164          REJECT
                                                                                      PageID: 258509

                                                                                OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                                Ex. 23
                                                                                                                                                                   YES
66222048   MADRID               TIFFANY                  2544          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57706497   MADRIGAL             JOSEPHINE                6312          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81102196   MADRIGAL             SALLY         M          6590          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93784788   MAEHLER              AMBRE         F          3551          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18929451   MAES                 LAURA                    2364          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35103841   MAESTAS              EARNEST                         1977   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23831060   MAESTAS              TANYA                    4058          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22064209   MAFFETT              BARBARA       B          5636          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20190583   MAFFIN               STEPHEN                  2030          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26329852   MAGALETTI            BRENDA                   5377          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93158992   MAGANA               CRISTINA                 4507          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93490066   MAGBAG          SR   JOSE                            1938   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42347467   MAGDECH              KAREN                    2903          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79272843   MAGEE                LATISHA                  0332          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84443849   MAGEE                PATRICIA                 7613          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63065945   MAGGI                JENNIFER                 4986          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59826103   MAGGIORE             LORRAINE                 9637          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59891135   MAGIDSON             PEGGY                    3869          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50242494   MAHAFFEY             HELEN                    7001          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26326193   MAHARAJ              LESLIE        CAROL      8678          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86781790   MAHER                CINDY                    3922          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79166035   MAHER                DIANE         MARIE      8054          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89497718   MAHER                SARAH                    6836          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24530600   MAHINSKE             PAULA                    3013          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85879616   MAHLERT              WILLIAM       R          9183          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33704102   MAHON                KIM                             1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43272594   MAHONEY              JUDY                     1815          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12772813   MAHONEY              SANDRA                   8911          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84528661   MAHOOD               MARY                     2509          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88155319   MAIDEN               ANNIE                           1959   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25332911   MAIELI               CINDY                    6754          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64119104   MAIER                AMANDA                   3007          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97044385   MAIER                ANITA                    8916          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85554244   MAIER                LYNNETTE                        1958   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82625336   MAINES               JOAN                     4934          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74367500   MAINVILLE            BOBBY                    3218          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31176299   MAIOCCO              ALICE                    6402          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79075719   MAIRE                CHRISTINE                0794          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71477491   MAJKA                LINDA                    4302          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26499528   MAJOR                MAXINE        L          3869          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93848374   MAKEPA COWELL        RENEE         U          0453          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33580740   MAKIN                CYNTHIA                  5037          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11420943   MALANCON             ROXIE                    3644          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31496051   MALANGA              PATRICIA                 2191          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94160811   MALANOWSKY           ANNETTE                  4762          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85802110   MALBURG              JEANNETTE                5259          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47412933   MALDONADO            JOSE                            1980   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18779524   MALDONADO            TAMMY                    3963          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59608184   MALINKY              DORIS                    8056          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39859316   MALLESKY             CHRISTINE                1779          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18135851   MALLIA STACHE        JO ANN                   8381          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37845807   MALLON               ROSE          M          3149          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98746380   MALLORY              ARWYN                    2379          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45476640   MALLOY               SHEILA                   4405          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80706130   MALM                 BEVERLY                  4682          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89156870   MALONE               LINDA                    6265          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47868132   MALONE               MELISSA       LYNN       1173          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94961929   MALONE               MELISSA                  1203          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74689396   MALONEY              SILVANA       F          0742          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73292673   MALONEY              TAMMY                    1516          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31034503   MALVEAUX             SANTINA                  7939          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38389499   MALY                 DAVID                    0321          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67532148   MANCINI              ROSEMARY                 8750          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30966919   MANCUSO              MASSIMO                  1469          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79467874   MANDELL              CHRISTINE                0848          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97380638   MANDIS               MAGDELINE                1333          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83781102   MANFREDE             BETTY                    5573          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96416630   MANIER               BARBARA                  3563          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39327405   MANIER               TRACY                    3555          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64653552   MANLEY               LYNN                     9348          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73467068   MANN            JR   JOHN          THOMPSON   7904          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36866676   MANN                 MICHAEL                         1971   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61557733   MANN                 TERRY         MA         0552          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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60951120   MANNING          ANNA                 2181          REJECT
                                                                              PageID: 258510

                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                        Ex. 23
                                                                                                                                                           YES
48455154   MANNING          BARBARA              6760          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24559115   MANNING          LINDA       D        2116          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80936586   MANNING          MARY                 4789          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77186913   MANNING          SHUNDA               7238          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40600344   MANTON           RON                  1932          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53832923   MANUEL           AREZELLA    DURDEN   6198          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57550934   MANUEL           ASHLEY               4812          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92890536   MANUEL           PATRICIA             8240          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54840593   MANZANO          MICHEL               8063          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45078268   MANZI            THOMAS      J        4324          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60078149   MAPLES           ALBIZIA              5995          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39783578   MAPP             AMANDA               4670          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81451746   MAR              PANSY                3202          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
45419895   MARANO           MARIAN               5532          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87281293   MARBLE           SAMUEL               8548          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62267850   MARCELLO         DENISE      MARIE    0922          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47708554   MARCIANO         CAROL                4598          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44828818   MARCLEY          DARSHA               1377          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28993284   MARCUS           DEBORAH              2552          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34627277   MARCUS           SHARONE     R               1961   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21989773   MARDEN HOFFMAN   LOUISE               4987          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68563825   MAREK            ROBIN                4400          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98383837   MARELLI          PEGGY                4769          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66454594   MARETT           BROCK                6142          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84114922   MARGANIAN        ANAHID      ANNE     1193          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16679664   MARGOLIN         ALYSSA               6551          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53057950   MARIANO          DOMENICA             5978          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29314497   MARIENTHAL       LIZA                 7826          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61305249   MARINELLI        BRIANA               0366          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79152131   MARKEY           JOHN                 9317          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78426650   MARKHAM          ANNIE                1008          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39380402   MARKHAM          JENNIFER             3902          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72516890   MARKLEY          FAYE                 5167          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39803309   MARKS            JUDY                 3009          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36721317   MARKWARDT        SUSAN       A        9292          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14712792   MARLEY           MARY                 3215          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34321916   MARLOW           BRENDA               8846          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54621972   MARNEY           VIVIAN      MARIE    0025          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95468432   MAROTTA          THERESA     ANN      2669          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17791969   MARQUE           CONNIE               6561          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60693274   MARQUEZ          MARYLOU              0681          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77867695   MARQUEZ REPISO   ILEANA               4391          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12789421   MARQUIS          MICHAEL     M        5780          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44334410   MARR             JOANNE               2655          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24952538   MARRERO          MARIA                2222          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93714538   MARROW           TRACY                7005          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96934866   MARRUJO          GINA                 3614          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52076049   MARSH            DONELLA              8742          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18990144   MARSH            JOYCE                5008          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97350718   MARSH            JUDY        H        9968          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13577605   MARSH            JULIA       MAY      5435          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27237768   MARSH            REBECCA              4747          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29024644   MARSH            SHANNON              0304          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68273119   MARSH            VIRGINIA             8224          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94062845   MARSHALL         DOROTHY     C        1549          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70257106   MARSHALL         LYNETTE              2618          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75868716   MARSHALL         STEPHANIE            5292          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49141363   MARSHALL         VICTORIA    LYNN     4294          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71264461   MARTA            SONYA                5440          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27283665   MARTELL          MARY        LOU      4884          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41028089   MARTEN           ANN                  2339          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35964231   MARTIN           ALTHOLIA             5099          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69110829   MARTIN           AMY                  1868          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50793359   MARTIN           BENNETT     T               1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83979983   MARTIN           BERNICE              9015          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15962063   MARTIN           BETH        A        1728          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36452380   MARTIN           BETTY                0235          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29300376   MARTIN           BEVERLY              1619          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89914127   MARTIN           BONNIE               4211          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20082540   MARTIN           CATHY                2491          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30560326   MARTIN           CECILIA     MARIA    9066          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64877408   MARTIN           CINDY                3286          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61987272   MARTIN           CYNTHIA     LAJUAN   3292          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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42893375   MARTIN        DANNY        L               1962   REJECT
                                                                            PageID: 258511

                                                                      OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                      Ex. 23
                                                                                                                                                         YES
58587023   MARTIN        DAVID                 4650          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36198029   MARTIN        DEBBIE                7477          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27921991   MARTIN        EDDIE        L               1978   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29664621   MARTIN        ELAINE                4818          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26112179   MARTIN        ELEANOR               8893          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78184332   MARTIN        ELIZABETH             5166          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62254618   MARTIN        FRANCES      DIANN    7493          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30650086   MARTIN        GEORGIE      LYNN     2756          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98511132   MARTIN        GWENDOLYN             4626          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14303573   MARTIN        HEIDI                 3190          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58912315   MARTIN        JACQUELINE            6638          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68665646   MARTIN        KAREN                 7360          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54602022   MARTIN        KATHERINE             1867          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56255021   MARTIN        KATHRYN               8221          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40332052   MARTIN        KIMBERLY     YOUNG    8396          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89240263   MARTIN        LARA         H        2507          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28695284   MARTIN        LINDA                 2479          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41335377   MARTIN        LOUISE       F        2515          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17454044   MARTIN        LOUISE                2981          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99807865   MARTIN        MARTHA                5712          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37045168   MARTIN        MARTHA                9245          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11306691   MARTIN        MARY         LOU      6426          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47669556   MARTIN        MARY         F        6488          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15664478   MARTIN        MARY                         1954   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44089633   MARTIN        MURIEL                5811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50404165   MARTIN        NANCY                 2370          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61360014   MARTIN        PEARL        JOYCE    6243          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25496155   MARTIN        PRISCILLA             3748          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65812683   MARTIN        RHONDA                0397          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
20390707   MARTIN        RUTH                  5564          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83357847   MARTIN        SCHESTER              0737          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53486519   MARTIN        SHARDA                2198          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19531385   MARTIN        SHELLA       D        9894          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71939028   MARTIN        SHIRLEY               2020          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25449755   MARTIN        STACY        L        4668          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94966744   MARTIN        STEVEN                       1975   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18060223   MARTIN        TANYA                 2888          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17168553   MARTIN        TERESA       H               1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15850003   MARTIN        VIRGINIA              8074          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99948724   MARTIN        VIRGINIA              9930          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62340268   MARTIN        WILMA        JEAN     2267          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58522915   MARTINCHALK   RICHARD                      1948   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31998439   MARTINEZ      ARLENE                1185          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
65915882   MARTINEZ      CHRISTIAN                    1991   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31326398   MARTINEZ      LAURA                 0889          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31644597   MARTINEZ      MELISSA               7288          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71238729   MARTINEZ      MIKEL                 6405          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75561584   MARTINEZ      NATALIA               5432          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18449552   MARTINEZ      SANDRA                7133          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45476151   MARTINO       JANIE        RUTH     0729          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78368818   MARTINO       SANDRA       LEE      5214          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27200439   MARTINS       LAURA                 6493          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51718070   MARTINSON     NEIL                  9235          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51740822   MARTIRE       LORRAINE              2642          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18423992   MARTIS        ELMER                        1941   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71862830   MARTY         DINA                  2204          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89652628   MARTZ         NICOLE                0178          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71800009   MARUMOTO      SONIA                 1420          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19004504   MARUSIEFSKI   LORRAINE              7336          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62078012   MARVIN        TINA                  2127          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66968857   MASCHINOT     DEBRA                 3499          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65933875   MASCOLA       CHESTER               2364          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53358339   MASHELL       JAMES                 4218          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88606841   MASHORE       AUTUMN                7985          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36864471   MASON         CLARA        ANN      4064          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34087474   MASON         DEANNE                3353          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92028948   MASON         FRANCES      HARVEY   1575          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29103275   MASON         GLENDA                7910          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16080233   MASON         NANCY        LEE      6629          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12783171   MASON         ROBERTA               9759          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14199301   MASON         RUBY         CAROL    2812          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26265834   MASSENA       CHRISTINA                    1970   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89713069   MASSEY        CAROLYN      DEAN     5892          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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54011600   MASSEY             KIMBERLY            7869          REJECT
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                                                                         OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                         Ex. 23
                                                                                                                                                            YES
89051859   MASSEY             LINDA               9801          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23524407   MASSIE             DIANA               4991          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86746718   MASSIE             WANDA               6641          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62375169   MASSIMINO          CAROL               3070          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13135665   MASSINGILL         JERRY               3098          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84221552   MASTERS            LOIS                3581          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99356063   MASTIN             ROBIN                      1957   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41251521   MATA               DELFINA             7579          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77561599   MATATT             ARTHUR              1661          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36902928   MATELJAN           PETER               9198          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51832575   MATEO              ELIZABETH           3163          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40924692   MATHAT             SHEILA              7961          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13172826   MATHEOS            DEBRA               4143          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94883575   MATHERLY           ROBERT      C       8300          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86542640   MATHESON           CONNIE              5675          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38694343   MATHESON           WINDY               4832          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88807134   MATHEWS            GWENDOLYN   D       8139          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31122210   MATHEWS            TARRA               5473          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36328966   MATHIS             ANNIE                      1962   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32501727   MATHIS             GUSSIE              0206          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85611422   MATHIS             LAVONDA     JEAN    6983          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49775443   MATHIS             LINDA                      1949   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90932361   MATHIS             NANCY               5945          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14223041   MATHIS             OLA                 4284          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69981770   MATHIS             PERNO                      1980   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29184580   MATONIK            KIM                 6687          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24135386   MATSAYKO           VINCENT             0454          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13471424   MATSINGER          ANDREA              2238          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64011904   MATSON             DESIREE             8417          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87254579   MATSON             LISA                2697          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81307751   MATTEO             MARY        J       7141          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
67192205   MATTHEW            BONNIE              4474          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93781024   MATTHEW            DEIDRE              2691          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83284245   MATTHEWS           CLAIRE              2043          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53852911   MATTHEWS           CYNTHIA             1698          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71572701   MATTHEWS           CYNTHIA             7869          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38883171   MATTHEWS           LINDA               8755          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77841150   MATTHEWS           RANASHA             0426          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81386864   MATTHEWS           ROBIN       JANE    7530          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40248878   MATTHEWS           SANDRA      Y       7323          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14094192   MATTHEWS           SARA        LEE     2866          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23760080   MATTIA             SHALAH              6659          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17399284   MATTISON           KAREN               9596          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42142262   MATTOX             CARMELITA           3678          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36418218   MATULA             DEBRA               8979          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21715565   MAUK               GEORGIA     MARIE   9429          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21107604   MAULICK            MELANIE             5784          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24854824   MAURINA      III   EDWARD                     1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89447875   MAXEL              KATHY               8362          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76729751   MAXEY              AMBER               3839          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11363843   MAXEY              BETTY               4113          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49097130   MAXWELL            BRENDA              3947          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98029949   MAXWELL            CHERYL              4652          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34084384   MAXWELL      SR    FREDDIE     R       4147          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61910090   MAXWELL            MARY        LOU     4285          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98425620   MAXWELL            RICHELLE            1127          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19684095   MAXWELL            SHEILA              0708          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74037610   MAY                IDA         M       4686          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45652584   MAY                LAURA               1421          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58601067   MAY                NANCY               2546          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55029066   MAY                NICHOLE             0866          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11366468   MAY                TAMMY               3565          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80955876   MAY                TONYA               7843          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13637314   MAY                TREVA               9300          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13433531   MAYER              DENISE      A       2483          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97262876   MAYER              JOAN                9201          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83643665   MAYES              CHARLEAN            5398          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19644235   MAYES              JANICE              4659          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12815964   MAYFIELD           LATOYIA             3010          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82354207   MAYNARD            GINGER                     1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31301499   MAYNARD            LISA        ANN     7146          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79219481   MAYNARD            SUZANNE             4401          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96455670   MAYNOR             LINDA       GALE    3138          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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14219807   MAYS             WALTER                4242          REJECT
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                                                                         OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                         Ex. 23
                                                                                                                                                            YES
21682943   MAZZEO           SHANNON               4326          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29752148   MAZZITELLI       DONNA                 3595          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32107778   MAZZOLA          ROSITA        A       7543          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97277117   MCAFEE           ANNDI                        1979   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99915430   MCAFEE           STEPHANIE             6282          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88349668   MCAFEE           WANDA                 8565          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57571973   MCALILEY         CHARLES               5114          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59247817   MCANALLY         MARCI                 4729          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90388682   MCANELLY         AMANDA                3154          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15237985   MCAVEY           MARY          JO      5515          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39015888   MCBEE            BETTY                 8501          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89508310   MCBRIDE          DONNA                 7715          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57382299   MCBRIDE TULLIS   KATRINA               8792          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93560358   MCCABE           PAULA         HEATH   5495          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64746853   MCCABE           STACY         A       8391          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91883702   MCCABE KOURS     MAUREEN               9803          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20186924   MCCALEBB         ROBERTA               0808          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66625269   MCCALL           ANITA                 8120          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55238672   MCCALL           ELISA         S              1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69331323   MCCALLISTER      JANICE                9809          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87714363   MCCALLISTER      TIMOTHY                      1957   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17722174   MCCANN           ALEXIS                9463          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49182776   MCCANN           PAMELA                2683          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16702569   MCCARLEY         CHRISTINE             4178          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33629240   MCCARTHY         KATHRYN               1169          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73209830   MCCARTHY         LAURA                 9722          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30953112   MCCARTHY         MAUREEN               9758          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49039707   MCCARTHY         MICHELLE              7609          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56710828   MCCARTNEY        CATHY                 7858          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70649319   MCCARTNEY        JOAN                  7210          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75849660   MCCARTY          JANICE        K       0156          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49562429   MCCARTY          PAULA                 3889          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34663069   MCCARTY          RICKY         LEE     8612          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25193878   MCCARVER         SUSAN                 3627          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57000796   MCCASKILL        MARCELLA              1204          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40251089   MCCAULEY         KATHLEEN              5755          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48619498   MCCAULEY         PEGGY                 3491          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75415251   MCCAW MUSSIO     LYNETTE               9506          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44598186   MCCHRISTIAN      SHIRLEY               4561          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20619027   MCCLAIN          SELINA        D       0952          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74745573   MCCLAM           MONICA                5956          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92991381   MCCLANAHAN       KAREN                 7136          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73681574   MCCLARY          SAMUEL                3560          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50733040   MCCLEARN         MEILING               9763          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
97154378   MCCLELLAN        KAREN                 5665          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
19260987   MCCLELLAND       CHARLES               9700          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38499255   MCCLELLAND       LARRY                 7634          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30924302   MCCLELLAND       MICHELLE              0173          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19291140   MCCLENDON        ARTHUR                0595          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65958110   MCCLENDON        CHRISTOPHER                  1970   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42686396   MCCLENTON        DARLENE               7536          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88300733   MCCLESKEY        KAREN                 6991          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60761590   MCCLINTON        WINDELL               1044          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92433625   MCCLURE          CORREEN               0071          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95541234   MCCLURE          DIANNA                3225          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88281987   MCCLURE          NICOLE        D       1559          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49323855   MCCLURE          TERESA                7209          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47590444   MCCLUTCHY        SARAH         P              1979   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87587230   MCCOLLOUGH       TANIA                        1974   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63862669   MCCONNELL        KATHLEEN              5201          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24597175   MCCONNER         FRANCES               0432          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21153823   MCCORMACK        ESTELLE               9869          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36175489   MCCORMACK        TIMOTHY               7791          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66333135   MCCORMICK        HEATHER               9786          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38411210   MCCORMICK        JAMES                 8219          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82506200   MCCOY            SHANNA                2387          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99286915   MCCOY            SUE                   4446          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24313255   MCCOY            TIFFANY       K       0553          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79447058   MCCRACKEN        MELANIE       ANNE    9142          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47483948   MCCRAE           LAUREN                5005          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75122767   MCCRAIN          ELLA                  0016          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33951345   MCCRARY          VIVIAN                1611          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33385650   MCCREA           JOYCE                 6281          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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15774203   MCCREARY             SALLY                  8438          REJECT
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                                                                              OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                 YES
48701042   MCCRORY              AMBUR                         1988   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73947132   MCCROSSEN            CYNDY                  6279          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31950152   MCCUAIG              MARY                          1961   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39706522   MCCUAN               DEBORAH                6634          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96353154   MCCUDDEN             LORRAINE               0492          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73280952   MCCULLERS            BEVERLY                5299          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72752613   MCCULLEY             COLBY                  2247          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40306077   MCCULLIN             SHELLEY     KINCADE    7802          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95488998   MCCULLOUGH           JENNIFER               0780          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21775306   MCCULLOUGH           JUNE                   1297          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70182129   MCCULLOUGH           LISA        MICHELLE   6922          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65371227   MCCULLOUGH           PEGGY                  7341          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28231314   MCCULLOUGH           TINA                   2120          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69349076   MCCUMBEE        JR   HERBERT     DIXON      6078          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93999210   MCCURDY              PAMELA                 9041          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77447529   MCCURDY              QUINDELL               2377          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28563342   MCDANIEL             BRENDA                 2136          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74662284   MCDANIEL             LATONIA                0986          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68898428   MCDANIEL             LAURICE                3434          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78066007   MCDANIEL             LAURIE                 5800          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55774789   MCDANIEL             PATRICE                1189          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70185666   MCDANIEL             RHONDA                 5912          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64269075   MCDERMOTT            LAURIE                 7252          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
52594929   MCDERMOTT            PAMELA                 3441          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50912583   MCDERMOTT JOHNSON    ROBIN                         1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28691172   MCDONALD             ANGELIA                0122          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43101607   MCDONALD             DAMARIS     JUNE       9635          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
27311281   MCDONALD             DEBORA                 5114          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
11219824   MCDONALD             FRANKIE                1870          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41330738   MCDONALD             KIM         RICHELLE   2626          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51351029   MCDONALD             LEVENIA                6967          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83188551   MCDONALD             MAYONA                 2655          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38544407   MCDONALD             MICHAELA                      1982   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72286179   MCDONALD             NANCY                  8760          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18268422   MCDONALD             SANDRA                 0122          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91740958   MCDONALD             YVETTE                 6860          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54394587   MCDONALD BECKLEY     JENNIFER               0547          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90339795   MCDONOUGH            GRACE                  3330          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29728832   MCDONOUGH            LAWRENCE                      1982   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53962244   MCDOUGAL             DEBBIE                 3977          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
78992093   MCDOUGAL             PERMELIA               2540          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64930925   MCDOUGLE             VIRGINIA    D          9062          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22962906   MCDOWELL             DEMETRIUS   M                 1946   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
99084734   MCDOWELL             GLENDA                 5366          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
74119756   MCDOWELL             KRISTI                 3461          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
70310310   MCDOWELL             MICHELLE               1490          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20788062   MCDUFFIE             LORI        D          6298          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95099635   MCELENEY             LISA                   7852          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31505161   MCELRATH             VICKIE                 1486          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36928691   MCELROY              DEBRA       W          2005          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17580288   MCELROY              KARLA       A          1422          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14560210   MCELROY              ROSALEEN               9808          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91817046   MCFALL               CAROL                  8674          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12207463   MCGARVEY             ROBIN                  8940          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77961750   MCGAVISK             PAULETTE               3476          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80821554   MCGEE                ETHEL                  2971          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85662823   MCGEE                PAULETTE               2533          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74717669   MCGEE                TRACY       D          7325          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13886775   MCGILL               BEVERLY     A          6646          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29940593   MCGILL               KAREN       ANN        6789          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24790718   MCGILL               PHYLLIS                8230          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
77736216   MCGLOCKLIN           MELISSA                3947          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90278514   MCGONIGAL            SANDRA      M          5804          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62389589   MCGONIGLE            JOYCE       V          7400          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95354570   MCGOUGH              CATHY                  9295          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63892292   MCGOWAN              SANDRA      J          8720          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31356654   MCGOWAN              STEPHANIE   E          5411          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59768051   MCGOWAN              SUSAN                  2903          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70048320   MCGOWAN              TIFFANY     L          8921          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98955469   MCGOWIN              ALEXANDRA              9235          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47896595   MCGOWIN              CHIQUITA               1634          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18459671   MCGRADY              HEATHER                6935          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18738645   MCGRANE              SANDRA                        1957   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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60033445   MCGRAW       RANDALL                2668          REJECT
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                                                                      OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                      Ex. 23
                                                                                                                                                         YES
24040037   MCGREGOR     TERRY                  2856          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38697337   MCGREW       ERIKA                  0884          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
69406397   MCGRIFF      SANFORD      Y         2594          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79748589   MCGRORY      LORIAN                 9598          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73643398   MCGUFF       KATHY                  4930          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56400429   MCGUIRE      AISHA                  5574          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60404290   MCGUIRE      DEBRA                  3762          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
20873865   MCGUIRE      KATHY                  3473          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26762771   MCGUIRE      LINDA                  2722          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44368988   MCGUIRE      MARY                   9724          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76549757   MCGUIRE      PATRICIA     DENISE    1020          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83766056   MCGUIRE      RETA         MAE       6805          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33296467   MCGUIRT      BOBBIE                 7510          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58830687   MCHAYLE      CHARLOTTE              8868          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87939399   MCHENRY      CARL         W         0224          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67174575   MCHENRY      CHERLYN                7424          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84238785   MCHUGH       HOLLIE                 8791          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41517537   MCHUGH       MARY         JO        2695          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25821247   MCHUGH       TRACY                  8685          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25814112   MCINTYRE     KATHY                         1956   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42595754   MCINTYRE     MARIA        E         4553          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71871315   MCISAAC      VERONICA               7299          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
53995410   MCJUNKINS    BRENDA                 3396          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43323982   MCKAY        CLIFFORD               4155          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59394184   MCKAY        MARGARET               7920          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
27385697   MCKEAN       DONNA                  3344          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65767551   MCKEE        JEANETTE     A         3999          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
49537741   MCKEE        SHELLY                 3270          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71260175   MCKEITH      MARTHA       LYNN      3685          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55223418   MCKELTON     GERTRUDE               2166          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90664800   MCKELVEY     TRACIE                 2773          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51699177   MCKENNA      BARBARA                2650          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54222804   MCKENNA      DONNA                  1521          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93094440   MCKENZIE     FLORA NELL             4455          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12296438   MCKILLOP     DIANE                  7294          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50729198   MCKIMMEY     DEANNE       L         4179          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68263686   MCKINNES     LOUISE                 0620          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
25135809   MCKINNEY     BROOKER                8901          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61575685   MCKINNEY     DANNA                  7512          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16896442   MCKINNEY     DAVID        R                1968   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79617746   MCKINNEY     DEBORAH      JEAN      5734          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24045385   MCKINNEY     JESSICA                5614          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79349490   MCKINNEY     MARY         D         2392          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
34553625   MCKINNEY     SANDRA                 2575          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22778158   MCKINNIS     TERRI                  2950          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55754065   MCKINNON     LISA                   6571          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
23536737   MCKINSEY     GARY                   7748          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13808794   MCLANE       BRENDA                 9923          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39508959   MCLAUGHLIN   DONNA                  8977          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
12701412   MCLAUGHLIN   KEVIN        W                1949   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40907930   MCLAUGHLIN   KIMBERLY               4140          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82650686   MCLEAN       ALEXANDER              1801          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83541841   MCLEAN       CLAUDETTE              3516          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98519187   MCLEAN       STEPHANIE              9819          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
54295476   MCLEMORE     PATRICIA               7983          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35001792   MCLEOD       LAWRENCE               4349          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24366440   MCLEOD       TRACY        A         5177          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
79149305   MCLUCAS      CHERYL       S         1264          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81247188   MCMAHON      LESLIE                 4452          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42772780   MCMANUS      TINA                   9639          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36699681   MCMASTER     CONNIE                 6183          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65148461   MCMASTER     STEVEN                 0218          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92482447   MCMATH       JOSEPH       MICHAEL          1959   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67899147   MCMATH       PATSY                  5839          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13748704   MCMICHAEL    LORETTA                7079          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26159129   MCMILLAN     CHERYL                 0704          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11523583   MCMILLEN     NANCY                  5996          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42583894   MCMULLEN     KATHELEEN              4614          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90082758   MCMULLEN     ROGER                  4026          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45967757   MCMUNN       LORIE                  2719          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48793718   MCMURRIAN    ELIZABETH              5469          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53165871   MCNABB       ANN                    1087          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61395885   MCNAIR       ANNETTE      TROY      2065          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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83309185   MCNAIR             MICHELLE           8682          REJECT
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                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                        Ex. 23
                                                                                                                                                           YES
42761646   MCNATT             VICKIE             1929          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25745811   MCNAUGHTON         CARRIE             4644          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55365143   MCNEELY            KIMBERLY           6896          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92054966   MCNEIL             BRENNA             9026          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54238214   MCNEIL             GEORGIA     M      2307          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95603221   MCNEILL            COLEEN             5412          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65584377   MCNELTY            CAROL              7514          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
81327384   MCNETT             BEVERLY            9939          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40223849   MCNEVIN            KAREN       V      6350          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98248466   MCNULTY            SHIRLEY            0953          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26129127   MCNUTT             KATIE              0399          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74883185   MCNUTT             SUSAN       L      8516          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64140595   MCPHILLIP          JEAN               8835          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66909579   MCQUARRIE          KIMBERLY           4277          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73603081   MCQUITTY           MARTHA             8425          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90791636   MCRAE         SR   JAMES              0370          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14239443   MCSMITH            JEAN               5616          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
76122403   MCSWAIN            WILLIE      MAE    3653          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
86672031   MCVAY              DONNA       M      5024          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43353719   MCWATERS           LOU         ANN    5128          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98408047   MEACHAM            CLAUDIA            6659          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15800311   MEACHAM            DEBRA       K      5833          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72353440   MEAD               NAN                1594          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84685424   MEADOWS            JOEY               0045          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71459179   MEADOWS            TAMARA             9807          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95592837   MEANS              JOANN              2654          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85890827   MEANS              STEVEN             4590          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95574807   MEARNS             REBECCA            7108          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48749105   MEARS              DENNIS                    1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61370724   MEARS              ROBIN              0790          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88260929   MECASKEY           CAROL              7260          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57592997   MEDCALF            MARJORIE           7925          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98943734   MEDD               COURTNEY           1083          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20599734   MEDEARIS           VELDA              0701          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32086868   MEDFORD            DELON                     1992   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31767852   MEDINA             FRANCES            0432          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61109574   MEDINA             SABRINA            9775          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83800553   MEDLEY             CRAIG              0445          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87735378   MEDLIN             CARRIE      LEA    0831          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69865332   MEDLOCK            DEDRIA             6275          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71721006   MEDLOCK            SHEILA             4947          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
90225243   MEDRANO WERTZ      DEBRA              9784          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57988972   MEEK               DONALD             3949          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71148598   MEEKER             SONDRA      K      1202          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91006908   MEEKINS            NICOLE             2771          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75005155   MEEKS              ANGELA             5966          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
75042233   MEEKS              JANET       LYNN   4324          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73824625   MEEKS              JESSLYN            6216          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85660870   MEEKS              REBECCA            6390          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71183760   MEEKS              TABITHA            6572          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
41638818   MEFFORD            DIANNA             6476          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
56359052   MEGGISON           PHYLLIS            3412          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80796635   MEHREN             MARGARET           1064          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37562799   MEIER              GREGORY                   1948   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40162645   MEIER              WAYNE              0219          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96122331   MEINHARDT          CATHERINE          7461          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25030936   MEISMER            CINDY                     1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
40044207   MEJIA              AURORA             6862          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50328750   MEJIAS             NILDA       M      8843          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
36189668   MELARANE           DIANE              3763          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80830681   MELBY              MARIANNE           6632          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18474549   MELBY              PAMELA             6582          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15458975   MELCHI             JUDITH             0118          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57349797   MELCHISEDECH       JOHN                      1957   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38130965   MELDER             BRENDA             7584          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
50636005   MELENDEZ           DIANE              2988          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58011333   MELHORN            DEBBIE             2726          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86605476   MELILLO            JEAN               5231          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64254833   MELIUS             RITA               4463          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
63090294   MELLINGER          VIVIAN      D      6322          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
72253225   MELNYK             STEPHANIE          7357          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56871806   MELTON             JUDY               6563          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64684971   MEMETZIS           STELLA             9737          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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21086772   MENDEZ               MARIA                     1501          REJECT
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                                                                                 OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                                 Ex. 23
                                                                                                                                                                    YES
49213966   MENDEZ               VICTORIA      H           1944          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18086178   MENDOZA              CHERYL                    8304          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42714825   MENDOZA              ELAINE                    7660          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40947518   MENG                 KATHRYN       JACOBSEN    0380          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
76863308   MENHAL               PATTY                     0208          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30449278   MENOKEN              KAMEELAH                         1983   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
26500009   MENTO                JOSEPH                           1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
56635825   MENZEL               PEGGY         ELIZABETH   7255          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42003969   MERCER               REBEKAH                   5571          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95078050   MEREDITH             PATRICIA      ANN         2614          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88007437   MEREE           JR   WILLIAM                          1972   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
31347954   MERINO               SONIA                     7553          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85593839   MERK                 MICHELE                   0226          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21400495   MERKLE               LYNN                      6683          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81918355   MERRICK VOGEL        JOSEPHINE                 1624          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17354388   MERRILL              DANA                      7609          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65949457   MERRILL              SANDRA        LYNNE       3583          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
45913627   MERRITT              CAROLYN       JEAN        9068          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33911356   MERRITT              FRAN                      2436          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33901964   MERRITT              KAREN                     4531          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43432924   MERRIWEATHER         EULANDA KIM               8640          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
48054532   MERRIWEATHER         TAMIKA                    4780          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47398821   MERRYMAN             ELIZABETH                 1317          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54207642   MERTENS              ANDREA                    2042          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21007183   MERVINE              HARRY         WILLIAM     2640          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15787742   MERZ                 STEPHEN                   4109          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
62887271   MESEROLE             CHERYL                    5543          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44655257   MESLER               JULIA         L                  1989   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
16692349   MESSER               CHRISTOPHER                      1987   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44422714   MESSER               SHARON                    8192          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32468374   MESSERSMITH          KATHRYN                   1156          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44263504   MESSEX               ROBIN                            1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82079305   MESSINA              DONALD                    1812          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
11615572   MESSINA              KATHRYN                   2812          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18514112   MESTAS               AURORA                    0285          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18047558   MESUNAS              NOELLE                    8338          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30991639   METCALFE             CORDELIA                  4100          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
71587000   METHENEY             SHIRLEY                   4211          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58490271   METOYER              CHARLOTTE                 7156          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78600064   METTLER              ALISON                    9808          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34739986   METZ                 BARBARA                   1631          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68084535   METZ                 JANET                     6040          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70279156   METZ                 JOSHUA        S           1846          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98150807   METZLER              ANNA                      2209          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87301406   METZLER              NATALIAH                  2329          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16786775   METZNER              ROSEMARY                  8031          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98170998   MEYER                CONSTANCE     E           8430          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29336618   MEYER                LUCINDA       MARIE       8798          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
37570042   MEYER                PAMELA        W           8121          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
13400968   MEYER                PATRICIA                  4418          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
75426971   MEYERS               LINDA                     4953          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22538236   MICELE               BILLIE        JEAN        1055          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
93433593   MICHAEL              HELEN                     1837          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66732723   MICHAEL              JOAN                      4849          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40980463   MICHAEL              VANETTA                   9132          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54187030   MICHAEL              VIRGINIA                  2652          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
50159097   MICHAELIS            SHARON                    8367          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59851834   MICHAELS             KEVIN                     1973          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90662283   MICHALAK             NATALIE                          1995   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39297542   MICHALES             JAMES         E                  1951   ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93645497   MICHAUD              LISA                      7677          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30160957   MICHINI              MARGARET                  7981          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44690645   MIDDAUGH             DONNA         J           6161          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20008226   MIDDLETON            GRETA         LOUISE      3857          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
96066999   MIDDLETON            TERRY         A           9360          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24456930   MIELE                LEONORA       M           3637          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73551519   MIERA           SR   ANDY                      3631          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93074341   MIERA                PAMELA                    9636          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88065161   MIGL                 WENDY                     9712          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
39835927   MIHELICH             CHERYL                    5828          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36582478   MIKALS               LANA                      2890          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91053348   MIKOLAJCZAK          TERRY         L           6692          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
18196848   MILBURN              ASHLEY                    4226          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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46598169   MILBURN           SANDRA       KAY       2289          REJECT
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                                                                           OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                              YES
48920015   MILBY             VIOLET                 7123          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
48929755   MILES             JACQUELINE                    1946   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
61351439   MILES             MARY         C         4711          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68028084   MILES             MILDRED                3136          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
87055861   MILETICH          DENISE                 7832          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22386772   MILEY             VICKI                  1529          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36971672   MILFORD           ROBIN        A         7882          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29873223   MILGRIM           JIMMIE       L         4118          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55732097   MILLARD           LINDA                  7876          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
94464957   MILLER            ANORA                  7598          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
17378348   MILLER            APASARA      MAXWELL   2588          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73726855   MILLER            BARBARA                6996          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
31136243   MILLER            BETSY                  9122          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77163985   MILLER            BRUCE                  4913          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42324231   MILLER            CATHIE                 6944          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
14016918   MILLER            CONNIE                 7670          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35896901   MILLER            ELONA                  4146          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
25483397   MILLER            GERTHA                 7669          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
68848391   MILLER            IDA                    5709          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
85363777   MILLER            JANET                  2927          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73356979   MILLER            JANICE       EILEEN    8084          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32069231   MILLER            JERRY                  2631          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
58204713   MILLER            JOAN         M         4883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14664962   MILLER            JOANNE                 3021          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91383758   MILLER            JOSEPH       LAMAR     9277          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
55658869   MILLER            JULIE                  0479          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15564148   MILLER            JULIE                  5297          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
51065835   MILLER            KAREN                  8396          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94765233   MILLER            KATHLEEN               9517          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90875392   MILLER            KATHRN                 6686          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80569894   MILLER            KAY                    6331          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
82955160   MILLER            KELLEY                        1987   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
32890557   MILLER            KIMBERLY               5897          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83588001   MILLER            LEROY                  8098          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44247919   MILLER            LINDA        S         6604          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
22633779   MILLER            LOIS                   3664          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28560529   MILLER            MARK         ROLAND    2383          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
96490532   MILLER            MARY         ANN       5386          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
28197483   MILLER            MARY         LADONNA   9306          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85058074   MILLER            MELANIE                6260          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73784034   MILLER            MELISSA                7175          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64892025   MILLER            MELISSA                9019          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
58602654   MILLER            MICHAEL      SEAN             1966   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
47948406   MILLER            MICHELLE               0824          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59295620   MILLER            MICHELLE               6065          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82742411   MILLER            MICHELLE     L         9801          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20604168   MILLER            MYRNA                  5492          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26921730   MILLER            PATSY                  3350          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66149431   MILLER            PEGGY                  6431          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66061093   MILLER            ROBIN                  5282          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60518607   MILLER            ROSALIE                1450          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
16099198   MILLER            ROSEZINE               1524          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52522744   MILLER            SANDRA                 3517          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19827217   MILLER            SHANA                  6251          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81175009   MILLER            STELLA                 2359          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
42510425   MILLER            STEPHANIE              6583          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39232994   MILLER            STEVE                         1969   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
84817416   MILLER            THELMA                 7646          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62841278   MILLER            TIFFANY                8176          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
35060663   MILLER            WANDA                  2854          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
60824797   MILLER            WILMA                  3770          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18729990   MILLIGAN          BETTY        B         1668          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51407030   MILLS             DELORES      L         5754          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
15203381   MILLS             GAIL                   7769          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
70280639   MILLS             KAREN                  9294          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
94712585   MILLS             LAURENE      A         2883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71917673   MILLS             LINDA                  0464          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43529772   MILLS             LYNN         D         0654          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
35801656   MILLS             PAM                    0482          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
88643231   MILLS             SARAH                         1974   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79904329   MILLS             SYBIL                  5945          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
47353218   MILLS ALEXANDER   LINDA                  4362          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88423263   MILLSAP           RUTHIE                 8698          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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60689743   MILLSAPP        LEANNA       JULIET   1544          REJECT
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                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                        Ex. 23
                                                                                                                                                           YES
18689397   MILNER          SHEBBIE      H        6942          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65947855   MILNER          TERRY                 3077          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
86080760   MIMS            ROSA         LEE      8998          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
92172401   MINCH           SONJA                 2308          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
39649563   MINDZORA        GEORGIANA             3756          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43092200   MINER           BETTY        J        1305          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33837768   MINER           MARY         JANE     2650          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49876696   MINER           MARY         ANN      6745          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
95810837   MINER           NANCY                 6848          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24900111   MINER           TAMMY        MARIE    1206          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
37260293   MING            AMANDA                7689          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99401462   MINGO           JULIA                 7772          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67644262   MINIARD         PAULA                 1564          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
85469707   MINICK          LISA                  5278          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
80028373   MININNI         JANE         ELLEN    7573          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21115573   MINK            CURTIS       RAY      0989          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33173648   MINOR           ANGIE                        1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74402155   MINOR           LATOYA       L        5513          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57335276   MINOR JACKSON   DEENEAN               5802          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST        YES           YES      YES
64118620   MINTER          DEBRA        R        3233          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
71331549   MINTON          HARRIET      EVELYN   2209          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
89832746   MIRABAL         VIRGINIA              3264          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
33924719   MIRABELLI       CECILIA               2387          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
81222746   MIRACLE         MARTHA                6887          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
74516723   MIRACLE         MARY         E        3787          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62929573   MIRANDA         ANNE                  1925          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98420582   MIRANDA         CARMELLA              6016          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44200767   MIRANDA         JILL                  3671          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38223625   MIRANDA         JOAQUIN               0828          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
73815905   MIRANDA         LINDA                 4507          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
87452635   MISE            CYNTHIA               3162          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36521072   MITCHELL        ALEXANDRIA            8305          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78360597   MITCHELL        ANTOINETTE            5460          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
57185105   MITCHELL        BONNIE       JEAN     7378          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
17651026   MITCHELL        CYNTHIA               8110          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46434429   MITCHELL        JAMES                 0739          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24056609   MITCHELL        JAN                   5412          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74241961   MITCHELL        JEANINE      C        9042          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99489938   MITCHELL        JOAN                  9710          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30627401   MITCHELL        JOY                   1706          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65872991   MITCHELL        KATHERINE             7123          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19011896   MITCHELL        KATHRYN               3812          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32387610   MITCHELL        LASHONDA              1147          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
43627130   MITCHELL        LAURIE                9502          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24124351   MITCHELL        MAMIE        LOUISE   0119          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98222344   MITCHELL        MARGARET     A        3425          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22322696   MITCHELL        NINETTA               2313          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95314327   MITCHELL        RAYMOND      CLAY     9164          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
24562283   MITCHELL        RICHARD               3295          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43888245   MITCHELL        SHERRY                3288          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57894570   MITCHELL        YOLANDA               5336          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
26908850   MIXAYPHONE      SENGEHANH             5184          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
46278103   MIXON           DEBORAH               5489          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20264351   MIXON           MARY                  3871          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63682818   MIZAK           CHERYL       JEAN     1047          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83494847   MIZE            PAMELA                2901          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
91436069   MOATS           KENYA        DIANE    5434          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
21481577   MOCADLO         MARY                  8366          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49231911   MODISETTE       MARTHA                0174          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65542041   MOELTER         BONNIE       M        5375          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15341595   MOFFETT         DENISE                2611          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89854260   MOHAMMED        MARY         E        9045          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54501709   MOLINA          MIGUEL                6171          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
91862872   MOLINAR         STEPHANY              6806          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
83621418   MOLLETT         DAPHNE                6632          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
63956305   MOMON           TINA                  8493          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60425070   MONACE          CAROLLE               0486          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
12820004   MONAHAN         CHRISTY               0311          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
29467341   MONCALIERI      THOMAS                4449          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90721646   MONCHILOVICH    COLLEEN      K        6723          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
84032797   MONE            NEETA                 5509          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92996758   MONETTE         DORTHEA               0675          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
14251125   MONICO          CHRISTINE             1048          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
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78963801   MONROE              CHANTE                1773          REJECT
                                                                                  PageID: 258520

                                                                            OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES
                                                                                                                                                                      Ex. 23
                                                                                                                                                                         YES
24305789   MONROE              MARTHA                4617          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
16212994   MONTAGUE            CATHRYN               8288          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
86553740   MONTAGUE            CHRISTINE             9204          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
94167278   MONTALVO            XENIA                        1962   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
55217950   MONTANEZ            ELSA                  4804          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
71757144   MONTANO             NICOLE                7059          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
37713925   MONTANO             PENNY        J        4860          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
40102264   MONTECALVO          DONNA                 1374          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
18344527   MONTEIRO            KAUNSAUSHA            4789          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
19169058   MONTELEONE          LORRAINE              3999          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
93626760   MONTERO             LUZVIMINDA            0053          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
72549191   MONTERO DIAZ        LILIA                 5828          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
60477000   MONTERROSO          JOANN        C        4828          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
15121903   MONTES              IRENE                 6401          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
38341463   MONTGOMERY          DEENA                 1622          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
88686471   MONTGOMERY          HARRY                 2141          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
81955217   MONTGOMERY          KATHERINE    E               1988   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
81251695   MONTGOMERY          LYNE                  3096          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
71760705   MONTGOMERY          SHIRLEY               4441          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
85591082   MONTGOMERY          TERESA       K        0519          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
82962672   MONTGOMERY          VANESSA               3687          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
80028753   MONTIEL             ANGELICA              5809          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
37469088   MONTOYA             MAUREEN      ROBINA   8258          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
68221033   MONTOYA             ROSE                  4869          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
71661708   MONVILLE            PATRICIA              9499          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
58255888   MONZON              MARIA                 3022          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
46405022   MOODY               BRIAN        K               1970   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
36719112   MOODY               JAMES                 6554          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
54297908   MOODY               JAYMIE                3479          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
19568831   MOODY               LINDA                 8569          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
94833203   MOODY               SHEREE                5436          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
82156523   MOON                NANCY                 7598          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
71138145   MOORE               ANGELA                1652          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
38164643   MOORE               BEVERLY               2709          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
69419392   MOORE               BEVERLY               6924          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
12552331   MOORE               BLONDY                7426          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
39647835   MOORE               BRENDA       J        0274          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
92513255   MOORE               CAROLYN               9909          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
49790749   MOORE               CHARLOTTE             6292          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
18088400   MOORE               CHARLOTTE    M        7743          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          UTERINE LEIOMYOMATA   YES           YES      YES
24331757   MOORE               CHERYL                5272          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
92243679   MOORE               DEANNA                0853          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
12254113   MOORE          SR   DENIS                 2961          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
54108160   MOORE               DIANE        M        8716          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
54859212   MOORE               DOMINIQUE             1887          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
17897498   MOORE               DONALD                6784          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
65353137   MOORE               DOROTHY               2240          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
90623977   MOORE               EVELYN                8051          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
64757469   MOORE               JANICE                       1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
50370845   MOORE               KAREN                 9153          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
74294598   MOORE               KATHLEEN              4402          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
12842415   MOORE               KENYIA                6606          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
88117812   MOORE               KIM                   9196          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
23823682   MOORE               KIMBERLY              2299          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
69918418   MOORE               KRISTA                4139          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
64183817   MOORE               LAURA        J        2345          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
77500172   MOORE               LAURA        J        2345          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
77981815   MOORE               LEONA                 8949          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
24667365   MOORE               LISA                  4097          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
16620751   MOORE               LOUISE                3054          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
30246585   MOORE               MARGARET     JEANNE   0724          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
47805540   MOORE               MARISSA               4671          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
53138158   MOORE               MARY         ALICE    5688          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
53639776   MOORE               MARY                  8377          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
57339181   MOORE               MAVIS        D        9528          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
84438607   MOORE               MAXINE                       1968   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
76472319   MOORE               MICHELLE              6905          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
83449183   MOORE               MISTY                 5002          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
75119503   MOORE               ORA                   8772          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
80351302   MOORE               PATRICIA              8723          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
86948705   MOORE               REBECCA               7242          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
67769105   MOORE               RILEY                 5610          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES      YES
13928013   MOORE               SHANTEA                      1991   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES      YES
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29830359   MOORE             STEPHANIE   A        2263          REJECT
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                                                                         OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES
                                                                                                                                                         Ex. 23
                                                                                                                                                            YES
65431303   MOORE             SUSAN       A        1079          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
38225988   MOORE             TERESA      MARIE    9624          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23177331   MOORE             TERRANCE             6822          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
49875337   MOORE             TONYA                4440          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
90480707   MOORE             VADA                 8477          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
38637898   MOORE             YAZMEIN              5947          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
67340944   MOORE GENN        COLEEN               4230          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
69611395   MOOREHEAD         KATHY                0963          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
24572043   MOORER            HATTIE      PEARL    0025          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
95481492   MOORHEAD          NANCY                9792          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46562533   MORAGA            BARBARA              6138          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
30555909   MORALES           LEILANI              6699          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
46352256   MORALES           LORRAINE             7094          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
74161782   MORALES           NAOMI                1451          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
88480600   MORALES           SARA                 4344          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
98694574   MORALES VELEZ     INGRID               1343          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
44461611   MORANI            PARVEEN              7401          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
92202717   MORELAND          CAROLYN                     1962   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
68427488   MORELL            SHARON               9895          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
19963032   MORENO            GABRIELLA            0754          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13603551   MORENO            LANI                 7432          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
34342989   MORENO            ROSA                 1686          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33179680   MORENO            ROSIE                3526          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
62206629   MORETZ            VICKIE               7844          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
59372402   MOREY             CLARA                5386          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
42990020   MORFIT            LOIS                 3528          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
23723401   MORGAN            CAROL       F               1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
59762722   MORGAN            CHARLENE    DENISE   4599          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
33563931   MORGAN            DOLORES              3439          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
98551672   MORGAN            HERBERT     LOUIS    4361          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44325642   MORGAN            JOSAFINA             6041          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
83274138   MORGAN            JOSEPH      E               1962   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
61714869   MORGAN            JOYCE       M        5727          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
79986694   MORGAN            ROSEANNE             7220          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
73234889   MORGAN            SHERRY               9738          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
40190446   MORGAN            SUE         D        4615          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36881495   MORGAN            SUSAN                0595          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
82370347   MORGAN            WHITNEY                     1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
43537463   MORGAN ROEHRICH   KRISTINE             6875          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
44116326   MORIN             JEAN                 6151          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
66136747   MORMAN MOORE      CHRISTA              0700          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
53419249   MORNIS            RISA                 5876          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
93836484   MORRELLI          AMANDA               5055          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
80989969   MORRIS            BARBARA     K        4324          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
51295476   MORRIS            CYNTHIA              9891          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
28162532   MORRIS            DEBRA                0505          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
64440254   MORRIS            DOLORES              8138          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57330490   MORRIS            DONNA                6692          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55646774   MORRIS            FREDDIE              7477          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
15118756   MORRIS            JACQUELYN                   1959   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
29597551   MORRIS            JOHN                        1962   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
64600742   MORRIS            JUDITH               8896          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
55930858   MORRIS            LINDA                4434          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
52334616   MORRIS            LISA                 5340          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
57790979   MORRIS            MARK                        1975   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
77944564   MORRIS            NORA        LEE      9877          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
97765736   MORRIS            ROSALIND             9995          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
13831888   MORRIS            SHANE                0799          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
99020384   MORRIS            TIFFANY     ANN      4049          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
66240686   MORRIS PATTON     JUDY                 2141          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
32179653   MORRISON          BRIAN                6825          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
20415938   MORRISON          BRUCE                8249          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
89947318   MORRISON          HELEN                6161          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
22129412   MORRISON          JAMES                       1984   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
30526492   MORRISON          JEANETTIA            0408          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
65604486   MORRISON          TIFFANY              9915          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
54172833   MORRISON          WANDA                5727          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
60141242   MORRISSEY         LINDA                2746          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
21476147   MORROW            KRISTIE              0689          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
36744874   MORSE             ALICE                0834          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
78136913   MORSE             CORA                 6351          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
92712182   MORSE             KATHRYN              6277          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER               YES           YES      YES
18010627   MORTELLARO        MADELINE             9573          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                     YES           YES      YES
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73554855   MORTON       ANGELA               4762          REJECT
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                                                                    OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                     Ex. 23
                                                                                                                                                         YES
14278867   MORTON       CHRISTINA            8906          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73720701   MORTON       SCYLINN              7547          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63877696   MOSER        MARK                        1956   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69638220   MOSER        ROBERT               4875          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77798637   MOSES        ANGEL       D        8497          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40660951   MOSIER       NICKOLE              6142          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13851278   MOSKAL       LOUISE               0598          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33025755   MOSLEY       BRENDA      D        5400          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46369411   MOSLEY       CATHERINE   Y        5237          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94456230   MOSLEY       DIANNA               9936          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54621351   MOSQUEDA     ELIDA                4312          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52625207   MOSS         CATHY                2817          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81638230   MOSS         STACEY               1279          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40117451   MOTA         PASCUAL              0026          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77249280   MOTTER       PATRICIA             2925          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93550865   MOTTU        CHERI                2216          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60458101   MOUNT        RITA                 0253          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98145348   MOYE TIBBS   CHERYLE     ANITA    9392          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50517184   MOYER        BETH        HUNLEY   3804          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75668136   MOYER        SARAH                       1982   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61663079   MOYLE        DENISE               7651          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67844230   MOZINGO      BETTY                8645          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20072957   MRAVEC       REGENIA              6321          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47962465   MUAI         MARGARET             9581          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65694930   MUELLER      DEBBIE               7013          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86683133   MUIRHEAD     ROSALEE              4577          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75415966   MUISE        DEBORAH              4655          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40564364   MULBERRY     CAROL                0743          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75085650   MULE         ANGELA               5566          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28188462   MULHOLLAND   DONNA                7786          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35577959   MULI         BARBARA              8572          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70924808   MULLEN       JERRY       D               1971   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39175703   MULLEN       JOANNE               2415          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57270654   MULLEN       SHELLEY              1654          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78466099   MULLENDORE   JAMIE                2315          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52795293   MULLENNAX    JUDY                 9456          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75106815   MULLER       MERRILYN             5301          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46073278   MULLINS      DEBORAH              5740          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93545053   MULLINS      GINA                 4172          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58675689   MULLINS      LINDA                2929          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85249101   MULLINS      PEGGY                3077          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85654009   MUMMA        CATHLEEN             6278          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68095594   MUMMERT      NOLA                 9662          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54117701   MUNCH        BARBARA     M        8360          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92536130   MUNGUIA      MIRAN                5966          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29024365   MUNIZ        CARMEN               8470          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69027293   MUNN         BRENDA               5177          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38262607   MUNOZ        ANGELA               8431          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79713414   MUNOZ        BARBARA              3623          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65390234   MUNOZ        NOEMI       R        1869          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69912021   MUNOZ DINI   JUDY                 4464          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38520859   MUNRO        CLARINDA             4658          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68665135   MUNROE       TONYA                6759          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18439372   MUNSELL      PENNY       J        4134          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84040941   MUNSEY       PHYLLIS              3455          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78914842   MUNSON       DEBRA                0538          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18850819   MUNSON       NICKOLE              6548          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55392246   MUNSTERMAN   DENISE               0610          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21943428   MUNTER       SUSAN                9968          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22527880   MUNYON       JUSTINE     LA       8080          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62638462   MURAZZO      GRETA                1005          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68853106   MURCIA       CATHLEEN    ANN      4952          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81681462   MURDOCK      DELORIS              6841          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25219415   MURILLO      REBECCA     C        4839          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30863278   MURPHY       BRENDA      G        6542          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30540861   MURPHY       CAROLE               1921          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12064650   MURPHY       DARREN                      1967   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58072497   MURPHY       DONNA       L        5628          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48397004   MURPHY       DONNA                9358          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80778440   MURPHY       FRANCES              4391          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43658659   MURPHY       JIMMY                4083          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15264772   MURPHY       JUDI                 5544          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43424024   MURPHY       LATONJA     NICOLE   7764          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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36941744   MURPHY                LINDA                       1964   REJECT
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                                                                             OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                  YES
40447662   MURPHY                MICHELLE             9719          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72427781   MURPHY                NICHOLAS             9445          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
92570047   MURPHY                REBECCA              1530          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52061014   MURPHY                RENEE       M        3914          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
44743225   MURPHY                SHIRLEY     L        9203          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79412661   MURPHY                TERESA               8526          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34222727   MURPHY                TERRY       LYNN     8424          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95639651   MURPHY          III   WILLIAM              9211          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61335333   MURRAY                BENITA               4065          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94894206   MURRAY                BRENDA               9774          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65790193   MURRAY                CORINNE     M        8070          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34914031   MURRAY                FLORENCE    HORTON   1276          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81861508   MURRAY                JOYCE                1304          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
92363670   MURRAY                KATHRYN              4002          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98653614   MURRAY                KATHRYN              9390          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86785407   MURRAY                MARGARET             6474          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82639840   MURRAY                MARY                 1129          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37761105   MURRAY                MARY        W        4478          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90718568   MURRELL               GERRIANN             6469          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62757751   MURRELL JONES         PATRICIA             6938          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86482459   MURRY                 CAROLYN              2224          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51753416   MURRY                 SUSAN                5123          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66738705   MUSCATO               KATHY       E        4872          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81736120   MUSE                  DEBBIE               5313          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93069765   MUSE                  REGINA               3559          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78312837   MUSGRAVE              CHERYL      LYNNE    1511          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75783458   MUSGRAVE              MARIAN      MARIE    7049          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60474550   MUSICK                MELINDA              4890          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70728938   MUSIL                 KIMBERLY                    1961   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23641162   MUSIN                 SHARRON              2795          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84454799   MUSTOE                BARBARA     L        3070          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84494274   MUTCH           SR    WILLIE                      1947   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
60820269   MYART                 OLIVIA               1474          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79421973   MYEROW                JAY                  4274          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86135278   MYERS                 BARRY                4272          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98069819   MYERS                 BONNIE                      1951   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17362595   MYERS                 BONNIE      T               1959   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15970950   MYERS                 DIANE                9306          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87323743   MYERS                 JOHNNIE              8585          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63870491   MYERS                 MANDY                5713          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85168767   MYERS                 MARION               3051          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68118383   MYERS                 MATTHEW              8867          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76763133   MYERS                 PATRICIA             1408          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25424728   MYERS                 REVA                 8926          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70731528   MYERS                 SHIRLEY              2870          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45917491   MYERS                 SUE                  8211          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99647140   MYERS                 TINA                 6409          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59722668   MYERS                 VIVIAN               9870          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91287331   MYHRE                 SHANNON              1007          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84413546   MYLES                 GALE                 0220          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35199811   MYLES                 GREGORY     K        9933          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61923366   MYLES                 NORMA       J        8859          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37516057   MYLOTT                JUDY                 8989          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11662106   MYONES                STEVEN               5246          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33711123   MYRICKS               MARIO                7171          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16914903   MYTON                 DEBRA                5191          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63781729   NACKERUD              DEBORAH              4518          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77124466   NADEAU                CAROLYN              4508          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84792459   NADEL                 ESTHER               9435          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68524036   NADER                 MICHELLE             4729          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54313312   NAELITZ               RONALD                      1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68021793   NAFE                  BETTY                8680          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98266069   NAGEL                 REBECCA     S        2804          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60676762   NAGY                  CHARLOTTE            5740          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35205656   NALLS PORTIS          TEMARA               1210          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80280199   NAMAYA                TABATHA              4675          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63316602   NANCE                 JULIE                8880          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67287478   NANCE                 WYSHEKIA             9222          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66691575   NANSA                 JACE                        1994   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26411434   NAONE                 RAMONA               2128          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67349161   NAPIER                JAMES                5355          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32521416   NAPOLI                JOAN        C        1967          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81527199   NAPOLITANO            LORI                 3984          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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35786415   NAQUIN           LYNN                   4898          REJECT
                                                                              PageID: 258524

                                                                          OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                               YES
99403684   NAQUIN           SHERRY                 4254          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13524417   NARDI            JOANN       M          4180          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99968997   NARON            JEFFERY                1974          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32286194   NASH             CYNTHIA                7481          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38549411   NASH             SUZANNE                2556          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89183910   NASH             TERRY                  8925          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76979691   NASHWINTER       PATRICIA    J          5952          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75013286   NASSAR           MELISSA                4267          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12719913   NASTASI          MARISSA                1727          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24113512   NAVARRO          DEBORAH     J          5635          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63922034   NAVARRO          RUFINA      R          1248          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53390186   NAYLOR           CHRISTINE              0730          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14674340   NAYLOR           SHIRLEY     A          4383          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20572862   NAZAR            KATHLEEN               4763          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80978784   NAZARIO          SAN DEE                9278          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15342397   NAZARKO          XHENSILA               0437          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES           YES       YES
81064743   NEAL             GERALDINE              5313          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29177949   NEAL             KATHY                  9737          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48504824   NEAL             MARY                   4441          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50406267   NEAL             SHEILA                        1961   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29336909   NEAL             SHIRLEY                9578          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52758657   NEAL             VERONICA               3691          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80909203   NEALE            CATHERINE              6247          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24148717   NEALING          DORIS                  6052          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54069800   NEBEKER          LINDA                  8973          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22614245   NEBEL            PATRICIA               2813          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99324914   NEBGEN           CECILIA                3505          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54333579   NEDD             JEAN                   3771          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54919355   NEE              DEBRA                         1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20776052   NEEDHAM          DANETTE                6703          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20182975   NEEDHAM          DEBBIE                 3010          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26690927   NEEL             DORIS       JOHNSON    9935          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68273590   NEELINGS         SAMANTHA               4922          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67376870   NEELY            JHOHANNA    D          0158          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84053597   NEER             ERMA                   7591          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36789210   NEFF             ELIZABETH              8130          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44788807   NEFF             JOHN                   7689          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24680188   NEIDIG           DENISE                 2906          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92674013   NEIDIG           GAYLE                  7451          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66680936   NEILL            ERNEST                 5330          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
56992190   NEILL            LORETTA     J          6249          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74475004   NEISS            NICOLE                 2404          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90748892   NEITZEL          DONNA MAE   LOKELANI          1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25575905   NELSON           BARBARA                3797          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88464534   NELSON           CARLOTTA               3637          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39083716   NELSON           CAROL                  9219          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77787841   NELSON           CHRISTINA              5424          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43985589   NELSON           DIANE                  4223          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91835420   NELSON           DONNA       R          6357          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72103011   NELSON           ERLINDA                5154          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14210727   NELSON           HOLLYE      JANET      5549          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89225069   NELSON           JANICE      LOUISE     5564          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43205323   NELSON           JENNIFER               6490          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98806940   NELSON           LORI                   8867          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85351552   NELSON           MARCUS                        1984   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39812471   NELSON           NANCY       C          3994          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56124763   NELSON           SANDRA                 2302          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74800980   NELSON           SCOTT                  8199          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94845903   NELSON           SELENA                 1410          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64775125   NELSON           SHARON                 2951          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59245595   NELSON           SHARON                 4555          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
61203185   NELSON           SHELLY                        1973   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
92718516   NELSON           STACY                  8432          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93376009   NELSON           THERESA                2164          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50927652   NELSON PROCTOR   ANGELA                 0612          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59845438   NEMECEK          DONALD      W          2304          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93483924   NESKO            LINDA                  7097          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18790612   NESS             CHERYL      VAN        5589          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63389068   NEU              SHARON      M          0737          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58064821   NEUBAUM          KATHLEEN               1536          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41579165   NEUENFELDT       JUDITH                        1956   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59055130   NEUFELD          MADELYN                       1957   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25983899   NEUMAN           RONALD                 2101          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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91236603   NEVE           LINDA      F                1951   REJECT
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                                                                      OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                       Ex. 23
                                                                                                                                                           YES
66564700   NEVEL          LORI                 1336          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85387398   NEWBERY        LOUISE               8652          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15173992   NEWBURN        LENA                 5187          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85169261   NEWBURY        DONNA      MARIE     3436          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21926411   NEWBY          HUBERTA              8879          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
44736166   NEWBY          PEGGY                2503          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49220507   NEWELL         JEFFREY                     1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74419185   NEWELL         NORMA                7617          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51482144   NEWELL         VIRGINIA             4764          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
57139583   NEWKIRK        JAMES                6236          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35480693   NEWKIRK        TERRI                1804          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67702064   NEWLUN         DENA                 5057          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39111930   NEWMAN         DELORES              0769          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42850051   NEWSOME        TAMARA               5541          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60826573   NEWTON         ANNA                 7782          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79345479   NEWTON         BARBARA              7168          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89551991   NEWTON         DIANA                9357          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38725893   NEWTON         JASON                7307          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
56002364   NEWTON         JOYCE      J         0507          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88784763   NEWTON         LORENA               7699          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46535568   NEWTON         MENDY                3189          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69262533   NEWTON         RICCI                8404          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95296548   NEWTON         THERESA    ANN       3285          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65241171   NG             SHERRY               5631          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90430746   NICHELSON      CAROLYN              6661          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20906229   NICHOLAS       CAROL                0555          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25128434   NICHOLAS       DAWN                 8244          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36636280   NICHOLAS       GREGORY              4177          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33568242   NICHOLAS       JENNIE     REBECCA   3667          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49123704   NICHOLAS       WILLIAM    E         2800          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57840418   NICHOLS        BARBARA              5553          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44573374   NICHOLS        CHERI                4962          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81400489   NICHOLS        GLORIA     M         3265          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54805805   NICHOLS        JANE                 3161          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85243963   NICHOLS        JEAN                        1951   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37438775   NICHOLS        JUDY                 2477          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58221800   NICHOLSON      ANGEL                9606          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30908450   NICHOLSON      HELEN                2778          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58575971   NICHOLSON      LORI       D         5240          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26892099   NICHOLSON      SUSAN      LEE       4276          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62385816   NICHOLSON      WILLIAM    A                1947   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64570558   NICKEL         MARGARET             5127          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45502655   NICKEL         MARGARET             5127          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60906765   NICKELS        CINDY      MARIE     0929          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92190265   NICKELSON      JAMES      E         8817          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30204806   NICKERSON      CYNTHIA              6370          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96244377   NICKS          JESSICA              1307          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
28824697   NICODEM        SHIRLEY              9226          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
56448457   NICOL          SHERRI               9341          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36214190   NICOLAN        JOHN                 4445          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32433639   NICOLETTI      SHERYL               0078          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59325570   NIEBLA         KARA                 2069          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53986048   NIEDERLEHNER   GRACE                0534          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54717540   NIELSEN        DONA                 8796          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49786003   NIELSEN        ROBERT               7456          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54554850   NIELSEN        SEVEN      LEE       9123          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41209747   NIESEN         MARGIE     A         3030          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51266026   NIETO          LETICIA    M         8845          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58738045   NIJUCK         KYMBA                8308          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56135277   NIKOLOS        WANDA                8836          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35365847   NILGES         SHAWN                0885          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79821930   NIMITZ         JASON                       1968   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63457962   NIPPER         ROBYN                8986          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11462314   NIPPERT        LAURIE     MARIE     3448          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39940575   NISSENBAUM     HOPE                 7161          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52807457   NITZEL         SHIRLENE             9310          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99142387   NIVENS         DIANA                4657          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26037781   NIVINSKI       RHONDA     RENEE     7592          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83798133   NIX            MARY       L                1944   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79865522   NIX            VICTORIA             5590          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70709031   NIXON          JULIE                1589          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
44647169   NIZNIK         LILYA                8503          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38360535   NOBLE          TANA                 2993          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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94262120   NOBLES          DENISE                 4830          REJECT
                                                                             PageID: 258526

                                                                         OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                              YES
36305900   NOBLES          PEGGY                  3191          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80002970   NOBLES          PHILLIP                9198          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46894435   NOEL            BARBARA                6233          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66998628   NOEL            EVA                    1898          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13846056   NOLAN           GILLA                  0394          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28635529   NOLAN           SUSAN         G        9695          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23370060   NOLAND          PATTI                  2469          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94106727   NOLEN           PAMELA                 0265          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51893533   NOLFI           ALMA                   0318          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31316935   NOON            AMY                    1897          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73952850   NOONAN          JULIE                  6008          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52547942   NORATO          CINDY                  6550          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38802419   NORCROSS        MELISSA                7588          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15601531   NORDELO         CHRISTOPHER            1222          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54179546   NORINSKY        RHONA                  7999          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53388637   NORMAN          JENNIFER               0375          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42176984   NORMAN          OLLIE                  2527          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96770215   NORMAN          PEGGY                  9300          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41274902   NORMAN          YVONNE        M        0447          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59646402   NORRELLS        ELEANOR                4804          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35739573   NORRIS          CANDACE                3669          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15992592   NORRIS          CAROLYN                0100          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85623508   NORRIS          DENISE        K        9365          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18104399   NORRIS          GREG                          1957   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78864380   NORRIS          LISA          ANN      5249          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27787248   NORRIS          LISA                   8215          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67113910   NORTH           RHONDA        M        2311          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13967994   NORTHROP        NICOLETTE              2296          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67477998   NORTON          KIMBERLY               4513          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59014337   NORTON          MOLLIE                 6229          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54332320   NORTON          SUSAN                  6160          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31073065   NORTON          VILMA                  6194          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87997136   NORWOOD         EMILY                  8781          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34432826   NORWOOD         MEMORY                 0437          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88420864   NOTERMANN       CAROL         M        8174          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70743473   NOVACK          NANCY                  6420          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77013622   NOVACK          SANDRA        L        8651          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31223886   NOVAK ALVAREZ   DEBORA                        1959   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70390029   NOWACZYK        MICHELLE               6018          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43793002   NOWAKOWSKI      JEANETTE      P        9785          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41769321   NOWICKI         DONNA                  3724          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64654875   NOWICKI         THOMAS                 3189          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55231072   NUCKLES         AGNES                  2421          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20128528   NUGENT          CYNTHIA       D        8781          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51378874   NUGENT          MARY                   6507          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91501482   NUNES           LAURIE                 5166          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25247522   NUNLEY          ANN                           1979   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59167480   NUNN            FANNETTE               4036          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86303053   NURKALA         DEBORAH                2166          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17917525   NUSS            KATHRYN                4343          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19035975   NYBOER          IDA           MAY      2935          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37021646   NYHAN           MARY                   4619          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33554297   O’CONNOR        DANIEL        JOHN     5341          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55675761   OAKLEY          JOY                    3010          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33149182   OATMAN          JUDY                   3951          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27102541   OBIE            WENDY                  0047          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11494983   OBRA            JULIA                  3007          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
60245455   OBRIAN          ROBIN                  7053          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13758362   OBRIEN          NICOLE        DENISE   4971          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17861461   OBRIEN          PAMELA                 1652          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62540588   OBRIEN          PATRICIA               6454          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22948299   OBRIEN          SHERRY        DENISE          1964   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48304604   OCHOA           CONNIE                 4912          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29937925   OCHOA           DEBRAH                 1057          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70380819   OCKEY           CATHERINE              2831          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25089816   OCONNELL        DIANE                  1433          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82595673   ODEGHE          CHANICE                8776          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45593531   ODIASE          STEPHANIE              3610          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50204170   ODLOZIL         JOHN          TAYLOR   8131          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80421885   ODOHERTY        RITA                   1387          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78284723   ODOM            MONA                   6251          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76175572   ODOM            THELMA                 5831          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15142298   ODUM            BARBARA                3798          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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30031970   OFFENBECKER       JENNAFAY                  7996          REJECT
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                                                                              OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                               Ex. 23
                                                                                                                                                                   YES
88674573   OFFUTT            IDA                       3945          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68769276   OGAS              AMY                       6210          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71703675   OGBONNAH          OBIAGELI                  9413          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80897195   OGG               LAURA         J           7154          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16978714   OGLESBY           GLORIA        JEAN        4719          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
61711382   OGLESBY           RENEA                     4858          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61689065   OGLESBY           RITA                      4795          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36648655   OGORMAN           TRACEY                    0963          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72447429   OHARA             JAMIE                     8126          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76823721   OHARA             NANCY                     5759          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20367820   OHLMAIER          MARTHA                    9064          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84562212   OKE               MARGARET                  1609          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83659290   OKEEFE            RILEY                     8136          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73895894   OKELLEY           SHIRLEY       ANN         5702          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51518252   OKOLITA           ANNA          M           6313          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66710407   OLANDER           JEAN          C           7973          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23440594   OLDFORD           COLLEEN                   0918          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58568351   OLDHAM            BETTY         CHRISTINE   8353          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74192669   OLDHAM            MICHELLE      G           0837          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54699811   OLDHAM            SANDRA        GENE        4295          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91526952   OLDS              DORIS                     0168          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70584480   OLEARY            ROBIN         LEE         1116          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12751724   OLINGER           CAROL                     8546          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71748181   OLINSKI           PATRICIA                  9371          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55564218   OLIVACZ           BARBARA                   5930          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16623667   OLIVAREZ          REBECCA       LYNN        7083          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15401145   OLIVER            ABBIE                     2851          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53245431   OLIVER            MARLA                     3152          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63947010   OLIVER            PAMELA                    2980          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71276146   OLIVER            PEARLIE                   7274          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81556019   OLIVO             MARY          K           9673          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64172451   OLLIFF            JANET         LEN         5555          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56807436   OLLMANN           JACK                      7358          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53126243   OLSEN             SHIRLEY                   6311          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97962205   OLSON             CHERYL        L           9422          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22562723   OLSON             DAVID                     1739          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92065626   OLSON             GERALDINE     JANE        7826          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97590872   OLSON             LINDA                     8801          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68308895   OLSON             NANCY                     0966          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74416653   OLSON             PATRICIA                  6823          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11910732   OLSON             PATRICIA                  7822          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41624686   OLSON             THOMAS        M           0969          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52718270   OLTEN             THERESE                   4477          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70153093   OLVERA            ERIKA                     2025          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75579049   OLVERA            MARIA         DEL         8243          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42239911   OMAR              LUCRECIA                  7116          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45838969   OMARA             MARILYN                   8736          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49392627   OMARA BARTOLONE   JACQUELINE    M           9854          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64172692   ONEAL             MARY                      9885          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
28816422   ONEAL             MELISSA                   4410          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21947486   ONEIL             GINNINE                   3823          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24202104   ONEIL             MARY          LYNNE       0375          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68159807   ONEIL SMITH       KAREN                     2108          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15875144   ONEILL            SUSAN                     9425          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30557968   ONEKALIT          ELIZABETH     VALERIE     3649          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46625466   ONTIVEROS         SHIRLEY                   8436          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88850471   OPPEL             TAMMY                     6733          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61648490   OPPERMAN          LORI          ANN         8447          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43538424   OQUINN            SHELLIE                   7590          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41441295   ORANGE            TONY                             1972   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54961910   ORAPELLO          KIM           MARIE       4048          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22531139   ORDOGNE           ROSALYN                   5303          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17838361   ORONA             EVANGELISTA               8410          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88199370   OROZCO            SOPHIA                    4475          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84341851   ORPINEDA          BERSABELA     E           6905          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69546929   ORR               BARBARA                   5484          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91924725   ORR               HEATHER                   3374          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68997771   ORR               VALERIE                   6359          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11827505   ORTEGA            CARMEN                    3266          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49118414   ORTEGA            LINDA                     9172          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50000028   ORTIZ             ANITA                     3134          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71994055   ORTIZ             BETH                      9670          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21076813   ORTIZ             KATIRIA                   9596          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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33563976   ORTIZ               MARIA                 9230          REJECT
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                                                                            OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                             Ex. 23
                                                                                                                                                                 YES
47160474   ORTIZ               MICHAEL               5751          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16132623   OSBORNE             DEBORAH               1251          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
61534615   OSBORNE             JACKIE      BEST      4943          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43246525   OSBORNE             SHIRLEY               7762          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52618824   OSBURN              JOANN       A         3319          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51216190   OSORIO              JUANITA               6529          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72065159   OSTEN               CAROL       ANN       8121          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
56490162   OSTERDOCK           APRIL                 1129          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32517700   OSTERLAND           RENEE                 4788          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95031119   OSTROVSKY           RHONDA                6710          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91285105   OSTROWSKI           LUANN                 6500          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66903486   OSWALT              REBECCA               5205          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38449202   OTSUKA              MARCIA                1608          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72461670   OTTAVIAN            FRANK                 4572          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73804289   OTTOMANIELLO        JODY                  7475          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81869571   OURS                GLORIA      JEAN      7552          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77146909   OURSO               ROBERT                0782          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58976858   OUTLAW              JOHN                  1552          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28871497   OVERALL             MARLENE               2690          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14964213   OVERBY              JOHN                         1990   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24551075   OVERSTREET     SR   CHARLES     KEITH     9837          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67553440   OVERTON             CAROLYN               2364          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34190643   OVERTON             GURLINE               4593          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34139802   OWEN                DEBORAH               1098          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49383809   OWEN                MAIRION     P         6607          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58376615   OWENS               CYNTHIA               3222          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36165773   OWENS               DENISE                5436          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25942685   OWENS               LAURIE                3206          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95647016   OWENS               LILLIAN               9682          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58144661   OWENS               LISA                  6040          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86815660   OYLER               KAREN                 8918          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91739430   PACE                JAMES       L         7243          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19030898   PACE                JENNIFER              8712          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81684760   PACE                RENA        PAULINE   4449          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77555309   PACE                TAMBRIA               6708          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40992827   PACHECO             AWILDA                0527          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99047404   PACKER              JOYCE                 4964          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62373617   PACKHAM             PAM                   8596          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24881432   PADGETT             KATHY                 5068          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19585441   PADGETT             KATHY                 6674          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93728579   PADILLA             CHRISTINE   MARIE     9811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27181322   PADILLA             ROSE                  5072          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47289305   PAFFORD             BETH                  6472          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62946860   PAGE                ARIANA      RUTH      8050          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80400292   PAGE                DONNA                 6824          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51208651   PAGE                LINDA       MAY              1951   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77388603   PAGE                RACHEL                6058          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47384616   PAGE                TERESA      C         3059          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76180007   PAGE                THERESA               5867          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12203774   PAGETT              ETHEL       MARIE     7967          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68469770   PAGLIUCO            DONNA                 6823          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51853715   PAINTER             BONNIE                5428          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22100014   PAIVA               VIRGINIA              1372          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79719441   PALACINO            SUZANNE     ROWE      2725          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62292870   PALACIO             ANGELA      R         4192          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37443390   PALACIOS            PAULA                 8904          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97226526   PALACIOS            VICTORIA              1324          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35705551   PALL                DEVRI                 8958          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25157374   PALM                BARBARA               9361          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15916099   PALMA               ANTHONY               4076          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88667078   PALMER              ANNA                         1975   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16343083   PALMER              CATHERINE             5633          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52928225   PALMER              DENISE                1709          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99261522   PALMER              HOLLY                 7396          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49089022   PALMER              MARY        KATE      9968          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78281776   PALMER              NANCY                 4346          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99278408   PALMISCIANO         KAREN       R         1039          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
61184327   PALMORE             MELISSA               0592          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15272471   PALMQUIST           TAWNYA      LORAE            1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31010416   PALONE              RIKKI                 7255          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54076838   PANARO              SANDRA                7202          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65012092   PANDOLFO            BEATRICE              6482          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23293252   PANE                CHRISTA               6418          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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29102747   PANICE           BARBARA     L        8259          REJECT
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                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                         Ex. 23
                                                                                                                                                             YES
73389987   PANNELL          LINDA       G        5876          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45454528   PANNELL          NANCY       A        2030          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES           YES       YES
58142550   PANNULLO         MAUREEN              6294          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68499748   PANTOJA          PRISCILLA   M        4371          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63903389   PANTOLIANO       MICHELLE             8618          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87886195   PANZA            GIAVONNA             8430          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89130455   PAPA             VICTORIA             8711          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27172534   PAPAGNI          LINDA                7116          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58635714   PAPE             PATTI                0900          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80598664   PAPICH           SHARON               7262          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86605945   PAPP ROCHE       EVELYN               1755          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15999711   PAPUZINSKA       MARGO                0604          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84349447   PARANDIAN        SOUDABEH             6864          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76328814   PAREJKO          GINA        RAE      6095          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31696168   PARHAM           CURRY                6986          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66240473   PARHAM           LORI                 6527          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79226586   PARK             DONALD               2891          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49196299   PARKER           ANNA                 2026          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71805264   PARKER           ARNETTA              1980          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37190052   PARKER           BERNICE                     1964   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14925780   PARKER           CASSANDRA   S        9663          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58531292   PARKER           CINDI       ANN      1524          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65915456   PARKER           DAVID                       1953   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39755850   PARKER           DEBRA                6531          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99039891   PARKER           DONALD                      1964   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69279190   PARKER           EMMA                 8684          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67251817   PARKER           FREDDIE     MAE      6412          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98173675   PARKER           JONATHAN             3674          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76827094   PARKER           JUDY        LYNN     0377          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43425883   PARKER           KAREN                3374          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
92267524   PARKER           KRISTYN              6266          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88241468   PARKER           LORA                 9513          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67657000   PARKER           MARY RUTH            7098          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87249314   PARKER           REBECCA              3258          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65395587   PARKER           SANDRA      DENISE   0697          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37283483   PARKER           SHEILA               3812          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12580084   PARKER           SHEILA               5286          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12278217   PARKER           TAMMY       ELAINE   5410          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73057807   PARKER           TYRONE                      1953   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42447365   PARKER           VANESSA              2478          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99447737   PARKER BALLOU    CAROLYN     MARIE    3538          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80116337   PARKER FORD      SILVERA     CRITE    6790          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11467982   PARKER MILLER    PATRICIA             3341          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40171881   PARKES           RHONDA               8733          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47128135   PARKES           TAYLOR               2138          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
55059754   PARKHILL         SUSAN                1472          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34302155   PARKS            DONA        C        5965          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17714408   PARKS            JILL                 0743          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50908427   PARKS            LORETTA              1235          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69643834   PARMISANI        DAWN        A        2232          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86607131   PARRISH          INGE        MARIE    8206          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17778023   PARRISH          MARCUS               1049          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18941635   PARSELLS         NANCY       L        5572          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26034313   PARSHALL         GILBERT              8302          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55448534   PARSONS          GEORGINA             7802          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83103119   PARSONS          JUDY                 2217          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49459850   PARSONS          LORI        LEVEL    2927          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68562534   PARSONS          SAMANTHA             7029          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48036601   PARSONS          THURMAN     M        3291          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82932343   PARTHEMORE       INEZ        M        5701          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42903026   PARTRIDGE        MARY        ANN      4224          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93562343   PARTRIDGE        YVONNE               2956          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42499150   PASCOE           MARGARET    MARY     0738          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29215563   PASCUA           HEATHER              1336          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76006140   PASCUZZO         LOUIS                9855          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30001818   PASHLEY          JEANETTE             9067          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71340001   PASKOSKI         JANICE               9157          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72410557   PASLEY           DANA                 7648          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42650494   PASQUA CLIPPER   GILL                 6776          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12439515   PASSIK           BETTY                4343          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29555463   PATAKY           NANCY                7291          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49943733   PATE             CHRISTY              8606          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77695240   PATE             LORETTA              4110          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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69666503   PATE             WES                           1948   REJECT
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                                                                          OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES
                                                                                                                                                                          Ex. 23
                                                                                                                                                                              YES
50722422   PATILLO          CAROL                  6715          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
13143338   PATINO           BLANCA                 4468          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
16968889   PATINO           KATHERINE              5489          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
15146580   PATRANELLA       LENORA       ANN       4927          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
70372377   PATRICK          BARBARA                5900          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
42948134   PATRICK          JOYCE        M         1291          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
93421292   PATTERSON        CAROL        E         9365          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
84532592   PATTERSON        CATHY        ANN       3854          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
64200454   PATTERSON        DIXIE        LEE       2019          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
45924407   PATTERSON        JAMES                  5693          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
16223257   PATTERSON        JANNIE                 5028          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
85242432   PATTERSON        MARGARET               6229          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
63140109   PATTERSON        MISTY        DAWN      9818          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
76183512   PATTERSON        SANDRA                 5908          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
41936821   PATTERSON        SANDRA       D         6205          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
15833014   PATTERSON        SUZANNE                5335          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
52851760   PATTI            JOSEPH                 5134          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
85662131   PATTI NOORMAN    STACEY       K         1308          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
33321484   PATTISON         MARY                   5953          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
70163137   PATTON           ALPHONSE               9266          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
60285107   PATTON           BARBARA                4819          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
77186471   PATTON           JACQUELINE   S         9648          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
29215909   PATTON           MARY                   2875          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
77183237   PATTON           ROSEMARY               7777          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
48085071   PATTON           TERRI        ELLEN     7836          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
82679182   PATTON           TRACI                  4836          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
22988808   PAUL             LADETRA                7480          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
63660396   PAULEY           MARIANNE               4444          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
29527538   PAULEY           REDA                   1632          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
47960429   PAULIN           ELIZABETH    LISA      9341          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
91570183   PAULING          GERALDINE              4247          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
16246650   PAULK            JACQUELINE             2847          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
70758630   PAULSON          JULIE                  5561          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
19548452   PAULUS           KELLY                  1075          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
53154330   PAUSIG FIGIOLI   CHARLOTTE              7410          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
18031584   PAVAO            MARGARET               8172          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
27550963   PAVEY            ANA                    9760          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
19429949   PAXTON           NANCY                  5317          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
47134426   PAXTON           PAIGE                  2669          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
20194241   PAXTON           SANDRA                 5813          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
17552573   PAYNE            DEBORAH                9239          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
15067044   PAYNE            KEATON                        1989   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
73799905   PAYNE            LILLIAN      BERNICE   3262          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
83607471   PAYNE            MADDISON                      1996   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
25540497   PAYNE            PATSY                  7762          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
86003572   PAYNE            PATTY                  4020          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
30068311   PAYNE            PEGGY                  7176          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
17165147   PAYNE            SHAUNDRA     DENISE    5673          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          VULVAR INTRAEPITHELIAL NEOPLYES           YES       YES
28050222   PAYNE            TUCHILIA               2328          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
74677550   PAYNE            VICKIE                 9019          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
28598564   PAYTON           BERNITA                1319          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
82281826   PAYTON           SHELIA                 4465          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
13853832   PEABODY          VITA                   0484          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
84045514   PEACE            PENNY                  0063          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
14358887   PEACH            VICTORIA               4769          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
96706668   PEACOCK          VICTORIA     LYNN      1029          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
55107611   PEARCE           MARY         ANN       8323          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
97475169   PEARCE           RAMA         SUE       0217          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
51366488   PEARSON          JOANNE                 4302          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
94138903   PEARSON          KATHRYN      ANN       4812          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
72412436   PEARSON          LINDA        SUE       8132          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
60824023   PEARSON          RITA                   1394          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
73436650   PEARSON MILES    MONIQUE      CHERRON   3798          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
96595811   PECK             COURTNEY               1336          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
75590753   PECK             SYLVIA                 8387          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
29808854   PEEL             GARY                          1991   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
84576902   PEERY            KIM                    8532          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
34305485   PEIRCE           JARROD                        1988   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
61197728   PELAEZ           ALFREDY                5618          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
17894820   PELHAM           JULIE                         1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
66574777   PELLMAN          JANIS                  8425          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
92962793   PELLMANN         STEPHANIE              6949          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                               YES           YES       YES
22038787   PELTIER          PAUL                   9238          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                     YES           YES       YES
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13424294   PENA             NICOLE                 0225          REJECT
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                                                                          OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                               YES
76452104   PENCE            BELINDA       G        1733          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14225134   PENCIAK          MOIRA                  5577          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81568353   PENDEA           ADRIANA                8483          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58778557   PENDLETON        ROY                    6496          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61970812   PENDLETON        TIMMY JOHN                    1958   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76750025   PENDRY           TARA                   6803          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37112787   PENEYRA          LEE           ANN      4696          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
21279700   PENIKIS          MARILYN                5026          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65242392   PENN             TONI                   3923          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58363377   PENNELL          NORMA                  7809          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99188482   PENNINGTON       LINDA                         1956   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58416545   PENNINGTON       MARGUERITE             7225          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59624834   PEOPLES BAKER    VERINA                 3036          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56919903   PEPE             BARBARA       A        8324          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
41605250   PEPPIN           CATHY                  4775          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24009300   PERA             CHRISTA                3789          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16413388   PERALTA          ALICE                  5199          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62553659   PEREIRA          MARIA                  2640          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33449265   PERETS           LAURA                  7171          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56957912   PEREZ            BELEN                  6933          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80176907   PEREZ            ERIKA                  0216          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53748897   PEREZ            KATIE         MARIE    3499          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23342983   PEREZ            LINDA         M        1871          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25891644   PEREZ            LISA                   2595          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27532203   PEREZ            MARIA         C        2117          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72771905   PEREZ            MARIA                  3713          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97611319   PEREZ            MINERBA                1796          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90073759   PEREZ            TAMILA                 2379          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22032481   PEREZ            THELMA                 4000          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99802416   PEREZ PENA       SHIRLEY ANN            0452          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98859392   PERKINS          ALYCE         F        5898          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75494479   PERKINS          BETTY         LYNN     5332          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27407387   PERKINS          DONNA                  1216          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67439508   PERKINS          GWENDOLYN              4131          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43552031   PERKINS          KAMAKARRA              6158          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86482208   PERKINS          PAULA                  2778          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17599785   PERKINS          RACHEL                 6409          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97091127   PERKINS TAYLOR   TRENETTE      MANSON   8255          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES           YES       YES
31910795   PERLOFF          LINDA         JETT     7100          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51986353   PERLZWEIG        STACEY                 6051          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53194362   PERMENTER        DARLA                  7664          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67345082   PERNELL          DEBORAH                5249          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
21857669   PERRONE          MICHELE                8095          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38667856   PERRY            ALFONSO                       1946   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41326813   PERRY            ANGELA        D        3252          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83033247   PERRY            CARRIE                 4708          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61576416   PERRY            CASEY                  7751          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46553485   PERRY            DEBORAH       A        9411          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13158960   PERRY            DORIS                  1116          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38444638   PERRY            JOAN                   2540          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88773092   PERRY            LINDSAY                3578          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74446080   PERRY            LOUISE                 6906          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72985485   PERRY            PATRICIA               0350          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22575863   PERRY            PAULA                  9189          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20504238   PERRY            SABRINA       L        3192          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35973848   PERRY            SOPHIA        MARIE    1945          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70224741   PERRY            SUSAN                  3543          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46170557   PERRY            TAMIA                  9125          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17407317   PERRY            TARA                   5358          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14067175   PERRY            ZEETA         L               1979   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69764805   PERRY OSTRUH     MARIE                  5536          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51070504   PERSON           DEEBORAH               7261          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25799090   PERSON           DORIS         K               1974   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83507704   PERULLO          JOHN                   1884          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90087499   PERVENANZE       MARY                   7304          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55602942   PESSONI          DEBORAH                8321          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76106893   PESTER           ELLEN                  0811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39110955   PETERMAN         PAMELA        ANN      8413          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64608314   PETERS           MARY          ANN      1290          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39958868   PETERS           MICHELLE               3644          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12063463   PETERS           RYAN                          1987   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49062861   PETERS           SHERRY        L        1856          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12044785   PETERSEN         CRISTY        LEE      6796          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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67772052   PETERSEN      MARGARET                5562          REJECT
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                                                                        OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES
                                                                                                                                                                  Ex. 23
                                                                                                                                                                      YES
75477320   PETERSMAN     CATHY                          1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
50070443   PETERSON      ANGELA      MARIE       3530          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
94894940   PETERSON      ANGELA                         1981   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
38361855   PETERSON      BETTY                   8416          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
14057700   PETERSON      CINDY                   8741          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
76391075   PETERSON      DONNA                   0145          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
11356624   PETERSON      GLENDA      JEAN        5697          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
30777421   PETERSON      JAMES                          1942   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
90665060   PETERSON      KAREN       JEAN        7345          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
74076356   PETERSON      LUCAS       A           6766          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
47454075   PETERSON      LYNETTE                 6934          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
24826095   PETERSON      MAJEANA                 3253          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
15547798   PETERSON      MARJORIE                1429          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          UTERINE LEIOMYOMATA   YES           YES       YES
76857718   PETERSON      NANCY       ELIZABETH   4839          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
45098602   PETREDIS      PATRICIA                5398          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
25636116   PETRIE        PATRICIA                6988          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
36744763   PETROFF       GERALDINE               0671          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
17969211   PETROVANI     NICOLA                  9611          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
16990730   PETROVEY      GERALD      ALBERT             1943   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
90851117   PETROVICH     SHARON                  7555          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
70655951   PETROY        BIANCA                  2434          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
32096879   PETRUCCIOLI   JULIANA                 4663          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
82007525   PETTAWAY      LORRAINE                       1953   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
19222228   PETTENGER     JOSEPHINE               0899          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
93338565   PETTI         KATHLEEN                8146          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
34535575   PETTIGREW     JOSEPHINE               7479          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
48423280   PETTRY        ROSE        M           0820          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
39481807   PETTRY        TINA                    9450          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
56834975   PETTY         DEWANDA                 2686          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
15232725   PEZEK         SANDRA      K           8337          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
90635602   PFEIFFER      ELLEN       H           5224          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
29654089   PFIFER        ALLYSON                 9787          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
89277236   PHALEN        SUSAN                   8159          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
72639936   PHELAN        BONNIE      MAE         6322          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
85771449   PHELAN        JUDITH                  2396          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
48140740   PHELPS        ANA                     1096          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
68155251   PHELPS        DEANE                   7337          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
93311279   PHELPS        DEBRA                   3797          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
45630188   PHELPS        KRISTI      D           9394          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
45520516   PHELPS        TERESA                  0026          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
85491399   PHIFER        VELMA                   7245          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
71262697   PHILLIPS      ADA                     8036          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
47393581   PHILLIPS      CAROLYN                 3018          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
13451302   PHILLIPS      CONNIE                  9784          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
78503112   PHILLIPS      DANA                    7738          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
99056509   PHILLIPS      DENNIS                         1959   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
36728882   PHILLIPS      DOREEN                  1461          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
84109326   PHILLIPS      GORDON      VANCE              1972   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
49056767   PHILLIPS      JANET       R           8028          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
75752466   PHILLIPS      JODI        R           7387          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
40963937   PHILLIPS      KATHRYN     ANN         4399          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
84422730   PHILLIPS      LEONA       LYNN        0357          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
91173803   PHILLIPS      LINDA                   9374          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
38340283   PHILLIPS      MARY        ELLA        9520          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
75979925   PHILLIPS      NANCY       D           4623          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
16931419   PHILLIPS      PEGGY                   0278          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
44070193   PHILLIPS      SARAH                   2222          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
34391720   PHILLIPS      SUSAN                   3049          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
29064090   PHILLIPS      VICKI                   1892          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
57771963   PHILLIPS      WILLIAM                 5599          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
59309221   PHILLIPS      WILLORA                 6543          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
91010796   PHILOGENE     GENEVIEVE               7939          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
91751745   PHILPOT       MICHELLE                1756          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
27913615   PHINNEY       RACHEL      L           2102          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
32192071   PHIPPEN       PATSY                   4165          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
13733183   PHYTHYON      EVE                     1964          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
98884865   PIATTOLY      BRIGETTE                2450          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
15362053   PICCO         FLORENCE                1763          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
28685568   PICCOLO       LINDA                   4603          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
46275665   PICERNO       PASQUALE                3543          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
38835140   PICKARD       ROBERT      EVINS       4366          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
62639535   PICKLE        MARY        ELIZABETH   5491          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                               YES           YES       YES
74150822   PIECHOTA      JOYCE       J           2611          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                         YES           YES       YES
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22916344   PIEKARSKI         KIM          MARIE     6032          REJECT
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                                                                           OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES
                                                                                                                                                                         Ex. 23
                                                                                                                                                                             YES
84969660   PIELACH           CONCETTA               9267          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
67999510   PIERCE            BETTY                  5506          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
50626915   PIERCE            ESSIE        M         1766          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
23480595   PIERCE            JOYCE        C         3710          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
48662177   PIERI             TIMOTHY                1110          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
52730324   PIERNO            NICOLE                        1977   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
73725352   PIERRE            MARY                   4797          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
53555530   PIERSON           JOEANN                 7744          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
53926997   PIERSON           PORTIA                 0308          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
90654364   PIFER             DANIEL                 0513          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
12326757   PIGG              KATHY                  9126          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
41462656   PIGNATELLI        DELANN                 9908          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
90138029   PIKUL             PAULA        MARIE     8055          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
75475445   PILTZ             JULIE                  5495          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
13976385   PINEDA            NENITA                 6400          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
69129333   PINEIRO           LOYDA                  1884          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          ENDOMETRIAL HYPERPLASIA   YES           YES       YES
36299254   PINEIRO ZUCKER    DIANE                  2270          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
69499045   PINELLI           THOMAS                 3904          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
57337808   PING              SUSAN                  3071          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
72929353   PINK              DEBRA                  8312          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
23264819   PINNEY            SHARON                 0017          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
82026009   PINNICK           SHARON                 2911          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
43206276   PINNIX            SUE          ELLEN     4362          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
27122300   PIRNER            JOAN                   8570          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
93055837   PIRRELLO          LYNNE        K         7504          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
59030264   PISANO            DONNA        MARIE     5652          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
70153279   PISAPIA           PATRICIA               4849          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
26215945   PISARIK           ANASTASIA              3171          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
30690157   PITCHER           WENDY                  7447          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
27958110   PITCHERS          TINA                   9269          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
72357361   PITIRIGAS         ADAMANTIOS             3866          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
65911246   PITT              ANNETTE                6559          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
68010407   PITTAM            FREDA                  4581          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
80839802   PITTMAN           LASHAWN                5710          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
58839981   PITTMAN           RITA                   0978          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
89400583   PITTMAN           SHERRIE                6075          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
20739011   PITTS             MILDRED      L         0547          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
61611087   PITTS             SHARON       H         0144          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
44380419   PIVAC             JANESS                 0709          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
85960809   PIZZO             JANICE                 2752          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
78637162   PIZZUTI           LORRAINE     FRANCIS   9712          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
45713950   PLACKO            MARIE                  2526          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
60239298   PLAGEMAN          PATRICIA               7805          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
15978846   PLANERT           MISTY                  3950          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
42351315   PLANK             TERRY                  9339          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
71244535   PLANT             RICHARD                0362          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
93881878   PLATTE            HOLLY                  5016          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
30748891   PLATZ             BARBARA                9320          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
30483633   PLAVAN            NANCY        LYNN      9849          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
33989320   PLEASANT          BELINDA                       1961   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
66221480   PLESCIA           SHARLENE               7883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
33609685   PLOWMAN           LORETTA      MARIE     3779          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
25590835   PLUNKETT          MAUREEN                2528          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
33366498   PODWILS           EILENE                 9090          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
25751788   POE               BELINDA                4587          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
94489302   POE               FLOYD                  9808          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
61229502   POELING           DEANNA                 7726          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
19906453   POEPPEL PROWELL   REAGAN                 9667          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
32250279   POINDEXTER        CANTRICE                      1970   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
18858597   POINDEXTER        MILDRED      S         1452          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
67018573   POINTER           BEVERLY                6474          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
49130496   POIRIER           JANIS        KAY       6639          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
11631033   POLANCO           DEBORAH                7821          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
44827264   POLITO            PATRICIA               2667          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
71054284   POLK              CAROLYN                3737          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
70892593   POLK              DORIS        LEVONE    2187          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
65267729   POLK              SANDRA                 3152          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
29493067   POLSON            SUSAN                  3904          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
71563419   POMERICH          LINDA                  5411          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
33117226   POMPLUN           ALISON       L         0336          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
26904760   POMPONIO          CINDY                  3798          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
95923766   PONDILLO          AL                     1750          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                                   YES           YES       YES
28911984   PONTIUS           DONNA        L         8829          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                             YES           YES       YES
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55690413   PONTO            TONI                  4003          REJECT
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                                                                         OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                              YES
77199362   POOLE            DOROTHY               8903          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95305426   POOLE            NANCEY       JEAN     3121          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56790745   POOLE            SHARON                9663          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36461189   POOLE            SHAYLN                       1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52304731   POORE            JENNIFER              4584          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73245585   POPE             BETTY        JEAN     3206          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93737715   POPE             DAWNELLE     J        4404          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12397722   POPE             LORI         GAIL     6530          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94112948   POPE             ORIA                  7101          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67266757   POPE             SHARON                4946          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20383090   POPOV            SHARON                2369          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58500361   POPPE            VIRGINIA              0541          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78490362   POPPINS          MARY                  7235          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76888585   PORRAZZO         DENEEN                3460          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60487633   PORTEE           TANITA                6380          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99644171   PORTELA          MEAGAN                5277          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44316241   PORTER           BEVERLY               0337          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91355942   PORTER           CAROL                 5083          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47893854   PORTER           CASSIE                6484          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24224712   PORTER           INITA                 3918          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45572315   PORTER           JOHN         H               1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80071249   PORTER           LAURA                 8583          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68608735   PORTER           MACHANDA     RENIOR   7940          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32180206   PORTER           RACHAEL               4775          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37453845   PORTER           TERRA                 7992          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29090400   PORTER           TONSHAY               6041          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35002633   PORTER           VERONICA              1804          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55029689   PORTERFIELD      DUSTIN                8325          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69732765   PORTILLO         MILAGRO               2809          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14476333   POSEY            JANNAE       K        2711          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89790684   POSEY            LYDALIA               9525          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65154566   POSILLICO        JEANNE                8541          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24520762   POSTWAY          SHRONDIA              4334          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59220368   POTREZEBOWSKI    ANTOINETTE            6262          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75156712   POTTER           ALLISON               9969          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81081595   POTTER           RICHARD               0720          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11373966   POTTER           ROBERT       ALLEN    8962          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90170773   POTTHOFF         LORI         A        3614          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26952946   POTTS            MICHAELLA             9584          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74797369   POULSON          GAYLE                 4824          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54972382   POULSON          LYNNAE       JUNE     2017          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45305077   POWELL           ANGELA                       1966   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25506589   POWELL           BETTYE       S        6171          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97994215   POWELL           CARRIE                       1978   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35324014   POWELL           CATHERINE             4312          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90081943   POWELL           LILLIAN                      1981   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35303909   POWELL           MELANICHE             1834          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
28149632   POWELL           SHERRY       L        9608          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72716485   POWELL           SHIRLEY               0405          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68310416   POWELL           YVONNE       M        8059          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87987422   POWERS           GENEVA                0868          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82891521   POWERS           JOLITA                5334          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69226500   POWERS           LAUREN                8633          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31830373   POWERS           SHERRY                8482          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64285282   PRADO            JOSIE                 5645          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43693805   PRADO            NIKOLE                2897          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51759544   PRATER           MARIE                 2022          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36078167   PRATHER          LEANNE                8199          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77580629   PRATT            BENITA                3937          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32699521   PRATT            CATHY                 7790          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90632719   PRATT            MANON                 2608          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16326028   PREDIUM MORRIS   VELMA                 3753          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40644862   PREISS           MELISSA               0018          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13262963   PRESBERY         DAWN         N        6932          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26170866   PRESLEY          SUSAN                 3996          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75830786   PRESSNALL        SHELLY                       1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52829563   PRESTON          MICHELLE     M        6720          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68132234   PRESUTTI         MICHELLE              8908          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49059656   PREUSS           JOY                   8503          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64854796   PREVATT          PAULINE               3901          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31780866   PREWITT          LAKISHA               4784          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24198974   PRICE            BARBARA      L        6323          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85404316   PRICE            DAVONTE                      1993   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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28381261   PRICE         FATIMA                  2967          REJECT
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                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                         Ex. 23
                                                                                                                                                             YES
38621062   PRICE         GERALDINE    HARRIETT   3080          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78785613   PRICE         PAMELA                  5750          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33501316   PRICE         PATRICIA                1693          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63461515   PRICE         PATRICIA                9183          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93993015   PRICE         SUSAN                   6533          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
60139420   PRICE         TAMARA                  8328          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81516900   PRIDGEN       BETH         L          1757          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25675738   PRIDGETT      DORCAS                  5031          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54315014   PRIDGETT      SHEILA                  4031          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76276918   PRIESTER      BETSY                          1958   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49844934   PRIMAVERA     DIANE                   6068          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29546860   PRIMEAU       DEBORAH      A          4799          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18595879   PRIMIANI      SUSAN                   2727          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59047459   PRINCE        JOANN                   7596          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71750941   PRINCE        KEONYA                         1979   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95345204   PRINCE        LAURIE                  1955          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30530851   PRINCE        TIMOTHY      F          6556          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51815191   PRINGLE       NORALEAN                9073          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63082643   PRINZ         SANDRA                  1863          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82155510   PRIOLEAU      ROVENIA                 5941          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34724970   PRIOR         SUSAN                   4920          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13239298   PRISNER       TAMMY                   9129          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56230139   PRITCHARD     DONNA                   4821          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61634147   PRIVETT       JOYCE                   5529          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68458578   PROCTER       LYNN                    7383          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58515491   PROCTOR       LAYNA                   1618          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36487590   PROCTOR       RENEA                   3964          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40868554   PROHASKA      DIANE                   5216          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62049597   PROSA         JULIE        ANN        3099          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30061790   PRUITT        DANNY                   9301          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92726484   PRUITT        SHIRLEY                 1208          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78390562   PRYOR         RHONDA                  6909          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54593271   PRYOR         TARA                    4815          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72169697   PUCKETT       MARY         D          5269          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35259418   PUGH          ANNETTE                 5183          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99654081   PUGH          CRYSTAL                 5125          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79100721   PUGH          JESSICA                 7074          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46968805   PUGH          PATRICIA                2415          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34902824   PUGH          PRENTISS                       1946   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64729333   PUGH          SINDY                   0102          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59648527   PUGH          TONYA                   2910          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90658165   PULEO         CARMELYN                0781          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49861077   PULFER        KRISTINA                3575          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13120813   PULIDO        ESPERANZA               4918          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66132124   PULLMON       ELLA         MAE        7387          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48745648   PUNDRICH      CATHY                   5970          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23838297   PUNZO         ANGELINA                8669          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40296098   PURNELL       KIZZY                   3944          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
55296648   PURSLEY       ROSE         H          1415          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88869017   PURTEE        KATHERINE               1298          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27595507   PUSATERI      DIANNE                  5293          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65447900   PUSHIES       BONNIE                  4197          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69308987   PUTHUMANA     AGEE                    5711          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22961602   PYBURN        CINDY                   7361          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38188794   PYLANT        MARGUERITE   H          3326          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66507281   QUALLS        YVONNE       S          8584          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62556495   QUALLS MAY    MARISHIA                8931          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47751893   QUARLES       DELMIRA                 1156          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
41780364   QUARLES       QUADGIELA               3652          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61748584   QUESENBERRY   PAMELA                  1046          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80114707   QUEVEDO       LORY         MICHELE    6569          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23286187   QUIBODEAUX    CHARLOTTE               2321          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES           YES       YES
72334514   QUICK         DEBRA        J          3096          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62388559   QUICK         MICHELENE    L          2856          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89408130   QUICKLE       BECKY        D          8720          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74650361   QUIGLEY       BETH                    6813          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54481735   QUILLEN       CAROL                   8955          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64517747   QUINCE        GWENDOLYN               5384          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43368356   QUINERLY      JESSE                   7135          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12486869   QUINLAN       DIANE                   0886          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29838650   QUINN         JESSE                   2613          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91610496   QUINN         KIMBERLY                       1964   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86479787   QUINTERO      LISA                    7580          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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98786760   RAASCH           MARIETA              7399          REJECT
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                                                                        OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                         Ex. 23
                                                                                                                                                             YES
83176251   RABUCK           VOHNIE               0360          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82867821   RACKOV TOKICH    NELLIE               5441          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93399266   RACKOW           JANET                6568          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43502217   RACKS            GERTRUDE             4141          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51136040   RADEMAKER        PEARL                0454          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46955609   RADFORD          AVERY                6092          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36800782   RADFORD          COLLEEN              7892          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22526728   RADKE            WAUNITA              8842          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83160598   RADZAI           VICTORIA             7162          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89648344   RAE              PEGGY                1865          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79019484   RAE              STEPHANIE                   1986   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46147414   RAFFIELD         JESSE       D        5818          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72984251   RAGLAND          CARMELITA            5829          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19284113   RAGONE           LOUISE               6715          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47151366   RAHILLY          CATHERINE            0191          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22858454   RAIA             LINDA                9967          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49566927   RAIMONDI         BONNIE               2384          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53341015   RAIMONDI         SANDRA               7967          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43098091   RAIMUNDO         JEANNETTE            0575          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40526849   RAINES           BONNIE      L        5932          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79652162   RAINES           JUDY        A        5171          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
56031258   RAINEY           FRANCES              7968          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88101867   RAINS            DONNA                6296          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45929185   RAINVILLE        ZACHARY              5012          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64652557   RAISH            KRISTINA             1666          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90449472   RALEY            SHARON               4287          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15730650   RALLS            KENNETH              0999          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17954420   RAMAGE           ARLENE               2629          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84204948   RAMBO            SHARON               0172          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21130109   RAMIE            DONALD                      1937   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49075700   RAMIL            PRUDENCIA            1265          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34970516   RAMIREZ          BARBARA              0745          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
55202350   RAMIREZ          HELEN                9995          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62841535   RAMIREZ          MARIE                8122          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38392776   RAMIREZ          PATRICIA             4720          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40982986   RAMIREZ          VERONICA             3491          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74328831   RAMOS            CLARA                6184          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64696710   RAMOS            LANA                 4759          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16203996   RAMOS            TESSA       NICOLE   5144          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17830845   RAMOS MORALES    NILDA                9217          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29927391   RAMSEUR          CECILIA              6157          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58944263   RAMSEY           JOLENE               7185          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82849099   RAMSEY           KATE                 5259          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51449103   RANCATORE        PETER                6565          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99214278   RANCOUR          RHONDA               4860          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17829453   RANDALL          HARRIETT             2337          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94035677   RANDALL          NAJEEMA                     1981   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35880131   RANDALL          SHAYNE               6969          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74460759   RANDALL HOOD     JENNIFER             2885          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32649985   RANDLE           CHIQUITA             5528          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11131085   RANDLE           DELORES              0814          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78576374   RANDLE           KAY                  2373          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43891475   RANDOLPH         LINDA                       1966   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37423861   RANDOLPH         PATRICIA             8485          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72512290   RANDOLPH         SONYA                8559          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87706173   RANDOLPH         VANESSA     E        1477          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90474973   RANERI           CARMELA              2074          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54893740   RANGE            TARA        L        6709          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71865218   RANGEL           DANIELLA             8934          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93537031   RANIOLO          BEVERLY     K        1506          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18243590   RANKIN           ANGELA               7005          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46657951   RANKIN MEDBURY   LAURIE               0660          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82536383   RANSFORD         JENNIFER             6670          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93242420   RANSOM           CHRISTINE            8448          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89310467   RAPOZA           LOUIS                4219          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76971500   RAPP             WILLIAM                     1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57968762   RASH             EULA                 7044          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97554905   RASH             MARY                 3073          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91128454   RASMUSSEN        CINDY                2019          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71881127   RASMUSSEN        DARCELL              1199          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78595129   RASSEGA          ALLA                 2365          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34088071   RATCLIFF         MICHELLE                    1967   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28676694   RATCLIFF         SHARON               8294          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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39914208   RATHBONE              CHRISTOPHER               5621          REJECT
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                                                                                  OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                                   Ex. 23
                                                                                                                                                                       YES
79642558   RATLIFF               ANGELA                    6363          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62412630   RATLIFF               BETTY         CAROL       7501          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58354277   RATLIFF               HELEN                     2956          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85989930   RATLIFF               KATHRYN                   2196          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
61736144   RATTA                 RENEE                     9065          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35589958   RAU                   DONNA                     7023          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29250741   RAU                   FRANK                     1813          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98997121   RAULERSON             KATHLEEN                  5814          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15201846   RAUP                  AMANDA                    5559          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12118168   RAUSA                 PASQUALINA                3746          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90195745   RAUSCH GRINGLE        ALBINA                    8387          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87211415   RAVENEL               TINA                      5966          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48638274   RAVENSCROFT           ROXANN                           1957   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77304757   RAWE                  CONSTANCE                 2619          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93553232   RAWNSLEY              GEORGE                    5184          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64237770   RAY                   BETTY         ALEXANDER   4149          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94715096   RAY                   CAROL         A           6666          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50402722   RAY                   DARLENE                   0430          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81806517   RAY                   JENNA         L           1714          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49960811   RAY                   JOSEPH                    3798          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32293476   RAY                   JOYCE                     0502          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86529851   RAY                   LISA                      7856          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89678223   RAY                   SHEILA                    9426          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52856023   RAYFORD               DORA                      3036          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25062361   RAYMOND          SR   CHARLES                   0585          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76257175   RAYNOR                ANN                       2518          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65061554   REA                   HELEN         KAYE        3672          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56342028   READY                 TERESA                    8166          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16995996   REAGAN                LAWRENCE                  1569          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85346781   REAMES                KAY                       3554          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33479919   REARDON               JETTER                    2697          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26084208   REAVES                KARON                     2455          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81433036   REAVLEY               ROMANI                    2716          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98460283   REBER                 CORA                      7988          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89078333   REBO                  DANIEL                    1892          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24227104   REBOLLEDO             GLORIA                    2442          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26228461   REBSTOCK              TERRI                     8388          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38296716   RECKER                PATRICIA                  6589          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34126058   RECTOR                DONNA                     9299          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47189210   REDD                  DONALD                    9658          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17642068   REDDELL               JAMES                     8415          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78522172   REDDEN                SANDRA                    5322          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20451945   REDDICK               DEBRA                     7232          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15066258   REDDIX                SHERRI                    6375          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66267090   REDDY                 CHRISTA                          1954   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95495401   REDMON                FRANTINA                  2129          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58660454   REDMOND               ANGELA                    3266          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68121122   REDMOND               JENNIE                    2251          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97432064   REDMOND               SHARYN                    9960          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37681140   REDWOOD               MAUREEN                   6399          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56930075   REED                  ALICE                     5264          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
21615777   REED                  ALICIA                    6464          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72107992   REED                  ASHLEY        ELIZABETH   3473          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13819973   REED                  CHRISTOPHER               2598          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29973796   REED                  DEADRIA                   2516          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25837897   REED                  GARY                      0968          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
96794397   REED                  JOSEPH        WILLIE      2299          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69161158   REED                  JUANITA                   7615          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15972553   REED                  JUNE                      4289          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79690903   REED                  KATRINA                   8044          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91710336   REED                  MARYANNE                  6000          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62206875   REED                  RAHNEE        LOUISE      1016          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36062576   REED                  SARAH                     6049          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42387217   REED                  SHARON                    0006          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82504352   REED                  TAMMY                     6539          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29762690   REEDER                CHRISTINE                 5514          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87829195   REESE                 DEBBIE                    7484          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84911944   REESE                 EDITH                     9505          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97876649   REESE                 THERESA       R           4036          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79203726   REESE            JR   WILBUR                           1980   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16294103   REEVES                BETTE         J           2261          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88889378   REEVES                DENISE                    9609          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39966399   REEVES                SUSAN         K           3696          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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95331920   REEVES        TONYA                 2394          REJECT
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                                                                      OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                       Ex. 23
                                                                                                                                                           YES
77918117   REGENWETHER   REBECCA       J       0552          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11568215   REHBECK       ANN           MARIE   9851          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13522295   REHBERG       MARY                  3877          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78313599   REHFELDT      RUTHANNE              0231          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20097095   REHOR         BETTY                 6597          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86054848   REICH         ESTHER                0239          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61306540   REICK         PATRICIA      ANN     3333          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86013290   REID          CHRISTIE      ANN     5917          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
21845437   REID          DENISE                7770          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86447408   REID          DIANE                 6390          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89144008   REID          DOROTHEA              3575          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15925661   REID          EVELYN        MARIE   7800          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39469358   REID          JACQUELINE            6745          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52449149   REID          JOANNE                8123          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62066276   REID          KELLY                 4495          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76808741   REID          TERESA                3172          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11207772   REIK          JANA          SUE     8411          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72143130   REILLY        ALICE MARIE           7848          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28056632   REIMOLD       FAITH                 2677          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43880963   REINDL        WALTER        J       0614          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98917668   REINECKE      CHRISTINA             5105          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38935112   REINHART      GAIL                  2747          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47460425   REINIER       DEBRA                 0643          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57229197   REINSTEDLER   SHERI         L       8368          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34146977   REISS         DAWN                  3043          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66500809   REISS         VIVIAN                3126          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17020456   RELFORD       AARON                 1281          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43308874   REMICK        LISA                  0494          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49956265   REMMER        LINDA                 2463          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65135148   RENCHEN       GARLAND               8110          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22403605   RENDLEMAN     MICHELLE              4912          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29725653   RENDON        MIREYA                3774          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47400655   RENTERIA      ANGELA                5484          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33056191   RENZI         CLAIRE                3998          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19866997   REO           CHERYL                8645          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71280103   REPAS         CONSTANCE             0105          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15282869   REPKO         DONNA         MARIE   6706          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66689296   RESTO         MELISSA               0264          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56014967   RETTER        MARTHA                4913          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28448258   REVELL        SHELIA                8507          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17148153   REVELL        TONYA                 4814          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45335991   REVERE        BARBARA       ROSE    2553          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50776825   REVETT        BRENDA                8313          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86851469   REVIS         GWEN                  7169          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11901451   REYES         DONNA                 4806          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52673326   REYES         ILIA                  9546          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15789090   REYES         ROSA                  6657          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74301382   REYNOLDS      CONNIE        R       1173          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29398792   REYNOLDS      DAVONA                       1971   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25767264   REYNOLDS      DIANNE                5089          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94793793   REYNOLDS      HELEN                 2955          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74913785   REYNOLDS      LORI                  6910          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87316061   REYNOLDS      LYNNE                 9027          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39231877   REYNOLDS      PAMELA        MARIE   2714          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32335100   REYNOLDS      PATRICIA              0874          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43013676   REYNOLDS      SHARON                5593          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53053449   REYNOLDS      SHARON                6008          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61350541   REYNOLDS      TERESA                2192          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33502523   REYNOLDS      VENA                  4148          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77072863   REYNOLDS      VICTORIA              7677          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27144224   REZEK         DONALD                8991          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67452472   RHINEHART     PAM                   9849          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77487349   RHODEN        CHERYL                7050          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11589278   RHODES        CAROL                 6968          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45628213   RHODES        CAROL                 8512          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19598309   RHODES        CHERI                 6812          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19152704   RHODES        DEMETRICE     M       4740          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68826397   RHODES        ERICA                 5950          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86437684   RHODES        JUDITH                2406          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89349675   RHODES        MARGARET              0436          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63182432   RHODES        MARK                         1970   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79088086   RHODES        TERESA                9058          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30024942   RHONE         TYRONE                7053          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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71803202   RHONE RACKLEY        FRANCES                        1983   REJECT
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                                                                               OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                                Ex. 23
                                                                                                                                                                    YES
75606275   RHORER               GLENDA                  0650          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93812102   RHOTEN               LARRY                   2425          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75261396   RHYMER               GWEN                    4926          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34543648   RHYMES               SHARON                  0990          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19999878   RIAL                 CRYSTAL                 3803          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59053162   RIBBENS              MARTHA                  4318          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47399454   RICARDO ROBINSON     MARIA        R          6129          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43629616   RICE                 ANNIE        MAE        2527          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49826441   RICE                 CURLYNN      KAY        8470          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12272467   RICE                 DONNA                   2207          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24288429   RICE                 GLADYS                  9573          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91183872   RICE                 JAMIE        L          4001          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30294596   RICE                 LAURA                   3430          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88195947   RICE                 PATRICIA                6928          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87166947   RICE                 SANDRA                  0888          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13648524   RICE                 TERESA       A          4344          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32450669   RICE                 VELMA                   6234          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76692749   RICE                 WILMA                   8821          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29371191   RICE CALKINS         PATRICIA     ILENE      3749          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87672294   RICE ROGERS          JACQUELINE              4174          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33176797   RICH                 DONJA                   0560          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91079105   RICH                 JANETTA                 9663          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42258138   RICHARD              DONNA                   7559          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15781321   RICHARD              EARLINE      B          0598          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21293909   RICHARD              PAMELA       A          1161          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15782114   RICHARD              PAULINE                 7436          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15954139   RICHARDS             LAKEISHA                9355          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72243547   RICHARDS             MELODY       A          6417          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37504954   RICHARDS             ROGER                   9894          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87476519   RICHARDSON           ALICE                   6922          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69225244   RICHARDSON           CYNTHIA                 7076          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18297266   RICHARDSON           DARLENE                 7511          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22326115   RICHARDSON           EVELYN                  8711          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74736958   RICHARDSON           KELIA        DIANE      8321          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11618752   RICHARDSON           KERESA                  5452          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17157357   RICHARDSON           LINDA                   5187          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69466431   RICHARDSON           LINDA                   8965          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25999948   RICHARDSON           LISA                    1872          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99466233   RICHARDSON           MELVIN                  8385          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95577524   RICHARDSON           SHIRLEY                 4599          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54432656   RICHARDSON           SUSAN        I          7325          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65615018   RICHARDSON           TERRY                          1960   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35501807   RICHARDSON           VALENTINA               2625          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
57505407   RICHARDSON HERBERT   JANET        G          0392          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52784993   RICHMOND             GEORGIANA               6546          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31117317   RICHTER              MARIE                   8309          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27110705   RICK                 JONATHAN                5545          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16086890   RICKETSON            LYNDA                   6980          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15112578   RICKETTS             MISTY                          1982   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55634965   RICKS                MITTIE       A          8546          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36853416   RICKS                TIMOTHY      STERLING   3279          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19712792   RICO                 CARLA                   4386          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99651031   RICO                 DIANE                   3090          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87776180   RICO                 RICHARD                 7164          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14733415   RIDDLE               CRYSTAL      NICOLE     7678          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87370660   RIDDLE               LORRIE       G          7045          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18834179   RIELLO               DEBBIE                  8676          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45224212   RIELLY               SUSAN        R          5286          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82142942   RIEMKE               ELEANOR      J          6544          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75090240   RIENDEAU             PATRICIA                0501          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53118191   RIGBY                CAROL                   1982          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58803875   RIGGAN               ANNETTE                 1189          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53144452   RIGGINS              DEBRA        L          4240          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42195199   RIGGINS              PATRICIA                5394          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72202452   RIGGLE               JANET                   9027          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77647391   RIGNEY               HEATHER                 6520          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58196127   RIGNEY               TAMI                    7099          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93994069   RIHA                 GLENN                   2006          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67585377   RILEY                BARBARA      D          9008          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49148627   RILEY                BETTY                   8374          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83636961   RILEY                JUSTIN       JAMAL      5566          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44144236   RILEY                KERRY                   2576          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32119876   RILEY SCHUMACHER     SAVANNAH                2859          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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84297882   RIMER                  PAM                  8185          REJECT
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                                                                              OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                               Ex. 23
                                                                                                                                                                   YES
39948680   RIMP                   MOYA                 1266          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68510977   RIMSON                 DENISE               3463          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75256463   RINES                  LINDA                4975          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
55527739   RINES                  VICKI                6851          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99878140   RING                   DEBRA                6780          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42855887   RION                   RUBY                 9774          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14193765   RIPKA                  BETTY       J        4750          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66390137   RISBERG                NANCY                2519          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83454168   RISTESUND              TODD                 5303          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78763495   RITCHEY                CAROL                7808          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91702943   RITCHEY                GLORIA               4652          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36279803   RITCHIE                BOBBIE JO   LYNN     3861          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28720110   RITCHIE                CINDY       M        7349          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40515589   RITCHIE                LYNNE                8057          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39041788   RITCHIE TAYLOR         REGINA      RENEE    5527          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45738397   RITENOUR               VIOLA                4015          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11337261   RIVAS                  ANGELICA             3200          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11268096   RIVERA                 CHRISTY     L        6386          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15822988   RIVERA                 GLENDA               0678          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67522252   RIVERA                 HILDA       AURORA   5246          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99720526   RIVERA                 LANA        SUSAN    4686          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
92787252   RIVERA                 NEDA        G        3763          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76617462   RIVERA                 SALLY       ANNE     0658          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42461170   RIVERA                 YAMILETTE            7821          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69870381   RIVERIA VAZQUEZ        EVELYN               5443          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66739907   RIVERO                 MAGALY               5849          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23579336   RIVERS                 CHANAUWIA            4619          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11967578   RIVERS                 DANIELLE             0528          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53937382   RIVET                  DEBORAH     L        7460          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64049894   RIZZO                  MARY                 8691          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
21001254   ROACH                  IRENE                9660          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42063480   ROACH                  JOANN       T        5300          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57976027   ROALEF                 CAROLE      M        5855          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38764640   ROARK                  DEBORAH              5953          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81395353   ROARK                  DONNA       SUE      5266          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27183103   ROBALDO                THERESA     L        4085          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50631303   ROBBINS                CYNTHIA     L        5362          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83116530   ROBBINS                KAY                  5931          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51521715   ROBBINS                MICHAEL                     1985   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89289311   ROBERSON               ANITA                9988          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76418998   ROBERSON               MARY                 1324          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36482747   ROBERT                 DOLORES     ANN      8646          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26134408   ROBERT                 MARTHA               6122          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63382142   ROBERTIELLO            CHRIS                       1975   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46433952   ROBERTS                AMANDA      C        7317          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92303001   ROBERTS                CATHERINE   E        9389          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48850447   ROBERTS                DELORIS              9785          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46668924   ROBERTS                GLORIA               0699          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48995109   ROBERTS                JOAN        M        8721          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54505775   ROBERTS                LISA        MARIE    9861          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55915235   ROBERTS                MARGARET    D        0942          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67151014   ROBERTS                MARY        ELLEN    8406          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70854908   ROBERTS                PATRICIA             3174          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35247161   ROBERTS                RHONDA               2399          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77615559   ROBERTS                SHARON               1151          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83539232   ROBERTS                SHARON               2799          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76884178   ROBERTS                SHIRLEY              0720          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36187064   ROBERTS                TABITHA              8338          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75387444   ROBERTS                TERRI                1225          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77453243   ROBERTSON              DEANNA               9050          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79186546   ROBERTSON              DENISE               0537          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93642698   ROBERTSON              ELEANOR              1079          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86801126   ROBERTSON              GEORGETTE            3238          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95775667   ROBEY                  LORI                 9897          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35497988   ROBINSON               ADELINE              7014          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28739337   ROBINSON          JR   ADOLPH               7108          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63681838   ROBINSON               ANGELA               7318          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99018259   ROBINSON               AUTUMN               2189          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32079442   ROBINSON               BART                 2706          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11800616   ROBINSON               BERNICE              1163          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73981258   ROBINSON               BERTINA                     1961   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26511453   ROBINSON               BIANCA               0027          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31574416   ROBINSON               CAROLYN     D        5047          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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28485509   ROBINSON          CINDY       L          7284          REJECT
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                                                                           OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                            Ex. 23
                                                                                                                                                                YES
21259101   ROBINSON          CLAIRE                 3352          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48642464   ROBINSON          CYNTHIA                4406          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90055023   ROBINSON          DAVID                  4309          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15536663   ROBINSON          DEAUNDREA              7201          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84922532   ROBINSON          DEBORAH                1781          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94291958   ROBINSON          DELORES                8518          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95386866   ROBINSON          DONNA       MECHELLE   5231          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87289742   ROBINSON          ERWIN                  4065          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65759736   ROBINSON          FRANCINE               8167          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21687787   ROBINSON          JENNIFER    M          4501          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47062298   ROBINSON          JOYCE       SINKLER    3537          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38870208   ROBINSON          KENNETH                6402          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26965777   ROBINSON          KRISTY      L          3551          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54267836   ROBINSON          LAURA       M          6260          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35778872   ROBINSON          LIANE                  2257          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33723795   ROBINSON          LILLIE      MAE        3811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75359650   ROBINSON          LINDA                  7402          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47829780   ROBINSON          LISA        ANN        6176          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82850080   ROBINSON          LORI                   2237          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58383330   ROBINSON          LUCILLE                8756          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97514969   ROBINSON          MAISHA                 7465          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23643693   ROBINSON          MARY        E          6975          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52368691   ROBINSON          NITA                   2162          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39645464   ROBINSON          NORMA                         1947   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58095013   ROBINSON          PATRICIA    ANN        3089          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46445793   ROBINSON          RACHEL                 1177          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95217332   ROBINSON          RUTH        A          8863          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54040977   ROBINSON          SHERRY      A          5880          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31245644   ROBINSON          SHIRLEY                3636          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58971447   ROBINSON          STELLA                 2972          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57391567   ROBINSON          SUE         A          9370          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31430149   ROBINSON          TERRI                  6411          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25561697   ROBINSON          TONYA       M          0563          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36975075   ROBINSON          VIRGINIA    LEE        6031          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70888018   ROBINSON          WILLIAM                7631          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55343910   ROBINSON THOMAS   GENEVA      E          0489          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30524672   ROBISHAW          NINA                   7826          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98097344   ROCCO             MARGARET               6409          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61639277   ROCHA             LISSETTE               1007          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18296121   ROCHELEAU         KIMBERLEY              9423          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52078788   ROCHESTER         KAREN                  8705          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71086214   ROCK              BONNY                  4143          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72029371   ROCKHOLD          SAHMARO                0582          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17888021   RODDY             BETH        ANNE       4021          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27542899   RODDY             DIANE                  1965          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17626880   RODDY             JANICE                 2648          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48440312   RODELIUS          DORIS                  6073          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29441877   RODERICK          BARBARA                8969          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11636232   RODGERS           DAVID                  3093          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48978657   RODGERS           DONNA       R          4224          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34962547   RODGERS           JOHNNIE                3780          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51985459   RODGERS           SHIRLEY                9954          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53718527   RODRIGUE          CLAUDIA                0372          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47103425   RODRIGUES         JAMICKA                4744          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36725033   RODRIGUEZ         ANDREA                 2043          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53536441   RODRIGUEZ         EVELYN                 4508          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94128304   RODRIGUEZ         GARY                   6277          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42418411   RODRIGUEZ         GRACE                  6856          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73189551   RODRIGUEZ         LILIA                  7088          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43143222   RODRIGUEZ         NELDA       A          9096          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43174894   RODRIGUEZ         PATRICIA               5345          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60192371   RODRIGUEZ         RUTH                   2670          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30004363   RODRIGUEZ         THOMAS                 0996          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66307922   RODZIAK           MARILYN                3478          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67063120   ROEBUCK           LATONYA                1378          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20688647   ROEMISCH          LISA                   4360          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16029491   ROESE             REBECCA     A          4043          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69067303   ROESKE            CAROL       L          3956          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98751981   ROGERS            BETTY                  1425          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88300033   ROGERS            BILLIE                 3753          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65866169   ROGERS            CYNTHIA                8662          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29099368   ROGERS            DEBRIA      C          7671          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95131683   ROGERS            ELAINE                 2504          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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40758517   ROGERS                JEREMY                            1975   REJECT
                                                                                       PageID: 258542

                                                                                   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                                    Ex. 23
                                                                                                                                                                        YES
60755150   ROGERS                JESSIE                     8955          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89371781   ROGERS                JUDY                       0765          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24699867   ROGERS                JULIE                      8914          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36097842   ROGERS                KELLY                      3197          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36043679   ROGERS                KRISTA                     2010          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74872817   ROGERS                LINDA                      7359          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77292123   ROGERS                LOUANNA                    7991          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74798294   ROGERS                MARILYN                    7315          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34296622   ROGERS                RACHEL                     2011          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37133702   ROGERS                REVA             JOLENE    3211          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31419329   ROGERS           JR   RICHARD                    9331          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51365490   ROGERS                ROBIN                      4431          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86991080   ROGERS                STEPHANIE                         1966   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50076687   ROGERS                YVETTE                     8830          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63747553   ROGERS WARD           THERESA                    7609          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84972317   ROGGENBURG            LINDA                      2447          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66053535   ROGIER                GAIL                       3359          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23826849   ROHLMAN               ELAINE                     1268          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69316519   ROLAND                LETITCIA                   3188          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52837300   ROLAND                LURLEAN                    9603          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37563734   ROLAND                VIVIAN                     2013          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29199542   ROLDAN                WANDA                      7594          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70856276   ROLLE                 LARRIETTE                  3921          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76052604   ROLLE                 ZENAIDE                    4480          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31869864   ROLLER                VERONICA                   8580          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85219210   ROLLING               LAURELL                    7129          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48418977   ROLLINGS              ROBIN            B                1950   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40965699   ROLLINS               SHARON                     2298          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32859650   ROLLOCK               SUBRE                             1982   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64575947   ROMAN                 ELIZABETH                  2702          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48190401   ROMAN                 GLADYS                     3257          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13367839   ROMANO                CHERYL                     6011          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79222020   ROMANO                ELIZABETH                  4799          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99201371   ROMANO                SABINO                            1948   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37837871   ROMANOFF              MARY             LESLEY    3018          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99157737   ROMERO                BLANCA           BONILLA   0065          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22510657   ROMERO                CRISTINA                   4226          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46697505   ROMINES               STACIE                     6022          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30629628   RONDA                 ZULMA                      8777          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39123758   RONEY                 KECIA                      0852          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31778012   ROOD                  CLARA                      2615          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94305768   ROONEY                KAREN                      8585          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67856760   ROOP                  BRENDA                     0674          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12719528   ROOT                  MARY                       1616          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71188682   ROOTE                 CHERYL           MAXINE    5569          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66460211   ROPER                 VERONICA                   2894          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES           YES       YES
77922945   ROPER MCCASLIN        KAREN RASHELLE             2906          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95324615   ROQUE                 EVA              M         1099          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27980162   ROSADO                AIDA             ESTER     4189          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63246829   ROSAS                 GLORIA                     9956          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53895119   ROSATI                RHONDA                     4273          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86282560   ROSE             JR   ANDREW                     8248          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93523946   ROSE                  CHARLES                           1946   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80349873   ROSE                  GRACIE                     6286          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75640475   ROSE                  JANET                      3464          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19153632   ROSE                  JUNE                       0041          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88354137   ROSE                  REBECCA                    2162          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96771766   ROSE                  SHERRY                     7340          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22381969   ROSE                  SYLVIA           L         2450          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55904635   ROSE                  TERESA                     1511          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84779911   ROSE                  VICKI                      7980          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11979533   ROSE                  VICTORIA         L         9450          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55646941   ROSEBERRY             TERESA                     2527          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
61882116   ROSECRANS             RENEE                      1982          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57888872   ROSEMAN               LATORA           R         9714          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65140052   ROSEN                 JILLIAN                    3364          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15644595   ROSEN                 LYNN                       1196          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26031718   ROSEN                 MINDY                      0017          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
28445128   ROSENBALM             REBECCA                    3331          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71801840   ROSENBARGER           LINDA                      8945          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60447974   ROSENBARKER           KIMBERLY                   0097          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24637076   ROSENBERG             AUDREY                     4702          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11463784   ROSENTHAL             ALAN                       9126          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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68023146   ROSENTHAL           IRENE                 2066          REJECT
                                                                                PageID: 258543

                                                                            OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                             Ex. 23
                                                                                                                                                                 YES
18124868   ROSIDIVITO          SANDY                 1784          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96992714   ROSILLA             TIARA                 5787          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87401294   ROSKY               PAULA        J        1739          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83597609   ROSS                AKIN                  3054          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40492600   ROSS                BETTY                 3436          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50995218   ROSS                DEBRA                 5012          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24916116   ROSS                FRANCES               5714          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75559123   ROSS                GAIL                  2201          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77527934   ROSS                GRACE        LOU      3428          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20942648   ROSS                JACKALYNE             1619          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86994388   ROSS                JAMES        DEAN     6424          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31287530   ROSS                JANET                 5454          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20926154   ROSS                JILL                  5350          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65993359   ROSS                JOHN                  9874          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95893987   ROSS                LUCRESTUS             0705          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93437023   ROSS                LYNNE                 3857          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71612913   ROSS                MARK                  1917          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91249457   ROSS                MARY         ANNE     7508          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20025373   ROSS                MICHELLE              4282          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44591953   ROSS                RONALD                5908          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59048453   ROSS                ROYA                  9867          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85494580   ROSS                SHARON                8694          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70318498   ROSSELL             SANDRA                7868          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51465691   ROSSI               REGINA                2697          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95024117   ROSSIGNOL           ROBERT                1631          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79770242   ROSSON MOORE        LAUREN       M        8548          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18861744   ROST                MICHAEL      J        0103          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31162581   ROST                MICHAEL      J        0103          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44535734   ROTH                SHERRY                3773          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87814183   ROTHWELL            CORDELIA              3560          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61253731   ROTT                DOREEN                0572          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57373443   ROUGIER             SARAH        LYNNE    8700          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51409979   ROULHAC             HATTIE                3038          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45302000   ROUNDS         JR   DENNIS       M               1975   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20665893   ROUNDY              SHATARA               9691          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
41956814   ROVE                SUSAN                 5391          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53634858   ROVIRA              LYNN         WALKER          1959   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34968878   ROW                 ENZA                  1274          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27198714   ROWAN               GEORGIA      E        2238          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65931807   ROWDEN              THERESA               4058          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46074015   ROWE                BETTY                 5312          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87958221   ROWE                DEBRA                 9318          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69315101   ROWE                RAYNEE                0622          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23009845   ROWE                RICHARD      SCOTT    3973          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21924364   ROWELL              SHERRY                5571          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
41372259   ROWLAND             CANDY                 3750          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59119244   ROWLAND             TINA                  6243          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97396722   ROWLEY              CORIN        T        5537          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97885288   ROYAL               HILDA        G        4290          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13686895   ROZIER              KATHERINE             3231          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54168285   RUANE               THERESE               7357          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31687951   RUBENSTEIN          GAYLE                 3919          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
44709671   RUBENSTEIN          SUE                   8633          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81312673   RUBLE               KATHY                 5745          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71885727   RUCHTI              CATARINA              2601          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62386480   RUCKER              DEMIKA                0737          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80759197   RUCKER              MARY         L        0668          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66096228   RUDD                SHANNON               1368          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82164622   RUDOLPH             CAROL        ANN      9251          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97887423   RUDOLPH             LORA         LEE      6958          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43496788   RUDY                MADELINE              9762          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71067006   RUETZLER            PAUL                  9556          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88159791   RUFF                DELORIS               7939          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86813241   RUFF                WILLISHA              3703          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19238607   RUFFIN              CANARY                7958          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68431466   RUIZ                DONNALETTA            1950          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78634886   RUIZ                ERIKA                 9354          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56236287   RUIZ                MARY         B        8705          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89625892   RUIZ                MICHELLE              3164          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87641510   RUIZ                REMA         J        0103          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25257644   RUIZ                ROSA                  9566          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38574621   RUIZ                TERRY                 7756          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73768246   RULAND              DANA                  7420          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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14539062   RUMPZA         BECKY        RENEE   8672          REJECT
                                                                          PageID: 258544

                                                                      OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                       Ex. 23
                                                                                                                                                           YES
47971016   RUNIONS        TAMMIE               5404          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72185068   RUNNELS        LASONYA                     1967   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28434785   RUNYAN         KATRINA                     1981   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89927383   RUPP           TIMOTHY              9576          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73303735   RUPPRECHT      MICHAEL                     1955   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39067639   RUSACKAS       CHARLES              1030          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38849473   RUSH           FRANCES              7456          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
60554581   RUSH           GEORGE                      1958   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59835620   RUSH           SARAH                5691          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99899905   RUSHIA         BARBARA              8011          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81016023   RUSHING        BENNY                7177          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89478291   RUSHING        KRISTIE      L       2762          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39608000   RUSHWORTH      TINA                 7282          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59980071   RUSSELL        GAYLE        R       3258          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
44125747   RUSSELL        MARTHA               3727          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63435672   RUSSELL        MELISSA              3416          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83512120   RUSSELL        SUSAN        D       2355          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
55474987   RUSSELL        TRACY                9779          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94425870   RUSSELL MOSS   NINA                 5857          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12264565   RUSSO          CAMILLE              9754          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48765381   RUSSO          JOAN                 3733          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90473895   RUSSUM         ALEXIS               7648          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64863333   RUST           FLORENCE             8821          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63955965   RUSTICO        JEAN         MARIE   6752          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68202001   RUTKOWSKI      ROXANNE              7672          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69107564   RUTLAND        DEOLA                4610          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17151553   RUTLAND        MARGARET             2685          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES           YES       YES
43080385   RUTLEDGE       ARTHUR               9271          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14328895   RUTLEDGE       TONY                 5398          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94019094   RUTNIK         JANET                8319          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72852627   RUTT           JOHN                        1952   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70628718   RUTTEN         DANETTA      J              1947   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17186457   RUTTENBERG     SALLY                9605          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35311793   RUTTY          ROSEANN              0544          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98993131   RYAN           ALICE                2081          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95959206   RYAN           CAROL                0990          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80917486   RYAN           DIANNA               3949          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49970309   RYAN           ELIZABETH            3840          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94553909   RYAN           GLORIA               3326          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91125374   RYAN           JANIS                2516          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57697426   RYAN           LILLIAN              7379          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13922208   RYAN           LINDA                1252          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93065458   RYAN           LINDA                9600          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50175059   RYHERD         TIFFANY              3708          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30920640   RYLEY          TINA                 2142          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91351824   RZANCA         MARILYN              2754          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49010936   RZEPECKI       THOMAS               6483          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16961019   SABBATH        REGINA               4074          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20937943   SABOL          WENDY                9228          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48841634   SABOURIN       MARGARET             4003          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80541499   SACCO          FRANK        JOHN    0018          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44057812   SADDLER        KYLEE                9035          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33565135   SADLER         EDWARD       V       5389          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59954514   SADOWSKI       JEFFREY              9875          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48226472   SAFFORD        JENNIFER             6910          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20686084   SAGHIAN        ILANA                4868          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21527028   SAHR           JEAN                 3926          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91650620   SAHYOUN        WENDY        JOANN   7569          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31910200   SALAMI         DESHONDRA            2287          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76025032   SALAS          ALICE                9903          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53606774   SALAZAR        CYNTHIA              0005          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16013800   SALAZAR        JOSEPHINE            8581          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19027911   SALAZAR        KATHYNA              4219          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25495592   SALIGAN        YAESURI              0612          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66065777   SALINAS        SHERYL               0878          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72647786   SALLAS         BETH         A       9048          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35669160   SALMON         DAVID                5926          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86688863   SALOMON        LINDA        D       1688          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56004463   SALPETER       STEVEN               2276          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59084082   SALVA          JACQUELINE           6626          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72578111   SALVADORE      BARBARA      J       9356          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75528609   SALYERS        BARBARA              8310          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52975144   SALYERS        BRENDA               6730          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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79106099   SAMAREL               MARK                   0990          REJECT
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                                                                               OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                                Ex. 23
                                                                                                                                                                    YES
24524695   SAMETINI              GLORIA      H          4715          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26569304   SAMMONS               PEGGY                  6944          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36123267   SAMPIETRO             MARY        D          7274          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55241745   SAMPLE                FREGEANIA              9760          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48377151   SAMPSON               IRIS        Y          9648          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74932125   SAMS                  ANGELA      SUE        4442          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78651109   SAMUEL                DEBORAH                9010          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35603053   SAMUEL                LATASHA                       1982   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81473913   SAMUELS               CHEVAS                 1093          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69322313   SAMUELS               HELEN       J          3489          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83300381   SAMUELSON             BARBARA     LEE        1629          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43408384   SANCHEZ               AIDA                   4145          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59362581   SANCHEZ               CARMEN      ANN        4091          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93664671   SANCHEZ          JR   ISABEL                 2621          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67756975   SANCHEZ               JESUSA                 6401          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40738696   SANCHEZ               JOSEFINA               9710          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48353051   SANCHEZ               KAREN       ELAINE     8205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78735701   SANCHEZ               LILA        MARTINEZ   8287          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82550049   SANCHEZ               LOURDES                4115          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82220488   SANCHEZ               MARIA       DEJESUS    1759          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95163867   SANCHEZ               ROSALINDA              9189          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47008528   SANCHEZ ERVIN         ROSA        M          2936          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63940354   SANCTIS               TERENCE     E          5266          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24184682   SANDERS               ASHLEY                 8794          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76400406   SANDERS               CHARLOTTE              9742          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64620665   SANDERS               DENNISE                2886          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40264461   SANDERS               ELAINE                 3401          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13250877   SANDERS               JANET                  0258          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42373582   SANDERS               JUSTIN                 3502          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60983036   SANDERS               KATHY       W          1783          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68948574   SANDERS               LINDA                  6828          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79654543   SANDERS               MARY        ELLEN      4780          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25175588   SANDERS               MATILDA                7014          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74471833   SANDERS               MAYDELIA               6335          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25997342   SANDERS               MELISSA                0556          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64746544   SANDERS               SARA                   6465          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33382460   SANDERS               SHANNON                2671          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30312471   SANDERS               WILLIAM     H                 1943   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42851064   SANDERSON             ROBIN                  2589          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62216167   SANDLIN               JOHN        DAVID      1068          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61161547   SANDLIN               TAMMY                  3567          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11641170   SANDLIN               THERETHA               3588          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98410447   SANDMAN               DAVID                  5731          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24397643   SANDOVAL              CINDY                  7450          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39651846   SANDOVAL         JR   TONY                   2136          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88801971   SANDRAS               KATHLEEN               6421          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73267874   SANFORD               QUANDA                 9928          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99195566   SANFORD               SHEILA                 5850          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49638762   SANNICOLAS            KIMBERLY               3934          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39024123   SANNING               CAROL                  8148          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92780712   SANTIAGO              ANNA                   5429          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99605499   SANTIAGO              MYRNA       I          0017          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87526609   SANTIAGO              REGINA      K          0997          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89553406   SANTILLAN             GLENDA                 4389          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64863700   SANTILLI              IVANA                  3422          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90271634   SANTIN                MARGARET               8915          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72843894   SANTINI               CAROLYN                5869          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36532004   SANTO                 JOHN                   6264          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69097239   SANTOS                SUSANA                 1712          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
57752281   SAPP                  DONNA       E          9355          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98955264   SAPP                  EULA        B          9731          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54875743   SARADO                MARY                          1970   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35214152   SARANTOU              AMY                    8239          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91419918   SARASKY               ENRICA                 6058          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80651224   SARGENT               BONNIE                 9624          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60055263   SARGENT               WILLIAM                9387          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17042676   SARNOSKI              DEANNA                 2737          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27728091   SARRIA                CHRISTINE   M          7733          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
61941842   SARTIN                VERONICA    J          4290          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99252415   SASSON                JEAN        P          9631          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32895662   SASTRE CORDOVA        VALERIE                6031          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13194692   SATCHER               SANDRA      JEAN       7792          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20185505   SATHER                ROMA                   2657          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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93631483   SATTERWHITE    BONNIE      V          3026          REJECT
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                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                         Ex. 23
                                                                                                                                                             YES
86387635   SAUCEDO        MONICA                 7406          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78394323   SAUELS         BRENDA                 9450          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83659204   SAUNDERS       CASSANDRA   I          5309          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36610438   SAUNDERS       KATHERINE   K          2424          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65959188   SAUNDERS       KATHRYN                1559          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89978242   SAUNDERS       SHARON                 7901          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58704808   SAUNDERS       YVONNE                 7223          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
96481968   SAVAGE         SHEILA      S          7288          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26198676   SAVOY          MARY                   0419          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39861928   SAVOY          TOSHA                         1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58029979   SAWYER         DONNA                  5762          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27746842   SAWYER         MIKE                   2588          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15167961   SAYLOR         ESTHER      RAE        1830          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82342162   SAYLOR         VICKIE                 1258          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28234090   SCAFF          PAMELA                 4508          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31195680   SCAGGS         PEGGY                  9146          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67154896   SCAGLIONE      YOLANDA                7307          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93128475   SCALES         GINA                   6092          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31696478   SCANDRICK      ANGELIA                9501          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36173640   SCARAFILE      KAREN       E          1077          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32121551   SCARBOROUGH    MELINDA                5316          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63187668   SCARLATO       ANGELA                 8509          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50701636   SCARRONE       MICHELLE               4213          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29832550   SCATTERFIELD   MELISSA                5537          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58528368   SCHAAL         JESSICA                9545          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86073753   SCHAEFER       KATHLEEN               8975          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91375608   SCHAEFER       MICHELLE               6282          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57505639   SCHAEFERLE     JOYCE       ANN        0843          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76691954   SCHAFER        TAMMY                  2159          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49882239   SCHAFFER       DAWN        M          6367          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
55805241   SCHAIRER       LINDA                  0151          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36803231   SCHANTZ        GABRIEL                       1973   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80662647   SCHARER        KAREN       LYNNE      5451          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88150566   SCHATZ         PHYLLIS                2845          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84095122   SCHAUB         ROBERT                 5473          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99309955   SCHEEL         ALICE                  1960          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20579832   SCHEFFER       MARY                   7067          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44515271   SCHEFTNER      TRACIE      ANN        3899          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53890471   SCHEIDT        CYNTHIA                5106          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84284730   SCHEINFELD     HARRY       J          3991          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31144402   SCHELL         HELEN       L          5117          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11709759   SCHELLER       JUDY        KAY        3546          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90536384   SCHENCK        DEBRA       MICHELLE   9051          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15398823   SCHENK         LORRAINE    LYNDALL    4805          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33771062   SCHENKER       PAMELA                 5740          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43171015   SCHENONE       GLORIA                 1266          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11650353   SCHEPIS        KERI                   3619          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43777932   SCHERER        SUE                    6543          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77472541   SCHEUMAN       NORMA                  3517          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42772030   SCHILLO        CAROL                  4389          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94216086   SCHIMMINGER    JOSEPH                 3126          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43034881   SCHINGLE       VICTOR                 5505          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25880983   SCHIPPERS      DAWN                   0417          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45898246   SCHIRALDI      CAROLE      L          7366          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50522957   SCHLOSSER      KOBY                   8466          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES           YES       YES
97042782   SCHLOTT        DARLENE                4385          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27593748   SCHMALZ        AMY                    4845          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78870385   SCHMANDT       LAURIE                 9696          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78497148   SCHMICK        ELIZABETH              5141          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85136063   SCHMIDT        CAROL       J          9012          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86159913   SCHMIDT        KAREN       T          8611          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46198437   SCHMIDT        LEEANNE                2916          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30819036   SCHMIDT        LINDA       LEE        6010          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
92880153   SCHMIDT        MARY        JO         9558          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86064972   SCHMIDT        RAYMOND                0938          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83879018   SCHMIDT        RUBY                   3857          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45466828   SCHMIDT        SHIRLEY                0714          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31254157   SCHMIT         GEORGIA                3504          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77432838   SCHMOLL        GREGORY     MARTIN     0255          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44152613   SCHNEEMANN     WYNELLE     FAYE       2612          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39453503   SCHNEIDER      RONEKA                 8517          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66809473   SCHNELLE       SUSAN                  8085          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93953453   SCHOENEBERG    ROSEMARY    ROSE       1546          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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80714645   SCHOENGART      SHIRLEY                1515          REJECT
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                                                                         OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                              YES
65375612   SCHOEPP         EVA         M          1328          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67752308   SCHOFIELD       MARY        JO         4059          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12236299   SCHOFIELD       MONIQUE                7478          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63946836   SCHOLTZ         THOMAS      EDWARD     2481          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76277368   SCHOLZ          LINDA                  1877          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48163983   SCHOOLEY        KATHERINE              9698          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70678823   SCHOONOVER      GAIL                   0786          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78959924   SCHORR          CAROL                  7662          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55500415   SCHORY          REBECCA     LORRAINE   1090          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63354798   SCHRADER        PAMELA                 5551          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78777745   SCHRANK         SHEILA                 8148          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66683790   SCHRINER        JULIE                  7390          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32868679   SCHRIVER        SUNNY                  7828          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69410969   SCHROEDER       CHARLOTTE              0437          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77309599   SCHROEDER       RICHARD                1438          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39734194   SCHROERS        SANDRA      E          7076          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68543543   SCHUBERT        ROBERT                        1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79924670   SCHUELER        RORY        C          4618          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47458367   SCHUENEMAN      LISA                   4800          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32257519   SCHUESSLER      LUCILLE                5581          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90456649   SCHUETZLER      DAWN                   8780          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33928956   SCHULTZ         AMANDA                 1891          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54754300   SCHULTZ         PEGGY                  0002          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53733031   SCHULTZ         SUSAN                  0479          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55462737   SCHULZ          EVERETT                4026          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52704270   SCHULZ          NANCY                  7738          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49588688   SCHULZ          TOM                    6000          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24900705   SCHUMACHER      ARTHUR                        1942   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59632935   SCHUMACHER      LESLIE                 5503          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53405824   SCHUMACHER      SHARON                 4403          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52064396   SCHUMAN         JOHN                          1952   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90290235   SCHURKMAN       STEVEN                 4328          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82705886   SCHURMAN        REBECCA                0392          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23279255   SCHUT           SHERRI                 9034          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24894973   SCHUTTE         SUSAN                  0288          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64920363   SCHWAB          EDWIN                  4782          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81234325   SCHWAB          LINDA       LOU        4615          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58158852   SCHWALBACH      SHELLY                 7510          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42941280   SCHWALBAUCH     FELICIA                6916          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95670383   SCHWARTZ        MICHAEL                       1962   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99566664   SCHWARZ         DIANNA                 1822          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63563945   SCHWARZ         EVA                    5677          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26343159   SCOCA           JUDITH                 6245          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83813885   SCOTT           ANGELA                 3610          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16873829   SCOTT           ANNIE       P          9322          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14517885   SCOTT           AZALEE                 3764          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82985594   SCOTT           BARBARA     J          6756          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28846686   SCOTT           BARBARA                9253          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69349804   SCOTT           DARAH                  6356          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32778426   SCOTT           DEBORAH                6448          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
55003581   SCOTT           FRANCIS     P          2330          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23787394   SCOTT           GEORGINA    M          4669          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15338281   SCOTT           GLADYS                 3532          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58236971   SCOTT           JANICE                 3959          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86927408   SCOTT           JOYCE                  5183          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84275643   SCOTT           LEAH                   8848          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72137749   SCOTT           MADELINE               3800          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65816765   SCOTT           MARCIA                 4902          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16321631   SCOTT           MELBA                  9534          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15830737   SCOTT           MONICA                 8319          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29394002   SCOTT           PAMELA                 9471          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21303445   SCOTT           PEARL       RUTH       6977          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65652884   SCOTT           REBECCA                8706          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76372262   SCOTT           ROSALAND               0176          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32974361   SCOTT           SHEILA      M          2862          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71008988   SCOTT           STEPHANIE              1409          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88879606   SCOTT           TAMMY                  0818          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54792225   SCOTT ZARCENO   NANNETTE               0683          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18959701   SCOZZAFAVA      ROSANNE                2588          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16967986   SCRIVEN         WILLIE      MAE        2233          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32513285   SCROGGINS       BARBARA                4079          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80813091   SCROGGINS       DADRANIKA              5890          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97918933   SCROGGINS       MICHAEL                0553          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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31268507   SCRUGGS            CAROLYN                  5917          REJECT
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                                                                              OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                               Ex. 23
                                                                                                                                                                   YES
57950713   SCRUGGS            CYNTHIA                  6100          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76874299   SCRUGGS            REGINA                   6933          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47088582   SCURTO             JOSEPH       ROY         4526          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12432474   SEABLOOM           CATHERINE    L           5734          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69029186   SEABOLT            MARY         ASHLEY      2836          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
96862885   SEABORN            JULIE                    2793          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19728889   SEADORF            VICKIE                   3122          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97117588   SEAGO              PATRICIA     E           7041          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44735672   SEAL               JANICE                   7645          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50291688   SEALE              MICHELLE     H                  1974   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35242754   SEALOCK            EMILY                    3301          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34451965   SEALS              WALTERINA                8746          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62964570   SEALS              XANTHE                   0308          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11421679   SEARER             MARY                     9016          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21336391   SEARS              KAREN        J           3759          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83471597   SEARS              ROCHELLE                 7698          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89331210   SEAY               DARLENE                  8852          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23715841   SEBENS             COREY                           1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82344409   SECCHIAROLI        JANET                    3122          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85170234   SEDAR              REBECCA      M           3713          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30765366   SEDON         SR   ALEX                     7707          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89934662   SEEHOLZER          MELISSA      D                  1970   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26862025   SEEK               LORRIE                   0312          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11975098   SEEKINS            KERRI        ANNE        9795          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87795388   SEGAL              BARRY                    6505          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93586609   SEGEBART           TANYA                    1811          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82084936   SEGEDY             AVIS                     4880          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55029397   SEGOVA             CAROL                    9117          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46970852   SEGUIN             MARY         KAY         2952          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65918260   SEGURA             DESSICA                  2783          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32864963   SEIBEL             BONNIE       J           7772          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19424235   SEIDEL             JULIE                    6959          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69953169   SEIGLER            SUSAN                    6912          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97938645   SEIMY              KATIE                    5969          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84280712   SEIPEL             MELISSA                  6238          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36814066   SELES              PAMELA       JEAN        3062          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86774913   SELF               CRYSTAL                  2352          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62621119   SELIG              THOMAS                   9126          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21214919   SELLERS            APRIL                    9013          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22507003   SELLERS            NINA                     8505          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29434208   SELLERS            ROXANNE                  9431          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77647197   SELLERS            SHELBA                   9136          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98563499   SELLERS       V    WILLIAM      W                  1961   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90187083   SELTZER            BARBARA                  3160          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42055674   SELTZER            CINDY                    6143          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33990382   SEMAN         JR   FRANK                    6323          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40400727   SEMAN              LAWRENCE                 2611          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72825924   SEMKO              MARIAELENA               2152          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39105165   SEMLER             DOREEN       LOUISE      2789          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68501515   SENA               SHARON                   1371          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50492880   SENEGAL            YVETTE       C           7497          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37927567   SENSABAUGH         ALICIA       M           1384          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46052005   SENSING            REGINA       DAWN        4700          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40884958   SEPULVEDA          FAUSTO                   4946          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30255434   SERNA              KRISTINA                 8776          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99134189   SERRANO            MARLENE                         1972   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53804010   SERWATKA           NANCY                    6379          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88476608   SESCOE             ROBBIN                   4634          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69048326   SESSION            URSLA        JANE        5162          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97828292   SESSOMS            EBONIE       S           8817          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25613231   SETO               JENNIFER     CASTANEDA   5623          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26875812   SETTIPANI          MICHELE                  0721          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
56838062   SETZER             CANDY                    1923          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26229007   SEUFERT            LIVVIA                   6071          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45053069   SEVILLANO          DARLENE                  6931          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90216511   SEWELL             SHANIQUA                 4118          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
56430168   SEXTON             FRANK                    7397          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66732348   SHACKELFORD        JULIE        ANN         0334          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47903150   SHADRICK           CAROL                    8630          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14470713   SHADY              CYNTHIA                  0166          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72889046   SHAEFFER           SHANNA                          1987   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61044649   SHAFER             ALICE                    6270          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40870426   SHAHOOD            BARBARA                  4236          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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77560549   SHAKESPEARE       GERALD                          1969   REJECT
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                                                                             OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                              Ex. 23
                                                                                                                                                                  YES
63354382   SHALL             DEBRA                    9237          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68345799   SHALLY            MARTHA        S          4815          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98601941   SHAMON            GAIL                     1590          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
44686765   SHANAHAN          LINDSEY                  9524          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32821761   SHANCE            BRENDA                          1952   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26307079   SHANK             JAMES         R                 1947   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19773983   SHANKLIN          CONSTANCE     D          9691          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31326267   SHANNON           ANN                      7838          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31586342   SHANNON           KANTINA                  3580          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42739908   SHAPIRO           CARRIE                   3155          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18215964   SHAPIRO           MELISA                   0251          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34183016   SHAPIRO FUCHS     NANCY                    5430          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77330272   SHARPE            DENISE        L          5002          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18515146   SHARPER           ALICE                    2270          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15229841   SHATARA           NANCY                    6344          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81748617   SHAUT             PATRICK                  9253          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32616730   SHAW              CHERYL                   0974          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78881687   SHAW              JANET                    6968          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70142593   SHAW              KARAN                    8037          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53110545   SHAW              KATHLEEN      J          9876          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91765581   SHAW              LAURA                    6896          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24236411   SHAW              RAYMOND                         1938   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
96027999   SHAW              ROSA          E          9972          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19244535   SHAW              SUSITHEA      D          8988          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33237032   SHAW              WALTER                   7228          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19832295   SHAW              ZEPHRA                          1974   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14791674   SHAWN             JANALEEN      D          7115          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86977524   SHEA              MARY          PATRICIA   5945          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71460725   SHEA              MICHAEL                  8625          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36636862   SHEALEY           LARRECIA                 7365          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38997477   SHEARIN           CORA                     6274          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89926142   SHEARS            EVELYN                   0505          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77377500   SHEARS            PATRICIA                 7696          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24942478   SHEBLEY           YVONNE        E          6111          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16919410   SHEEHAN           CONSTANCE                6503          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42364541   SHEEHAN           JANIE                    6843          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81069770   SHEEHAN           KATHLEEN                 4833          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69236324   SHEETS            CAROL                    8242          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89556721   SHEFFIELD         MARGARET      H          1915          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92384984   SHEFFIELD         SHON          LAVERNE    0037          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25380931   SHELBURNE         DIANA         L          3169          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66383113   SHELBY            CARTELIA                 6445          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24455520   SHELDON           PATRICIA                 7098          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78513779   SHELEY            ANGELA        D          0587          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96728468   SHELL             SANDRA        KAY        0070          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86619982   SHELLNUT          SANDRA                   4423          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14252182   SHELLS            BETTY         M          2852          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93184832   SHELLY            DELPHIA                  2286          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72634746   SHELTON           DARLENE       C          8958          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63623304   SHELTON           DOROTHY                  5035          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
61762397   SHELTON           JACQUELYNE               3167          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63723180   SHELTON           JAMES                    3302          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90914345   SHELTON           JERI                     6685          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13287342   SHELTON           JUDITH        A          1409          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31601293   SHELTON           LAURA         JO         2667          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39003423   SHELTON           LOUISE                   7854          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38068852   SHELTON           REGINA                   0302          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52247348   SHELTON           WILLIAM                         1949   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69709271   SHEMORY           JILL                     0618          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57356168   SHEPARD           BETTY         J          9950          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97300668   SHEPARD           JAMES         DOUGLAS    0587          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37563882   SHEPHERD          CAROL                    1414          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53434889   SHEPHERD          EVERJOY       K          1901          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81290856   SHEPHERD          JANET         A          1514          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70338116   SHEPHERD          MICHELE                  0953          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12916031   SHEPHERD          NANCY                    6254          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
56585663   SHEPHERD TURNER   SANDRA FAYE              4050          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42534590   SHEPPARD          JUDY                     0986          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36439441   SHEPPARD          PAMELA                   3854          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72382952   SHERBONDY         NANCY         M          6381          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30133776   SHERBY            DONNA                    2184          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59236347   SHERET            JANE          L          4932          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92657481   SHERFEY           PREDIA        G          8852          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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70741939   SHERIDAN        JOANN                  2973          REJECT
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                                                                         OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                              YES
96990694   SHERIDAN        ROSE         ANN       9700          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96710588   SHERIDAN        SHIRLEY      A         1731          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37061177   SHERMAN         DEBORAH                4801          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
21975249   SHERMAN         RAY          ELWIN     0826          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63236969   SHERMAN         ROSE                   5121          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57278895   SHERROD         ANNIE        MAE       3051          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77076708   SHERWOOD        JEAN                   7854          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18487340   SHIELDS         BETTIE                 4168          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75933241   SHIFLETT        ALANNA                 7974          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31773586   SHILLING        KATHLEEN               8214          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36014717   SHILLMAN        DOROTHY      B         4609          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28696260   SHIMA           MARGARET     L         3821          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80476182   SHINALL         LINDA                  1609          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96807061   SHINN           DEANNA                 6102          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33199023   SHIPLEY         BARBARA                9664          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
28804807   SHIPLEY         JENNIFER     E         5852          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90891171   SHIPLEY         MICKI                  9059          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76891097   SHIPLEY         SHERRY                 4691          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75446020   SHIPP           KAREN        TERESA    3320          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87794688   SHIRLEY         BRIDGET                       1977   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98877451   SHIRLEY         CHERYL       A         9365          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88270014   SHIRLEY         SUSAN                  0181          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83457706   SHIRLEY BROWN   MARSHA                        1967   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30036737   SHOATS          PAMELA                 3308          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51139117   SHOCKLEY        KELLY                  8284          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18813455   SHOEMAKER       BRIAN                  9307          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34869039   SHOEMAKER       LISA         G         9914          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30151404   SHOLTY          CHERYL       K         8363          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42047894   SHONTZ          MICHELLE               2856          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39680552   SHOOP           BETTY                  8614          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44559233   SHORE           MICHAEL                3022          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50443247   SHORE           SUSAN                  7723          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48104135   SHORES          ALISON                 2668          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20895534   SHORT           ELIZABETH              5721          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77828312   SHORT           MARY         COLLEEN   1061          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71754679   SHORTER         ELIZABETH              2087          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52004860   SHOUK           KIMBERLY               1887          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89344030   SHOULDERS       TWANA                  0287          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42750464   SHOVER          JILL         R         8309          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27858821   SHRABLE         RAMONA                 1507          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64943292   SHUCK           NANCY        AUSTIN    0751          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68660643   SHUFORD         MARGUERITE             1060          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63311755   SHULER          FRANKLIN     M                1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47260407   SHULL           DONNA                  3499          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95334743   SHULTZ          AMANDA                 3365          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50282241   SHUMATE         JENNAFER                      1992   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32893965   SHUSTER         DOREEN                 7121          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35904593   SIBLEY          PHYLLIS                1195          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76559184   SICKLES         SHANNON                6522          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94533094   SIDA            JAMIE        T         1669          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13968821   SIDBERRY        CHARLENE               3741          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54133386   SIDDEN          ANNA         L         4201          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26662286   SIDERIO         LUCILLE                6235          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12016413   SIDERS          PAMELA                 1464          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71372428   SIDORICK        KELLY                  8023          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72914630   SIDRANSKY       LISA                   2786          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90060346   SIEM            JORDAN                        1995   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63009584   SIEWINSKI       PHYLLIS                2412          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20941990   SIFFORD         TINA                   9858          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22377809   SIGLER          RACHELLE               2646          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46485029   SILBER          JOYCE                  4304          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62047403   SILER           PAULINE                7138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22730402   SILMON          GLENDA       FAYE      7926          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
61278832   SILVA           BLANCA                 9374          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65373520   SILVA           KATHERINE              6113          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94629733   SILVA           SUZETTE                3176          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89852316   SILVEIRA        ELIZABETH              7848          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45495219   SILVER          PATRICIA               6515          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51979733   SILVER          WILLIAM      H         2793          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84446025   SILVERMAN       GLORIA                 6979          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70795880   SILVERMAN       SAMUEL       L         2966          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26632683   SILVERS         DIANA                  0712          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74751638   SILVERS         LUCRETIA               3688          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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46177014   SILVERTHORN    MARYA                    0275          REJECT
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                                                                          OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                               YES
30861127   SILVIA         SABINA                   9407          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84497194   SILVIA         WILLIAM                  1694          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74330222   SIMENTAL       DEBORAH       ANN        8584          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13790636   SIMMONS        ALICE                    3017          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18113773   SIMMONS        AUDREY                   3350          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23571184   SIMMONS        CHRISTOPHER                     1988   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38086285   SIMMONS        CYNTHIA                  1326          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25835767   SIMMONS        CYNTHIA                  5216          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
57532440   SIMMONS        EVONYA                   6445          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49673362   SIMMONS        OLIVIA                   1640          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51210921   SIMMONS        SOPHIA                   8459          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54496900   SIMMONS        TRACY                    1481          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16591244   SIMMONS        VICKIE                   5523          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15778729   SIMMONS        WHITNEY                         1979   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93329094   SIMMONS        YVONNE                   7190          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87811355   SIMMS          KAREN         L          2018          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73851140   SIMMS          SABRINA                  0375          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11528671   SIMON          BETTY                    1237          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43184920   SIMON          MARK                            1961   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19905291   SIMON MARTIN   DONITA                   3541          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
56366974   SIMONS         JENNIFER                 3815          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30690681   SIMONS         NEALA         JAN        0746          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73519243   SIMONSEN       ISIDRA                   8837          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69256460   SIMPKINS       LYNELLE                  7695          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11433414   SIMPKINS       ROBIN                    3520          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42728956   SIMPSON        BARBARA                  5660          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95672618   SIMPSON        DOROTHY                  2497          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40341920   SIMPSON        LINDA                    9403          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96018876   SIMPSON        MARGARET                 4161          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97795857   SIMPSON        REBECCA                  8970          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93568613   SIMPSON        ROSE          DELORES    0725          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66736258   SIMPSON        SHELBY                   2967          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67359850   SIMPSON        VIRGINIA                 6504          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36774465   SIMS           CHRISTOPHER                     1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93722830   SIMS           DIANE         DENISE     7443          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31851579   SIMS           ELSIE                    9348          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35592452   SIMS           LINDA                    2766          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78573360   SIMS           MARGIE        F          7858          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42651336   SIMS           RENETTA                  0743          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19074600   SIMS           RICKY         L          1526          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69747596   SIMS           SAMUEL        WAYNE      9574          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92502824   SIMS           TENSIE                   4561          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97241238   SINCLAIR       LISA                     7622          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16575256   SINCLAIR       RAVEN         LYNN       3195          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43324771   SINCLAIR       SANDRA                          1990   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14192118   SINES          KATHERINE     ANNE       7071          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69488109   SINGELAIS      MICHELE       A          4287          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90481535   SINGER         HOWARD                          1952   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31911242   SINGER         MICHELLE                 8881          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65611850   SINGH          RAJ           KAUR       4501          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29099140   SINGLETON      DELORIS       A          8911          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34980974   SINGLETON      LASHANA                  5584          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73314471   SINGLETON      ODESSA                   3843          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46326034   SIROIS         MONIQUE                  5559          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69854597   SIRONEN        MARY          M          7461          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94719637   SIRRIDGE       MATTHEW                         1970   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88892331   SISK           CHARLES                  0462          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52079850   SISK           DIANA                    4210          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79112201   SISSON         KIM           LAURA      8633          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28188232   SITZER         CAROL         ANNE       7732          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36883456   SIZEMORE       BRENDA                   7248          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69002288   SIZEMORE       CARMEN                   2534          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35447122   SIZEMORE       MONICA                   4032          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86025706   SIZEMORE       NADINE                   7646          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64277994   SIZEMORE       SABRINA                  9135          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34074495   SKELLY         BRIDGET       MICHELLE   3200          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84372333   SKIDMORE       MELVINA                  7540          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95612560   SKIDMORE       THEODORE                 2116          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97701261   SKILES         JON                      6737          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70479607   SKILLINGS      TERRY                    9804          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61803788   SKINNELL       VIOLA                    5841          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93159377   SKIPPER        VIRGINIA      A          4048          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73120907   SKONORD        CYNTHIA                  0149          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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26931997   SKORUPA     JACQUELINE             9901          REJECT
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                                                                     OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                      Ex. 23
                                                                                                                                                          YES
18751874   SKULNIK     SYDELL                 8086          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50041245   SLACK       CYNTHIA                4067          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15968769   SLACK       DEANNA                 0742          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70820323   SLADE       CEDRIC                 7689          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62081115   SLADE       CYNTHIA                2314          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46258813   SLAGLE      CRAIG                         1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17238695   SLAMES      VAN          R         9822          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79588555   SLANE       MADGE        MELANY    2266          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18425192   SLAPE       JUDY                   2592          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46080771   SLATE       DEBRA                  2010          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19359026   SLATER      SUZANNE                3948          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37010058   SLATER      TAMMERA                0732          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39366397   SLAUGHTER   PAMELA                 8291          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38855001   SLAVIK      JOYCE                  7963          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36200513   SLAWSON     ROSEMARIE              8688          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36089149   SLEDGE      CYNTHIA                8032          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64959284   SLEDGE      LEE          O         5219          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51280013   SLEMP       LOIS                   3410          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58579991   SLOAN       DEBRA                  5295          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30706542   SLOAN       KEOSHA       LAQUITA   7310          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79391741   SLOAN       THOMAS       W         2152          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45433021   SLOMICZ     BARBARA                8711          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32150190   SLONE       JESSICA                3226          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91278106   SMAIL       MICHAEL                       1981   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41497596   SMALL       EDITH                  4173          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74016426   SMALL       PAMELA                 0661          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63794106   SMALLEY     REBECCA                9725          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28579006   SMALLEY     TRACY                  6003          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20746279   SMART       FRANCES                6811          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80458010   SMIDDY      LESLIE                 5675          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53656858   SMILER      SHERRY                 5451          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
55071558   SMILEY      ANN                    8403          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18089470   SMITH       AGGIE                  5558          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18543177   SMITH       ALEXIS                        1997   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91059940   SMITH       AMANDA       G                1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52829191   SMITH       AMY                    9141          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33935820   SMITH       AMYJON                 7111          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27226297   SMITH       ANGELA                 2914          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16060428   SMITH       ANGELA                 4485          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88174944   SMITH       ANN                    2442          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15955287   SMITH       ANNA         MARIE     8962          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20446328   SMITH       ANNIE                  8946          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71594573   SMITH       ASA          LEE       5914          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82915687   SMITH       AVA                    5027          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53234092   SMITH       BARBARA      J         4466          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74139289   SMITH       BARBARA      T         5470          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78963523   SMITH       BELINDA      B         9284          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54157160   SMITH       BELVA                  7443          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31842928   SMITH       BETTY        H         8026          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13289529   SMITH       BRENDA       FAYE      5594          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76942048   SMITH       BRENDA       D         8254          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37777585   SMITH       BRUCE                  9706          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66713965   SMITH       CARLA        Z         4723          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24129389   SMITH       CAROL        ANN       8311          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99311740   SMITH       CAROL                  8543          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90858673   SMITH       CAROLYN                4246          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67594290   SMITH       CHARLES      P         1586          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57543226   SMITH       CHARLES                6877          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13515406   SMITH       CHRISTINE    E         7107          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95099721   SMITH       CLARENCE     RANDALL   6169          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78798480   SMITH       CONNIE                 1726          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91088863   SMITH       CRYSTAL      LAWRISE   1015          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89325973   SMITH       CYNTHIA      T         7178          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81054984   SMITH       DARLENE      W         7157          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17855467   SMITH       DAWN                   5443          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35435888   SMITH       DEBORAH      ANN       9977          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99014786   SMITH       DEBRA                  0721          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59656694   SMITH       DEBRA                  6486          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52846283   SMITH       DEBRA        D         7495          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54938591   SMITH       DELORES                1269          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83787970   SMITH       DENISE                 4944          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78994646   SMITH       DENNIS       GREGORY   8842          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77742714   SMITH       DIANE                  3376          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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81528555   SMITH        DONNA        KAY        4611          REJECT
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                                                                       OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                        Ex. 23
                                                                                                                                                            YES
47997586   SMITH        DOROTHY      CUFFIE     1062          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38685215   SMITH        EARNESTINE              1595          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES           YES       YES
20369078   SMITH   SR   EDWARD       W          3572          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75824239   SMITH        ELLA                    0474          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81885197   SMITH        EMMA         JEAN       6101          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58998508   SMITH        EVELYN                  3946          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42476483   SMITH        FREDA        K          2282          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72740009   SMITH        GLORIA                  2503          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45101901   SMITH        GRAVNEY      C          9899          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90149589   SMITH        GWENDOLYN               6586          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29609330   SMITH        HEATHER                 3761          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52051306   SMITH        HILLARY      ERIN       5967          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99554193   SMITH        IRMA         KOERIN     4632          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97585892   SMITH        JACQUELINE   G          0085          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47295045   SMITH        JACQUELINE   G          7479          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
92965419   SMITH        JANET        L          4515          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88781532   SMITH        JANET                   9239          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57816580   SMITH        JEFFREY                 9401          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62712077   SMITH        JERI                    8936          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33448702   SMITH        JESSICA                 2112          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89691605   SMITH        JESSICA                 7247          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87743248   SMITH        JILL         C          3811          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22686159   SMITH   SR   JIMMY                          1951   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67713488   SMITH        JO           ANNE       9442          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14634381   SMITH        JOHN                    5607          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39584786   SMITH        JOSLYN       RENEE      2198          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82698081   SMITH        JUDY         JANE       4565          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38223975   SMITH        KATHARIN                6191          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67809749   SMITH        KATHLEEN     A          1654          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52721588   SMITH        KATHY        J          8419          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58478842   SMITH        KIM                     4482          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78248579   SMITH        KIMBERLEY               7861          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86607045   SMITH        KISHAUN      I          1690          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72249174   SMITH        KRISTI                  3267          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47933766   SMITH        LAURA                   5335          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49586470   SMITH        LAURA        ANNE       8887          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
92863404   SMITH        LAWANNA                 4245          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65380580   SMITH        LEETTE       E          4705          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29410818   SMITH        LENEVA                  5379          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45281984   SMITH        LINDA                   2025          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51058483   SMITH        LIZZIE       MAE               1946   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93184724   SMITH        LORI         LAVIVIAN   4036          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84212878   SMITH        LORRIE       M                 1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34405538   SMITH        LYNDA                   5677          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39425733   SMITH        MARGANETTA              9949          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53821584   SMITH        MARIANNE                4551          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45985674   SMITH        MARILYN      P          2743          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59743793   SMITH        MARTHA                  8742          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76500543   SMITH        MAUREEN                 8869          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
60015779   SMITH        MICHAEL                 2179          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15778175   SMITH        MICHELLE                2976          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66534922   SMITH        MISA         VANESSA    0720          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62045621   SMITH        NADINE                         1956   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32574295   SMITH        NANCY                   3441          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95445893   SMITH        PAMELA                  6068          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49727535   SMITH        PATRICIA     S          2025          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
21185704   SMITH        PATRICIA                3004          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47490539   SMITH        PATRICIA     WHALEY     4371          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54410943   SMITH        PATRICIA     REBERTHA   5455          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69004558   SMITH        QIANA                   2420          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14549086   SMITH        RAYLETTE     LAVERNE    7089          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48825737   SMITH        REBECCA      J          4279          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86155223   SMITH        ROBERT       J          1361          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40491498   SMITH        ROBIN                   6589          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75779403   SMITH        SANDRA                  1253          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79370683   SMITH        SANDRA                  8948          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17779120   SMITH        SHARON       C          0172          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99679274   SMITH        SHARON       G          2129          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19252379   SMITH        SHARON                  2336          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80682808   SMITH        SHELBY                  9438          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42033603   SMITH        SHERRY       L          3543          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69894140   SMITH        SONJA                   6924          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81568489   SMITH        SOPHIA       L          3708          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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90426284   SMITH                 SPRING       D         2524          REJECT
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                                                                               OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                                Ex. 23
                                                                                                                                                                    YES
89885351   SMITH                 SUSAN        M         3755          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56043740   SMITH                 SUSAN        DELORES   4883          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68380332   SMITH                 TERESA       A         2817          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87133654   SMITH                 TERESA                 4021          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62752741   SMITH                 TERESA       M         5351          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13801628   SMITH                 TERESA                 6803          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32443916   SMITH                 THERESA                5882          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58540801   SMITH                 TINA                   1136          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88021163   SMITH                 TONDELIA               0778          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84572184   SMITH                 TONYA                  2215          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20094402   SMITH                 TRACI        R         0863          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86476751   SMITH                 TRACY                  7675          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19563323   SMITH                 TRETHA                 6789          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
28481874   SMITH                 VALENE                 6406          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55677848   SMITH                 VALERIE                5677          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46952120   SMITH                 VERNON                 0859          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25121922   SMITH                 VIRGINIA               1870          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35416622   SMITH                 WANDA                  5301          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41972764   SMITH                 WANDA                         1954   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14572570   SMITH BROWN           SHEENA                 1266          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68295399   SMITH DAVIS           ROBERTA                9104          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30745143   SMITH HENRY           VICTORIA               7709          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46007167   SMITH JORDAN          JEANETTE               6685          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90089534   SMITH MORRIS          RITA                   1642          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98633121   SMITH THOMAS          RONDA                  6232          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76512024   SMITH WILLIAMS        JANICE                 4684          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29263895   SMITHERMAN            EDNA         JEAN      1117          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99971032   SMOCK                 ROBERT                        1949   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21783907   SMOOT                 MONTHERLYN             4755          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19034054   SMOOT                 TRACINE                7248          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20513068   SNAIDER               MARSHA       LEVITT    7610          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69176205   SNEED                 CATHERINE              2415          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91912012   SNELL                 WINDY                  5008          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64089030   SNELLING              DAWN                   5761          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49421591   SNIPES                LESLEY                 0103          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81452737   SNOES                 JOANN                  5901          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48425541   SNOW                  DELYNN       M         5769          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45049549   SNOW                  DONNA                  8694          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67474248   SNOW                  OLEVY        M         7155          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15074806   SNOW TRUGLIO          WENDY                  1634          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74883433   SNYDER                ELAINE       M         9253          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68141558   SNYDER                KRISHA                        1984   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85673245   SNYDER                SHARLEE                5625          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69024010   SO                    PAULA                  6166          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97177893   SOARES                ANTONIO                8522          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84627651   SOBASKI               KRISTINE               6694          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93558948   SOBER                 CHERYL                 1352          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47868224   SOBOTKER              GWENDOLYN              4214          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39535573   SOEDARMASTO           RAQUEL                 0544          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72775144   SOENS                 PATRICIA     ANN       5654          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16859774   SOHLER                KATHY                  6775          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69748598   SOILEAU               PATRICIA               0068          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85410454   SOKOL                 CONNIE                 3914          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29905029   SOLBERG               DANIEL                 2918          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18081959   SOLES                 KATHERINE              7288          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52542177   SOLHEIM               LYNDA                  6914          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26744431   SOLIS                 CARMEN                 8720          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72909213   SOLIS                 MARIA                  4846          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48958612   SOLIS                 PIXIE        L         2897          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16315126   SOLIZ                 ELIZABETH              4457          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64036031   SOLLARS               STEVE                  0305          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81227550   SOLLEK                GILBERT                0660          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81643413   SOLOMON               ANNE                   5563          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38819696   SOLOMON               JEFFREY                8415          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35095899   SOLOMON               MARTHA                 3583          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63391196   SOMMERS               DENEESHIA              8951          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52804498   SOMMERS               LINDA                  8948          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30269644   SORENSEN              DAVID                  2700          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89444295   SORENSEN              RONALD                 1623          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51234650   SORENSON              REETA                  8786          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
28225980   SOTO                  AMBER                  2913          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68504034   SOTO             JR   PEDRO                         1986   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49025098   SOTO                  SARAH                  9158          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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42813587   SOTO           SHERRIE               4812          REJECT
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                                                                       OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                        Ex. 23
                                                                                                                                                            YES
50067552   SOTO MARQUEZ   MARIANA               9398          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26694995   SOTOLONGO      GERALDA               7852          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26701055   SOTTOSANTI     GAYLE                 0046          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74259535   SOUDYN         VERNON                1800          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28504014   SOUTHARD       JULIANNE              0680          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97431852   SOUTHCOTT      BONNIE                5192          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16470488   SOUZA          NICOLET               3351          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15947042   SOUZA          WAYNE       EDWARD           1960   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81942617   SOVINSKI       TERESA                9529          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27893999   SPAAR          JAMES                 8811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33983468   SPANGENBERG    SUSAN       L         3162          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57159064   SPANGLER       JERRY       W         0996          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24171690   SPANGLER       TERESA      E         8320          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38243988   SPARKS         JULIAN                2937          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51684436   SPARKS         LATASHA               4722          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94365699   SPAULDING      DIANA                 1696          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57716104   SPAULDING      THERESA               3916          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52036630   SPAYER         MARCIA                6681          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85571571   SPEARMAN       KAREN                 1613          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67688830   SPEER          IRENE                 6672          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30054538   SPEER          JULIE                 4038          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97298025   SPEES MCGOW    CHRISTINA             3397          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37674409   SPEIGHT        PAMELA                8528          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
96289062   SPELLIOUS      LINDA                 3396          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11278295   SPELLMAN       CYNTHIA               5218          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86538889   SPELLS         VOLETA                0367          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70263108   SPELMAN        KATHY                 5062          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85418365   SPENCE         CLAUDIA               9367          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45838622   SPENCE         DELSA                 1033          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
57168105   SPENCER        BETTY                 4039          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75464050   SPENCER        JOE                   8216          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75700345   SPENCER        KATHREN               5057          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36599839   SPENCER        NICOLE      H         4263          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54410594   SPENCER        VICTORIA              4578          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38045939   SPIDLE         NATASHA               8057          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73379768   SPIELMAN       LISA                  4689          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36630335   SPIES          BRENDA      LEE       6731          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52733330   SPIES          SCOTT                        1969   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54816031   SPIKE          RAEANN                8104          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26797674   SPIKES         CASSANDRA   JENICE    7026          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75184130   SPINA          GINA                  6532          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87866110   SPINA          MALINDA     GAIL      7720          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17471601   SPINELLI       MICHAEL               7626          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89959625   SPINKS         JESSICA               6393          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15095852   SPITZ          SUSAN                 2255          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56563359   SPIVEY         CERISE                8930          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73370713   SPIVEY         SALLIE                9174          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48048345   SPOON          JAMES                 7256          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85417074   SPOONER        CHRISI                3847          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85336921   SPRADLIN       LISA                  6028          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17012433   SPRAGUE        TERESA                0453          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98428455   SPRINGER       DIANNE                7990          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91736739   SPRINGFIELD    APRIL                 9478          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74581740   SPRINKLE       MISTY       J         1092          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52664550   SPROUSE        JAMES                 0441          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84028533   SPRUCE         DEANNA                4576          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62134272   SPRY           DENISE                7435          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79361898   SQUIRE         CATHERINE             4988          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23824966   STABLER        REBECCA               7913          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
60936671   STAFF          PAMELA                2985          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
44399315   STAFFORD       CORNELIA    M         7688          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48811775   STAFFORD       KERRY                 1293          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38168052   STAFFORD       MORGAN                       1978   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40922333   STAFFORD       PAMELA                7715          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45182508   STAFFORD       REBEKAH               9272          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46907043   STAFFORD       VICTORIA              9582          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27734950   STAHL          DONNA       ELEANOR   9838          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17554226   STAHL          LORA                  4119          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
96603285   STAIB          HELEN                 4317          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15634563   STAIGER        CATHERINE             3531          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83730791   STALKER        PATRICIA              1058          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17931957   STALLINGS      LINDA                 6158          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67867451   STALLIONS      BETTIE                2233          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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39719969   STALLWORTH   MARY                 9414          REJECT
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                                                                    OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                     Ex. 23
                                                                                                                                                         YES
23848141   STALNAKER    BONNIE      L        2175          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34677643   STALNAKER    VELMA                3167          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43613163   STAMPS       ROSIE                8611          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES           YES       YES
55793075   STANBURY     DEVON                4722          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73536849   STANCATO     SHIRLEY              8084          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32380121   STANDIFER    MELLIE               0904          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45231334   STANEK       PAMELA               1347          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72945816   STANGELAND   LINDA                4771          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88623669   STANLEY      BONNIE               8493          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34613865   STANLEY      CHERYL      MARIE    2944          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73020693   STANLEY      CONSTANCE            1619          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31895118   STANLEY      DELORES     C        1499          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81024837   STANLEY      EULALIE     ADORA    7159          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96156418   STANLEY      NINA                 2300          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12628737   STANLEY      PENNY                0026          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73361308   STANSELL     LOXY        E        7848          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42621960   STAPLES      WANDA                0185          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
92622728   STAPLETON    ANGELA               4175          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52894226   STARK        MARY        A        0446          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66653125   STARK        SONJA                8867          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53626178   STARK        VIRGINIA             5346          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51543739   STARKS       TANYA                       1971   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71846768   STARMAN      KIM         MARIE    8794          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51626308   STAROSKY     MICHELLE             9173          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59139337   STARR        LISA                 9860          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81728523   STARR        LOIS        A        2504          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22925686   STARR        RENEE                0944          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79558968   START        MICHELLE             7876          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62133177   STATEN       LORI                 8600          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33724033   STATEN       SANDRA               2968          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45211818   STATEN       SUE         H        6164          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11949914   STATON       SHERRI      FULLER   5894          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73254572   STAUB        EILEEN      M        1908          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47388839   STAUFF       MELODY               0086          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67836944   STAUFFER     ANGIE                0699          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14395341   STEARN       MELISSA              6312          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50167367   STEARNS      NORMA       JEAN     9981          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73900080   STEELE       AUDREY               7804          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43353782   STEELE       DEBORAH              4495          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97377157   STEELE       EVELYN      ANN      2925          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81731909   STEELE       GINA                 1107          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41525112   STEELE       JEFFREY              6004          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25658317   STEELE       JUSTINE              4330          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47935111   STEELE       RICHARD              1012          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46344082   STEELE       SUSAN       M        4388          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24036541   STEEN        KEVIN                6293          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55534152   STEEVES      MELANIE              2902          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23649233   STEFFES      NORMA       L        7392          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14632239   STEHLER      CAROLYN              9026          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23741045   STEINER      MARY        JANE     8362          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36706830   STEINHARDT   ALICE                4767          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98542711   STEINKAMP    LOUIS                       1954   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74454213   STEINMETZ    ANGELA                      1981   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72456309   STEINMETZ    ANGELA                      1981   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63038144   STELLY       ROSLYN               2814          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69465670   STEMM        SCOTT                8317          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27552134   STEMMLER     ALICE                4582          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98086850   STENSON      CORRINE              2706          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42448065   STEPHAN      LINDA                0285          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12403560   STEPHENS     BOBBIE               4222          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39936171   STEPHENS     KARLEEN              7594          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73823338   STEPP        MARIANNE             8100          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66511454   STEPP        SYLVANIA             3378          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29797255   STEPPER      NANCY                9110          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33879250   STERN        ANN                  8032          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69616176   STERN        JUDY                 4492          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73020576   STETTNER     DANIEL               4256          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84363679   STEVENS      CHERYL               4988          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17772326   STEVENS      DEBBIE               2730          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52918327   STEVENS      DONALD                      1965   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66076560   STEVENS      HEATHER     LEE      3598          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60000103   STEVENS      LORETTA              3964          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33287751   STEVENS      TARA                 5877          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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14673040   STEVENS          VIRGINIA              4043          REJECT
                                                                             PageID: 258557

                                                                         OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                              YES
47448958   STEVENSON        CLAUDIA               0169          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16762469   STEVENSON        PAULA      M          4443          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35126244   STEVENSON        STACEY                1895          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58830296   STEVERS          JEREMIAH              3198          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47201833   STEWARD          GLORIA                4183          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18405687   STEWARD          ROBIN                 6950          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70507153   STEWART          ANGELA     HARPER            1974   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66939071   STEWART          DEBORAH    H          1173          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32588685   STEWART          DELLA                 1893          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74669927   STEWART          JULIE                 8479          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70882200   STEWART          MARILYN               2946          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39817024   STEWART          MICHAEL                      1956   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52816228   STEWART          PHILIP                6002          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74994021   STEWART          SHIRLEY               2156          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31993178   STEWART          VALLERY    L          1809          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15609987   STEWART HENN     SHAWNA                7783          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51811863   STICE            JOY                   6874          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27296026   STICKLE WOMACK   DONNA      L          0992          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14206384   STIFFLER         ANGEL      L          3204          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68624040   STILES           ROBIN      L          5608          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79534044   STILES           SHANNA                3409          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19837987   STILLWELL        ANDREA                9688          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18015235   STILTNER         THUREL                3758          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
96508991   STINSON          DEBBIE                9003          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64288875   STINSON          JANET      MICHELLE   8918          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20419255   STIREWALT        KIMBERLY   MICHELLE   5460          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99171559   STITH            MATTHEW               1895          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92400842   STOA             DENISE                4566          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73351540   STOBER           JANICE                3507          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32139515   STOCK            PATRICIA              3542          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13726584   STOCK            VALERIE               6054          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46293080   STOCKS           VICTORIA              6126          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14986454   STODDARD         NANCY                 7670          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95742693   STODDARD         REBECCA               3685          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83944440   STOESSELL        SHELLY                       1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60282310   STOGNER          BOBBY                        1968   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65460116   STOKES           JEAN       R          3214          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22486788   STOKES           ROSETTA               8085          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16950897   STOKES           SANDRA     L          7619          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44865886   STOKMAN          LINDA                 6952          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31396774   STOLFE           DEBBIE                5823          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76841197   STOLTZFUS        GAIL                  4999          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34415447   STONE            BRIANA                0782          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64638389   STONE            JANE                  7861          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73213520   STONE            KAYLA      NICOLE     2901          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58968502   STONE            LORI                         1971   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77907054   STONE            MARGARET              9067          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32605712   STONE            MARY       ANN        3282          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
56903817   STONE            SARAH                 4841          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18747665   STONE CONDON     ZHENYA                3355          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17111558   STONER           JENNY                 3261          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35994272   STONES           DEBORAH    M          5270          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15828012   STONICHER        SARAH                 4815          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68952584   STORANDT         KAREN                 9675          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75391668   STORM            MARILYN                      1949   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11492312   STORTINI         DESIREE               6358          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40294628   STORY            PHILLIP               5853          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35330883   STORY            SHANNON    J          9672          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42039815   STOTTS           SANDRA                8181          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83268625   STOUFFE          BRENDA                8121          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94858672   STOUGH           CRAIG                        1956   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29535737   STOUT            ANITA                 3945          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75624031   STOUT            REBECCA               2893          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18470836   STOUT            ROGER                 2485          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21600185   STOUT            SHERRI                6285          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31508259   STOVER           RODNEY     A                 1988   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55658577   STOVER           SANDRA                       1984   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74232794   STRACHN          MILDRED               8381          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20062438   STRAHAN          DAVID                 1128          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73453388   STRAIN           BARBARA               9966          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79311308   STRAIN           GLADYS                0097          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97642390   STRAKA           KIMBERLY              4534          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49366209   STRAWTHER        MARY                  1252          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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56650941   STRETZ            MELISSA                   7305          REJECT
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                                                                              OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                               Ex. 23
                                                                                                                                                                   YES
31875038   STRICKLAND        JEREMY                           1982   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67828634   STRICKLAND        MICHELE                   6914          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92951776   STRICKLAND        TAMMY            LYNN     3344          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43168882   STRICKLEN         MONICA           GAIL     2724          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25174564   STRICKLER         GAIL                      9851          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22962840   STRICKLING        PEGGY                     4930          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96583436   STRINGER          LOLA                      7820          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81342439   STROBL            PAULETTA         DEA      5193          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82034111   STRONG            CHRISTINA                 7832          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41896759   STRONG            SHEREE                    8731          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23098463   STROUD            CARRIE           L        0341          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52569180   STROUD            GLORIA           FINLEY   5367          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45568421   STROUD            SARAH                            1946   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79134520   STRUCK            SHARON                    4015          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88630630   STRUNK            KIMBERLY                  5303          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52586592   STUART            ANNA                      2538          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16258826   STUART            IRMA             M        2181          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88134645   STUART            ROBERT                    2919          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79271468   STUBBS            ADDIE                     7183          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
28492575   STUCKEY           BILLIE           JO       8911          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39848083   STURGILL          BESSIE                    9961          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36714793   STURM             THERESA          MARIE    9028          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88789303   STUTZMAN          BETH                      9276          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59817424   STYLES            PATRICIA                  5743          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79328701   SUBASIC      JR   ROBERT                    0745          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60620150   SUBER             DEANNA                    7620          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94362793   SUDDITH           ODESSA                    7669          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36060002   SUGERMAN          ARLENE                    5626          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66051508   SUGGS             KRISTIE                   1818          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97411617   SUJETA            NORMA                     9896          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68355606   SULA              DAWN                      2315          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59160987   SULEK             LUCILLE                   4553          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69083785   SULKI             SUSAN                     3865          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88940628   SULKOWSKI         CHRISTOPHER      A        2207          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91975960   SULLIVAN          BETTY MICHELLE            7919          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44744601   SULLIVAN          BRENDA                    2494          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94288730   SULLIVAN          GWENDOLYN                 6116          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77981488   SULLIVAN          JOANN                     9935          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
57316299   SULLIVAN          MICAELA                   4385          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66681517   SULLIVAN          ROSEMARY                  9015          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26109288   SULLIVAN          TAMARA                    9106          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70377551   SULLIVAN          WILLIAM                          1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60333873   SULZER            LINDA            L        7232          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
61175320   SUMLER            GLENDA                    9175          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60930367   SUMNER            PAMELA                    6277          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39838249   SUMPLE            JOANN                     3513          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71075412   SUMPLE            JOANN                     3513          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31228423   SUMPTER           BETTY            S        6098          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31685026   SUMTER            BOBBIE                    2661          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48222049   SUMTER            MARY                      8191          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79984185   SUNDE             KAREN            P        5155          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73475070   SUNTER            ARLENE                    3410          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81198258   SUPPLE            ERIC                      2270          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46134527   SURGENER          LINDA                     4338          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76657119   SURITA            JOSEPH           ANGELO   3035          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21203308   SUSSMAN           CYNTHIA                   4313          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95802504   SUSSMAN           MADALYN                   3638          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94845422   SUTER             WALTER                    1383          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81170127   SUTHERLAND        CAROLYN          FAITH    8218          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39822292   SUTHERLAND        CHRISTOPHER      RAY      2756          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40727714   SUTPHIN           LORETTA                   0186          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30844127   SUTTON            MARY                      8961          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34781690   SUTTON            SHEILA           KAYE     7087          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70153870   SVATEK            KATHRYN                   7267          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84423181   SVELMOE           DEBRA            LYNN     0268          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74278738   SVOBODA           CHARLENE         A        4991          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71308260   SWAFFORD          CHERYL                    3878          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94044251   SWAFFORD          JOJAUN                    6647          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82462529   SWAIM             JOYCE                     8723          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12157440   SWAN              CAROLYN          SUE      0659          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31382061   SWANER            RYAN                      5338          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73250735   SWANGER           DIANE            MOSS     9531          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39912161   SWANN             MARGO            REGINA   2826          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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68925298   SWANN          OLIVIA       DIANNE      1178          REJECT
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                                                                          OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                               YES
97396692   SWANSON        CRYSTAL                  4952          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70186278   SWANSON        MARY                     8233          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89604859   SWARTLING      LORRAINE                 6195          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40461656   SWARTZ         RONALD                   3559          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53825383   SWEARINGEN     KENNETH                  4416          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39917166   SWEENEY        JODY                            1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35023116   SWEENEY        JUDY                     2761          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28423257   SWEENEY        LAURIE                   0581          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65588854   SWEENEY        LEAH         M           0420          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43876270   SWEET          MARLENE                  9811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91938552   SWEETSER       ANN                      8787          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59714526   SWENSON        DANIEL       W           6488          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37213217   SWENSON        ROBIN        MARIE       5045          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78486005   SWETISH        ELIZABETH    A           1005          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72091837   SWICK          PEYTON                   3636          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66644753   SWICORD        BONNIE       ELIZABETH   5519          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42811632   SWIERCZ        MARY                     8681          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52026566   SWIFT          EDWARD                   2157          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20004809   SWIGER         LASHELL                         1993   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65401557   SWINDLE        SUE                      7568          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92494121   SWINDLEHURST   CYNTHIA                  2197          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24548779   SWING          LOUISE                   5520          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98890051   SWINT          LARRY                    9382          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62754009   SWOPE          LATRICIA                 7081          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14226474   SYBERT         PAMELA       JANE        5951          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98672795   SYKES          MARLA                    4364          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64507210   SYLVAIN        SUSAN                    1208          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33152103   SYMINGTON      ALLISON                  2876          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27902493   SYMON          SUSAN                    5092          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67001254   SYX            SHEILA                   7763          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49149551   SZABO          JUSTINE                  8513          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39590641   TABAG          LORETTA                  4279          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24350766   TABOR          SARAH                    3460          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95302060   TACKER         LARRY                    3399          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32390732   TAFFEL         CINDY                    4471          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40534437   TAIBI          LILLIAN                  4381          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95749311   TAKOTEY        PENNY                    9975          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28960068   TALASKA        SANDRA                   7347          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95258648   TALATI         ANISHA                   1308          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54560659   TALBERT        SHERRI                   0826          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18752734   TALBOT         CAROL                    1109          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22267304   TALBOT         MARY                     8044          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72202882   TALLEY         RAI          L           8642          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53432248   TALLEY         ROBERT                          1987   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14357843   TALVACCHIO     GARY                     6690          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82650782   TAM            TAMMY        SUSAN       1616          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60675147   TANAKA         JOYCE                    2607          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39450536   TANNER         BRITTANY                 1914          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59771479   TANNER         GREGORY                         1967   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35110504   TANNER         NANCY                    4840          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46156949   TAPP           DEBRA                    6324          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79547121   TARANT         PAULETTE                 7893          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51946433   TARANTINO      RANDY                    1202          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81160734   TARANTO        MARION                   7568          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81203080   TARCZY         ANTOINETTE               1049          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47746406   TARRANT        TERRIE       UNDERWOOD          1961   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90581595   TART           WANDA        L         1951            REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20067541   TARVER         MELISSA                9732            ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25307005   TASCHLER       JOE                    6503            REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86972036   TASSONI        PATRICIA               2771            REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94889791   TATE           ARITRICE               4477            REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59224559   TATE           BERTHA       A         0523            REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67264575   TATE           BETTY                  3288            REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
44701340   TATE           DIANA                  2603            REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16776195   TATE           KATRINA                8345            REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30009535   TATUM          ANGELA       STARR     4142            REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41857943   TAUBER         CHRISTINA              7353            REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59016358   TAUCHER        RONALD                 7809            REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46946661   TAVARES        LUCIA                  6624            REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49481963   TAVENDER       SHIRLEY                2567            REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27716314   TAWNEY         CAROL                  3585            REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64123131   TAYLOR         AUBREY                 4093            REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24762750   TAYLOR         BOBBIE                 0725            REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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21145115   TAYLOR               CAROL         LEE        3977          REJECT
                                                                                    PageID: 258560

                                                                                OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                                 Ex. 23
                                                                                                                                                                     YES
21219284   TAYLOR               CATHY                    7945          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31684211   TAYLOR               DEANNE                   7141          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14324931   TAYLOR               DEBORAH                         1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45441435   TAYLOR               DEBRA                    1717          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49904596   TAYLOR               DIANE                    6368          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93769261   TAYLOR               ELIZABETH                1618          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60024317   TAYLOR               ELIZABETH     H                 1971   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78913470   TAYLOR               GAIL                     3193          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84841983   TAYLOR               GERRIE                   5992          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77717861   TAYLOR               IOLA                     4686          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15611072   TAYLOR               JANET                    1859          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94094711   TAYLOR               JANET         D          9858          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34354674   TAYLOR               KARLA                    0908          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23868454   TAYLOR               KIMBERLY                 8220          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35978991   TAYLOR               LAVERNE                  9487          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54263335   TAYLOR          JR   LENWOOD                  7654          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25111250   TAYLOR               LINDA         L          2262          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36389669   TAYLOR               MARGARET                 2306          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45647261   TAYLOR               MARION        EMMA       9466          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58731461   TAYLOR               MARY          M          7262          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60766372   TAYLOR               MELISSA                  6387          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21476669   TAYLOR               MICHAEL                  9641          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81597154   TAYLOR               MONICA                   8781          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54852389   TAYLOR               NANCY                    7771          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26183685   TAYLOR               PATRICIA      ANN        4608          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18229053   TAYLOR               PAULA                    8332          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39349802   TAYLOR               REBECCA       SUE        2916          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32120944   TAYLOR               RENONDA                  1319          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23732635   TAYLOR               SANDRA        L          6496          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29538524   TAYLOR               SHAKEYA                  8363          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94501043   TAYLOR               STACY                    8533          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69940365   TAYLOR               VICTORIA      E          3634          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66902757   TAYLOR               VIRGINIA                 1265          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88875964   TAYLOR MOORE         LESLEY                   3227          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88100655   TAYLOR WILLIAMS      BONNIE                   2284          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17552358   TEAGUE               SUSAN                    4170          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29199739   TEAL                 SUSAN         S          5354          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22458013   TEDESCHI             JEANINE                  0783          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15192469   TEETER               PAMELA                   9059          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14027767   TEIXEIRA             PATRICIA                 5624          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74907609   TEMPLE               BARBARA                  2017          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99308363   TEMPLE               CHERYL                   5645          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76008715   TEMPLE               SHERYL        S          6791          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83967245   TENDICK              STEPHANIE                2779          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70038817   TENENBAUM            ROBERT                   8908          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31582011   TENER                BARBARA                  2304          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23432755   TENHET               MYREE         DANIELLE   3273          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63121521   TENNANT              LILY                     4670          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45192926   TERANDO              LORRAINE                 8116          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81900910   TERHAAR              MICHELLE                 4308          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77764798   TERHURNE             LOIS                     9753          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16259466   TERPAK               RHONDA                   3091          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39688422   TERRANOVA            YVONNE                   7476          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23992729   TERRELL              CHRISTOPHER              8273          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16426463   TERRELL              DONNA                    2783          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24084652   TERRELL              HOWARD                   2447          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21737238   TERRELL              PAULETTE                 8018          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22647110   TERRELL              SHARON                   5811          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40404201   TERRELL              SHIRLEY       A          3520          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66141872   TERRELL              YOTERRICA     S          8726          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76324964   TERRY                ANNIE                    9988          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39668171   TERRY                CATHERINE                7069          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14683429   TERRY                CHARLOTTE                8321          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69505538   TERRY                MILDRED                  2087          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36529972   TERRY                NANCY                    1398          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67643468   TERRY                RUBIE                    1276          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16694901   TERRY                SHARON                   0083          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78817189   TERRY                WANDA                    4316          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16023825   TESMER               ARLEEN        R          4698          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31731986   TESSUM               DENISE        M          1474          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33811188   TESTA                STEPHANIE                1001          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34519252   TESTERMAN            JEFFERY       S                 1971   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47051478   TEVES                PAIGE         M                 1966   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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31004438   THACH           GLORIA                  9697          REJECT
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                                                                          OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                               YES
42033832   THACKER         JOYCE                   2649          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17052214   THACKER         NORMAN                  0209          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89208170   THARP           VIVIAN      ANN         6690          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62754321   THAYER          MIKE                    4777          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19799888   THELUSMA        MARIE       M           5744          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES           YES       YES
80417849   THEODOR         DEBORAH                 7133          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56123470   THEROUX         CLAIRE                  4052          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85767117   THIGPEN         CYNTHIA                 9459          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45278777   THINT           MARCUS                  2979          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34519925   THOMAS          ADA                     2766          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92764701   THOMAS          ALBERTA                 9317          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20451041   THOMAS          ALICE                   3180          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93352919   THOMAS          ARTHUR      L                  1952   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16582042   THOMAS          BENNIE      FAYE        9735          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29595138   THOMAS          BETTY                   2141          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67359499   THOMAS          BETTY                   5715          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98685250   THOMAS          CELESTINE               6017          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75394864   THOMAS          CHARLA                  1632          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63619680   THOMAS          DEBBIE      B           2265          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91389728   THOMAS          DEBORAH                 1406          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58384907   THOMAS          DONNA                   3609          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97289116   THOMAS          ELIZABETH   E           5352          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95936801   THOMAS          ELIZABETH               7527          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83715041   THOMAS          ESTHER      MARIE       0806          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23856726   THOMAS          JONATHAN    D                  1982   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73327592   THOMAS          JOY         L           8923          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
92901313   THOMAS          LAKISHA     MAY         4648          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27047212   THOMAS          LAKISHA                 9206          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70361399   THOMAS          LEEOTIE                 9388          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21964016   THOMAS          MARTHA      A           7281          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56716315   THOMAS          MARY                    1151          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98001493   THOMAS          MARY                    1332          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61388422   THOMAS          MATELINE    PATRICIA    1219          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30638345   THOMAS          MICHELE                 2346          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78021861   THOMAS          PAMELA                  3045          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79561108   THOMAS          PATRICE                 1630          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46635109   THOMAS          PATRICIA    A           2826          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80726303   THOMAS          PATRICIA                3227          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35718900   THOMAS          PATRICIA    LOUISE      4365          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93334328   THOMAS          PATRICIA                8675          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16226549   THOMAS          RACHAEL                 1156          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89554703   THOMAS          ROBERT                         1977   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38615960   THOMAS          ROSA                    7447          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69312940   THOMAS          SHARON      JOYCE       5765          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83582657   THOMAS          SHENIKI                 1241          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75953850   THOMAS          SHIRLEY                 3148          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22611570   THOMAS          SHIRLEY                 9000          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26408535   THOMAS          THOMASENE               0992          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68263293   THOMAS          VANESSA                 0353          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14167854   THOMAS          VICKY       L           9882          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68994923   THOMAS MORROW   AJA                     1205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24830312   THOMASON        DONNA                   8695          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24388130   THOMASON        WILLIAM                        1958   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43772946   THOMPKINS       SHIRLEY                 0325          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12933226   THOMPSON        ANDREA      J           7580          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33270437   THOMPSON        ANNE        BLACKWELL   9055          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24210763   THOMPSON        BARBARA     N           4631          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69669509   THOMPSON        BARBARA                 9704          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27171672   THOMPSON        BELINDA                 7184          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32160523   THOMPSON        CHRISTINE               3979          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65892894   THOMPSON        DARSHELL                9138          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86820233   THOMPSON        ELLEN                   1806          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37383051   THOMPSON        ERIKA                   1104          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54534704   THOMPSON        HANNA       S           5807          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69890360   THOMPSON        JAMI                    0371          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31765289   THOMPSON        JOANN                   3604          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95614488   THOMPSON        KAREN                   1511          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89840095   THOMPSON        KATHRYN                 0150          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81672866   THOMPSON        KELLY                   3376          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85750864   THOMPSON        KENNETH                 7383          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36454595   THOMPSON        LAURA                   8336          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16799987   THOMPSON        LOIS                    0486          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90303949   THOMPSON        LORNA                   5340          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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54198834   THOMPSON          MEISHA                 5859          REJECT
                                                                               PageID: 258562

                                                                           OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                            Ex. 23
                                                                                                                                                                YES
26727393   THOMPSON          NATALIE                2692          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27739603   THOMPSON          RANDEL                 8789          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12483979   THOMPSON          RENA                   4104          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16741227   THOMPSON          SHARRION               6745          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52187314   THOMPSON          SYLVIA                 7826          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99076090   THOMPSON          TANESHA                8893          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82777181   THOMPSON          TARA                   6504          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54768211   THOMPSON          YVONNE                 1606          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33262768   THOMPSON          ZIPPORAH               3946          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64541826   THOMSEN           SHARON                 9291          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98376588   THOMSON           VIRGINIA               4128          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38499259   THORDARSON        MARILYN                5187          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87554935   THORNBURG         ALINA                  2261          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14365964   THORNER           FRITZI                 6159          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48543701   THORNHILL         MARTIA                 0318          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89400071   THORNTON          ANNIE                  6864          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96830625   THORNTON          CARRIE                 0321          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53768887   THORNTON          CIRIACA                0679          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53666174   THORNTON          DEBRA        FRANCES   8838          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51537464   THORNTON          NORA                   2551          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37569863   THORNTON          PATTI                  3134          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19370378   THORNTON          STEPHANIE              8645          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14120802   THORSON           RANDI        H         4849          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30715188   THRASH            MARY                   9687          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25163387   THURMAN           PATRICE      M         4503          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39353124   THURMOND          ISABEL       Y         1257          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71950309   TIBBETTS          ROSALIE      ANN       1012          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16485840   TICKLE            PAMELA                 8180          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63499308   TIEMAN            JANET                  3004          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14247385   TIERNEY           DANIEL       O         2723          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81038204   TIGER             SHIRLEY      ANN       9278          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24826804   TILDERS           CHERYL       A         4864          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69430145   TILL              CONNIE                 4021          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89114529   TILLEY            MARY                   1949          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74307253   TILLEY            SUSAN                  4053          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11539012   TILLMAN           LORENE       A         5550          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57384236   TIMBERLAKE        JAYNE                  2976          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80064883   TIMM              LISA         A         9404          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49198120   TIMMS             LONNIE                 4099          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86336122   TIMOSCIEK         SHERYL       LYNN      7213          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88062119   TIMPONE           MARGUERITE             9891          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60627688   TINNER            TAMARA                 1990          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36692491   TINO              ELAINE                 3509          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48719291   TINSLEY           SHERRI       N         7773          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29211300   TIPPINS           RENA         M         6270          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72551415   TIPPS             TERRY                  7278          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59934463   TIRAO             PATRICIA     A         9051          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53852933   TISCHLER          MOLLY                  8405          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88246157   TISDALE           CHERYL       LYNN      8735          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32345186   TITTLE       JR   STOKLEY                6420          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18193942   TITUS             ADAM                          1961   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41638709   TITUS             ROSALYNNE              7845          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11551653   TOBIAS            DOROTHY                7553          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54117377   TOBIAS            JASMINE      M                1982   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40016844   TOBIN             EILEEN                 4307          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94887320   TOBIN             ELIZABETH    ANN       8993          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31693864   TODD              CYNTHIA                8498          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34218972   TODD              FRANCIS                8001          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86949642   TODD              MADONNA      M         9749          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20322574   TODD              SAMUEL                 7956          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42554445   TOETUU            TUPOU                  4041          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75244650   TOLAND            DEBBIE                 8439          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35060674   TOLBERT           ANGELA                 9055          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23677409   TOLBERT           CARRIE                 5069          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63195739   TOLER             NATASHA                3184          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44486777   TOLER             WALTER       DAVID     1221          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25825591   TOLFA             FRANCES      IRENE     2219          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64970884   TOLIVER           RENEE                  9059          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98890085   TOLLIVER          DONNA                  6858          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88178576   TOLLS             DEBRA                  7314          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72379018   TOMBLIN           GAILINA                1738          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43069011   TOMICH            BEVERLY                7320          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48885529   TOMLIN            RUTHIE       MAE       9253          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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85967178   TOMLINSON             KIMBERLY               1575          REJECT
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                                                                               OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                                Ex. 23
                                                                                                                                                                    YES
30695510   TOMLINSON             VICKI                  4511          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
55077904   TOMPKINS              BONNIE                 9073          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77887242   TOMPKINS         SR   CHARLES                       1949   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98116785   TOMPKINS              LIZA         G         7652          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59075031   TOMPKINS              MELISSA                5688          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78353654   TOMPKINS              SHERYL                 9549          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38047158   TONEY                 FELICIA                6329          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50937214   TONEY                 FRADELL                4373          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72086696   TONEY                 STEVE                  5761          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70781788   TONEY                 THERESA                5847          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81520218   TOOLAN                GLORIA                 3714          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70520758   TOPP                  DONNA                  7860          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90819739   TORO                  DOREEN                 7676          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47782148   TORRENCE              CYNTHIA                       1963   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85260562   TORRES                IDA                    9014          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96531196   TORRES                SHEILA                 4651          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76798928   TORRES                YADIRA                 5685          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80177602   TOSKIN                RANDAL                        1958   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88386157   TOTH                  JANE         M         5349          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25231312   TOTLEBEN              WENDY                  9864          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89999148   TOTOS                 KAREN                  1846          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50966519   TOTTERDALE            DARYL                  0767          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39511298   TOUSSAINT             LYDIA                  9112          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49413289   TOWNS                 KATHY        LYNN      6038          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
28790305   TOWNSEN               NATHAN                        1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
56823186   TOWNSEND              DONNA                  0043          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23190784   TRACHTENBERG          JANET        D         9690          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90817132   TRAESTER              JOSEPH                 1405          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28075630   TRAHAN                KATINA                 8321          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
44132207   TRAHAN                TERESA                 0399          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13130365   TRAIL                 JANET                  8614          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76886726   TRANBARGER            GLENDA                 3591          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40912509   TRAPANI               NORENE                 3783          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46721762   TRAPP                 JESSICA                6638          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42651961   TRAPPLER              WILMA                  5413          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14083712   TRAVER                BARBARA                6291          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31204840   TRAVIS                APRIL        E         2494          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14706882   TRAVIS                VERA                   8489          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11447843   TRAVIS           JR   YANCEY       E         7671          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42817215   TRAWICK               FRANCHETTA             9308          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32509332   TRAWICK SPEAKS        NANCY                  3352          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62101180   TRAYLOR               DEJUAN                 0560          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13441401   TREMBLAY              DIANNE                 6713          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
57727017   TREMBLEY              JUDITH                 1142          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40480306   TREMMEL               RENEE                  6433          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41055963   TRENT            JR   LAWRENCE     H         6184          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99318415   TREPANIER             HEIDE                  1710          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19347051   TRESHANSKY            ALLYN                  1064          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36166190   TRESSLER              MARY         JEAN      6586          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59722247   TRESSLER         SR   RICHARD                4629          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80453532   TREVINO               REBECA                 5908          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86323415   TREXLER               MYRA                   9443          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82355744   TRIANA                ROSEANN                5029          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90119041   TRIDICO               MARK                   2294          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55523657   TRINETTI              SHEILA                 8006          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66540813   TRINGALI              JUDY         A         4571          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30227442   TROCHE                DORKA                  5092          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85469370   TROGDON               SANDRA                 1982          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57527763   TROMAN                KIMBERLY     JILL      0388          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39520861   TROQUILLE             REBECCA                       1952   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78105187   TROSPER               REGINA                 6649          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85152085   TROTCHIE              JILLEEN                5272          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73537153   TROVER                DONALD                 0397          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32645619   TROWBRIDGE            EUGENE       CHARLES   6419          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85950545   TROWER                TONYA                  7798          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93500766   TRUAX                 KRISTYNE               4491          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33493716   TRUDEN                CATHY                  3746          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37555404   TRUELAND              RUTH                   2756          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18244338   TRUESDALE             QUEANNA                5343          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83186696   TRUJILLO              ASHLEY                 1295          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63212909   TRUJILLO              DARLENE      R         3891          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76118781   TRUJILLO              GLORIA                 3451          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64418958   TRUJILLO              HEATHER                7538          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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82293989   TRUJILLO            TERESA              3771          REJECT
                                                                              PageID: 258564

                                                                          OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                               YES
26583566   TSCHIDA             MYRTLE              2356          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87018204   TSILIMIGRAS         PANOREA             4358          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92408201   TUBOLINO            SHIRLEY     ANN     5767          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42654979   TUCKER              AMANDA              3038          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69739794   TUCKER              APRIL       D       0277          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58638556   TUCKER              CYNTHIA             1244          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
28351693   TUCKER              DAVID                      1949   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43470863   TUCKER              DIANA               9590          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30942152   TUCKER              JANICE      K       5882          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20164270   TUCKER              JAY                 8285          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62795193   TUCKER              JORGE               3637          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19689879   TUCKER              JUDITH      M       1979          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83109860   TUCKER              LATASHA             1138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36055014   TUCKER              LINDA               8677          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80169140   TUCKER              MARY        R       7048          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34231184   TUCKER              PHYLLIS             7901          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70471956   TUCKER              TAMMY               4994          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15360483   TUGGLE              TAMERA              7721          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73102605   TULIEBITZ           VALENTINA           3127          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77126483   TUMAMBING           MERCEDES            3302          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61903387   TURK                SHIRLEY             1831          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97571993   TURKLE              JOY                 8030          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56295188   TURLEY              WAYNE               4738          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48965213   TURLINGTON          ANITA               7638          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56488043   TURMAN              SHELBY              7094          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
55036598   TURMAN              SHIRLEY             5392          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94801693   TURNER              AMY         LEE     9527          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29320086   TURNER              BARBARA             3621          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
21235174   TURNER              BROOKE              6764          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61261047   TURNER              CARAL               1375          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38943754   TURNER              DEBORAH             9883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37237142   TURNER              HATTIE      W       1172          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96637652   TURNER              JOYCE               3583          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47694751   TURNER              LARRAINE            3885          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68015928   TURNER              LYNDIA      KAY     8170          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47157280   TURNER              MARK        B       4329          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81286109   TURNER              MARY                2716          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80629117   TURNER              ORA                 6726          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54264877   TURNER              RITA                2970          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39974698   TURNER              SANDRA              4641          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79387970   TURNER              SANDRA              7477          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24840904   TURNER              SARAH       M       6843          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25067043   TURNER              SHANTEL             3117          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26727043   TURNER              SHIRLEY             0393          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22663782   TURNER              VIRGINIA            7543          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42034595   TUTSON              TANIKA                     1976   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33271320   TUTTLE              TINA                0548          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94247733   TVEDE               OLE         R       0069          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43157315   TWIGG               MARILYN                    1957   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77255516   TYLER               RAMONA              3398          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46681402   TYNES          II   WILLIAM     C       6104          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44941800   TYREE               LISA                4973          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30858591   TYSON               APRIL               8021          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97931432   TYSON               CHRISTINE           0910          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
41970141   TYSON HARLEY        BEVERLY     ANN     2089          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90618457   TYUS                CHARITA             2802          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35886547   TZORFAS             SHELLEY             6472          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11557259   UDITSKY             DAVEEDA     R       6782          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44948219   UHRI                LINDA               8896          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15301392   UMBRA               TIFFANY                    1988   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50754969   UNDERELL            MICHELE             6078          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61263849   UNDERHILL           MARY                8093          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30132163   UNDERWOOD           ARELLA      M       8430          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13864696   UNDERWOOD           CHERYL              4176          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74689497   UNDERWOOD           PEGGY               3171          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37309491   UNGER               TERI        MARIE   2939          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65394240   URPS                DELBRA      ANN     8796          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30001728   URREA               THOMAS              0161          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74240939   UTLEY               YOLUNDA     DEYON   2267          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97093627   UTTER               SHIRLEY     LYNN    3270          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53953580   UYEMURA             STEVE               7445          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73845279   UZMACK              SHEILA              0005          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62929482   VACA                MIKE                1388          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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70474462   VACCARINO      JOSEPH                  6504          REJECT
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                                                                         OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                              YES
27409017   VADEN          SURANETTA               3872          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66995835   VAFAKOS        VIRGINIA                1258          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12533216   VAIL           JANICE                  7676          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68524880   VAILLANCOURT   DENISE                  9281          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15286454   VALADE         DENISE                  3291          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88598997   VALAITIS       MERCEDES                6334          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31402078   VALANDRA       CAROL                   1608          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73499950   VALDES         JOEL                    2595          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25302083   VALDESPINO     TERESA                  9366          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86922029   VALDEZ         ADOLFO                  8543          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21384948   VALDEZ         LUCY                    5827          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22422528   VALENCIA       THEODORE                7072          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19953929   VALENTE        MELODY                  7833          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48733439   VALENTIN       HELEN                   2177          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80481968   VALENTINE      CAROLYN                 8094          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51973716   VALENTINE      DELONDA                 2640          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
41651490   VALENTINE      JANNA                   3435          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50099829   VALENTINE      JEANNETTE               7221          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62365726   VALENTINE      LAURA                   2404          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
57741960   VALENTINE      SHIRLEY                 4572          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93793367   VALENTINI      CATHERINE    M          6677          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42258455   VALERIO        BERKY                   4626          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12280036   VALLANCE       KAREN                   5812          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88271618   VALLANCOURT    SANDRA       J          1748          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23901101   VALLE          LISA         KAY        6682          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12973500   VALLEJOS       JOANN                   0960          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23764850   VALLOWE        MICHELLE     M                 1974   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72401318   VAN LIEW       CINDI                   7341          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96221333   VAN LIEW       WANDA                   9235          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12854080   VAN SCHAIK     CAROLYN      S          3922          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24224882   VAN SUMEREN    ANNE                    4025          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25316892   VAN THULL      LUANN                   2323          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14045731   VAN VICKLE     AUTUMN                  0872          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48894107   VANCE          MILLIE                  6897          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42926251   VANCE          ROBERT                         1949   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26860104   VANDE LINDE    ANA                     6368          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99465418   VANDENBERG     MARILYN                 1010          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46502386   VANDENHEUVEL   ROSE                    1931          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63843678   VANDERBUSCH    BEATRICE                2807          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65922847   VANDERGRIFT    PEGGY        L          5671          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78872681   VANDRUNEN      EMILY                   3364          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15651939   VANEGAS        MARCY                   0762          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38472608   VANHOY         KENNETH      W          3374          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98955093   VANKALKEN      JUDY                    9189          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71387738   VANKE          J            WILLIAM    2859          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60963934   VANMETER       RITA         M          2056          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12710588   VANN           AMELIA                  0827          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92524541   VANNURDEN      LAURIE                  2029          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12122310   VANOVER        RHONDA                  6798          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88696356   VANPAGE        DEBRA                   4669          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79964750   VANT           JOAN                    1091          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50148448   VANWORMER      ROBIN        MARIE      4828          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90110119   VARGO          CHRISTINE               1756          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95000547   VARNADORE      BERNADETTE              6064          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63282620   VARNAUSKAS     JACKIE                  5800          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12159816   VARNER         BRUCE                   1665          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20029585   VARNUM         ROSE         C          9658          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67054606   VARVARESOS     CARLA                   8388          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28014491   VARVIL         MICHAEL                 7974          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16870607   VASQUEZ        HELEN                   1450          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54323465   VASQUEZ        RAQUEL                  0430          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18272321   VASQUEZ        VALERIE      ANN        7206          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50088098   VATNE          KATARINA                9958          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11501298   VAUDREUIL      LINDA                   2511          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36467334   VAUGHN         ALESIA                  1791          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94536127   VAUGHN         DOLORES                 4043          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43972619   VAUGHN         EDWARD       W          2487          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57122588   VAUGHN         JOANNE                  6771          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38062105   VAUGHN         KELLIE       PATRICIA   1513          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48630501   VAUGHN         NANCY                   1883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96160126   VAUGHN         RUTH                    9941          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90081802   VAUGHN         SUZANNE                 6262          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84835892   VAWTER         DEBRA                   3788          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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69600831   VAZQUEZ            DAWN                6950          REJECT
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                                                                         OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                              YES
66045677   VAZQUEZ            LIDELIA             6626          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86581618   VAZQUEZ            LILIA               3379          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42173023   VAZQUEZ            SYLVIA      A       1951          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88400127   VEAL               LOVIE               7310          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
60110967   VEAL               SAMILYA             9949          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14128190   VEASLEY            ALTA        G       3057          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72953652   VEASY HOGG         THERESA             2787          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55515872   VEGA               FELICIA             9980          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75503062   VEGHER             KIM                 4184          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76057341   VEITCH             RANDY       L       4776          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78721847   VEITH              SONIA               0077          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82868789   VELASCO            YOLANDA             5551          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49790636   VELASQUEZ PIERCE   XIMENA              6628          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70640947   VELEZ              MICHELLE            2735          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23835437   VELLONE            JANICE              8479          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77267233   VENDELBOE          BEVERLY             7740          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78028324   VERA               CAREY       MARIE   9326          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25356696   VERA               DANIEL      JAMES          1973   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46398958   VERA               HORTENCIA           5289          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68532770   VERDOORN           JANET               4473          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58922490   VERGARA            JOCELYN             9169          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24868578   VERHEST            LORRAINE            1848          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41549313   VERNETTI           TRINA               3768          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
55566607   VERWEY             CANDICE             7696          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73541459   VEST               ANNETTA     J       0112          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97830935   VESTAL             LINDA               8423          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72245669   VETRANO            LINDA               8848          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93910204   VEYSEY             KATHERINE   E       9778          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89989187   VIAENE             DIANA               3845          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94670947   VICKERY            COLLEEN     L       3187          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37407494   VICKERY            WILLIAM                    1957   ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54529048   VICKS              EILEEN              3163          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48452748   VIDAL              JESSICA             5528          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15161436   VIDAL              MARTHA              2976          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93360912   VIDETIC            MARGARET            0520          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30784848   VIDRO              MARILYN             3740          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79648017   VIERA              SHARTEEN            6989          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46861388   VILEN              TRISHA              7737          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12393860   VILLAGOMEZ         KATHLEEN            5589          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68727273   VILLANO            LINDA               0640          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37435387   VILLAREAL          KYLA        KAY            1981   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64947405   VILLARI            NANCY               7821          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15195887   VILLARREAL         EDWARD                     1934   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66897030   VILLARREAL         ESTELA              6609          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
44675705   VILLARREAL         FELIPE              5284          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80346739   VILLARREAL         NORMA       LISA    0909          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71663125   VILLIERS           MICHAEL                    1966   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86128802   VINCENT            CHARLOTTE   D       0069          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56892246   VINCENT            JANICE              0374          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62801179   VINCENT            JENNIFER    LYNN    8876          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33959467   VINCENT            SHIRLEY             9469          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72208505   VINCENTY           MAUREEN             1106          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90284546   VINSON             BARBARA             3158          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31553283   VINSON             CHARLOTTE           8765          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33153427   VINSON             MARY                1326          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95034799   VIOLETTE HAYDEN    PATSY               7906          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23595639   VIPRINO            LINDA               1710          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24399936   VIRGA              BARBARA             3048          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18702583   VITARO             IDA         MARIE   4498          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27191971   VITOLO             LUCY                9812          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82860112   VIVADELLI          DEBORAH             7861          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48920428   VIVERITO           JANINE              8883          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38528767   VO                 CAM                 4708          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45714878   VOGEL              JUDY                2286          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
28486664   VOILAND            DIANE               5513          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63494620   VOLLMER            DARCY               1122          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67209638   VOLPE              MAUREEN             7355          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49310620   VOLSTED            PATRICIA            3124          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19530321   VOLZ               KIM                 8324          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95406197   VON AHSEN          KRISTINE            8132          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18626300   VON BEREGHY        ANNE        M       6440          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42496148   VONDRA             MIKA                6871          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44703327   VONESH             JOHN        T       7897          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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43913487   VOORHIES              SARAH               5839          REJECT
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                                                                            OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                             Ex. 23
                                                                                                                                                                 YES
80492295   VORWALD               BARBARA     L       5525          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78426198   VOSS                  CINDY               1632          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11284567   VOYLES                SHIRLEY     J       0599          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88284174   VREELAND CORPE        LESLIE              2497          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15557660   VRENON                DEBORAH             8270          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14703493   VUTZ                  TANYA               0221          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84296443   WACHS                 BONNIE              9176          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34380593   WADDELL               EVELYN              5892          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45831707   WADE                  CLARA               0276          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
34163158   WADE                  LINDA               7760          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58869340   WADE                  MARY                0120          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30073618   WADE                  TYRONDA             2626          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89666734   WAGES                 MARY                3801          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81061650   WAGGONER              MARILYN             2328          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34935457   WAGGONER              STEPHANIE           4170          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32730826   WAGNER                CAROL               4636          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69917937   WAGNER                HARLENE     SMITH   2933          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76958340   WAGNER                TAMMY               4115          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15277190   WAGNER                VICKIE              8896          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36777129   WAGONER               CATHERN             4297          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20153425   WAHL                  DIANNE              6721          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26880356   WAINSCOTT             PHYLLIS             4658          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13000116   WAIT                  ANGIE               0946          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32095210   WAITE                 JAMIE               2784          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20634891   WAITE                 JOANNE              6320          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
56685843   WAITE                 PATRICK             1125          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47191047   WAITES                GLEANNA             0147          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
28389776   WAKSMUNSKI            CONSTANCE           4919          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88863732   WALDO                 ROSA        INES    6888          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65247211   WALDON                SANDRA      LENA    7486          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34977181   WALDOW                AMY         JO      2168          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55282661   WALDROP               ASHLEY      SPIES   2294          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85233171   WALDROP               BARBARA             4137          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91723664   WALDROP               HELEN               2894          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47633148   WALDROP               JUANITA             2920          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26186930   WALES                 KAREN               5821          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89334750   WALK                  SHIRLEY             3137          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24361138   WALKER                ALLIE       MAE     8875          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18693443   WALKER                ALLINE              8708          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90564258   WALKER                ANDREA      L       4749          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98255609   WALKER                ANGELA              3396          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54424691   WALKER                BARBARA     C       0535          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15873400   WALKER                CAROLYN             1165          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84619451   WALKER                CHERYL      D       5398          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91551247   WALKER                DEANA               7374          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52048628   WALKER           JR   ELBERT                     1949   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48390857   WALKER                ESTELLA     M       9226          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33620184   WALKER                FREDDIE             4856          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84778171   WALKER                JOSHUA              3757          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20527106   WALKER                KITTY               5378          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95730227   WALKER                LETHA               8661          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30914753   WALKER                LINDA               6594          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55618843   WALKER                LUVERN              0634          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
44900836   WALKER                MICHAEL             6705          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70393503   WALKER                ROXIE               9799          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19615167   WALKER                SHIRRINA    M       6907          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
56787633   WALKER                TONYA               6626          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13472260   WALKER                VERONICA            4904          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83315486   WALKER                WANDA               0083          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73071898   WALKER                WILLIE      MAE     9948          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74845518   WALL                  BRENDA              6968          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83306506   WALLACE               AMANDA              4213          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14900410   WALLACE               BETTY               9443          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98292600   WALLACE               DAVID               2482          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
56602819   WALLACE               DEBRA               8680          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83456370   WALLACE               JULIE               5884          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77816510   WALLACE               THERESA     A              1969   REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES           YES       YES
28967360   WALLEN                JULIE               9114          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63891635   WALLER                DANA                8564          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50854817   WALLER                PATRICIA            3383          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36352158   WALLICK               MARYLOU             8953          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25277835   WALLIS                BELINDA     JEAN           1962   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
55267337   WALLIS                PATRICIA            2818          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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92534442   WALLS                KAREN         KEMPSON   4746          REJECT
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                                                                               OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                                Ex. 23
                                                                                                                                                                    YES
25699007   WALSH                FELICIA       LEE       0507          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80164727   WALSH                HEATHER       D         5503          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19872273   WALSH                NANCY         J         3949          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62853539   WALSH                PATTIE                  6392          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64055485   WALSH REED           KAITLIN                 0054          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36659630   WALSH REED           SUSAN                   2252          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
57620714   WALSTRUM             STACEY                  8690          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45225094   WALTERS              ALDRED                  5647          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18296941   WALTERS              DIANA                   1674          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87331141   WALTHALL             TERRI                   1158          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82502273   WALTON               AMBER                   4986          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73908954   WALTON               CHRISTY       M         2481          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38012882   WALTON               EDNA                    2070          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45621595   WALTON               SHERRION                3264          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77304027   WAMBACH              AMANDA                  7907          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33857859   WAMMEL               LYNN                    5046          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22100361   WANGELIN             TAMARA                  4990          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26784757   WARADZIN             JOYCE                   0391          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62208452   WARD                 BEN                     0654          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74622716   WARD                 CAROLYN                 7314          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96817416   WARD                 CAROLYN                 7658          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65223808   WARD                 CYNTHIA       KAYE      2963          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66995892   WARD                 ELVIRA                  9574          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99740064   WARD                 FRANKYE                 0537          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88431191   WARD                 GINNY                   4866          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95435313   WARD                 HELEN         CAROLYN   6111          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66265036   WARD                 LESLIE                  0906          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78551377   WARD                 MARGARET                8260          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77414826   WARD                 SHERRON                 7932          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66696154   WARD MOORE           LYNN                    4792          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31963608   WARE                 KAREN                   7856          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21957941   WARING               CINNAMON                3350          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52777081   WARIX                SHIRLEY       L         0668          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24373762   WARNER               KATHY         LYNN      3691          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75903629   WARNER               LLOYD                   3764          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25349622   WARNER          JR   MARLIN                         1959   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15325529   WARNER               TERESA                         1962   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22240716   WARREN               BONNIE        H         6551          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47918677   WARREN               CHRISTOPHER   F         4894          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24659297   WARREN               ELIZABETH               6197          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48143063   WARREN               FAITH         D         4657          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18486022   WARREN               JACKIE                  3747          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59612622   WARREN               LINDA                   8993          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46294187   WARREN               MARTHANA                5021          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99515529   WARREN               MIRIAM                  1280          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62620005   WARREN               MYRIA                   0790          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97668115   WARREN               PAMELA                  9404          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70747223   WARREN               SENORA        L         0183          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74300276   WARREN               SHARON        KAY       8572          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21966989   WARREN               STEPHEN       C         1359          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65550163   WARREN               TERRY                   1131          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39518872   WARREN               TRACIE                  7514          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85856124   WARREN               TRINIA                         1978   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57666552   WARREN GURLLY        OLEATHA                 5080          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39903268   WARREN WADDY         DENISE                  8051          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79583110   WARRICK              RUTH          ELLEN     2263          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32837317   WARRINGTON           PATTY                   1615          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94013884   WASHBURN             THERESA                 6209          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24094411   WASHINGTON           ANDREA                  9260          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93457751   WASHINGTON           APHRODITE               6724          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62694546   WASHINGTON           BENITA                  2317          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75841244   WASHINGTON           CHARLENE                9819          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62855611   WASHINGTON           CLARENCETTA             9189          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79426002   WASHINGTON           COREY                   0572          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70072847   WASHINGTON           DARLENE                 8953          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32404364   WASHINGTON           EVELYN                  8968          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51200369   WASHINGTON           GEORGIA                 3452          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20192792   WASHINGTON           LULA          MAE       7344          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16703781   WASHINGTON           LULA                    8548          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76778642   WASHINGTON           OCTAVIA                 8205          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12362381   WASHINGTON           SHARON        Y         9587          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82048130   WASHINGTON           SHEILA                  5222          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65927706   WASHINGTON           VINNIE                  9667          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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16926157   WASSERMAN         DANA                       9373          REJECT
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                                                                               OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                                Ex. 23
                                                                                                                                                                    YES
93881526   WASSON            LYLE                       7143          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90601046   WATERS            CHRIS                      8940          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31969410   WATERS            CYNTHIA                    5253          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20351085   WATERS            JOANNA                     7143          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27250196   WATERS            KAILEY                     1281          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60267309   WATERS            MISTY                      7805          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66314146   WATERS            SALLY                      4633          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89167180   WATHKE            REBECCA        L           2138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45257401   WATKINS           ADELHEID                   7212          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42446620   WATKINS           ANTOINETTE                 4932          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44114817   WATKINS           BESSIE                     5520          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69525051   WATKINS           GRACE          A           4827          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41645691   WATKINS           JERRI          LYNN        5943          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36434834   WATKINS           JUANITA                    0925          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96772115   WATKINS           SHARI                      2005          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22227690   WATKINS BRADLEY   MARY                       2008          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69801222   WATSON            BARBARA                    1832          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16828856   WATSON            BRENDA                     2487          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12561452   WATSON            DEBORAH                    2102          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77604477   WATSON            DEBORAH                    7247          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94530884   WATSON            EMMA           L           1438          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83567270   WATSON            GRACIE         A           7281          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73756539   WATSON            KATHRYN                    4242          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94914720   WATSON            KERENHAPPUCH               2608          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85689492   WATSON            SHARON                     5880          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78415460   WATSON            THERESA        B           9451          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80521805   WATSON            TRAUTE         H           1564          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46271894   WATTENBARGER      DARLENE                    3307          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11712836   WATTS             CARLENE        S           9308          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82107650   WATTS             CHERESHA       ZANIQUE     8757          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80511568   WATTS             JUNE                       4143          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67586266   WATTS             MARGIE                     4636          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67279506   WAUN              DEBORAH                    5853          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24592870   WAXMAN            LORRAINE                   0380          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39696540   WEATHERLY         SHARON                     0335          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98362338   WEATHERS          JUNE                       3690          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71544022   WEATHERS          MARY                       4911          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52410353   WEATHERWAX        MARY                       5126          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48845522   WEATINGTON        DENISE                     3797          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62217787   WEAVER            CHERE          MARIE       2949          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46810162   WEAVER            ERIC                       1546          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28867414   WEAVER            HELEN          LORAINE     0745          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35517409   WEAVER            JOYCE          ALEASE      1984          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52281094   WEAVER            MARNA                      0193          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81256028   WEAVER            MARY                       4959          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58431403   WEAVER            SHERRY                     5729          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11267946   WEBB              AUTUMN         LEE         2041          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13538133   WEBB              INA                        1268          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68020105   WEBB              JANICE                            1966   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81650497   WEBB              KELLY          CHRISTINE   6235          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44969151   WEBB              LYNN                       9567          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59433776   WEBB              MAE            HELEN       3342          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70023082   WEBB              MIRIAM                     7049          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45786070   WEBB              RACHELLE                   6535          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90098357   WEBB              TINA                       3090          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72308674   WEBER             MARGARET                   0309          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31312738   WEBER             MARILYN                    8835          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79389094   WEBER             MISTY          DAWN        5257          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22875844   WEBSTER           CINDY                      9057          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97924505   WEBSTER           HENRY                      6104          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51822626   WEBSTER           LAKISHA        M           7380          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20419731   WEBSTER           ROBIN          E           2454          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88956476   WEDDELL           CATHERINE      J           9708          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36369314   WEDDINGTON        LAURA                      0582          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90478655   WEDLOW            YOLANDA                    2453          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
52156931   WEEDEN            TERRI                      5091          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62019549   WEEKS             BARBARA                    3165          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24773001   WEEKS             DONNA                      5584          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83980068   WEEMS             JANET                      7220          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81670239   WEEMS             MARTHA                     0866          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70333006   WEGENER           PATRICIA       ANNETTE     1884          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
92484979   WEGNER            JENNIFER                   9854          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89119045   WEHRY             RENEE                      6194          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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64216417   WEICHT         JOANNE       MARIE     8744          REJECT
                                                                            PageID: 258570

                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                         Ex. 23
                                                                                                                                                             YES
58668165   WEIDENHAMER    NANCY        L         6758          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22776318   WEILAND        JILL                   7089          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90550891   WEINER         MARILYN                1202          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70979863   WEINER         MARY         ANNE      6196          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54944407   WEINGART       WANDA                  6646          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58407225   WEINSTOCK      MARGOT                 5378          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35635186   WEINTRAUB      LINDA        ELLEN     1787          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
39432110   WEIS           RICHARD                0869          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19322965   WEISBERG       MELISSA                5422          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90191924   WEISENBERG     CARYN                  9144          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83026156   WEISGARBER     JEANNE                 5779          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28766200   WEISLO         MARY                   1188          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83110142   WEISS          HAMPTON                8948          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19619307   WEISS          TAMI                          1967   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
96509966   WEISS          TERI                   3065          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55628271   WELBORN        BARBARA                4092          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45174057   WELCH          BRENDA       KAY       4204          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44557666   WELCH          DARLEY       S         7705          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89783474   WELCH          KJUANA                 8020          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90757943   WELCH          RAYMOND                9926          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11453129   WELCH          REVLON                 9971          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49372086   WELCH          STEPHEN                9514          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55848887   WELDON         JEANNE                 3936          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65868495   WELLINGTON     RHONDA                 6771          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75525932   WELLINGTON     UNIQUE                 7589          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82568260   WELLMAN        MARY                   9513          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52797406   WELLS          BARBARA                6103          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22117720   WELLS          BARBARA      ANN       8694          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92573546   WELLS          CYNTHIA                8797          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66759267   WELLS          DONNA        M         9431          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97814559   WELLS          HAROLINE               2641          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98284652   WELLS          JUANITA                6136          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39119878   WELLS          NICOLE                 0396          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13346764   WELLS          PAMELA                 1484          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16109612   WELLS          SONYA        J         7749          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85602142   WELLS          TAMWANE                1229          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48277211   WELSH          ELAINE       LOUISE    8552          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64363017   WELSH          PEGGY                  9182          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87613297   WELTON         RENEE                  3444          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95657846   WENDT          JOY                    6329          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31495082   WERKMAN        CHERIL                 5481          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40969357   WERNER         MELISSA      WITT      7503          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14537647   WERTHEIMER     BARBARA                9005          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45625526   WESAW          ANDREA       JANE      3612          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64439490   WESCOTT        KIMBERLY               1867          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49465900   WESCOVICH      ELDORA                 2414          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11450838   WESLEY         DEMETRIA               7285          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42369123   WESLEY         HAROLD                 5686          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86456323   WEST           AMY                    1381          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74424314   WEST           ANTIONETTE   L         2777          ACCEPT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79552633   WEST           BARBARA                8784          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33786355   WEST           ERICA                  5534          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82036924   WEST           JANE                   5062          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34757202   WEST           KEVIA        JEFFREY   2864          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12962304   WEST           MALAIKA                       1995   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19441984   WEST           REBECCA      A         0098          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36340834   WEST           RONDA                         1948   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
85267236   WEST           SHELTON                1429          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92183277   WEST           SUSAN                  9885          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50704382   WEST           TANGELA      M         8787          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19639044   WEST           TRESA                  7930          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53184797   WESTBERRY      NANCY        LAURIE    3087          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71738196   WESTBROOK      LINDA                  3962          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
74370026   WESTCOTT       PEGGY                  7765          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83683437   WESTGATE       NATALIE                5244          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51558721   WESTMORELAND   ANGELA                 6124          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28570591   WESTON         RENELLA                5454          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97098695   WETHERED       LOIS                   4001          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78774228   WETTERSTEN     NANCY                  3932          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20544069   WEXLER         MARGARET               9906          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58272734   WEYANT         REBECCA                1353          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91152546   WHALEY         GLENDA                 5214          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49123330   WHARRY         ALYSE                  8273          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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17037628   WHATLEY           CHAD         M        4373          REJECT
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                                                                          OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                               YES
75158157   WHATLEY           NORMA        ELENA    0602          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40512076   WHEATON           HELEN                 2854          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46587569   WHEATON           RENEE                 0747          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45817433   WHEATON           TAMRA                 6324          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15984265   WHEATON JONES     NONA                         1957   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36655249   WHEELER           BETTY        J        3116          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98252177   WHEELER           BRENDA       GAIL     5487          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41015374   WHEELER           DOLORES      MAE      5481          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82694851   WHEELER           FELECIA               4529          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99818691   WHEELER           JACQUELINE            9878          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67793524   WHEELER           KAREN                 7226          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77203045   WHEELER           KEITH                 7037          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17299843   WHEELER           KENAH                 0649          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47838994   WHEELER           RETA                  6012          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89620635   WHEELER           SARAH                 5557          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32100250   WHILLANS          MICKEY                1666          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51213029   WHISENANT         JORDYN       LYNN     5980          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86584346   WHISLER           JESSICA      N        2905          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75142155   WHISNANT          JANET        GAIL     1813          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20853536   WHITACRE          SUSAN                 0256          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91514187   WHITAKER          CORA                  5131          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94462581   WHITAKER          DONNA                 0115          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49607179   WHITAKER          HELEN                 4056          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45108523   WHITAKER          JANICE                5473          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15402050   WHITAKER          MARIA                 0552          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85449455   WHITAKER          WANDA                 9830          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49090643   WHITE             AUDREY                6467          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62711750   WHITE             BARBARA               2049          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38575345   WHITE             BERTHA       J        2764          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
21436922   WHITE             BETHANY               5308          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91034704   WHITE             BONITA                0932          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31274662   WHITE             CANDACE               7546          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79443857   WHITE             CAROL        L        1621          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73297593   WHITE             CAROLYN      A        7549          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60763828   WHITE             CHERYL                7851          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91395718   WHITE             CORRINE      G        0644          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29418297   WHITE             CYNTHIA               5166          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79856361   WHITE             DAWN                  5108          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71023138   WHITE             DENNY                 5586          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69349361   WHITE             DONNA                 9100          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21566303   WHITE             EARNESTINE            1048          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14611721   WHITE             EBONY                 5945          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59795683   WHITE             EDDIE                 0590          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77447024   WHITE             ELOISE                4190          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23323647   WHITE             GLORIA       J        0932          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46489248   WHITE             GREG                  9514          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20905569   WHITE             HAZEL        A        1894          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39113515   WHITE             JAYNE                 8150          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45298004   WHITE             JORDAN                       1998   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19675078   WHITE             KAREN        L        8174          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71318591   WHITE             KENNETH               8027          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19981723   WHITE             KERRI        V        7638          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61769558   WHITE             KEVIN                        1964   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58328549   WHITE             LATONYA      GRAY     1952          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95368402   WHITE             LEIGH                 5966          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65820168   WHITE             LILLIE                8535          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69808898   WHITE             LISA                  3896          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80268027   WHITE             LYNDSI                3795          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79501529   WHITE             MILDRED               7867          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
41012882   WHITE             OPHELIA               0517          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48607084   WHITE             PATRICIA              8456          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41406094   WHITE             REBECCA      HARRIS   2911          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75784433   WHITE             RHONDA                3350          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90952158   WHITE             RUBYE                 0089          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98104488   WHITE             TARA         K        4920          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77630522   WHITE             THOMAS                4970          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87329327   WHITE             TRINA                 0380          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64838402   WHITE             VICKIE       E        3339          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29580345   WHITE             YULONDA               9393          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93515651   WHITE             YUNDELL               2456          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
70270973   WHITE BUFFALO     JOY          L        2757          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93240406   WHITE ROSE        SUSAN                 3582          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62721256   WHITE SULLENGER   SHARON                1256          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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22810729   WHITEHEAD          ELISA                4977          REJECT
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                                                                          OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                           Ex. 23
                                                                                                                                                               YES
51484304   WHITEHEAD          SAKETHIA             9962          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30653955   WHITEHEAD CARTER   TERESA               8611          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64629495   WHITESIDE          KELLY                3723          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80114875   WHITESIDE          ROBBIE               3282          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38988273   WHITFIELD          VICTORIA             9636          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29937667   WHITLATCH          KAREN                6573          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70344311   WHITLEY            LISA                 6343          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62350328   WHITLEY            MERCEDES             2812          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70087778   WHITLING           SAMANTHA             6548          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18828700   WHITMAN            BRENDA      M        4623          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71865830   WHITMAN            LINDA                0259          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51150509   WHITMER            JOY                  8700          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62580095   WHITMIRE           ROBERT               8276          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27615295   WHITMON            TERESA      S        8104          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62395244   WHITMORE           CHARLIE              6151          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40113306   WHITNEY            ELIZABETH            5485          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13931056   WHITSON            JAMES                6287          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31726421   WHITTINGTON        LAWANDA              3716          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23340201   WHOBREY            BELINDA              2062          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES           YES       YES
33046641   WHORIC             BRIAN       C               1982   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
12480766   WHRITENOUR         KRISTINE             6051          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27269940   WIDNER             TERRY       E        4887          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
82201859   WIEDRICH           KENNETH              0690          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53113121   WIEDYK             PATTY       S        1061          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
60133753   WIELAND            URSULA               4525          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98906011   WIELARD            KAREN                6224          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31237994   WIENCZAK           CRYSTAL     L        3077          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13289378   WIERSEMA           PAM                  4886          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19253770   WIEST              BLAKE                1377          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58196384   WIGENT             SHEILA               4258          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94263187   WIGGETT            JOSEPH      AUSTIN   9641          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66665976   WIGGINS            EUNICE               6576          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87375131   WIGGINS            NARISA      L        6408          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63578768   WILBANKS           MARGARET             1294          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99206500   WILBER             ANN                  4664          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23937145   WILCHER            GEORGE                      1946   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69312467   WILCHER            ROSIE       MAE      0925          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54620740   WILCOX             KARLA                7477          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83693589   WILDER             MICHAEL              1301          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60516793   WILES              KATHLEEN    R        0326          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68907889   WILES              TRAVIS               1390          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79717136   WILEY              ADA                  6045          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13322198   WILEY              BEVERLY              6214          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51762498   WILEY              CARYL                3998          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17373119   WILEY              JEFFREY              9046          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
70869020   WILEY              MARGARET             3680          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87953390   WILKERSON          DEBORAH     I        1143          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71651871   WILKERSON          DORA                 6727          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95199497   WILKINS            KAREN                4542          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84698285   WILKINS            KEIRA                7867          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93652947   WILKINS            MONIKA               4866          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39681923   WILKINS            TINA        LASUN    0176          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30957646   WILKINSON          CHRISTINA            5213          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82747072   WILKINSON          HELEN                1773          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67439709   WILKS              DAVID                0401          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34859217   WILLARD            SUSAN       E        8509          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62464194   WILLARD            VELMA                2257          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95227575   WILLCUT            CONNIE               4204          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45566329   WILLETT            CAROLYN              7603          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25899398   WILLETT            ERIN                 9478          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38610469   WILLETT            MARGARET             9750          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50143188   WILLEY             JUNE                 9935          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16940052   WILLHOUSE          BARBARA              3429          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73412697   WILLIAMS           ALEXANDER            8469          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81528066   WILLIAMS           AMANDA               3962          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90982045   WILLIAMS           ANNE                 9407          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96469988   WILLIAMS           ANNIE                4806          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62718514   WILLIAMS           APRIL                9469          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
83320626   WILLIAMS           ARLENE      MALOYD   3053          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97777058   WILLIAMS           BARAKAH              2993          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85222755   WILLIAMS           BETTY                       1948   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92921023   WILLIAMS           BETTYANN             3987          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26041107   WILLIAMS           BEVERLY              5783          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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44970243   WILLIAMS        BRENDA                2293          REJECT
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                                                                        OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                         Ex. 23
                                                                                                                                                             YES
50576866   WILLIAMS        CAROLYN               8793          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
61681051   WILLIAMS        CHARLES               9522          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87665988   WILLIAMS        CHRISTINE             2656          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
44307727   WILLIAMS        CIERRA                7536          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16286645   WILLIAMS        COLLEEN                      1979   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50273151   WILLIAMS        CONNIE                3899          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76659121   WILLIAMS        CORDELIA              4886          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12677874   WILLIAMS        CYANE                 5507          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88402300   WILLIAMS        DANA                  4020          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37272458   WILLIAMS        DARLENE               1535          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90794789   WILLIAMS        DAVID                 5484          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32280605   WILLIAMS        DAWN                  1645          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81980351   WILLIAMS        DEANNA      R         3657          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30747518   WILLIAMS        DEBORAH               4785          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
21083772   WILLIAMS        DEBRA       E         8228          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30750115   WILLIAMS        DENISE                5776          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32030007   WILLIAMS        DENISE                8752          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
96524846   WILLIAMS        DONNA                 2547          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95822342   WILLIAMS        DONNA       JEAN      2717          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42974210   WILLIAMS        DORIS                 1008          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
89633124   WILLIAMS        EMMA        LEE       4053          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98636364   WILLIAMS        FRANCES               0503          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99852266   WILLIAMS        FRANCES               3620          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37415196   WILLIAMS        FRANK       DONALD    9813          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71001414   WILLIAMS        GAIL                  2789          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45333831   WILLIAMS        GAIL                  8166          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95983438   WILLIAMS   JR   HAROLD                4849          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65759545   WILLIAMS        JAMES                 7434          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12164534   WILLIAMS        JAMIE                 0684          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27680741   WILLIAMS        JANET       M         4665          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33675732   WILLIAMS        JENNIFER                     1989   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49887876   WILLIAMS        JEREMIAH              9623          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75287833   WILLIAMS        JOHNNY                1696          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
13644982   WILLIAMS        JOSEPHINE             7234          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
41861688   WILLIAMS        JOYCE                 1201          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37394768   WILLIAMS        KEVIN                 2203          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13312334   WILLIAMS        LARRY       G                1957   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11418985   WILLIAMS        LAURIE                2014          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29907014   WILLIAMS        LENA                  3762          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85332377   WILLIAMS        LINDA       A         6120          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79158075   WILLIAMS        LORI                  5282          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
32964618   WILLIAMS        LORNA                 7261          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
55487372   WILLIAMS        MARILYN               6371          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64785286   WILLIAMS        MARY                  0073          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60353086   WILLIAMS        MARY                  5225          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78948967   WILLIAMS        MARY                  8429          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16736882   WILLIAMS        MELANIE               1834          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54029213   WILLIAMS        MELISSA               2056          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75329355   WILLIAMS        NICOLE                0943          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59596597   WILLIAMS        OLIVIA                2153          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39980168   WILLIAMS        PAM                   0433          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63373514   WILLIAMS        PAMELA                7210          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50962395   WILLIAMS        PATRICIA              1774          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13296540   WILLIAMS        PATRICIA              9959          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27113164   WILLIAMS        PAUL                  8096          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73009112   WILLIAMS        PAULA                 8690          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14801942   WILLIAMS        REGINA                8158          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58152719   WILLIAMS        RENAE       L         1441          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36494788   WILLIAMS        RHONDA                7940          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
62943762   WILLIAMS        RICKY       LYNN      7746          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
54671885   WILLIAMS        ROBERT      ALVIN     2648          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43805594   WILLIAMS        ROBERTA               0022          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
57170325   WILLIAMS        ROSALIND                     1971   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29968494   WILLIAMS        ROSETTA               1781          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16878361   WILLIAMS        RUBY                  5400          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
33320313   WILLIAMS        RUTH                  4381          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
74973857   WILLIAMS        SANDRA      JUANITA   0813          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23143228   WILLIAMS        SHAMEKIA              7854          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65029743   WILLIAMS        SHAQUILLE             5975          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21469544   WILLIAMS        SHARON                7772          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94561195   WILLIAMS        SHERISE               0824          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15481549   WILLIAMS        SHIRLEY     D         7867          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84821808   WILLIAMS        SHIRLEY     B         8598          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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32041727   WILLIAMS            STACEY                0845          REJECT
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                                                                            OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES
                                                                                                                                                             Ex. 23
                                                                                                                                                                 YES
16853981   WILLIAMS            SUSAN       D         7203          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25187623   WILLIAMS            TALISHA     HILLERY   2768          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
21329065   WILLIAMS            TAMEKA                1183          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19073095   WILLIAMS            THOMAS                2322          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50878743   WILLIAMS            TIFFANIE              9539          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11392447   WILLIAMS            TIFFANY               4626          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24022524   WILLIAMS            TRENA                 9490          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36020477   WILLIAMS            TYNA        D         7698          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66889080   WILLIAMS            VANDELLA              4640          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78219223   WILLIAMS            VANESSA     LICIA     3969          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
48384517   WILLIAMS            VERONICA    J         0027          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31215346   WILLIAMS            VESTELLA              5648          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14398792   WILLIAMS            YOLANDA               2427          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24481053   WILLIAMS ANDERSON   CHERYL                2394          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93379477   WILLIAMS CROSS      WILLA                 9221          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32804901   WILLIAMS DAVIS      SHARON                7854          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75472197   WILLIAMS GAMMAGE    APRIL                        1969   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45276124   WILLIAMS PERKINS    PAMALA                3142          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82569836   WILLIAMSON          CRYSTAL               0138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78126907   WILLIAMSON          DOUGLAS                      1955   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
95680470   WILLIAMSON          GWENDOLYN   L         2411          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
57899449   WILLIAMSON          KAITLYN               2583          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99395917   WILLIAMSON          MARY        L         1318          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77736834   WILLIAMSON          NANCY       L         3611          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
60617410   WILLIAMSON          ROSE        ANN       3696          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
19967083   WILLIAMSON          VELMA                 0651          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
41218534   WILLINK             SHERYL                8362          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35030609   WILLIS              CHESTER     LAVOYD    1544          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16582702   WILLIS              DEBRA                 9284          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
20559522   WILLIS              EDIE                  5770          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33109200   WILLIS              IDA         MARIA     1175          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90863033   WILLIS              MARCUS      K         1508          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55352004   WILLIS              MODISHA               1519          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61654993   WILLIS              SHANNON     R         8346          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46318709   WILLMS              KAREN                 9036          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17871899   WILLOCK             DELPHINA    J         4066          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17008853   WILLOUGHBY          ANA         M         7711          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
67186538   WILLOW              KYE                   4113          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52054524   WILLS               LARRY                 5100          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
30382456   WILLS               VAUNDLENA   COMBS     9665          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
44507065   WILSMAN             LORRIE                9161          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
21971845   WILSON              ALETHA      G         2424          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73984393   WILSON              BRANDON               7394          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35563392   WILSON              CANDACE               8068          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11745318   WILSON              CAROLYN               3837          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23927740   WILSON              CRYSTAL               3965          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61744976   WILSON              CYNTHIA     A         1588          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
81316698   WILSON              DEBBIE      BULLOCK   4908          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65173550   WILSON              DELLA       S         2964          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45359267   WILSON              GEORGIA               1310          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
62205707   WILSON              HERBERT               1576          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11848572   WILSON              HOLLY                 7335          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94093733   WILSON              IRLYNDA     D         7324          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82197901   WILSON              JACK                         1958   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49652293   WILSON              JAYME       LAUREN    9774          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
29355079   WILSON              JESSICA               8111          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
23124963   WILSON              KATRINA               7998          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75143970   WILSON              LISA                  7029          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77756887   WILSON              LIZABETH              6182          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
20111903   WILSON              LULA        M         6870          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51993355   WILSON              MARIA                 2361          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
88933243   WILSON              MARY        I         2729          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63198379   WILSON              MARY        JANE      5335          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31242908   WILSON              MIA                   4548          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
66906350   WILSON              PHYLLIS               2802          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79254695   WILSON              REBECCA               4972          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
76500611   WILSON              SHEILA                5632          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
71010233   WILSON              SHERON                3292          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
63200225   WILSON              SHIRLEY     JEAN      7371          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17979637   WILSON              SHIRLEY               9412          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72814649   WILSON              TANYEONH              2336          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94874347   WILSON              TERESA      P         6630          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65241111   WILSON              TRACEY                6981          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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25385736   WILSON       VALORIE               6696          REJECT
                                                                         PageID: 258575

                                                                     OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                      Ex. 23
                                                                                                                                                          YES
16571197   WILSON       XAVIER                       1978   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91212665   WILWERT      HELEN                 4965          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37742108   WIMBERLEY    LARRAINE              3240          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17828392   WIMBERLY     SONYA                 2440          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17038363   WINBURY      BOBBIE                2491          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
72858779   WINCHEL      CHERON                1496          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50246897   WINCHELL     CANISHA                      1974   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85182613   WINCHESTER   BONNIE                2257          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36832365   WINDER       SHERRON      MARIE    4792          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96273526   WINDLESS     SUSIE                 8945          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78102951   WINDOM       SALLIE                1202          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
49163898   WINDSOR      JEANNE                5983          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47562884   WINES        MARY         M        2614          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75077006   WINESBERRY   ALDINA                7003          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87186735   WINFIELD     RETHA                 6412          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46383049   WINFIELD     SHEILA                5635          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
47834219   WINGATE      ALEXANDRA                    1974   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16400205   WINGERT      KRISTINE              0057          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78290770   WINGFIELD    JACQUELINE            6475          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93330359   WINGFIELD    SHARI                 6988          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
58811399   WINGO        LYNDA                 8877          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13013424   WININGER     INEDA                 6896          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85507320   WINKE        TRACY                        1962   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14186858   WINKELMAN    SARAH        DAWN     7091          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28039476   WINKLER      REBECCA      J        2691          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
16701320   WINN         ANA          M        9301          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87388563   WINSOR       DEBORA                8157          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63760021   WINSTON      BRIDGET               1729          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47717066   WINSTON      DEBRA                 1227          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28439132   WINSTON      DEBRA                 7984          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98394300   WINTER       NANCY                 6760          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
66387336   WINTERS      IDABELLE              7402          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59156937   WINTERS      JENNIFER              7805          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
73711087   WINTERS      WANDA                 0595          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18065104   WIREMAN      KAREN        S        2123          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19052722   WIRTH        LAURA        J        5682          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17787129   WISE         ADRIENNE              9484          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15357738   WISER        BARBARA      GAIL     9239          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
51170944   WISNIEWSKI   GARNET       LEE      8411          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14422771   WISNIEWSKI   ROXANN                5043          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98177540   WITHROW      REBECCA               8590          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68476102   WITT         MARVIN                       1942   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11867312   WITT         VICTORIA              9432          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
38579165   WITTER       LYNN                  3932          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98004349   WITTEVEEN    CRYSTAL               0172          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
90623619   WITYCZAK     EVA                   7620          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26972312   WOELFEL      SHEILA                4226          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18635662   WOJCICKI     JOE                   7483          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
36452053   WOJCIK       CINDY        L        1489          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31513267   WOJSLAW      ELIZABETH             3841          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87604141   WOJTUL       MARION                0059          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21278720   WOJTYCSKI    PATRICIA              1922          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87128193   WOLF         HELEN        L        5671          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25865485   WOLF         LISA         L        9695          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76421051   WOLF         RONNIE       H        0260          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
83396553   WOLFE        DEBORAH               6440          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60853558   WOLFE        DELORES      A        5611          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
64347115   WOLFE        JOSEPHINE             5960          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32442973   WOLFE        LINDA        E        6051          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
96506515   WOLFE        PATRICIA     M        2992          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89224708   WOLFE        REBECCA               6890          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24206483   WOLFE        STARLENE              9912          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15734458   WOLFE        TRACEY                1989          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26751697   WOLFENDEN    INGRID                5488          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
11450896   WOLFF        CAMILLE               8670          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53929475   WOLFF        SALLIE                1750          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97696527   WOLFGANG     WANDA                 5790          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
26502825   WONG         GRACE                 1412          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
36024796   WOOD         ANNE         MASSEY   4389          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61980153   WOOD         CATA                  2227          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41052787   WOOD         CATHY                 1072          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46733564   WOOD         GLORY                 5750          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
57395879   WOOD         JANIE                 5060          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
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75433583   WOOD            JOANNE       ELAINE   5106          REJECT
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                                                                        OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                         Ex. 23
                                                                                                                                                             YES
88236919   WOOD            KATHERINE             9770          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58070064   WOOD            KRISTIN      A               1966   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41585537   WOOD            MARGARET              2718          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89735334   WOOD            MISTY                 3747          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
59000065   WOOD            SHIRL                 4666          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41576637   WOOD            THERESA               8848          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23416390   WOOD            TONI                  5060          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
97838642   WOOD            WILLIAM               5726          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63174601   WOODALL         LINDA        S        0323          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41929401   WOODARD         VALERIE               3287          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
17890160   WOODARDS        SHANA                 8735          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
94672226   WOODGEARD       KATHERINE    LOUISE   1961          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
84134328   WOODHAM         SHERRIE               0385          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99043528   WOODLE          LOUISE       M        0304          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31549976   WOODLEY         JACQUELINE   D        5640          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33265524   WOODLEY         JOYCE        ANN      8812          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86243979   WOODMARR        JEREMY                       1990   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55761150   WOODRUFF        LYNETTE               0953          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
43777404   WOODRUM         CANDACE               5050          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
68268338   WOODS           BRENDA                2588          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
46074298   WOODS           DONNA                 0094          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
86559627   WOODS           EDWARD                6383          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
89788486   WOODS           IMELDA                1423          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67192762   WOODS           JANET                 2422          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29358075   WOODS           JEANETTE              1645          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35532049   WOODS           KIMBERLY     D        3526          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
40422036   WOODS           MELISSA      D        1444          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
28125956   WOODS           MISTY                 1106          REJECT   OPTION A CERTIFICATION   OTHER DISEASE          CYST         YES           YES       YES
20569760   WOODS           NELLIE                9081          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
76012668   WOODS           ROSLYN                1133          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24364811   WOODS           SHARRON               4631          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
61688623   WOODS           VIOLET                2076          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59398409   WOODWARD        DAVID                 7659          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
64000656   WOODWARD        DONNA        ANN      4128          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
81007558   WOODWARD        ELIZABETH             8382          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27890980   WOODWARD        KATHLEEN              3522          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39819283   WOODWARD        NORMA                 4730          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98019172   WOODWARD HALL   LASHAWN               2338          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
87219296   WOODY           MISTY        D        9875          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33229636   WOODY           SANDRA                1086          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50977623   WOOLDRIDGE      JOEL         D        2283          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93883471   WOOLISON        DONNA                 3915          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42158976   WOOLIVER        CONNIE                7058          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
14170018   WOOLLEY         MELISSA               0993          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65457967   WOOSLEY         YOLONDA                      1968   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
84035657   WOOTEN          FRANCIS               6157          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
72038335   WOOTEN          JOE          FRANK    1696          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63818650   WOOTEN          JUNE                  7088          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60465450   WOOTEN          KEITH        M        6034          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99307446   WOOTEN          WILLIAM               9235          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41949926   WOOTTEN         BILL                  5153          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
46789740   WORD            VENA                  2081          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26196437   WORLEY          DEBORAH               1656          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54666965   WORNE           MARLENE               3976          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
22119596   WORSTELL        DELORIS               6373          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71530830   WORTH           WAYNE                 3613          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
82282946   WORTHINGTON     DEBORAH      K        9129          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26532700   WORTHLEY        IAN                          1991   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98156203   WOZNEAK         TONYA                 7762          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
65780930   WOZNIAK         CONNIE                4577          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
49648046   WRAY            KIMBERLY     JEWEL    2676          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90323516   WRAY            YVONNE       A        1722          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
80255680   WREN            BARBARA               6891          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79485818   WRIGHT          ANGELA                8504          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
54841327   WRIGHT          AUDREY                0707          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31685303   WRIGHT          BRENDA       C        3514          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
22619152   WRIGHT          CARELIN      K        4900          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19623464   WRIGHT          CAROLYN               2329          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88044244   WRIGHT          CHERYL                4328          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94360638   WRIGHT          DODI                  0524          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52940425   WRIGHT          DOROTHY               8344          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90781002   WRIGHT          EVELYN                4052          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97393590   WRIGHT          HERBERT      L        3855          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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95644189   WRIGHT           JANICE                0427          REJECT
                                                                             PageID: 258577

                                                                         OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                          Ex. 23
                                                                                                                                                              YES
81592560   WRIGHT           JAYCEE                3682          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12866598   WRIGHT           JEANA                 9792          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40728904   WRIGHT           JENNETTE              4326          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
57873412   WRIGHT           KAREN                 9751          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
85451792   WRIGHT           KEION                 3897          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
58996448   WRIGHT           LATOSHIA              6138          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
71494146   WRIGHT           LINDA                 4295          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65517559   WRIGHT           LISA                  4654          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35298743   WRIGHT           LONDON                3481          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73136478   WRIGHT           MARY                  2219          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
11714323   WRIGHT           PAMELA       KAY      1181          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26926624   WRIGHT           PAMELA                1847          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69172405   WRIGHT           RHONDA                2151          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
94002166   WRIGHT           ROBIN                 6712          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
97756609   WRIGHT           SCOTT                 1816          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24329124   WRIGHT           SHEILA                9034          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
27158591   WRIGHT           WILLIE       EVA      8076          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
75829211   WRIGHT           WINNIE                8211          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25966638   WRIGHT NELSON    TANYA                 9806          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
16390873   WRIGHT NG        SHIRLEY      A        1195          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
79658623   WRIGHTSMITH      DAVID                 0856          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
67833905   WUNDER           SUSAN        L        4374          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
45839580   WYANDT HIEBERT   MARY         A        3263          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87843731   WYATT            JESS                  3243          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
21188038   WYATT            NANCY                 6720          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
98502221   WYCKOFF          RONDA                 5872          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61007269   WYLIE            CHERYL                9007          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
25944934   WYLIE            PATTI                 3779          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
44627706   WYLLIE           JOAN                  6513          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
31233425   WYMAN            CINDY                 0905          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
69437904   WYNN             DAISY                 0010          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
13389821   WYNN             ELLEN                 3399          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
40856930   WYNN             TONI                  7780          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48756857   YADON            LORIE                 1919          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
75750637   YAHOLA           ROSE                  3844          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
80651750   YAKHIN           SARA                  9931          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
17659348   YAKSHAW          KRISTINA     L        9833          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35560021   YANCEY           VANESSA               7066          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59066885   YANES            MARIA        C        2307          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
98378060   YANKOSKY         BARBARA               6921          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52780780   YARBRO           MARILYN               8297          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35742261   YATES            DONNA                 0995          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
37716761   YATES            JEFFREY      THOMAS          1980   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
27007092   YATES            PHYLLIS      ANN      3682          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
38951720   YAVARASKI        KIM                   5803          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
77268541   YAW              TINA                  5844          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73472935   YDE              BRENDA                4773          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
32839964   YEE              ALMA         B        1335          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
77883283   YELVERTON        BETSY                 0134          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68190938   YELYN            PATRICIA     GAYLE    3166          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
12776523   YEZEK            CHARLOTTE    M        9309          ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
28915433   YISRAEL          QETSIYAH              2363          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60380375   YLINIEMI         PATRICIA              4391          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55618045   YODER            ROBERTA               8232          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91725975   YOHO             DOROTHY               5036          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
31265099   YOKLEY           MARGARET     L        2118          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
73053153   YOKLEY           WENDY                 4573          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60629559   YOKOM            CATHERINE    L        2671          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
23329929   YORBA            LISA                  3543          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
21901199   YORK             BEATRICE     BAKER    2981          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
91387194   YORK             SCOTTY       R        2576          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
50944727   YORK             SUSAN                 0974          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15750666   YORK             WYACHIA               9311          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39389435   YOSHIDA          ANDRIYANI             0029          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45044833   YOUNG            ANNIE                 3556          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
50617695   YOUNG            BARBARA      JEAN            1948   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
24535094   YOUNG            BRENDA                2525          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87650645   YOUNG            BRITNIE               9094          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
34908147   YOUNG            CRYSTAL               1571          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
51955230   YOUNG            CRYSTAL                      1991   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18697661   YOUNG            GWENDOLYN             7496          REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
78409947   YOUNG            JACQUELINE            9348          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
52663059   YOUNG            JENNIFER              2282          REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
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61058979   YOUNG             LINDA                 8815   REJECT
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                                                                   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES
                                                                                                                                                    Ex. 23
                                                                                                                                                        YES
11251647   YOUNG             MARGLASTER            0144   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
69639638   YOUNG             MARILYN      T        4835   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
43337675   YOUNG             MICHELE               8279   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
88009996   YOUNG             MONICA                4056   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
18546684   YOUNG             PEGGY                 0441   ACCEPT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
99766524   YOUNG             REBECCA      B        1883   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
25656193   YOUNG             ROSALIND              4409   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
26371168   YOUNG             RUTH         G        6651   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
18881784   YOUNG             SANDRA                0913   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
92132201   YOUNG             STEVE                 3402   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
87003717   YOUNG             TERESA                1241   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
93124165   YOUNG             ZENA         B        7565   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
35803549   YOUNG BEY         DEBORAH      A        4720   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
90418818   YOUNGBLOOD        APRIL                 0355   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
79048091   YSRAYL            ATARAYAH              2548   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
42397627   YU                JOHN                  3811   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
24497537   YUEN              NANCY        ROXANN   4182   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
39570509   YURECKO           TAWNYA                6033   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
33078017   ZACCHINO          GAETANA               4411   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37085135   ZACHARIAS         VIRGINIA     MAE      3728   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
91974344   ZACHERY           ERIKA                 0807   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
53566867   ZACKERY           SHELIA                5342   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
15867094   ZADE              RICHARD               1359   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
37689157   ZAGARA            DANICA                5681   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
59779667   ZAKUTANSKY        ALLISON               9448   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
15580536   ZAMBATARO         JANET                 4776   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
78456019   ZAMBRANO          MARILUZ               2486   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
68541335   ZANTOW            BARBARA      J        7931   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
92177397   ZAPALAC      JR   STEVE                 6589   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
96458020   ZAPATA            NORMA                 1930   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
14875408   ZASKE             DIONNE                5908   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
61820632   ZEAGLER           MARY         C        6457   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
93423854   ZEALOR            EVELYN                5861   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
95366875   ZEIDMAN           DEBORAH               2917   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
55625461   ZEIGLER           JESSICA               0042   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86707679   ZEISLOFT          CARA                  9403   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
86553456   ZEOLI             LORIANN               8665   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
41756258   ZIC               YAGODA                9273   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
19529163   ZICARI            JOHN                  3385   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
42425307   ZIGANTO           LORRAINE              9925   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
47535428   ZIMMER            DANA                  3623   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
45602985   ZIMMERMAN         RITA                  1907   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
48091194   ZIMO              HEATHER               4767   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
35252878   ZIRPOLO           PATRICIA              9076   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
99296238   ZITOLI            FRANK                 5999   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
60306535   ZOFKO             AMY          SUSAN    3025   REJECT   OPTION A CERTIFICATION   GYNECOLOGICAL CANCER                YES           YES       YES
30793594   ZORN              ANGELA                2271   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
29089218   ZUMBRINK          UZMA                  6388   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
65576916   ZURCHER           SUSAN                 0285   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
53404559   ZURSTADT          RICHARD               3091   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
96860855   ZWEERINK          KARENA                7232   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
63895308   ZWERNER           CYNTHIA               3277   REJECT   OPTION A CERTIFICATION   OVARIAN CANCER                      YES           YES       YES
